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                              No. 25-1019
                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE SECOND CIRCUIT


                                          RUMEYSA OZTURK,
                                          Petitioner-Appellee,

                                                      v.

                                      PATRICIA HYDE, ET AL.,
                                      Respondents-Appellants.


               ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF VERMONT
                         District Court Case No. 2:25-cv-374


                                           JOINT APPENDIX


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             Respondents-Appellants                        Petitioner-Appellee
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                                    UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MASSACHUSETTS


            RUMEYSA OZTURK,                              )
                                                         )             Case No. __1:25-cv-10695__
                                 Petitioner,             )
                                                         )             PETITION FOR WRIT OF
            v.                                           )             HABEAS CORPUS
                                                         )
            PATRICIA HYDE, Field Office Director,        )
            MICHAEL KROL, HSI New England Special        )
            Agent in Charge, TODD LYONS, Acting Director )
            U.S. Immigrations and Customs Enforcement,   )
            and KRISTI NOEM, Secretary of Homeland       )
            Security                                     )
                                 Respondents.            )
            __________________________________________)

                                                 INTRODUCTION

               1. Rumeysa Ozturk is a Turkish national in valid F-1 student status. Her date of birth is

                                 1994. She was unlawfully detained by DHS on March 25, 2025.

               2. Accordingly, to vindicate Petitioner’s constitutional rights, this Court should grant

                  the instant petition for a writ of habeas corpus.

               3. Petitioner asks this Court to find that she was unlawfully detained and order her

                  release.

                                                  JURISDICTION

               4. This Court has subject matter jurisdiction under 28 U.S.C. § 2241 (habeas corpus) and 28

                  U.S.C. § 1331 (federal question).

               5. Venue is proper because Petitioner resides and was detained in Sommerville, MA, and on

                  information and belief is detained in the District of Massachusetts.




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                                                                                            JA-000001
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                                           PARTIES AND FACTS ALLEGED

               6. The Petitioner Rumeysa Ozturk is a PhD student at Tufts University. She resides in

                     Somerville, Massachusetts.

               7. Respondent Patricia Hyde is the New England Field Office Director for U.S.

                     Immigration and Customs Enforcement.

               8. Respondent Michael Krol is the New England Special Agent in Charge for Homeland

                     Security Investigations for U.S. Immigration and Customs Enforcement.

               9. Respondent Todd Lyons is the Acting Director for U.S. Immigration and Customs

                     Enforcement.

               10. Respondent Kristi Noem is the Secretary of Homeland Security.

               11. Petitioner is a Turkish national in valid F-1 student status. On information and

                     belief, she was detained without cause near her residence by U.S. Immigration and

                     Customs Enforcement agents on March 25, 2025, at about 5:30 p.m.

               12. On information and belief, Petitioner is currently in custody in the District of

                     Massachusetts, and one or more of the Respondents is her immediate custodian.

                                                  CLAIMS FOR RELIEF

                                                       COUNT ONE
                                   Violation of Fifth Amendment Right to Due Process

                     1.     On information and belief, Petitioner is currently being arrested and detained by

            federal agents without cause and in violation of her constitutional rights to due process of law.

                                                      PRAYER FOR RELIEF

            Wherefore, Petitioner respectfully requests this Court to grant the following:

               (1)     Assume jurisdiction over this matter;

               (2)     Order that Petitioner shall not be transferred outside the District of Massachusetts;


                                                               2
                                                                                                   JA-000002
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               (3)   Issue an Order to Show Cause ordering Respondents to show cause why this Petition

                     should not be granted within three days.

               (4)   Declare that Petitioner’s detention violates the Due Process Clause of the Fifth

                     Amendment.

               (5)   Issue a Writ of Habeas Corpus ordering Respondents to release Petitioner immediately.

               (6)   Grant any further relief this Court deems just and proper.

                                                                        Respectfully submitted,

                                                                        /s/ Mahsa Khanbabai
                                                                        Mahsa Khanbabai (BBO #639803)
                                                                        115 Main Street, Suite 1B
                                                                        North Easton, MA 02356
                                                                        Mahsa@mk-immigration.com
                                                                        508-297-2065


                                                                        Counsel for Petitioner

            Dated: March 25, 2025




                                                            3
                                                                                                 JA-000003
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                                             UNITED ST ATES DISTRICT COURT
                                              DISTRICT OF MASSACHUSETTS

                                                                 )
               RUMEYSA OZTURK,                                   )
                                                                 )
                               Petitioner,               )
                                                         )
                            v.                           )
                                                         )
                                                                       Civil Action No. 1:25-cv-10695- DJC
               PATRICIA HYDE, Acting Director of         )
               Boston Field Office, United States        )
               Immigration and Customs Enforcement,      )
               TODD LYONS, Acting Director United States )
               Immigration and Customs Enforcement, and )
               KRISTI NOEM, Secretary of Homeland        )
               Security,                                 )
                                                                 )
                               Respondents.                      )


                                     SERVICE ORDER AND ORDER CONCERNING
                                        DETERMINATION OF JURISDICTION

               Talwani, D.J.

                       Petitioner Rumeysa Ozturk, a Turkish national detained by OHS on March 25, 2025, has

               filed a petition for a writ of habeas corpus. She names Patricia Hyde, Acting Director of

               Boston Field Office, United States Immigration and Customs Enforcement; Todd Lyons,

               Acting Director, U.S. Immigration and Customs Enforcement, and Kristi Noem, Secretary of

               the United States Department of Homeland Security, as respondents.

                       Upon review of the petition, the Court hereby ORDERS as follows:

                       1.      The clerk of this court shall serve a copy of the petition upon respondents and the

               United States Attorney for the District of Massachusetts.

                       2.      Respondents shall , no later than March 28 , 2025 , answer or respond to the

               petition.

                       3.      Although a United States District Court does not generally have subject-matter

               jurisdiction to review orders of removal, see 8 U.S .C. § 1252(a)(l), (g), it does generally have


                                                                                                      JA-000004
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              jurisdiction over habeas petitions. See 28 U.S.C. § 224l(a). Furthermore, a federal court

              "always has jurisdiction to determine its own jurisdiction," including its own subject-matter

              jurisdiction. Brownback v. King, 592 U.S. 209, 218-19 (2021) (quoting United States v. Ruiz,

              536 U.S. 622, 628 (2002)). In order to give the court an opportunity to consider whether it has

              subject-matter jurisdiction, and if so to determine the validity of the habeas petition, the court

              may order respondent to preserve the status quo. See United States v. United Mine Workers of

              Am. , 330 U.S. 258, 293 (1947) ("[T]he District Court ha[s] the power to preserve existing

              conditions while it [is] determining its own authority to grant injunctive relief," unless the

              assertion of jurisdiction is frivolous .). Such an order is valid unless and until it is overturned,

              even when the issuing court lacks subject-matter jurisdiction to determine the merits of the

              underlying action. See id. at 294-95 (upholding criminal contempt convictions for violations of a

              preliminary injunction, assuming the District Court had no jurisdiction to decide the underlying

              matter). This principle applies with even greater force where the action the court enjoins would

              otherwise destroy its jurisdiction or moot the case. See United States v. Shipp, 203 U.S. 563, 573

              (1906).

                        4.     Accordingly, and unless otherwise ordered by the Court, petitioner shall not be

              moved outside the District of Massachusetts without first providing advance notice of the

              intended move. Such notice shall be filed in writing on the docket in this proceeding, and shall

              state the reason why the government believes that such a movement is necessary and should not

              be stayed pending further court proceedings. Once that notice has been docketed, the petitioner

              shall not be moved out of the District for a period of at least 48 hours from the time of that

              docketing. If the 48-hour notice period "would end on a Saturday, Sunday, or legal holiday, the

              period continues to run until the same time on the next day that is not a Saturday, Sunday, or



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               legal holiday." Fed. R. Civ. P. 6(a)(2)(C). The time period may be shortened or extended as

               may be appropriate by further order of the Court.

               So Ordered.


                                                                   Isl Indira Talwani
                                                                   District Judge
                                                                   United States District Court
               Dated: March 25 , 2025




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                                                                                       JA-000007
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                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS


             RUMEYSA OZTURK,

                                Petitioner,

                  v.                                      No. 1:25-cv-10695-DJC


             PATRICIA HYDE, et al.,

                                Respondents.


                         All Writs Act Motion to Produce Petitioner to Her Attorney

                   Last night, this Court ordered Respondents not to move Petitioner Rumeysa

            Ozturk outside of the District of Massachusetts without at least 48-hours’ notice.

            ECF No. 3. Counsel has been attempting to locate and speak to her client since last

            night, and was informed by the U.S. Attorneys’ Office that even after making

            inquiries, they do not know Ms. Ozturk’s whereabouts. Ms. Ozturk was detained

            without the medication that she takes for her asthma. Petitioner respectfully

            requests that the Court enter an order requiring Respondents to report on Ms.

            Ozturk’s whereabouts and permit her counsel to speak to her by 6pm today. I have

            further just been informed by a U.S. Senator’s office that she has been transferred

            to Louisiana, but I have not received any confirmation from ICE or the U.S.

            attorney office.

                   Ms. Ozturk was a student in valid F1 status who was detained on March 25,

            2025 at around 5:15pm when plain-clothes officers in what appear to be unmarked



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            vehicles approached her on the street near her home, handcuffed her, and took her

            away. In a now widely-circulated video of her arrest, Ms. Ozturk is seen screaming

            as a man in a hooded sweatshirt grabs a hold of her.

                     Since Ms. Ozturk’s detention, numerous attempts by counsel to learn where

            she is and the basis for her detention, and speak to her, have been unsuccessful.

            This morning, a representative of the Turkish consulate went personally to the

            offices of Immigration and Customs Enforcement in Burlington Massachusetts and

            was reportedly informed that she was not in that office, but that ICE could not

            provide information about her whereabouts. Counsel assisting Ms. Ozturk also

            called all major known ICE detention facilities in New England, and were informed

            that she was not being held at those facilities. Counsel have also checked ICE’s

            online detainee locator, which reveals that Ms. Ozturk is detained, but does not

            reveal the location of her detention. And although Representatives of the U.S.

            Attorneys’ Office informed counsel that they would attempt to locate Ms. Ozturk’s,

            they too have reported back that they were unable to learn her location. To

            counsel’s knowledge, no one has heard from Ms. Ozturk since her detention.

                     Counsel has been informed that Ms. Ozturk takes at least two different

            medications for asthma and was detained without access to these medications.

            Because high stress situations can trigger asthma attacks, counsel has also called

            around to area hospitals in an attempt to locate Ms. Ozturk, but has been unable to

            do so.




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                   The All Writs Act empowers district courts to issue “all writs necessary or

            appropriate in aid of their respective jurisdictions and agreeable to the usages and

            principles of law.” 28 U.S.C. § 1651(a). The habeas statutes similarly authorize

            district courts to order relief “as law and justice require.” In this case, concerns

            about Ms. Ozturk’s health in light of her increasingly-prolonged incommunicado

            detention without her medication warrant relief. Petitioner thus respectfully asks

            the court to compel Respondents to disclose Ms. Ozturk’s location and permit access

            to her by 6pm today.

                                                                   Respectfully submitted,

                                                                   /s/ Mahsa Khanbabai
                                                                   Mahsa Khanbabai (BBO
                                                                   #639803
                                                                   115 Main Street, Suite 1B,
                                                                   North Easton, MA 02356
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                                                                   508-297-2065
                                                                   Counsel for Petitioner



                                           Local Rule 7.1 Statement

                   I have contacted government counsel to attempt to resolve or narrow the

            issues in this motion. Counsel for the government asked me to delay the filing of

            this motion. As of 2:30pm, counsel for the government still had not provided any

            response.

            Dated: March 25, 2025                           /s/ Mahsa Khanbabai
                                                            Mahsa Khanbabai




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                                                                                        JA-000010
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                                        UNITED STATES DISTRICT COURT
                                         DISTRICT OF MASSACHUSETTS


             RUMEYSA OZTURK,

                                         Petitioner,

                            v.                                   Civil Action No. 1:25-cv-10695-DJC

             PATRICIA HYDE, Field Office Director,
             MICHAEL KROL, HSI New England Special
             Agent in Charge, TODD LYONS, Acting
             Director, U.S. Immigration and Customs
             Enforcement, and KRISTI NOEM, Secretary of
             Homeland Security,

                                         Respondents.


                             RESPONDENTS’ OPPOSITION TO PETITIONER’S
                          MOTION TO PRODUCE PETITIONER TO HER ATTORNEY

                   Respondents, by and through their attorney, Leah B. Foley, United States Attorney for

            the District of Massachusetts, respectfully submits this response to Petitioner Rumeysa Ozturk’s

            (“Petitioner”) motion filed on March 26, 2025 seeking Respondents to provide her location and

            to permit her counsel to communicate with her. Doc. No. 7.

                   The undersigned can report that Petitioner is currently detained at the South Louisiana

            Correctional Facility located at 3943 E. Stagg Avenue in Basile, Louisiana.1 See ICE Online

            Detainee Locator System, https://locator.ice.gov/odls/#/search which provides the following

            information once Petitioner’s name and country of nationality, Turkey, is input.



                   1
                      Respondents will set forth the timeline of Petitioner’s arrest and transfer from
            Massachusetts in further detail via sworn declaration in its response to Petitioner’s Habeas
            Petition. The undersigned has been informed that Petitioner was detained outside of
            Massachusetts at the time the Petition was filed and the Court’s Service Order was issued.




                                                                                                JA-000011
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                    Detention Information For:

                    RUMEYSA OZTURK

                    Country of Birth: Turkey

                    Current Detention Facility:

                    SOUTH LOUISIANA ICE PROCESSING CENTER

                    3843 STAGG AVENUE

                    BASILE, LA 70515

                    Visitor Information: (318) 668-5900

                    The undersigned conveyed that Petitioner would be detained at this location to

            Petitioner’s counsel upon learning such information from Respondents and upon viewing this

            information on the Online Detainee Locator System at approximately 5:30 PM on March 26,

            2025.

                    In response to Petitioner’s request for the Court to order communication be facilitated

            between Petitioner’s counsel and Petitioner, the undersigned can also report that he worked

            diligently throughout the afternoon and the evening of March 26, 2025 to make Respondents

            aware of Petitioner’s counsel’s desire to speak with Petitioner and to keep Petitioner’s counsel

            apprised that such communication would be possible after Petitioner had arrived at the South

            Louisiana Correctional Facility and had gone through processing at such facility. The

            undersigned, based on discussions with Respondents and with Petitioner’s counsel, can report

            that Petitioner was able to speak with Petitioner’s counsel on March 26, 2025 at approximately

            9:45 PM.




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                                                                                                JA-000012
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                                                                Respectfully submitted,

                                                                LEAH B. FOLEY
                                                                United States Attorney

            Dated: March 27, 2025                        By:    /s/ Mark Sauter
                                                                Mark Sauter
                                                                Assistant United States Attorney
                                                                United States Attorney’s Office
                                                                1 Courthouse Way, Suite 9200
                                                                Boston, MA 02210
                                                                Tel.: 617-748-3347
                                                                Email: mark.sauter@usdoj.gov


                                            CERTIFICATE OF SERVICE

                    I, Mark Sauter, Assistant United States Attorney, hereby certify that this document filed
            through the ECF system will be sent electronically to the registered participants as identified on
            the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
            registered participants.


            Dated: March 27, 2025                        By:    /s/ Mark Sauter
                                                                Mark Sauter
                                                                Assistant United States Attorney




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                                                                                               JA-000013
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                                     UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MASSACHUSETTS




             RÜMEYSA ÖZTÜRK,
                                           Petitioner,                Case No. 1:25-cv-10695-DJC
                 v.
             DONALD J. TRUMP, in his official capacity as             FIRST AMENDED PETITION FOR
             President of the United States; PATRICIA HYDE,           WRIT OF HABEAS CORPUS
             in her official capacity as the New England Field        AND COMPLAINT
             Office Director for U.S. Immigration and
             Customs Enforcement; MICHAEL KROL, in his
             official capacity as HSI New England Special
             Agent in Charge, U.S. Immigration and Customs
             Enforcement; TODD LYONS, in his official
             capacity as Acting Director, U.S. Immigration and
             Customs Enforcement; KRISTI NOEM, in her
             official capacity as Secretary of the United States
             Department of Homeland Security; and MARCO
             RUBIO, in his official capacity as Secretary of
             State,
                                           Respondents.


                                                   INTRODUCTION

                      1.   Rümeysa Öztürk is an international PhD student who was arrested on March 25,

            2025 when six plain-clothes federal officers surrounded her on the street just outside her home in

            Somerville, MA. Rümeysa screamed as a man in a hooded sweatshirt grabbed her. Several other

            officers encircled her and soon covered their faces with masks. Rümeysa was handcuffed and

            escorted with an officer holding each arm into an unmarked vehicle. For more than 20 hours, her

            friends, family and legal counsel could not locate or contact her. After an exhaustive search, they

            learned that she had ultimately been removed from Massachusetts and sent more than 1,300

            miles away to an ICE detention facility in Louisiana.



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                    2.       Rümeysa has not been charged with any crime. Nor has there been any allegation

            that she is dangerous or a flight risk. Her arrest and detention appear to be based solely on her

            co-authorship of an op-ed in her school newspaper, The Tufts Daily, in March 2024. The piece

            criticized the University’s dismissal of several resolutions that had been adopted by the

            undergraduate student Senate as “a sincere effort to hold Israel accountable for clear violations of

            international law.” It articulated the goals of the resolutions and the disappointment of the

            authors before concluding with a request that the administration “trust in the Senate’s rigorous

            and democratic process” and “meaningfully engage with and actualize the resolutions passed by

            the Senate.” 1

                    3.       Rümeysa’s arrest and detention are designed to punish her speech and chill the

            speech of others. Indeed, her arrest and detention are part of a concerted and systemic effort by

            Trump administration officials to punish students and others identified with pro-Palestine

            activism. When asked about Rümeysa’s case, Secretary of State Marco Rubio confirmed

            revoking her visa, adding, “we gave you a visa to come and study and get a degree, not to

            become a social activist that tears up our university campuses.” 2

                    4.       The Department of Homeland Security’s website informs international students

            and the schools that host them that the termination of student status may result in a requirement

            to immediately depart the United States and may lead ICE agents to investigate whether a

            student has in fact departed. It makes no mention of arresting or detaining students based solely




            1
              Rümeysa Öztürk, et al., Op-ed: Try again, President Kumar: Renewing calls for Tufts to adopt
            March 4 TCU Senate resolutions, THE TUFTS DAILY (Mar. 26, 2024), www.tuftsdaily.com/
            article/2024/03/4ftk27sm6jkj.
            2
              Secretary Rubio Defends Revoking Turkish Student’s Visa, C-SPAN (Mar. 27, 2025),
            https://www.c-span.org/clip/news-conference/secretary-rubio-defends-revoking-turkish-students-
            visa/5158479.
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                                                                                                  JA-000015
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            on the loss of status. In this case, however, DHS grabbed, arrested, and detained Rümeysa

            before she had received any notice of the revocation of her student visa or her student status.

                   5.      Rümeysa’s arrest and detention are not a necessary or usual consequence of the

            revocation of a visa. But like the revocation of her visa, her arrest and detention are designed to

            silence her, punish her for her speech, and ensure that other students will be chilled from

            expressing pro-Palestinian viewpoints. Her continued detention is therefore unlawful. Because

            the government’s arrest and detention violate the First and Fifth Amendments to the United

            States Constitution and the Administrative Procedure Act, Rümeysa should be released.

                                                     JURISDICTION

                   6.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal

            question); 28 U.S.C. § 2241 (habeas corpus); Art. I, § 9, cl. 2 of the United States Constitution

            (Suspension Clause); and 28 U.S.C. § 2201 (declaratory judgment).

                   7.      Venue is proper because Petitioner had been detained in the District of

            Massachusetts by Immigration and Customs Enforcement (ICE) in Massachusetts and under the

            custody and control of ICE officials in Massachusetts at the time of the filing of this petition.

            Defendant Patricia Hyde is the Director of the Boston Field Office of ICE Enforcement and

            Removal Operations (ICE ERO), with authority over ICE ERO’s operations and detainees in

            New England. Additionally, Defendant Michael Krol is the Special Agent in Charge for the

            Boston office of ICE Homeland Security Investigations (HSI), with authority over HSI

            operations and detainees in New England. At the time this petition was filed, and when the Court

            issued an order requiring notice prior to any transfer of the petitioner out of Massachusetts, ECF

            No. 3, Rümeysa had only recently been arrested in Massachusetts and had not left the custody




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                                                                                                   JA-000016
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            and control of Defendants Hyde and/or Krol in Massachusetts. 3 Sometime after receiving that

            order, ICE officials transferred Rümeysa to Louisiana without notifying the Court, her counsel,

            or Department of Justice counsel on this case. Meanwhile, Respondents withheld information

            about Rümeysa’s location from Petitioner’s counsel (and apparently, from Department of Justice

            attorneys on this case) until nearly 24 hours after she had been detained. On information and

            belief, the movement of Petitioner to other states is consistent with, and part of, ICE’s pattern

            and practice of moving people detained for their speech to distant locations incommunicado and

            in secret to frustrate the ability of counsel to file habeas petitions on their behalf.

                                                          PARTIES

                    8.      Petitioner Rümeysa Öztürk is a PhD student at Tufts University. She resides in

            Somerville, Massachusetts. Rümeysa entered the United States on an F-1 nonimmigrant student

            visa.

                    9.      Respondent Donald J. Trump is named in his official capacity as the President of

            the United States. In this capacity, he is responsible for the policies and actions of the executive

            branch, including the Department of State and Department of Homeland Security.

                    10.     Respondent Patricia Hyde is named in her official capacity as the New England

            Field Office Director for U.S. Immigration and Customs Enforcement.

                    11.     Respondent Michael Krol is named in his official capacity as the New England

            Special Agent in Charge for Homeland Security Investigations for U.S. Immigration and

            Customs Enforcement.




            3
             Counsel for the government has stated that he “has been informed that Petitioner was detained
            outside of Massachusetts at the time the Petition was filed,” but has not provided evidence of
            Rümeysa’s location at the time the petition was filed, or suggested that she was not in the
            custody and control of ICE officials in Massachusetts, ECF No. 9 at 1 n.1.
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                   12.     Respondent Todd Lyons is named in his official capacity as the Acting Director

            for U.S. Immigration and Customs Enforcement. As the Senior Official Performing the Duties of

            the Director of ICE, he is responsible for the administration and enforcement of the immigration

            laws of the United States and is legally responsible for pursuing any effort to remove the

            Petitioner; and as such is a custodian of the Petitioner.

                   13.     Respondent Kristi Noem is named in her official capacity as the Secretary of

            Homeland Security. In this capacity, she is responsible for the administration of the immigration

            laws pursuant to Section 103(a) of the INA, 8 U.S.C. § 1103(a) (2007); is legally responsible for

            pursuing any effort to detain and remove the Petitioner; and as such is a custodian of the

            Petitioner.

                   14.     Respondent Marco Rubio is named in his official capacity as the United States

            Secretary of State. In this capacity, among other things, he has the authority to determine, based

            on “reasonable” grounds, that the “presence or activities” of a noncitizen “would have serious

            adverse foreign policy consequences for the United States.” Following such a determination,

            DHS may initiate removal proceedings under 8 U.S.C. § 1227(a)(4)(C)(i).

                                                           FACTS

                                                      Rümeysa Öztürk

                   15.     Rümeysa is a doctoral candidate in Child Study and Human Development at Tufts

            University. Rümeysa received a master’s degree from Columbia University on a Fulbright

            scholarship.

                   16.     On March 26, 2024, almost exactly one year before her arrest, Rümeysa co-

            authored an op-ed in The Tufts Daily. The piece criticized Tufts University’s response to several

            student Senate resolutions concerning human rights violations in Gaza. The authors urged



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            meaningful engagement by the University administration with the Senate resolutions.

                   17.      In February 2025, the website Canary Mission published a profile on Rümeysa,

            including her photograph, claiming she “engaged in anti-Israel activism in March 2024 . . . .”

            The profile describes Rümeysa as “a supporter of the Boycott, Divestment, Sanctions (BDS)

            movement.” Its sole support for the contention that Rümeysa “engaged in anti-Israel activism”

            was a link and screenshots of the March 2024 opinion piece.

                   18.      Canary Mission’s publication caused Rümeysa to fear for her safety.

                         Rümeysa’s Arrest Near Her Home and Continued Detention in Louisiana

                   19.      On March 25, 2025 at approximately 5:15 p.m., a hooded, plainclothes officer

            approached Rümeysa near her Somerville apartment. 4

                   20.      The hooded officer grabbed Rümeysa by her wrists as she screamed. Additional

            officers surrounded Rümeysa as she pleaded with them. The officers placed Rümeysa in

            handcuffs and took her away in an unmarked vehicle.

                   21.      Rümeysa’s friends frantically tried to find out more information about what had

            happened to her. At approximately 10:02 p.m., counsel for Rümeysa filed a petition for writ of

            habeas corpus in this Court.

                   22.       At approximately 10:55 p.m., the Court ordered that Rümeysa not be moved

            outside the District of Massachusetts without 48 hours’ notice.

                   23.      For more than 24 hours after her arrest, Rümeysa’s friends, family and legal

            counsel did not hear from her and could not speak to her.

                   24.      Because Rümeysa suffers from asthma, her family and friends worried that she




            4
             WCVB Channel 5 Boston, Surveillance shows Tufts graduate student detained, YouTube (Mar.
            26, 2025), https://www.youtube.com/watch?v=PuFIs7OkzYY.
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            could become ill without access to her medication.

                   25.        On the evening of her arrest, and on the following day, counsel made numerous

            attempts to locate Rümeysa.

                   26.        These efforts included contacting the offices of ICE ERO and ICE HSI. Counsel

            received no response to these inquiries. Counsel also called all major known ICE detention

            facilities in New England but were informed that Rümeysa was not there. Counsel attempted to

            locate her whereabouts through ICE’s Online Detainee Locator System. Although the Detainee

            Locator indicated that Rümeysa was in ICE custody, the field for “Current Detention Facility”

            remained blank.

                   27.        A representative of the Turkish consulate went personally to ICE offices in

            Burlington, Massachusetts and was reportedly informed that Rümeysa was not in that office and

            that ICE could not provide further information about her whereabouts. Department of Justice

            counsel on this matter also informed counsel for Rümeysa that they could not locate her.

                   28.        Fearing Rümeysa could have had a medical episode, counsel contacted numerous

            area hospitals.

                   29.        At around 3 p.m. on March 26, counsel moved this Court for an order requiring

            Respondents to report on Rümeysa’s whereabouts and permit her counsel to speak with her.

                   30.        Shortly thereafter, Department of Justice counsel informed Rümeysa’s counsel

            that she had been moved to a staging facility in Alexandria, Louisiana to be transferred to South

            Louisiana.

                   31.        Counsel was finally able to speak to Rümeysa late in the evening of March 26.

            Counsel learned that she had suffered an asthma attack while en route to Louisiana.




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                                 Rümeysa’s Visa Revocation and Removal Proceedings

                   32.     ICE uses the Student and Exchange Visitor Information System (“SEVIS”) to

            maintain information on students who attend designated educational programs.

                   33.     A letter dated March 25, 2025, and addressed but not provided to Rümeysa stated

            that her SEVIS designation “has been terminated pursuant to 237(a)(1)(C)(i) and/or

            237(a)(4)(C)(i) of the Immigration and Nationality Act.” 5 See Exhibit A. On information and

            belief, a copy of the letter was provided to Tufts University.

                   34.     A Notice to Appear (“NTA”) functions as a charging document for removal

            proceedings. See 8 U.S.C. § 1229(a).

                   35.     On March 25 ICE provided Rümeysa with an NTA. See Exhibit B. The NTA

            alleges, in part, that Rümeysa’s visa “was revoked by the United States Department of State” on

            March 21, 2025. The NTA charges Rümeysa as deportable under INA § 237(a)(1)(B). 6 The

            NTA provides no other basis for Rümeysa’s removal.

                   36.     On information and belief, Rümeysa received no notice that her visa had been

            revoked prior to her arrest or the service of the NTA.

                   37.     The NTA indicates that Rümeysa is scheduled for an initial hearing on April 7,

            2025 at 8:30 a.m.




            5
              Section 237(a)(1)(C)(i) provides: “Any alien who was admitted as a nonimmigrant and who has
            failed to maintain the nonimmigrant status in which the alien was admitted . . . or to comply with
            the conditions of any such status, is deportable.” 8 U.S.C. § 1227(a)(1)(C)(i). Section
            237(a)(4)(C)(i) provides: “An alien whose presence or activities in the United States the
            Secretary of State has reasonable ground to believe would have potentially serious adverse
            foreign policy consequences for the United States is deportable.” 8 U.S.C. § 1227(A)(4)(c)(i).
            6
              Section 237(a)(1)(B) provides: “Any alien who is present in the United States in violation of
            this chapter or any other law of the United States, or whose nonimmigrant visa (or other
            documentation authorizing admission into the United States as a nonimmigrant) has been
            revoked under section 1201(i) of this title, is deportable.” 8 U.S.C. § 1227(a)(1)(B).
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            Rümeysa’s Arrest and Detention are Part of the Trump Administration’s Policy of Retaliating
                            Against Noncitizens Who Advocate for Palestinian Rights

                   38.     Rümeysa’s arrest and detention reflect and are a part of the Trump

            administration’s concerted effort to silence protected political speech.

                   39.     In the fall of 2023, thousands of students across the U.S. from a wide range of

            racial, ethnic, religious, and socioeconomic backgrounds began organizing on their campuses,

            many criticizing what they saw as the steadfast support of their universities and the United States

            government for Israel’s policies. Opponents of these students’ messages—including President

            Trump—have characterized their message in favor of Palestinian rights as inherently supportive

            of Hamas and antisemitic.

                   40.     During his campaign for re-election, President Trump repeatedly vowed to use

            visa revocations as a tactic to pursue his policy of silencing pro-Palestinian activities on

            university campuses.

                   41.     For example, at a rally in Las Vegas on October 28, 2023, Trump pledged to

            “terminate the visas of all of those Hamas sympathizers, and we’ll get them off our college

            campuses, out of our cities, and get them the hell out of our country.”

                   42.     In the spring of 2024, Trump promised campaign donors that he would deport

            pro-Palestinian student demonstrators to get them to “behave.” Upon information and belief, at a

            round table event in New York, he stated, “One thing I do is, any student that protests, I throw

            them out of the country. You know, there are a lot of foreign students. As soon as they hear that,

            they’re going to behave.”

                   43.     Similarly, in a social media post on his official X account on October 15, 2023,

            then-Senator Marco Rubio, referring to ongoing student protests in support of Palestinians, stated




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            the U.S. should “cancel the visa of every foreign national out there supporting Hamas and get

            them out of America.”

                   The Trump Administration Announces its Policy to Target Speech of Noncitizens

                   44.     Shortly after assuming office on January 20, 2025, President Trump signed two

            executive orders aimed at fulfilling the above campaign promises: Executive Order 14161, titled

            “Protecting the United States from Foreign Terrorists and Other National Security and Public

            Safety Threats,” signed on January 20, 2025, and Executive Order 14188, titled “Additional

            Measures to Combat Anti-Semitism,” signed on January 29, 2025.

                   45.     Executive Order 14161 states that it is the United States’ policy to “protect its

            citizens” from noncitizens who “espouse hateful ideology.” It further articulates the

            administration’s desire to target noncitizens who “advocate for, aid, or support designated

            foreign terrorists and other threats to our national security,” those who hold “hateful” views, and

            those who “bear hostile attitudes toward [America’s] citizens, culture, government, institutions,

            or founding principles.” The order’s overly broad framing of “hostile attitudes” towards the

            American government could encompass any form of political dissent, including advocacy for

            Palestinian human rights.

                   46.     Executive Order 14188 states that, in order to “combat campus anti-Semitism,”

            the administration will target for investigation “post-October 7, 2023, campus anti-Semitism.”

            The order adopts a definition of antisemitism that, applied to speech, would punish

            constitutionally protected criticism of the Israeli government and its policies. In a fact sheet

            accompanying Executive Order 14188, the White House described the measure as “forceful and

            unprecedented,” specifically targeting “leftist, anti-American colleges and universities.” It

            framed the order as a “promise” to “deport Hamas sympathizers and revoke student visas,”



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            sending a clear message to all “resident aliens [sic] who participated in pro-jihadist protests” that

            the federal government “will find you… and deport you.”

                   47.     In or around February 2025, Respondents began implementing a policy by which

            they would retaliate against and punish noncitizens like Rümeysa for their constitutionally

            protected speech (the Policy). Under the Policy, Secretary of State Marco Rubio would revoke

            the visas or green cards of individuals who expressed support for Palestinian rights. These

            revocations would then permit the Department of Homeland Security to arrest, detain and deport

            such individuals.

                   48.     On March 6, 2025, Secretary Rubio posted to X: “Those who support designated

            terrorist organizations, including Hamas, threaten our national security. The United States has

            zero tolerance for foreign visitors who support terrorists. Violators of U.S. law—including

            international students—face visa denial or revocation, and deportation.”

                   49.     Additionally, certain groups began publicizing the names of pro-Palestinian

            activists they wanted the government to deport. Specifically, these groups compiled lists of

            students and faculty who had engaged in Palestine-related advocacy and, upon information and

            belief, submitted these lists to ICE’s tip line, or publicly flagged names to U.S. Government

            official accounts.

                   50.     As illustrated infra, one way that Secretary Rubio is implementing the Policy is

            by wrongly invoking 8 U.S.C. § 1227(a)(4)(C)(i) (hereinafter “the Foreign Policy Ground”),

            which provides that “An alien whose presence or activities in the United States the Secretary of

            State has reasonable ground to believe would have potentially serious adverse foreign policy

            consequences for the United States is deportable.” This Provision expressly prohibits the

            Secretary of State from excluding or conditioning entry based on a noncitizen’s “past, current, or



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            expected beliefs, statements, or associations, if such beliefs, statements, or associations would be

            lawful within the United States,” unless the Secretary personally certifies to Congress that

            admitting the individual would compromise a compelling U.S. foreign policy interest. See 8

            U.S.C. § 1227(a)(4)(C)(ii) (citing 8 U.S.C. § 1182(a)(3)(C)(iii)).

                   51.     Legislative history makes clear that Congress intended to limit the Executive’s

            authority to exclude noncitizens based on their speech or beliefs. When the Moynihan

            Amendment was passed in 1987, the Senate Committee warned that “[f]or many years, the

            United States has embarrassed itself by excluding prominent foreigners from visiting the United

            States solely because of their political beliefs.” The amendment was intended “to take away the

            executive branch’s authority to deny visas to foreigners solely because of the foreigner’s political

            beliefs or because of his anticipated speech in the United States,” while affirming “the principles

            of the First Amendment.” (S. Rep. No. 100–75 at 11, 100th Cong., 1st Sess. (1987), reprinted in

            133 Cong. Rec. S2326 (1987)).

                   52.     Congress further evinced its intent to restrict the Executive’s ability to exclude

            foreign speakers by asserting that such exclusions should not be based solely on “the possible

            content of an alien’s speech in this country,” that the Secretary’s authority to determine that entry

            would compromise foreign policy interests should be used “sparingly and not merely because

            there is a likelihood that an alien will make critical remarks about the United States or its

            policies,” and that the “compelling foreign policy interest” standard should be applied strictly.

            (H.R. Conf. Rep. No. 101-955, 101st Cong., 2nd Sess. (1990), reprinted in 1990 U.S.C.C.A.N.

            6784, 6794).




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                   The Government Begins to Implement its Policy of Intimidation and Retaliation

                   53.     On March 5, 2025, the State Department revoked the student visa of Ranjani

            Srinivasan, an Indian national and doctoral student at Columbia, under the Foreign Policy

            Ground. Srinivasan had previously expressed support for the rights of Palestinians. Two days

            later, federal immigration agents showed up at her apartment looking for her, but she did not

            open the door. They showed up again the following night, but she was not home. On March 13,

            2025, agents returned to her home with a judicial warrant. DHS released a statement

            characterizing Srinivasan as a terrorist sympathizer and accused her of advocating violence and

            being “involved in activities supporting Hamas,” but the agency has not provided any evidence

            for its allegations, and Srinivasan disputes them.

                   54.     On March 8, 2025, ICE agents in plain clothes arrested Mahmoud Khalil, a legal

            permanent resident and recent Columbia University graduate, at his Columbia University student

            housing. Khalil had previously expressed support for the rights of Palestinians. The agents

            initially told Khalil that they were detaining him because his student visa had been revoked by

            the State Department, but when Khalil’s attorney informed the agents that he was a green card

            holder, the agents responded that the State Department had revoked Khalil’s green card, too. The

            Notice to Appear later issued by the government to Khalil cites the Foreign Policy Ground as the

            basis for his arrest and removal. The agents handcuffed Khalil and placed him in an unmarked

            vehicle. Over the course of that evening and into the early hours of the following morning, Khalil

            would first be taken to an ICE field office in Manhattan and then to a detention facility in New

            Jersey, returning to New York to board a flight to Texas and finally to Louisiana. To date, Khalil

            remains detained in Louisiana.




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                   55.     On March 8, 2025, ICE signed an administrative arrest warrant for Yunseo

            Chung, a legal permanent resident and Columbia University student who has lived in the United

            States since she was seven. Chung had previously expressed support for the rights of

            Palestinians. On March 10, a federal law enforcement official advised Chung’s attorney that her

            legal permanent resident status had been revoked. On March 13, federal law enforcement agents

            executed a judicial search warrant at Chung’s dormitory. Chung filed a complaint and petition

            for habeas corpus in the United States District Court for the Southern District of New York, and

            sought, among other things, a temporary restraining order preventing immigration enforcement

            officials from taking her into custody or transferring her out of the district. On March 25, 2025,

            the court issued such an order. Chung v. Trump et al., Case No. 25-cv-02412, ECF 19

            (S.D.N.Y.).

                   56.     On March 17, 2025, ICE arrested Badar Khan Suri, an Indian national and

            postdoctoral fellow at Georgetown University’s School of Foreign Service. Suri’s student visa

            was revoked pursuant to the Foreign Policy Ground. In a statement given to Fox News, DHS

            asserted that Suri had “spread[] Hamas propaganda,” “promot[ed] antisemitism on social media,”

            and had “close connections to a known or suspected terrorist, who is a senior advisor to Hamas.”

            Suri has no criminal record and has not been charged with a crime. DHS’s allegations appear to

            reference the fact that Suri’s father-in-law, Ahmed Yousef, is a former advisor to Ismael

            Haniyeh, the Hamas leader assassinated by Israel last year in Iran. But Yousef left his position in

            the Hamas-run government in Gaza more than a decade ago and has publicly criticized Hamas’s

            decision to attack Israel on October 7, 2023. DHS has not alleged that Suri himself has taken any

            action on behalf of Hamas. To date, Suri remains in immigration detention.




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                    57.
                           On March 21, 2025, the Justice Department wrote to counsel for Momodou Taal,

            a student visa holder and doctoral candidate at Cornell University, to convey ICE’s intention to

            serve a deportation notice on Taal and request that Taal voluntarily surrender to ICE custody.

            Taal had previously expressed support for the rights of Palestinians. The Justice Department

            wrote to Taal’s lawyers after Taal sought a temporary restraining order to enjoin DHS from

            attempting to detain, remove, or otherwise enforce the Executive Orders against him. In response

            to that application, the government informed the court that the State Department had revoked

            Taal’s student visa.

                High-Level Government Officials Confirm Rümeysa Was Targeted Because of Her Speech

                    58.     Multiple government officials, including Secretary of State Marco Rubio, have

            confirmed that Rümeysa was targeted for arrest and detention solely because of her actual or

            perceived First Amendment activity.

                    59.    On March 21, 2025, the day Rümeysa’s visa was revoked according to her NTA,

            Secretary Rubio announced on X.com: “We will continue to cancel the visas of those whose

            presence or activities have potentially serious adverse foreign policy consequences for our

            country . . . And we will continue to use every legal means available to remove alien enemies.”

                    60.    After Rümeysa’s arrest, a DHS spokesperson stated, “DHS and ICE investigations

            found Öztürk engaged in activities in support of Hamas, a foreign terrorist organization that

            relishes the killing of Americans . . . . A visa is a privilege, not a right. Glorifying and supporting

            terrorists who kill Americans is grounds for visa issuance to be terminated. This is commonsense

            security.” 7



            7
              Mike Toole & Beth Germano, Tufts University student taken into immigration custody by
            federal agents in Massachusetts (Mar. 27, 2025), https://www.cbsnews.com/boston/news/tufts-
            university-graduate-student-somerville-ice/.
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                   61.     In a March 27 news conference, Secretary Rubio reaffirmed that the reason for

            Rümeysa’s arrest and detention washer actual and perceived pro-Palestinian speech and political

            activity. 8 At the conference, a member of the media asked Secretary Rubio to explain the specific

            actions that led to Rümeysa’s visa being revoked. The Secretary responded “oh, we revoked her

            visa,” and continued:

                   We gave you a visa to come and study and get a degree not to become a social activist
                   that tears up our university campuses. And if we’ve given you a visa and then you decide
                   to do that we’re going to take it away. [. . .] We don’t want it. We don’t want it in our
                   country. Go back and do it in your country. But you’re not going to do it in our country.”

                   62.     Secretary Rubio added: “Every time I find one of these lunatics I take away their

            visa,” suggesting that hundreds of visas have been revoked in furtherance of the administration’s

            Policy of targeting noncitizens for their pro-Palestinian speech. 9

                                            DHS Did Not Follow Ordinary Procedure

                   63.     DHS maintains a website, titled “Study in the States,” which “explains the student

            visa process, enhances coordination among government agencies, and keeps international

            students and the U.S. academic community better informed about pertinent rules and

            regulations.” About, Study in the States, U.S. Dep’t of Homeland Sec’y (last accessed Mar. 27,

            2025), https://studyinthestates.dhs.gov/footer/about.

                   64.     According to Study in the States, student visa holders must maintain their status,

            which means “Fulfilling the purpose for why the Department of State issued you your visa” and




            8
              Secretary Rubio Defends Revoking Turkish Student’s Visa, C-SPAN (Mar. 27, 2025),
            https://www.c-span.org/clip/news-conference/secretary-rubio-defends-revoking-turkish-students-
            visa/5158479.
            9
              See Madeline Halpert, Marco Rubio says US revoked at least 300 foreign students’ visas, BBC
            (Mar. 27, 2025), https://www.bbc.com/news/articles/c75720q9d7lo; see also Secretary of State
            Marco Rubio Remarks to the Press, U.S. Dep’t of State (March 28, 2025),
            https://www.state.gov/secretary-of-state-marco-rubio-remarks-to-the-press-3/.
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            “Following the regulations associated with that purpose.” Maintaining Status, Study in the

            States, U.S. Dep’t of Homeland Sec’y (last accessed Mar. 27, 2025),

            https://studyinthestates.dhs.gov/students/maintaining-status. For F-1 student visa holders, that

            purpose is “to study.” Id.

                   65.     The Study in the States website lists consequences that can occur “[w]hen an F-

            1/M-1 SEVIS record is terminated,” including, the student “loses all on-and/or off-campus

            employment authorization,” the student “cannot re-enter the United States on the terminated

            SEVIS record,” and ICE agents “may investigate to confirm the departure of the student.”

            Terminate a Student, Study in the States, U.S. Dep’t of Homeland Sec’y (last accessed Mar. 27,

            2025), https://studyinthestates.dhs.gov/sevis-help-hub/student-records/completions-and-

            terminations/terminate-a-student. Termination may require an F-1 visa holder to immediately

            depart the United States. Id.

                   66.     DHS does not indicate on its Study in the States website that loss of student status

            may result in immediate arrest and detention. DHS departed from these expected procedures in

            arresting Rümeysa without warning or notice about the change in her student status.


                                                 CLAIMS FOR RELIEF

                                                    FIRST CLAIM
                         Violation of the First Amendment to the United States Constitution

                   67.     Petitioner repeats and re-alleges the allegations contained in the preceding

            paragraphs of this Complaint-Petition as if fully set forth herein.

                   68.     The First Amendment to the United States Constitution provides in part that

            “Congress shall make no law . . . abridging the freedom of speech . . . or the right of the people .

            . . to petition the Government for a redress of grievances.” U.S. Const. Amend. I. The First



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            Amendment protects past, present, and future speech, including speech by noncitizens.

                   69.     The Policy, and the government’s implementation of the Policy as to Rümeysa—

            specifically, the government’s targeting, arrest, transfer, and ongoing detention of Rümeysa—

            violate the First Amendment because they:

                           a. retaliate against and punish Rümeysa’s past protected speech;

                           b. prevent her from speaking now (through detention);

                           c. attempt to chill (through past punishment and ongoing threat) or prevent

                               (through eventual removal) her future speech in the United States;

                           d. deprive those with whom she would speak of her present and future speech on

                               matters of public concern; and

                           e. chill other individuals who express support for Palestinian rights.

                   70.     These speech-related consequences are not side effects of an action with some

           other purpose; they are, instead, the purpose of the Policy and the government’s actions

           implementing the Policy as to Rümeysa and those similarly situated. In government officials’ own

           telling, the Policy is intended to silence viewpoints with which the Trump administration

           disagrees.

                                                    SECOND CLAIM
                                  Violation of Fifth Amendment Right to Due Process

                   71.     Petitioner repeats and re-alleges the allegations contained in the preceding

            paragraphs of this Complaint-Petition as if fully set forth herein.

                   72.     The Constitution establishes due process rights for “all ‘persons’ within the

            United States, including [noncitizens], whether their presence here is lawful, unlawful,

            temporary, or permanent.” Zadvydas v. Davis, 533 U.S. 678, 693 (2001).

                   73.     The government’s detention of Rümeysa is unjustified. The government has not

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            demonstrated that Rümeysa—who has no criminal history, has close ties in the Tufts community,

            and wishes to complete her doctoral degree at Tufts—needs to be detained. See Zadvydas, 533

            U.S. at 690 (finding immigration detention must further the twin goals of (1) ensuring the

            noncitizen’s appearance during removal proceedings and (2) preventing danger to the

            community). There is no credible argument that Rümeysa cannot be safely released back to her

            community.

                   74.     Rümeysa’s detention is also punitive and bears no “reasonable relation” to any

            legitimate purpose for detaining her. Jackson v. Indiana, 406 U.S. 715, 738 (1972) (“nature and

            duration” of civil confinement must “bear some reasonable relation to the purpose for which the

            individuals is committed”); Zadvydas, 533 U.S. at 690 (finding immigration detention is civil

            and thus ostensibly “nonpunitive in purpose and effect”). Her “detention is not to facilitate

            deportation, or to protect against risk of flight or dangerousness, but to incarcerate for other

            reasons.” Demore v. Kim, 538 U.S. 510, 532-33 (2003) (Kennedy, J., concurring).

                   75.     Rümeysa’s arrest and detention under the Policy violate due process limitations

            on civil detention because they are designed to punish and silence her speech with which the

            government disagrees, and to chill others from expressing these viewpoints—impermissible

            bases for taking away individual liberty.

                   76.     The Policy and its implementation as to Rümeysa violate her right to due process

            for additional reasons as well. The government’s policy of applying the Foreign Policy Ground

            to make such determinations concerning people like Rümeysa—who was in valid F-1 status,

            living peacefully in the country—is unconstitutionally vague where it is due to constitutionally

            protected speech.




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                                                   THIRD CLAIM
                        Violation of the Administrative Procedure Act and the Accardi Doctrine

                      77.    Petitioner repeats and re-alleges the allegations contained in the preceding

            paragraphs of this Complaint-Petition as if fully set forth herein.

                      78.    The government has adopted a policy of targeting noncitizens for arrest, detention

            and removal based on First Amendment-protected speech advocating for Palestinian rights. This

            policy is arbitrary and capricious, an abuse of discretion, contrary to constitutional right, contrary

            to law, and in excess of statutory jurisdiction. 5 U.S.C. § 706 (2)(A), (B), (C), and violates the

            Accardi doctrine and federal agencies’ own rules, see Accardi v. Shaughnessy, 347 U.S. 260

            (1954).

                      79.    In addition, Rümeysa’s SEVIS termination notice invoked the Foreign Policy

            Ground.

                      80.    In order to be invoked in an instance involving a noncitizen’s past statements, the

            Foreign Policy Ground requires the Secretary of State to determine that a person’s “presence or

            activities would potentially have serious adverse foreign policy consequences for the United

            States” and “would compromise a compelling United States foreign policy interest.”

                      81.    Here, there is no indication that the Secretary of State ever made such a

            determination.

                      82.    To the extent the Secretary of State failed to make such a determination, the

            invocation of the Foreign Policy Ground is arbitrary and capricious, an abuse of discretion,

            contrary to constitutional right, contrary to law, and in excess of statutory jurisdiction. 5 U.S.C §

            706 (2)(A), (B), (C).




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                   83.     To the extent the Secretary of State purported to make such a determination, it is

            arbitrary and capricious, an abuse of discretion, contrary to constitutional right, contrary to law,

            and in excess of statutory jurisdiction. 5 U.S.C § 706 (2)(A), (B), (C).

                                                  FOURTH CLAIM
                                         Release on Bail Pending Adjudication

                   84.     Petitioner repeats and re-alleges the allegations contained in the preceding

            paragraphs of this Complaint-Petition as if fully set forth herein.

                   85.     Federal courts sitting in habeas possess the “inherent power to release the

            petitioner pending determination of the merits.” Savino v. Souza, 453 F. Supp. 3d 441, 454 (D.

            Mass. 2020) (quoting Woodcock v. Donnelly, 470 F.2d 93, 94 (1st Cir. 1972) (per curiam)); see

            also Da Graca v. Souza, 991 F.3d 60 (1st Cir. 2021). Federal courts “have the same inherent

            authority to admit habeas petitioners to bail in the immigration context as they do in the criminal

            habeas case.” Id. (quoting Mapp v. Reno, 241 F.3d 221, 223 (2d Cir. 2001)). “A court

            considering bail for a habeas petitioner must inquire into whether the habeas petition raise[s]

            substantial claims and [whether] extraordinary circumstances exist[ ] that make the grant of bail

            necessary to make the habeas remedy effective.” Id. (quoting Mapp, 241 F.3d at 230) (cleaned

            up).

                   86.     This petition raises substantial constitutional and statutory claims challenging

            Rümeysa’s retaliatory detention. Furthermore, extraordinary circumstances exist that make

            Rümeysa’s release essential for the remedy to be effective. Even if she is ultimately freed, as

            long as Rümeysa remains in ICE’s physical custody, she will be prevented from speaking freely

            and openly and her unlawful detention will serve to chill others. In addition, Rümeysa has

            asthma and has already suffered an asthma attack while in ICE custody, raising concerns about

            future asthma attacks. Finally, Rümeysa’s confinement in Louisiana prevents her from

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            adequately litigating her removal proceedings by impeding her access to counsel and evidence

            located within the District of Massachusetts.

                                                PRAYER FOR RELIEF

            Wherefore, Petitioner respectfully requests this Court to grant the following:

                  1)      Assume jurisdiction over this matter;

                  1)      Require Respondents to return Petitioner to this District pending these proceedings;

                  2)      Order the immediate release of Petitioner pending these proceedings;

                  3)      Declare that Respondents’ actions to arrest and detain Petitioner violate the First

                          Amendment and the Due Process Clause of the Fifth Amendment;

                  4)      Vacate and set aside Respondents’ unlawful Policy of targeting noncitizens for

                          arrest, detention and removal based on First Amendment-protected speech

                          advocating for Palestinian rights;

                  5)      Restore Petitioner’s SEVIS record;

                  6)      Enjoin Respondents from taking any enforcement action against Petitioner arising

                          directly or indirectly from an investigation into the applicability of the Foreign

                          Policy Ground;

                  7)      Award reasonable attorneys’ fees and costs for this action; and

                  8)      Grant such further relief as the Court deems just and proper.


                                                                    Respectfully submitted,

                                                                    [signature block on next page]




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                                                        /s/ Jessie J. Rossman
                                                        Jessie J. Rossman (BBO #670685)
                                                        Adriana Lafaille (BBO #680210)
                                                        Rachel E. Davidson (BBO #707084)
                                                        Julian Bava (BBO #712829)
                                                        AMERICAN CIVIL LIBERTIES UNION
                                                            FOUNDATION OF MASSACHUSETTS, INC.
                                                        One Center Plaza, Suite 850
                                                        Boston, MA 02108
                                                        (617) 482-3170
                                                        jrossman@aclum.org
                                                        alafaille@aclum.org
                                                        rdavidson@aclum.org
                                                        jbava@aclum.org

                                                        Mahsa Khanbabai (BBO #639803)
                                                        115 Main Street, Suite 1B
                                                        North Easton, MA 02356
                                                        (508) 297-2065
                                                        mahsa@mk-immigration.com

                                                        Brian Hauss*
                                                        Esha Bhandari*
                                                        Brett Max Kaufman*
                                                        Noor Zafar*
                                                        Sidra Mahfooz*
                                                        AMERICAN CIVIL LIBERTIES UNION
                                                           FOUNDATION
                                                        125 Broad Street, Floor 18
                                                        New York, NY 10004
                                                        (212) 549-2500
                                                        bhauss@aclu.org
                                                        ebhandari@aclu.org
                                                        bkaufman@aclu.org
                                                        nzafar@aclu.org
                                                        smahfooz@aclu.org


                                                        Counsel for Petitioner

                                                        *Pro hac vice application forthcoming

            Dated: March 28, 2025




                                                   23

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                                           CERTIFICATE OF SERVICE

                   I hereby certify that on March 28, 2025, a true copy of the above document was filed via

            the Court’s CM/ECF system and that a copy will be sent automatically to all counsel of record.


            March 28, 2025                              /s/ Jessie J.Rossman
                                                        Jessie J.Rossman




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                                    EXHIBIT
                                    EXHIBIT A
                                            A




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                                                                                                        March 25, 2025

                                  aOzturk


                                                            Student and Exchange Visitor Program
                                                            SEVIS Designation Termination     Notice


                           rare         ase EVs N
                        This leter is to inform you that your Studentand
                                                                       Exchange Visitor Information
                                                                                ty
                                                                                                         System (SEVIS)
                                                                                           Tufts University=T
                        University/Meator,   school cotle                              sem
                                                                                has been                          102374) NCH
                        mado    BHO gow ofthe Immigration            and Nationality


                        If you remain voter
                                       in the United ee
                                                     States, you may be contacted by immigration       officials or placed in removal
                        ‘proceedings.

                        wasn       gage         .
                        ‘Should you wish fo speak to someone regarding    this notice email at sevp@ice.dhs.gov



                        Sincerely,




                        Student and Exchange Visitor Program

                        CC:




                                                                                                                                        JA-000039
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                                     EXHIBIT
                                     EXHIBIT B
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                                                                                   DEPARTMENT OF HOMELAND SECURITY                                                             pon:
                                                                                                    NOTICE TO APPEAR
                                                                                                                        .                          '

                                                                                                                                                                               Event No:               XB02503000017         ’

         In removal           proceedings                  under section           240 of the Immigration                     and Nationality              Act:
             i                                                                 '                               ~                                       7
           Subject           ID:                           ,
                                                                                                     FINS:                                                         File No:
         In1the      Matter rot
                             of:

         Respondent:               memes OZTURK
                                   RUMEYSA see                                                                                                                                                            currently    residing
                                                                                                                                                                                                                             ~    at:

         See » Continuation                     1 Page: Made po a       Part Hereof
                                                                                   =                                :          ;                                                    t    )                  )
                                                           (Number,      street,    city, state and ZIP code)                                                                  (Area code and phone number)


          [-] You yond
          _                     a) alien.
                   are an arriving

          O You to)
                 are an alien . present in \ the United " States who has , not been admitted or paroled.

                 You i have ‘ been j admitted | to the United i States, , but are removable } for the reasons , stated below.

         ~
         The Department t of Homeland j Security. alleges that .you:                .3
          1.     Youi are          not a citizen L or national                             of the United States;
          2. Yout are a‘ native : of TURKIYE and a citizen                                                  of TURKIYE;
                                                                         a                              :
          3. ; You; were , admitted i to the , United                               States ‘       at Boston, ' MA on or about Junet 28,                                 2024 4 as 4
          a nonimmigrant
           L
                              Student (F-1); ;
                     '
          4. On March 21, 2025,
                                                       ,
                                                               your nonimmigrant
                                                                            .                    visa ‘ was ‘ revoked              by the United              States
          Department of State.




                                                       _                                    ta                                           -                        to                              Vv         z
         On the basis of the foregoing,                           it is charged     that you are subject                    to removal   from the United States pursuant                              to the following
         provision(s) of law:
          Section 237(a) (1) (B) of the Immigration and Nationality        Act (Act), as amended, in
          that after
                 .     admission
                         '       ' : as a nonimmigrant under Section 1 101(a)
                                                                         ‘    ' (15) ' of the : Act, reyour
          nonimmigrant arvisa was revoked \ under section \ 221(i) ) of the : Act.




          _   persecution | or torture. reg
          [_] This notice is being issued after an asylum officer has found that the respondent has demonstrated
                                                                     ‘   Poe                                                                                                              /
                                                                                                                                                                                              a   credible
                                                                                                                                                                                                             :
                                                                                                                                                                                                                 fear of


          [-]    Section 235(b)(1)                  order was vacated              pursuant       to:               (J 8CFR 208.30                     [_] 8CFR 235.3(b)(5)(iv)
          _,                  oa)                                  :                                                a                         ae                                                  |

                         ,                         .
         YOU ARE ORDERED to appear before an immigration
                                                                                             |                 ; of the United \ States 7Department t of Justice : at:
                                                                                                            judge

           3843 a E STAGGi AVE,                        BASILE, LOUISIANA 70515.                             SOUTH       LOUISIANA CORR CENTER
                                                                   a                   -
                                                                       (Complete ; Address Fi       ~
                                                                                            of Immigration                  1Court, including yRoom 1Number, if any)                  f

         on
           po April(Date)
                    ~)
                          2025     7,                      at           8:30
                                                                               2
                                                                          (Time)
                                                                                am                 to show why you                 should not be removed
                                                                                                                                                                   -   from    the
                                                                                                                                                                                      Fin
                                                                                                                                                                                          United       States based on the


         charge(s) set forth above.                                                                                           D. 4448 JOHNSTON - soo |
                 ~       i         :        a                                                                                     .
                                                                                                                               (Signature          my
                                                                                                                                          ' and Title of IssuingJ/            ape
         Date:               March          25,    2025                                                                                      St Albans,           VT
         —ew                            ¥                  i
                                                                                                                                              (City ' and ' State) )




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        DHS               (6/22)                                                                                                                                                                              =       Page   1 of 4
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                                                                                                                                                                                                        JA-000041
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                                                                                                       Notice to Respondent
         Warning: Any statement                    you make may be used against you in removal                           proceedings.

         Alien Registration:              This copy of the Notice to Appear served upon you is evidence                                of your alien registration       while you are in removal       proceedings.
         You are required             to carry it with you at all times.

         Representation:    If you so choose, you may be represented in this proceeding, at no expense to the Government, by an attomey or other individual
         authorized and qualified to represent persons before , the } Executive Office for Immigration Review, pursuant to 8 CFR 1003.16. Unless you so
         request, no hearing will be scheduled earlier than ) ten days 3
                                                                       . from the date of this notice, to allow you sufficient time to secure counsel. A list of
         qualified attorneys and organizations who may be available to represent you at no cost will be provided with this notice.

         Conduct of the hearing: At the time of your hearing,_! you should bring with you any affidavits or other documents that you desire to have considered
         in connection with your case. If you wish to have »
                                                           , the testimony of any witnesses considered, you should arrange to have such witnesses present at
         the hearing. At your hearing you will be given the opportunity to admit or deny any or all of the allegations in the Notice to Appear, including that you
         are inadmissible b or removable. You will have an opportunity to present evidence on your own behalf, to examine any evidence presented by the
         Government, 1 to object,
                              .   ; on .proper legal grounds, h} to the )' receipt of evidence and to cross examine any witnesses presented by the Government. At t the
         conclusion 1off your r hearing, , you od
                                                have a right to appeal an adverse decision by the immigration judge. You will be advised by the immigration 1judge 3
         before ' whom } you appear , of7 anyt relief from removal for which you may appear eligible including the privilege of voluntary departure. You will be given
         a reasonable opportunity to make any such application to the immigration judge.

         One-Year ro Asylum | Application \ Deadline: If you believe you may be eligible for asylum, you must file a Form I|-589, Application for Asylum 1 and for
                                                                                                                                                                an)

                        ofco
                                    -  i \-                                                                                                              a   3                                                        me
         Withholding
                  “-  |
                           Removal. The Form |-589, Instructions, and information on where to file the Form can be found at          scis.gov/i-589. Failure to file
         the Form rT”I-589 within 1 one ! year of arrival            may bar you from eligibility             to apply for asylum pursuant to section 208(a)(2)(B)                     of the Immigration   and
                    pt
         Nationality Act.

         Failure to appear: You are required to provide the Department of Homeland Security (DHS), in writing, with your full mailing address and telephone
         number. You must notify the Immigration Court and the DHS immediately by using Form EOIR-33 whenever you change your address or telephone
         number during the course of this proceeding. You will be provided with a copy of this form. Notices of hearing will be mailed to this address. If you do
         not submit Form EOIR-33 and do not otherwise provide an address at which you may be reached during proceedings, then the Government shail not
         be required to provide you with written notice of your hearing. If you fail to attend the hearing at the time and place designated on this notice, or any
         date and time later directed by the Immigration Court, a removal order may be made by the immigration judge in your absence, and you may be
         arrested and detained by the DHS.

         Mandatory     Duty to Surrender for Removal: If you become subject to a final order of removal, you must surrender for removal to your local DHS
         Office, listed on the internet at http://www.ice.gov/contact/ero,       as directed by the DHS and required by statute and regulation. Immigration
         regulations at 8 CFR 1241.1 define when the removal order becomes administratively           final. If you are granted voluntary departure and fail to depart
         the United States as required, fail to post a bond in connection with voluntary departure, or fail to comply with | any other condition 1or term in
         connection with voluntary departure, you must surrender for removal on the next business day thereafter. If you       - ti!
                                                                                                                                  do not surrender tofor removal as
         required, you will be ineligible for all forms of discretionary relief for as long as you remain in the United States and for ten I$years after your departure
         or removal. This means you will be ineligible for asylum, cancellation of removal, voluntary departure, adjustment of status, 4 change     —
                                                                                                                                                        of nonimmigrant
                                                                                                                                   t
         status, registry, and related waivers for this period. If you do not surrender for removal as required, you may also be criminally prosecuted under
         section 243 of the Immigration and Nationality Act.

         U.S. Citizenship Claims: If you believe you are a United States citizen,                                  please advise the DHS by calling the ICE Law Enforcement                       Support Center
         toll free at (855) 448-6803.

         Sensitive locations: To the extent that an enforcement action feading to a removal proceeding was taken against Respondent at a location
         described in 8 U.S.C. § 1229(e)(1), such action complied with 8 U.S.C. § 1367.




                                                                                             Request for Prompt Hearing
         To expedite a determination in my case, ’ | request thisny
                                                                    Notice ' to Appear
                                                                                  ;
                                                                                       be filed with ’ the Executive
                                                                                                            -        _
                                                                                                                     Office  -
                                                                                                                            for      -
                                                                                                                                Immigration :-
                                                                                                                                               Review ' as soon ’ as
         possible. | waive he!             :
                            my right to a 10-day pericd prior r to appearing before an immigration oy         “4
                                                                                                         judge and request my; hearing be scheduled.                           y
         Before:
                                                                                                                                                                       (Signature     of Respondent)

                                                                                                                                                                                    Date:
                                               =                 =                           ==           j
                                              (Signature   and Title of immigration           Officer)


                                                                                                       Certificate , of Service '
           —,   }          an                        >      i            }             t           '                ».          _          }             -        y                                                     \

           This Notice To Appear was served on the respondent                              by me on March                 25,       2025         _in the following manner and in compliance              with section
           _--.                 |:
           239(a)(1) of the Act.

                    in person 1           C by certified mail, returned receiptt # -
                                                                     5                                                         requested         C] by regular mail
                    Attached         is a credible fear worksheet.
                    Attached         is a list of organization   and attorneys        which       provide free legal services.

          The alien was provided                oral notice inthe            ENGLISH                                                  language   of the time and place of his or her hearing and of the
          consequences               of failure to appear as provided           in section    240(b)(7)        of the Act.
                                                                                                                                                             M 11272        MUSCARELLA -         Deportation
                                                                                                                           .                                                          Officer
                          (Signature         of Respondent if Personally Served) . .                                                                 (Signature       and Title of officer)



        DHS Form |-862 (6/22)                                                                                                                                                                          Page 2 of 4
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                                                                                        Privacy Act Statement

        Authority:
        The Department        of Homeland       Security   through   U.S. Immigration    and Customs Enforcement         (ICE), U.S Customs and Border Protection         (CBP), and U.S.
        Citizenship and Immigration Services (USCIS) are authorized to collect b the information requested on this form pursuant to Sections 103, 237, 239, 240,
                                                                                              y



        and 290 of the Immigration and Nationality Act (INA), as amended (8 U.S.C. 1103, 1229, 1229a, and 1360), and the regulations issued pursuant thereto.

        Purpose:
        You are being asked to sign and date this Notice to Appear (NTA) as an acknowledgement         of personal receipt of this notice. This notice, when filed with
                                 tr
        the U.S. Department of Justice's (DOJ) Executive Office for Immigration Review (EOIR), initiates removal proceedings. The NTA contains information
        regarding the nature po of the proceedings against you, the legal authority under which proceedings are conducted, the acts or conduct alleged against you
        to be in violation of law, the charges against you, and the statutory provisions alleged to have been violated. The NTA also includes information about
                                      J   1:


        the conduct of the removal hearing, your right to representation at no expense to the government, the requirement       to inform EOIR of any change in
        address, the consequences for failing to appear, and that generally, if you wish to apply for asylum, you must do so within one year of your arrival in the
        United States. If you choose to sign and date the NTA, that information will be used to confirm that you received it, and for recordkeeping.

        Routine Uses:
        For United States Citizens, Lawful Permanent Residents, or individuals whose records are covered by the Judicial Redress Act { of : 2015 (5 U.S.C. § 552a
                                                                           ae
        note), your information ! mayt be disclosed in accordance with the Privacy Act of 1974, 5 U.S.C. § 552a(b), including pursuant to the routine uses
                                                                       eee
                                                                                                                                                           yoy


        published in the following DHS systems of records notices (SORN): DHS/USCIS/ICE/CBP-001 Alien File, Index, and National File Tracking System of
                          a    _   J
        Records, DHS/USCIS-007 Benefit Information System, DHS/ICE-011 Criminal Arrest Records and Immigration Enforcement Records (CARIER), and
        DHS/ICE-003 General Counsel Electronic Management System (GEMS), and DHS/CBP-023 Border Patrol Enforcement Records (BPER). These
                                                             we




        SORNs can be viewed at https://www.dhs.gov/system-records-notices-sorns.             When disclosed to the DOJ's EOIR for immigration proceedings, this
        information that is maintained and used by DOJ is covered by the following DOJ SORN: EOIR-001, Records and Management Information System, or
        any updated or successor SORN, which can be viewed at httos://www,justice.gov/opcl/doj-systems-records.           Further, your information may be disclosed
        pursuant to routine uses described in the abovementioned         DHS SORNs or DOJ EOIR SORN to federal, state, local, tribal, territorial, and foreign law
        enforcement agencies for enforcement, investigatory,     litigation, or other similar purposes.

        For all others,   as appropriate       under United States law and DHS policy, the information         you provide may be shared internally        within DHS, as well as with
        federal, state, local, tribal, territorial,   and foreign law enforcement;        other government   agencies;     and other parties   for enforcement,    investigatory,   litigation,
        or other similar purposes.

        Disclosure:
        Providing your signature  and the date of your signature is voluntary. There are no effects on you for not providing                    your signature    and date; however,
        removal    proceedings may continue notwithstanding the failure or refusal to provide this information.




                 tana iainny
        DHS Form I-862 (6/22)                                                                                                                                             Page 3 of 4
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      U.S. Department      of Homeland Security                                        Continuation   Page for Form 1-862
    (by a                                           Se


       Alien’s Name                                                  File Number                      Date
      OZTURK,         RUMEYSA                                                                            03/25/2025
                                                                                   B02503000017

      CURRENTLY RESIDING AT:


      South         Louisiana     Imm   Center      3843   W   Stagg Ave Basile,      LOUISIANA 70515




       Signature                                                                         Title
        D.   4448    JOHNSTON
                                          |                                              SDDO




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                                        UNITED STATES DISTRICT COURT
                                         DISTRICT OF MASSACHUSETTS


             RUMEYSA OZTURK,

                                          Petitioner,

                            v.                                    Civil Action No. 1:25-cv-10695-DJC

             DONALD J. TRUMP, in his official capacity as                   Leave to file excess pages
             President of the United States, PATRICIA                         granted on 4/1/2025
             HYDE, Field Office Director,
             MICHAEL KROL, HSI New England Special
             Agent in Charge, TODD LYONS, Acting
             Director, U.S. Immigration and Customs
             Enforcement, and KRISTI NOEM, Secretary of
             Homeland Security; and MARCO RUBIO, in his
             official capacity as Secretary of State

                                         Respondents.


                         RESPONDENTS’ OPPOSITION TO PETITIONER’S
                  AMENDED PETITION FOR WRIT OF HABEAS CORPUS PURSUANT TO
                                       28 U.S.C § 2241

                   Respondents, by and through their attorney, Leah B. Foley, United States Attorney for the

            District of Massachusetts, respectfully submit this opposition to Petitioner Rumeysa Ozturk’s

            Amended Petition for Writ of Habeas Corpus (the “Petition”). Doc No. 12.

                                                    INTRODUCTION

                   Under binding precedent from the Supreme Court and the U.S. Court of Appeals for the

            First Circuit, this Court lacks habeas jurisdiction over this Petition because Petitioner was not in

            the District of Massachusetts when she filed her original petition seeking release from U.S.

            Immigration and Customs Enforcement (“ICE”) custody. See Declaration of Acting Deputy Field

            Office Director David T. Wesling, ¶¶ 12-13, attached as Exhibit A (“Wesling Decl.). Instead, at

            the time of filing, Petitioner was in Vermont, after she had been transferred from Massachusetts




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            immediately after her arrest on March 25, 2025. Id., ¶¶ 6-8. Petitioner also was not in this District

            when she filed her Amended Complaint on March 28 as she had been transferred to Louisiana two

            days prior. Id., ¶¶ 18-19. As this Court is not in Petitioner’s district of confinement, it lacks

            jurisdiction to entertain this action.

                    In Rumsfeld v. Padilla, 542 U.S. 426, 434-35 (2004), the Supreme Court made clear an

            individual challenging her detention through a habeas petition must file that petition in the district

            where she is detained and must name the custodian detaining her in such district as the respondent.

            The First Circuit, in Vasquez v. Reno similarly held that “an alien who seeks a writ of habeas

            corpus contesting the legality of his detention by [ICE] normally must name as the respondent his

            immediate custodian, that is, the individual having day-to-day control over the facility in which he

            is being detained.” 233 F.3d 688, 690 (1st Cir. 2000). Because Petitioner did not do that, and still

            has not done that with the filing of her Amended Petition, this Court lacks habeas jurisdiction over

            this action. See, e.g., Tham v. Adducci, 319 F. Supp. 3d 574, 577 (D. Mass. 2018) (Holding that

            “jurisdiction lies in only one district: the district of confinement.”); Rombot v. Moniz, 299 F. Supp.

            3d 215, 218 (D. Mass. 2017) (“A district court may only grant a petitioner relief when the court is

            located in the ‘district of confinement.’”) (quoting Padilla, 542 U.S. at 443); Hernandez v. Lyons,

            1:19-cv-10519-DJC, ECF No. 18 (D. Mass. Oct. 11. 2019) (Allowing motion to dismiss as habeas

            petitioner “was not in the district when he filed or was pursuing this Petition as is required.”).

                    Additionally, even if Petitioner had properly filed her original petition when she was

            detained in Massachusetts, this Court would nonetheless lack jurisdiction over this matter under

            the Immigration and Nationality Act (“INA”). The federal immigration laws strip district courts

            of jurisdiction over the sorts of governmental decisions challenged in the Petition, including the

            revocation of Petitioner’s student visa and ICE’s decision to initiate removal proceedings. The



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            Department of State revoked Petitioner’s visa on March 21, 2025 pursuant to INA Section 221(i),

            8 U.S.C. § 1201(i), which allows revocation of a visa at the Secretary of State’s discretion. See

            Doc. No. 12-2, Form I-862, Notice to Appear (“NTA”). Per Section 1201(i), Congress barred

            judicial review of a visa revocation, specifically stating that “[t]here shall be no means of judicial

            review … of a revocation under this subsection,” including through a habeas petition, other than

            in the context of removal proceedings and only if the visa revocation is the sole basis for removal.

            (emphasis added).

                   Petitioner’s request for review of ICE’s decision to initiate removal proceedings against

            her is barred by 8 U.S.C. § 1252(g) which strips district courts of jurisdiction “to hear any cause

            or claim by or on behalf of an alien arising from the decision or action by [ICE] to commence

            proceedings … against any alien,” including constitutional claims. Courts also lack jurisdiction to

            review ICE’s discretionary decisions to arrest and detain aliens under 8 U.S.C. § 1226(a). Per 8

            U.S.C. § 1226(e), ICE’s “discretionary judgment regarding the application of [Section 1226] shall

            not be subject to review [and] … [n]o court may set aside any action or decision by [ICE] under

            this section regarding the detention of any alien …”. And finally, 8 U.S.C. §§ 1252(a)(5) and

            (b)(9) strip “federal courts of jurisdiction to decide legal and factual questions arising from an

            alien’s removal” and instead channel such questions to the courts of appeal via a petition for

            review. Gicharu v. Carr, 983 F.3d 13, 16 (1st Cir. 2020).

                   Petitioner is not without recourse to challenge the revocation of her visa and her arrest and

            detention, but such challenge cannot be made before this Court. Instead, Petitioner must seek

            release before an immigration judge and must pursue relief from removal in Immigration Court,

            before the Board of Immigration Appeals (“BIA”), and eventually before a circuit court if

            necessary. But one way or another, this Court lacks jurisdiction over this matter. And as this



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            Court lacks jurisdiction over this Petition, Petitioner’s request for release on bail pending

            adjudication of the matter is similarly unwarranted.

                                  FACTUAL AND PROCEDURAL BACKGROUND

                   A. Petitioner’s Arrest and Transfer from the District of Massachusetts.

                   Petitioner is a native and citizen of Turkey. Doc. No. 12, ¶ 8. Petitioner entered the

            United States pursuant to a student visa. Id., ¶ 8. Pursuant to 8 U.S.C. § 1226(a), ICE arrested

            Petitioner at approximately 5:25 PM on March 25, 2025, after her visa had been revoked by the

            Department of State under 8 U.SC. § 1201(i). Wesling Decl., ¶ 5; Doc. No 12-2, NTA. With the

            revocation of her visa, Petitioner was subject to removal from the United States pursuant to 8

            U.S.C. § 1227(a)(1)(B) as an alien “whose nonimmigrant visa … has been revoked under section

            1201(i).” Doc. No. 12-2.

                   Prior to the arrest, ICE determined that there was no available bedspace for Petitioner at a

            facility within the New England region where she could be detained and still appear for a hearing

            in Immigration Court. Id., ¶ 6. ICE therefore decided that Petitioner would be transferred to the

            South Louisiana Correctional Facility in Basile, Louisiana after her arrest and made necessary

            transfer and flight arrangements to facilitate custody at that facility. Id., ¶ ¶ 6, 8. Transfers out

            of state, and out of the ERO Boston area of responsibility, are routinely conducted after arrest,

            due to operational necessity. Id., ¶ 7. In accordance with this operational plan, at 5:49 PM on

            March 25, ICE officials departed Somerville, Massachusetts, and transported Petitioner to

            Methuen, Massachusetts arriving at 6:22 PM. Id., ¶ 10. At 6:36 PM, ICE officials departed from

            Methuen, Massachusetts and transported Petitioner to Lebanon, New Hampshire.1 Id., ¶ 11. At



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                      Methuen, Massachusetts is approximately 2 miles from the New Hampshire border on
            Interstate I-93.

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            9:03 PM, ICE officials departed Lebanon, New Hampshire to transport Petitioner to the ICE field

            office in St. Albans, Vermont.2 Id., ¶ 12. At 10:28 PM, Petitioner arrived at the ICE field office

            in St. Albans, Vermont. Id., ¶ 13. While at the facility in St. Albans, ICE issued Petitioner with

            a NTA in the Oakdale, Louisiana Immigration Court on April 7, 2025 and charged Petitioner as

            removable from the United States per 8 U.S.C. § 1227(a)(1)(B). Id., ¶ 14; Doc. No. 12-2, NTA.

                    Petitioner spent the night at the ICE field office in St. Albans, Vermont on March 25.

            Wesling Decl., ¶ 13. On March 26 at 4:00 AM, ICE officials departed the ICE Field Office in St.

            Albans and transported Petitioner to the airport in Burlington, Vermont. Id., ¶ 16. At 5:31 AM,

            Petitioner departed the airport in Burlington. Id., ¶ 17. At 2:35 PM, Petitioner arrived in

            Alexandria, Louisiana and was transported to the South Louisiana Correctional Facility in Basile,

            Louisiana. Id., ¶¶ 18-19. At the time of Petitioner’s arrest, ICE was not aware of a counsel of

            record for Petitioner. Id., ¶ 20. Once ICE obtained Petitioner’s counsel’s contact information, it

            was provided to ERO New Orleans to facilitate Petitioner’s communication with counsel. Id.

            Upon her arrival to the South Louisiana Correctional Facility, Petitioner spoke with counsel. Id.

            ¶ 21.

                    B. Petitioner’s Original Habeas Petition and her Amended Petition.

                    Petitioner filed her original petition with this Court on March 25, 2025 at 10:01 PM. Doc.

            No. 1. Petitioner named as Respondents Patricia Hyde, the Acting Director of ICE’s ERO Boston

            Field Office, Michael Krol, ICE’s Boston Homeland Security Investigation’s Special Agent in

            Charge, Todd Lyons, the Acting Director of ICE, and Kristi Noem, the Secretary of Homeland

            Security. Id. Petitioner alleged that she was “currently in custody in the District of Massachusetts”


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                      Lebanon, New Hampshire is approximately 5 miles from the Vermont border on
            Interstate I-89.

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            and that “one or more of the Respondents is her immediate custodian.” Id., ¶ 12. But as just

            detailed, Petitioner was in fact in Vermont, set to be transferred to Louisiana—a decision, again,

            that was made by ICE officials before any petition was filed. Wesling Decl., ¶¶ 6-8, 10-13.

                   On March 28, Petitioner filed an Amended Petition. Doc. No. 12. Petitioner added

            President Donald J. Trump and Secretary of State Marco Rubio as Respondents. Id. Petitioner

            asserts venue is proper in this Court under the theory that she “had been detained in the District

            of Massachusetts by [ICE] and under the custody and control of ICE officials in Massachusetts at

            the time of the filing of this petition.” Id., ¶ 7. Petitioner added claims under the First

            Amendment and the Administrative Procedures Act (“APA”), amended her claim under the Fifth

            Amendment’s Due Process Clause, and sought release on bail. Id. Petitioner asked the Court

            order that she be returned to Massachusetts, that she be released, and that the Court find that her

            arrest violated the First and Fifth Amendments. Id. at PRAYER FOR RELIEF.

                                                       ARGUMENT

                   Petitioner improperly filed her original petition with this Court because Petitioner was not

            detained in Massachusetts when she filed her action at 10:02 PM on March 25. She also named

            improper supervisory officials as respondents. Petitioner’s Amended Petition is similarly

            improperly filed in this Court because Petitioner is in custody in Louisiana and this Court lacks

            jurisdiction over her immediate custodian who has not been named as a respondent. Even if the

            original petition had been properly filed, dismissal would still be required because this Court

            lacks jurisdiction to review Petitioner’s challenges to the Government’s action and to order the

            requested relief. As such, this Court should dismiss this action without prejudice. If, however,

            the Court determines transfer of the Petition is appropriate, such transfer must be to the Western

            District of Louisiana where Petitioner is currently detained.



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                     A. The Immediate Custodian and District of Confinement Rules Apply to this
                        Petition and Render this Court without Jurisdiction.

                     Petitioner’s original petition was improperly filed as Petitioner was not detained in

            Massachusetts when she filed her action at 10:02 PM on March 25 and because she did not name

            her immediate custodian as a respondent. Petitioner departed Massachusetts shortly after 6:30

            PM when ICE officials transported her from Methuen, Massachusetts on the way to Lebanon,

            New Hampshire before eventually arriving in St. Albans, Vermont later that evening. Wesling

            Decl., ¶¶ 11-13. Because Petitioner was in Vermont when her original petition was filed, she

            should have filed her action with the U.S. District Court for the District of Vermont, not this

            Court.

                     The Supreme Court explained that when considering “challenges to present physical

            confinement … the immediate custodian, not a supervisory official who exercises legal control,

            is the proper respondent.” Padilla, 542 U.S. at 439. Padilla involved a habeas petition filed by a

            U.S. citizen who was initially detained in the Southern District of New York but then transferred

            to South Carolina. Id. at 431. After Mr. Padilla was transferred, he filed a petition in SDNY,

            naming President Bush and Secretary Rumsfeld as respondents. Id. at 432. The Court

            confronted the “question whether the Southern District has jurisdiction over Padilla’s habeas

            petition” which required two determinations: “First, who is the proper respondent to the petition?

            And second, does the Southern District have jurisdiction over him or her?” Id. at 434.

                     Answering the first question, the Supreme Court explained that the habeas statute

            “provides that the proper respondent to a habeas petition is ‘the person who has custody over [the

            petitioner].’” Id. (quoting 22 U.S.C. § 2242). The Court stated that “there is generally only one

            proper respondent to a given prisoner’s habeas petition,” the immediate custodian who has “the

            ability to produce the prisoner’s body before the habeas court.” Id. The Court applied its

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            “longstanding” rules – known as the “district of confinement” and “immediate custodian” rules –

            and explained that in a challenge to present physical confinement, “the proper respondent is the

            warden of the facility where the prisoner is held, not the Attorney General or some other remote

            supervisory official.” Id. at 435. The Court acknowledged that while Mr. Padilla’s detention

            was “undeniably unique in many respects, it is at bottom a simple challenge to physical custody

            imposed by the Executive….” Id. at 441. Without evidence that “there was any attempt to

            manipulate” his transfer or that government was hiding his location, the Court explained that his

            “detention is thus not unique in any way that would provide arguable basis for a departure from

            the immediate custodian rule.” Id. at 441-42.

                   As to the question of the proper district court to consider the petition, the Court affirmed

            the applicability of the traditional rule “that for core habeas petitions challenging present

            physical confinement, jurisdiction lies in only one district: the district of confinement.” Id. at

            443. Because Mr. Padilla was moved from the Southern District of New York before the petition

            was filed, “the Southern District never acquired jurisdiction over Padilla’s petition.”. Id. at 441-

            42.3 In summary, the Padilla Court explained that whenever a “habeas petitioner seeks to

            challenge his present physical custody within the United States, he should name his warden as

            respondent and file the petition in the district of confinement.” Id. at 447.




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                       As such, the Padilla Court distinguished the factual circumstances before the Court
            from those at issue in Ex parte Endo, 323 U.S. 283 (1944) where the Supreme Court had created
            an exception to its general rule for cases in which the petitioner properly filed the habeas petition
            against the immediate custodian and thereafter was transferred outside the district court’s
            territorial jurisdiction. Here, as in Padilla, Endo is not applicable because Petitioner never
            properly filed her habeas petition because she was not detained in Massachusetts when it was
            filed.

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                   Four years prior to the Padilla decision, the First Circuit in Vasquez v. Reno held that a

            habeas petitioner challenging his immigration detention must file his petition in the district of

            confinement and must name his immediate custodian in that district as the respondent. Vasquez,

            233 F.3d at 696. The First Circuit rejected the argument that a supervisory official such as the

            Attorney General was the proper respondent, holding that “as a general rule, the Attorney

            General is neither the custodian of such an alien in the requisite sense nor the proper respondent

            to a habeas petition.” 4 Id. at 689.

                   In Vasquez, an alien was detained in Massachusetts before transfer to Louisiana. Id. at

            690. The petitioner filed in the District of Massachusetts, naming as respondents the Attorney

            General, the Commissioner of the Immigration and Nationality Service (“INS”), and the district

            director of the INS’s Boston office. Id. He did not name, however, the INS official who

            maintained his custody in Louisiana. Id. The First Circuit held that the district court erred in

            exercising jurisdiction because the petitioner was not detained in Massachusetts when he filed

            and due “to the petitioner’s failure to name his true custodian (the INS district director for

            Louisiana) as the respondent to his petition.” Id. The Court distinguished the Supreme Court’s

            decision in Endo, explaining that such petition was “properly-filed,” unlike Mr. Vasquez’s

            petition which was filed “in a jurisdiction where neither he nor his immediate custodian was

            physically present.” Id. at 695.

                   The First Circuit explained that “Congress has stipulated that a writ of habeas corpus

            granted by a district court ‘shall be directed to the person having custody of the person

            detained.’” Id. (quoting 28 U.S.C. § 2243). Per the Court, “[t]his means, of course, that the


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                    At the time of the Vasquez decision, immigration detainees were held by the
            Immigration and Naturalization Service which was part of the U.S. Department of Justice.

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            court issuing the writ must have personal jurisdiction over the person who holds the petitioner in

            custody.” Id. at 690. As it specifically concerned aliens in immigration detention, the Court

            found that, as in in the prison context, the proper respondent is not a supervisory official such as

            the Attorney General or the head of an agency, but the immediate custodian of the alien, i.e. the

            individual “who holds the petitioner in custody.” Id. at 691. As such, the First Circuit held that

            “an alien who seeks a writ of habeas corpus contesting the legality of his detention by [ICE]

            normally must name as the respondent his immediate custodian, that is, the individual having

            day-to-day control over the facility in which he is being detained.” Id. Otherwise, “allowing

            alien habeas petitioners to name the Attorney General … will encourage rampant forum

            shopping.” Id. at 694.

                   Courts within this District routinely find jurisdiction wanting over habeas petitions that

            are filed by ICE detainees outside of Massachusetts. See Kantengwa v. Brackett, No. 19-CV-

            12566-NMG, 2020 WL 93955, at *1 (D. Mass. Jan. 7, 2020) (“Because the District of

            Massachusetts is not the district of [petitioner’s] confinement, jurisdiction is lacking.”); Tham,

            319 F. Supp. 3d at 577 (“jurisdiction lies in only one district: the district of confinement.”);

            Rombot v. Moniz, 299 F. Supp. 3d at 218 (“A district court may only grant a petitioner relief

            when the court is located in the ‘district of confinement.’”) (quoting Padilla, 542 U.S. at 443).

                   Because Petitioner was not detained in Massachusetts when she filed her original petition

            and because she failed to name her immediate custodian, this Court lacks jurisdiction over this

            matter. Petitioner’s Amended Petition is similarly improperly filed in this Court, because it fails

            to name her immediate custodian in Louisiana, and it is not filed in her district of confinement.

            Given this Court lacks habeas jurisdiction under the above rules, the proper course is for this

            Court to dismiss the action.



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                           1. Petitioner failed to name her immediate custodian.

                   Petitioner named improper respondents in her original petition because she named

            supervisory officials, rather than her immediate custodian in Vermont when the petition was

            filed. Her Amended Petition suffers from the same flaws as she adds additional supervisory

            officials but fails to name her immediate custodian in Louisiana.

                   Courts within this district routinely hold that they lack jurisdiction over a habeas petition

            if the alien names improper respondents such as supervisory officials like the ICE Boston Field

            Office Director (“FOD”), even if this individual provides oversite throughout the New England

            region. For example, in Duy Tho Hy v. Gillen, 588 F. Supp. 2d 122, 124-25 (D. Mass. 2008), the

            Court held that the ICE FOD was not a proper party, explaining that “[b]ecause the petitioner's

            immediate custodian is the only proper respondent, a supervisory officer of any kind, … is not a

            proper party.” Id. at 125 (emphasis in original). More recently, the Court rejected an argument,

            similarly made by Petitioner, that ICE Boston’s FOD had “total control” over the petitioner and

            therefore was a proper respondent, finding such claim “unavailing” in Tham, 319 F. Supp. 3d at

            576-577.

                   Other sessions of this Court similarly routinely hold that supervisory officials are not

            proper respondents to a habeas action. See e.g., McPherson v. Holder, No. 14-CV-30207-MGM,

            2015 WL 12861171, at *2 (D. Mass. Mar. 4, 2015) (Explaining that “regardless of where

            petitioner was detained at the time of filing, under First Circuit jurisprudence, Attorney General

            Eric Holder does not have day-to-day control over the facility where the petitioner is held. Thus,

            petitioner has not named the proper respondent, and on this basis alone, the petition may be

            dismissed without prejudice to its refiling with the correct respondent.”); Pen v. Sessions, No.

            CV 17-10626-NMG, 2017 WL 2312822, at *1–2 (D. Mass. May 25, 2017) (Holding that “the



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            proper respondent is the warden of the institution where Pen was confined when the petition was

            filed. … The other persons identified as respondents are not proper parties to this action.”).

                   As Petitioner is now detained in Louisiana, her failure to name her immediate custodian

            subjects her Amended Petition to dismissal. See Tham, 319 F. Supp. 3d at 577 (Explaining that

            for an ICE habeas petitioner detained in New Hampshire, the correct respondent is the

            Superintendent of that facility); Faulkner v. US. Immigr. & Naturalization, No. CV 22-12122-

            WGY, 2023 WL 3868437, at *2 (D. Mass. June 7, 2023) (Holding that “the proper respondent is

            the warden of the institution where Faulkner was confined when the petition was filed. Because

            Faulkner is [in Maryland], the proper respondent is the warden at this Maryland facility.”);

            Kantengwa, 2020 WL 93955 at *1 (“Because Kantengwa was at the Strafford County Detention

            Center at the time she filed her petition (and remains there still), the proper respondent is Warden

            Brackett. The other persons identified as respondents are not proper parties to this action.”).

                           2. Petitioner failed to file in the district of confinement.

                   Because Petitioner was not detained in Massachusetts when she filed her original petition

            or her Amended Petition, this Court lacks jurisdiction over this action. For a district court to

            have jurisdiction over a habeas petition, the individual holding custody must be “within [the

            court’s] respective jurisdiction[].” Padilla, 542 U.S. at 442 (quoting 28 U.S.C. § 2241(a));

            Vasquez, 233 F.3d at 690 (Explaining “that the court issuing the writ must have personal

            jurisdiction over the person who holds the petitioner in custody.”). As the Supreme Court has

            made clear, that means the district of confinement. Padilla, 542 U.S. at 443.

                   Courts within this district routinely find that they do not have habeas jurisdiction when a

            petition is filed by a detainee outside Massachusetts. See Rombot, 299 F. Supp. 3d at 218 (“A

            district court may only grant a petitioner relief when the court is located in the ‘district of



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            confinement.’”) (quoting Padilla, 542 U.S. at 443); Tham, 319 F. Supp. 3d at 577 (“jurisdiction

            lies in only one district: the district of confinement.”); Kantengwa, 2020 WL 93955, at *2

            (“Because the District of Massachusetts is not the district of Kantengwa’s confinement,

            jurisdiction is lacking.”); Aitcheson v. Holder, No. CV 15-11123-NMG, 2015 WL 10434871, at

            *2 (D. Mass. Dec. 31, 2015) (Finding no jurisdiction over a habeas petition filed by a petitioner

            when in the District, but who was moved to Alabama shortly after such filing because “1)

            [Massachusetts] is no longer petitioner's district of confinement and 2) only a respondent at the

            Detention Center in Alabama could bring the petitioner before a habeas court.”).

                    Because Petitioner was transferred from Massachusetts before she filed the original

            petition, this Court never acquired jurisdiction and therefore “out not to … act[] on the merits” of

            her Amended Petition. Vasquez, 233 F.3d at 697.

                            3. No exceptional circumstances allow deviation from the district of
                               confinement and immediate custodian rules.

                    The First Circuit did acknowledge that there could be “extraordinary circumstances” in

            which an official with supervisory control could be named as the respondent for an ICE

            detainee’s habeas petition. Vasquez, 233 F.3d at 697. The First Circuit, however, found no “hint

            of anything that might qualify as an extraordinary circumstance” in that Mr. Vasquez was

            required to file his petition in the district of his confinement (Louisiana), even if that jurisdiction

            was considered a less hospitable judicial district for the detainee to present his claims. Id.

                    Here too, there are no extraordinary circumstances that make appropriate the naming of

            supervisory officials as respondents to this action or that ground jurisdiction with this Court.

            Petitioner’s transfer out of Massachusetts was not done to manipulate jurisdiction or to detain her

            in an undisclosed location, rather it was done out of operational necessity. Wesling Decl., ¶¶ 6-

            8. After ICE arrested Petitioner at approximately 5:25 PM on March 25, ICE transferred

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            Petitioner out of Massachusetts to the ICE Field Office in St. Albans, Vermont because ICE does

            not maintain detention facilities in Massachusetts for females. Id., ¶¶ 6, 10-13. ICE routinely

            transfers individuals arrested in one state to facilities in other states because of operational

            considerations such as bedspace and designation of risk categories. Id., 7.5

                   ICE’s transfer of Petitioner to Vermont and then to Louisiana does not suggest

            “furtiveness” or “bad faith” as the First Circuit was concerned with in Vasquez. Other courts

            have confronted comparable circumstances in which a petition was filed outside the district of

            confinement during transit between locations and have rejected arguments seeking exception to

            the immediate custodian and district of confinement rules. For example, in Ruvira-Garcia v.

            Guadian, the court explained that there were “two big problems” with petitioner’s request that

            the court order her return to Illinois: “Petitioner filed against the wrong people, in the wrong

            place.” No. 1:20-CV-2179, 2020 WL 1983875, at *1 (N.D. Ill. Apr. 17, 2020). The petitioner in

            that case was not in Illinois when she filed her petition, “she apparently was en route between

            Texas and Oklahoma” and therefore the court found that this “isn’t a case where the petitioner

            was here at the moment of filing, and then left. She hasn’t been in [Illinois] at any point since

            this case started.” Id., at *3. Even if it was “unclear whether the authorities in Texas, or the

            authorities in Oklahoma, had custody over her at the moment of filing,” “if the choice is between

            Texas and Oklahoma, Illinois is the wrong answer.” Id. The court found it lacked jurisdiction




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                     See Russian scientist working at Harvard detained by ICE at Boston airport,
            https://www.theguardian.com/us-news/2025/mar/27/russian-scientist-harvard-medical-school-
            ice-detention (Explaining that a female applicant for admission had her visa revoked on February
            16, 2025 by U.S. Customs and Border Protection and then was transferred by ICE to a facility in
            Vermont prior to transfer to a facility in Louisiana).



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            but explained that “the continued detention of [p]etitioner by the Executive Branch is not

            immune from challenge … [p]etitioner simply can’t challenge her detention [in Illinois], as

            Congress made clear.” Id.

                   In another case, while recognizing that transfers of an ICE detainee between states

            presented “unusual logistical circumstances,” the court explained that “it is not this Court’s duty

            to ascertain or identify an Arizona official who would be correctly named as a respondent in this

            case” and concluded that “there is no recognized exception to the immediate custodian rule for

            inconvenience or exigent circumstances.” Fuentes v. Choate, No. 24-CV-01377-NYW, 2024

            WL 2978285, at *9-10 (D. Colo. June 13, 2024). Similarly, in Khalil v. Joyce, --- F.Supp.3d ---,

            2025 WL 849803, (S.D.N.Y. Mar. 19, 2025), a case that also involved an ICE arrest in New

            York, a transfer to a facility in New Jersey, and then an eventual transfer to Louisiana, the

            Southern District found it lacked jurisdiction because even though petitioner was arrested in New

            York, he was in New Jersey when he filed his petition. Id., at *2.

                   These cases demonstrate that even with an arrest in one district followed by a transfer to

            another district, a habeas petitioner must file her petition in the district of confinement and must

            name her immediate custodian as respondent. Simply because a detainee is transferred to

            another district post-arrest does not suggest bad faith underlying the transfer. See Khalil, 2025

            WL 849803, at *10 (The “swift nature of Khalil’s transfer does not help his argument … [as]

            rapid transfers from one immigration detention facility to another also appear to be common”).

            The traditional immediate custodian and district of confinement rules apply in this case and as

            such, the Petition must be dismissed.




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                   B. Even if the Original Petition was Properly Filed, this Court Lacks Jurisdiction to
                      Review the Challenged Executive Actions.

                   Even if properly filed, this action must still be dismissed as the Court lacks jurisdiction

            over Petitioner’s challenges to the revocation of her visa and her subsequent arrest, detention,

            and initiation of removal proceedings.

                   1. District courts lack jurisdiction to review the Department of State’s revocation
                      of visas.

                   Petitioner asserts that the revocation of her student visa was unlawful and therefore her

            arrest and detention are illegal. Doc. No. 12, ¶¶ 4-5. Her challenge to the revocation of her visa

            cannot be heard by this Court, however, as 8 U.S.C. § 1201(i) specifically states that there

            “shall be no means of judicial review” including habeas review, “except in the context of

            removal proceedings if such revocation provides the sole ground for removal”. Here, ICE

            issued Petitioner with a NTA initiating removal proceedings on account of her revoked visa and

            she can seek judicial review before an Immigration Court, the BIA, and eventually to a court of

            appeals if she is ordered removed.

                   As explained by another district court when dismissing a petition which challenged a

            visa revocation on account of a political dispute: “Congress has taken it out of my hands. … I

            cannot address this argument because I lack subject matter jurisdiction over the case. The

            legality of petitioner’s detention depends on the resolution of such issues as whether the

            government lawfully revoked his visa and whether he is removable from the United States and,

            as indicated above, I am precluded from reviewing those issues.” Bolante v. Achim, 457 F.

            Supp. 2d 898, 902 (E.D. Wis. 2006). The court also found the Suspension Clause not

            implicated because “the government has initiated removal proceedings” and a circuit court

            could review a challenge to the visa revocation upon a petition for review. Id. at 902-03, n.6; 8



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            U.S.C. § 1252(a)(2)(D) (Explaining that judicial review remains available for “constitutional

            claims or questions of law raised upon a petition for review).

                   Other courts also routinely find themselves without jurisdiction to consider the merits of

            a visa revocation upon operation of Section 1201(i)’s language. See e.g., Aldabbagh v. Sec'y of

            State, No. 6:21-CV-532-GAP-EJK, 2021 WL 6298664, at *2 (M.D. Fla. Oct. 5, 2021) (Finding

            no jurisdiction over complaint that asked court to declare revocation of visa to be arbitrary and

            capricious, an abuse of discretion, and not in accordance of law.); Tarlinsky v. Pompeo, No.

            3:19-CV-659 (VLB), 2019 WL 2231908, at *5 (D. Conn. May 23, 2019) (“As the basis for [the

            visa] revocation is expressly non-reviewable by statute, the [c]ourt lacks subject matter

            jurisdiction over” the complaint.). To the extent Petitioner seeks review of the State

            Department’s revocation of her visa, this Court lacks jurisdiction to consider her claims.

                   2.   District courts lack jurisdiction over ICE’s decisions to commence removal
                        proceedings and to detain aliens for such proceedings.

                   Petitioner’s claim that ICE’s decision to initiate removal proceedings and arrest and

            detain her violated her constitutional rights is not subject to this Court’s review under the INA.

                           a. 8 U.S.C. § 1252(g) bars judicial review of ICE’s decision to commence
                              removal proceedings against Petitioner.

                   Congress, through the REAL ID Act, made clear that district courts do not have

            jurisdiction to consider challenges to ICE’s discretionary decisions concerning the

            commencement of removal proceedings. Specifically, 8 U.S.C. § 1252(g) strips courts of

            jurisdiction to hear “any cause or claim by or on behalf of an alien arising from the decision or

            action by [ICE] to commence proceedings … against any alien under this chapter.” (emphasis

            added). Section 1252(g) is “directed against a particular evil: attempts to impose judicial

            constraints upon [certain categories of] prosecutorial discretion.” Reno v. Am.-Arab Anti-



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            Discrimination Comm., 525 U.S. 471, 485 n.9 (1999). Section 1252(g) plainly applies to

            decisions and actions to commence proceedings that ultimately may end in the execution of a

            final removal order. See Jimenez-Angeles v. Ashcroft, 291 F.3d 594, 599 (9th Cir. 2002) (“We

            construe § 1252(g) . . . to include not only a decision in an individual case whether to commence,

            but also when to commence, a proceeding.”); Obado v. Superior Ct. of New Jersey Middlesex

            Cnty., No. CV 21-10420 (FLW), 2022 WL 283133, at *3 (D.N.J. Jan. 31, 2022) (“Because

            [p]etitioner challenges the decision to commence and adjudicate removal proceedings against

            him, the [c]ourt lacks jurisdiction to direct [respondents] to terminate [p]etitioner’s NTA and/or

            halt his removal proceedings.”).

                   In addition to barring challenges to whether and when to commence proceedings, §

            1252(g) bars district courts from hearing challenges to the method by which ICE chooses to

            commence removal proceedings. See Alvarez v. U.S. Immigr. & Customs Enf’t, 818 F.3d 1194,

            1203 (11th Cir. 2016) (“By its plain terms, [§ 1252(g)] bars us from questioning ICE’s

            discretionary decisions to commence removal” and also to review “ICE’s decision to take him

            into custody and to detain him during removal proceedings”); Saadulloev v. Garland, No. 3:23-

            CV-00106, 2024 WL 1076106, at *3 (W.D. Pa. Mar. 12, 2024) (“The Government’s decision to

            arrest [petitioner], clearly is a decision to ‘commence proceedings’ that squarely falls within the

            jurisdictional bar of § 1252(g).”).

                   As Section 1252(g) prohibits judicial review of “any cause or claim” that arises from the

            commencement of removal proceedings, this provision applies to constitutional as well as

            statutory claims. Candra v. Cronen, 361 F. Supp. 3d 148, 156 (D. Mass. 2019) (Explaining that

            a petitioner’s “attempt to frame his claim in due process language does not change [the] result”

            that Section 1252(g) strips jurisdiction.); Anderson, v. Moniz, No. CV 21-11584-FDS, 2022 WL



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            375231, at *4 (D. Mass. Feb. 7, 2022) (“Section 1252(g) can serve as a jurisdictional bar even

            when a petitioner contends that his due-process rights were violated.”).

                   That Petitioner is alleging her removal proceedings were initiated in retaliation for her

            exercise of the First Amendment does not remove her claim from Section 1252(g)’s reach. See

            Reno, 525 U.S. at 487-92 (holding that Section 1252(g) deprived district court of jurisdiction

            over claim that certain aliens were targeted for deportation in violation of the First Amendment.);

            Zundel v. Gonzales, 230 F. App'x 468, 475 (6th Cir. 2007) (Explaining that First Amendment

            challenge related to immigration enforcement action “is properly characterized as a challenge to

            a discretionary decision to ‘commence proceedings’ … [and] is insulated from judicial review”.);

            Humphries v. Various Fed. USINS Emps., 164 F.3d 936, 945 (5th Cir. 1999) (determining that §

            1252(g) prohibited review of an alien’s First Amendment claim based on decision to put him into

            exclusion proceedings); Vargas v. United States Dep't of Homeland Sec., No. 1:17-CV-00356,

            2017 WL 962420, at *3 (W.D. La. Mar. 10, 2017) (Claim that ICE “violated her First

            Amendment right to free speech by arresting her and initiating her removal after she made

            statements to the media … is barred by 8 U.S.C. § 1252(g).”); Kumar v. Holder, No. 12-CV-

            5261 SJF, 2013 WL 6092707, at *6 (E.D.N.Y. Nov. 18, 2013) (Claim of initiation of

            proceedings in retaliatory manner “falls squarely within Section 1252(g) … [and] that [t]he

            pending immigration proceedings are the appropriate forum for addressing petitioner’s retaliation

            claim in the first instance.”). As such, judicial review of Petitioner’s claim that commencement

            of removal proceedings is unconstitutional is barred by Section 1252(g).

                           b. 8 U.S.C. § 1226(e) bars judicial review of ICE’s decision to arrest and detain
                              Petitioner.

                   ICE’s arrest and detention of Petitioner is authorized by 8 U.S.C. § 1226(a) which

            allows detention “pending a decision on whether [she] is to be removed from the United States.”

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            8 U.S.C. § 1226(a). This provision “creates authority for anyone’s arrest or release under §

            1226—and it gives the Secretary broad discretion as to both actions….” Nielsen v. Preap, 586

            U.S. 392, 409 (2019) (emphasis in the original). Petitioner’s assertion that her detention is

            unlawful is not properly before this Court as Congress has made clear that ICE’s “discretionary

            judgment regarding the application of [Section 1226] shall not be subject to review.” 8 U.S.C.

            § 1226(e). Section 1226(e) further commands that “[n]o court may set aside any action or

            decision by [ICE] under this section regarding the detention of any alien or the revocation or

            denial of bond or parole.” Id. As the Supreme Court explained in Demore v. Kim, 538 U.S.

            510, 516-17 (2003), this provision blocks judicial review of ICE’s discretionary judgments and

            decisions to arrest and detain aliens subject to 8 U.S.C. § 1226. See also Jennings v. Rodriguez,

            583 U.S. 281, 295-96 (2018) (Section “1226(e) precludes an alien from challenging a

            discretionary judgment by the [Secretary] or a decision that the [Secretary] has made regarding

            his detention or release.”) (cleaned up).

                   Petitioner asserts her detention “is unjustified” because the Government has not

            demonstrated that she “needs to be detained.” Doc. No. 12, ¶ 73. This Court, however, is not the

            forum for such a claim. Instead, Petitioner must request release from an immigration judge, and

            if dissatisfied with the outcome, to the BIA.6 She further asserts that her detention is punitive and

            that there is no legitimate purpose for detaining her. Id., ¶ 74. This argument fails, however, as

            she is detained for purpose of removal proceedings and the Supreme Court has upheld the

            constitutionality of detention such purpose, even when such detention is mandatory and does not




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                     After ICE makes the initial decision to detain an alien, the alien may request a bond
            hearing in Immigration Court and can appeal to the BIA if necessary. 8 C.F.R. § 236.1(d)(1)-
            (3).

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            allow access to a bond hearing, as Petitioner is entitled to in this case. Demore, 538 U.S. at 523

            (The “Court has recognized detention during deportation proceedings as a constitutionally valid

            aspect of the deportation process.”);7 Wong Wing v. U.S. 163 U.S. 288, 235 (1896) (holding

            deportation proceedings “would be vain if those accused could not be held in custody pending the

            inquiry into their true character.”); Hernandez-Lara v. Lyons, 10 F.4th 19, 32 (1st Cir. 2021)

            (Recognizing that the “prompt execution of removal orders is a legitimate governmental interest

            which detention may facilitate.”) (cleaned up). If mandatory detention without access to a bond

            hearing passes constitutional muster, then Petitioner’s detention, where she can seek a bond

            hearing, certainly does not implicate due process concerns. To the extent that Petitioner is basing

            her claim on Demore, 538 U.S. at 532–33 (Kennedy, J., concurring) or Zadvydas v. Davis, 533

            U.S. 678, 693 (2001), those claims are related to prolonged detention and are not available until

            immigration detention exceeds a minimum of six months. See Demore, 538 U.S. at 510 (affirming

            constitutionality of detention exceeding six months); Zadvydas, 533 U.S. at 693 (adopting six

            months as a presumptively reasonable period of detention following a final order of removal). As

            such, this Court lacks jurisdiction over ICE’s decision to arrest and detain Petitioner.

                   3.   Petitioner’s challenge to removal from the United States must proceed
                        administratively before being raised to the circuit court.

                   Petitioner has an opportunity to contest the initiation of her removal proceedings and to

            challenge her removal from the United States in Immigration Court, before the BIA, and

            eventually, if necessary, before a court of appeal. District courts, however, play no role in such

            process as made clear by Congress and the First Circuit. In passing the REAL ID Act, Congress


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                      The Supreme Court has recognized that it “has firmly and repeatedly endorsed the
            proposition that Congress may make rules as to aliens that would be unacceptable if applied to
            citizens.” Id. at 522 (citations omitted).

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            prescribed a single path for judicial review of orders of removal entered through the

            administrative process: “a petition for review filed with an appropriate court of appeals.” 8

            U.S.C. § 1252(a)(5); Gicharu v. Carr, 983 F.3d 13, 16 (1st Cir. 2020). A circuit court can

            consider “constitutional claims or questions of law” in the petition for review. 8 U.S.C. §

            1252(a)(2)(D).

                   Congress, however, channeled to the courts of appeals, not just challenges to the removal

            decision, but also to challenges to the removal process. Aguilar et al., v. USICE, et al., 510 F.3d

            1, 9 (1st Cir. 2007) (Section 1252(b)(9) “was designed to consolidate and channel review of all

            legal and factual questions that arise from the removal of an alien into the administrative

            process, with judicial review of those decisions vested exclusively with the courts of appeals.”)

            (emphasis in the original). Per Section 1252(b)(9), “judicial review of all questions of law and

            fact, including interpretation and application of constitutional and statutory provisions, arising

            from any action taken or proceeding brought to remove an alien from the United States ….

            shall be available only in judicial review of a final order under this section.” 8 U.S.C. §

            1252(b)(9) (emphasis added); Gicharu, 983 F.3d at 16 (“Adding belt to suspenders, section

            1252(b)(9) strips federal courts of jurisdiction to decide legal and factual questions arising from

            an alien’s removal in any other context, including on a petition for a writ of habeas corpus.”)

            (emphasis added). The First Circuit has described the expanse of § 1252(b)(9) as “breathtaking”

            and “vise-like”. Aguilar, 510 F.3d at 9. In passing this provision, “Congress plainly intended to

            put an end to the scattershot and piecemeal nature of the review process that previously had

            held sway in regard to removal proceedings.” Id.

                   Pursuant to these provisions, Petitioner must present removability issues related to the

            revocation of her visa administratively before any Article III review. As explained earlier, 8



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            U.S.C. § 1201(i) allows for judicial review of her visa’s revocation in the context of removal

            proceedings if the revocation is the sole basis for removal (which it is here) and therefore

            Section 1252(a)(5) and (b)(9) channel any claims related to the revocation of her visa to an

            immigration judge, the BIA, and eventually to the circuit court. In a recent case filed seeking a

            Temporary Restraining Order filed by a student whose visa had been revoked, the plaintiff, Mr.

            Taal, alleged that the visa revocation and ICE’s initiation of removal proceedings violated his

            First Amendment rights. Taal v. Trump, No. 3:25-CV-335 (ECC/ML), 2025 WL 926207, at *2

            (N.D.N.Y. Mar. 27, 2025). The district court, however, found that the plaintiff had not

            established it had jurisdiction over such claims due to Section 1252(a)(5) and 1252(b)(9). Id.

            The court explained that Mr. Taal’s “challenge to the basis for commencing his removal

            proceedings,” “is part of the process by which … removability will be determined, and Taal’s

            claims therefore arise from the removal proceedings.” Id. (cleaned up).

                   Because Petitioner can challenge the revocation of her visa administratively and

            eventually to a circuit court, this Court lacks jurisdiction over such claims. See Vega-Del Roquel

            v. Barr, 568 F. Supp. 3d 73, 76 (D. Mass. 2021) (Explaining that “[o]nly claims that are not

            related in any way to the removal process are beyond the scope of [Section 1252(b)(9)] and

            therefore within the jurisdiction of federal courts.”).

                   C. Petitioner’s APA Claim Fails.

                   Petitioner fails to demonstrate any merit to her claims brought under the APA and Accardi

            v. Shaughnessy, 347 U.S. 260 (1954).        The APA provides a right to judicial review of “final

            agency action for which there is no other adequate remedy.” Bennett v. Spear, 520 U.S. 154, 175

            (1997). However, the APA does not “afford an implied grant of subject-matter jurisdiction




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            permitting federal judicial review of agency action” in all circumstances. Califano v. Sanders, 430

            U.S. 99, 107 (1977).

                   The APA does not apply where another statute “preclude[s] judicial review.” 5 U.S.C. §

            701(a)(1). Additionally, Section 701(a)(2) of the APA precludes judicial review where agency

            action is committed to agency discretion by law.         As such, judicial review of the State

            Department’s revocation of Petitioner’s visa is precluded under the APA since 8 U.S.C. § 1201(i)

            vests such revocation in the Secretary of State and prohibits judicial review aside from in removal

            proceedings. See Mansur v. Albright, 130 F. Supp. 2d 59, 61 (D.D.C. 2001) (“Without such

            statutory or regulatory limitation, there is no law to apply to the Secretary's discretionary

            revocation, and this court lacks jurisdiction to review the revocation …”). Similarly, ICE’s

            decisions to commence removal proceedings and arrest and detain Petitioner were all discretionary

            decisions not subject to APA review by this Court on account of 8 U.S.C. §§ 1252(g) and 1226(a),

            (e). See Gicharu, 983 F.3d at 20 (“Having concluded that Gicharu’s APA claim and habeas claim

            both arise form his removal proceedings, we hold that the district court lacked subject matter

            jurisdiction over those claims under section 1252(b)(9).”).

                   Additionally, the APA does not authorize judicial review until “an aggrieved party has

            exhausted all administrative remedies expressly prescribed by statute or agency rule.” Darby v.

            Cisneros, 509 U.S. 137, 146 (1993). Even if Petitioner could identify a final agency action, that

            agency action would be directly tied to the State Department’s decision to revoke her visa and

            ICE’s decision to initiate removal proceedings against her, which must be brought in removal

            proceedings. Because Petitioner has an alternative forum for her claim, it is not cognizable under

            the APA before this Court. See Bennett, 520 U.S. at. 175–77; Pataud v. United States Citizenship

            & Immigr. Servs., Bos. Field Off., 501 F. Supp. 3d 22, 27 (D. Mass. 2020) (with removal



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            proceedings initiated, review of immigration application not available under the APA); A.Z. v.

            Nielson, No. CV 18-10511-PBS, 2018 WL 5269990, at *5 (D. Mass. Oct. 23, 2018) (agency

            decision denying immigration application is not a “reviewable final agency action as long as the

            alien was referred to immigration court for removal proceedings.”); Gao v. Napolitano, 2009 WL

            961243, at *2 (D. Mass. 2009) (same).

                    Petitioner also complains that the notice ICE issued regarding her terminated Student and

            Exchange Visitor Information System (“SEVIS”) record improperly invoked a ground of

            removability from the United States Petitioner refers to as the “Foreign Policy Ground” which is

            contained at INA Section 237(a)(4)(C)(i) and that the Secretary of State failed to make the

            necessary determination that supports such ground of removability. Doc. No. 12, ¶¶ 79-83. This

            claim is without merit, however. ICE did not allege on the NTA that she is subject to removal

            under INA Section 237(a)(4)(C)(i) and the charges referenced on the SEVIS notice are not the

            basis for her detention or removal. See Doc. No. 12-2, NTA. For these reasons, Petitioner’s APA

            claims fail.

                    D. Petitioner’s Request for Bail should be Denied.

                    This Court does not have jurisdiction to issue habeas relief in this matter, and therefore

            lacks the authority to grant bail or release. Petitioner is correct that the First Circuit has explained

            “that a district court entertaining a petition for habeas corpus has inherent power to release the

            petitioner pending determination of the merits.” Woodcock v. Donnelly, 470 F.2d 93, 94 (1st Cir.

            1972) (per curiam); see also Savino v. Souza, 453 F. Supp. 3d 441, 453 (D. Mass. 2020) (In face

            of COVID-19 pandemic, finding bail appropriate if a habeas petitioner can demonstrate that the

            petition raises substantial claims and that extraordinary circumstances exist that make the grant of

            bail necessary to make the habeas remedy effective).



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                   To whatever extent this Court has the authority to grant bail pending habeas, that authority

            is only in aide of this Court’s ultimate power to grant habeas relief. So where, as here, this Court

            lacks the authority to grant habeas relief in the first place (as explained above), it concomitantly

            loses its authority to grant bail. For the reasons argued previously, Petitioner fails to raise

            substantial constitutional claims upon which she has a high probability of success. Further,

            Petitioner fails to allege that extraordinary circumstances exist making the grant of bail necessary

            to render the habeas remedy effective. On this issue, the First Circuit in Woodcock cited “a health

            emergency” as exceptional circumstances. 470 F.2d at 94. The Court in Savino found existence

            of exceptional circumstances with the COVID-19 “nightmarish pandemic.” 453 F. Supp. 3d at

            453. Petitioner’s asthmatic condition and her desire to speak freely and openly does not represent

            exceptional circumstances as her concerns are likely common to all detainees experiencing limits

            on freedom and she does not demonstrate that her circumstances make the grant of bail necessary

            at this time. Petitioner can also seek a bond hearing with the Immigration Judge at her first hearing

            in Immigration Court next week on April 7, 2025.8            Accordingly, the Court must decline

            Petitioner’s request for interim release during the pendency of this action.

                   E. If this Court determines transfer to be in the interest of justice, this Amended
                       Petition should be transferred to Petitioner’s District of Confinement.

                   As explained above, this Court should dismiss the Petition rather than transfer it because

            any receiving court, like this Court, would lack jurisdiction to consider Petitioner’s claim of


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                     Petitioner cites the Second Circuit’s decision in Mapp v. Reno, 241 F.3d 221 (2d Cir.
            2001) in support of her request for release on bail, but this decision does not aide Petitioner’s
            argument. In that case, the court explained the power to admit on bail “is a limited one, to be
            exercised in special cases only.” Mapp, 241 F.3d at 226. Further, the court qualified this holding
            as subject to limits imposed by Congress. Id. at 223. As explained earlier, 8 U.S.C. § 1226(e) is
            an “express statutory constraint[]” that limits the Court’s authority in this context. Mapp, 241
            F.3d at 231

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            unlawful arrest and detention and to provide her requested relief. As such, “the interest of

            justice” does not compel transfer. 28 U.S.C. § 1404(a). But, if this Court determines otherwise,

            the Amended Petition must be transferred to Petitioner’s district of confinement, the Western

            District of Louisiana. See also 28 U.S.C. § 1406(a) (recognizing that transfer can occur to “any

            district … in which it could have been brought.”).

                    The Supreme Court has recognized a “limited” exception to the district-of-confinement

            rule, namely, only “when the Government moves a habeas petitioner after she properly files a

            petition naming her immediate custodian.” Padilla, 542 U.S. at 441 (emphasis added)

            (discussing Ex Parte Endo, 323 U.S. 283 (1944)); see Vasquez, 233 F.3d at 697 (Distinguishing

            Endo from circumstances in Vasquez where the “petitioner filed for habeas relief in a jurisdiction

            where neither he nor his immediate custodian was physically present.”); Yancey v. Warden, FMC

            Devens, 682 F. Supp. 3d 97, 100 (D. Mass. 2023) (collecting cases for proposition that after a

            petitioner properly filed a petition, such “prisoner's transfer after a district court's jurisdiction

            attaches does not defeat jurisdiction … as long as there remains in the district a respondent who

            can effectuate any court order.”). Under those circumstances, the court where jurisdiction

            originally vested may retain the case. That limited exception does not apply in this District as

            Petitioner never properly filed a habeas petition in this Court.

                    This exception would also not apply concerning venue in the District of Vermont because

            Petitioner did not properly file her habeas petition with that Court during her brief detention in

            Vermont. Where a court never had habeas jurisdiction in the first place because the petitioner

            was not in the district when the action was filed, or because the petition was not filed with the

            court in the district of confinement, there is nothing to retain. It is true that at the time

            Petitioner’s original petition was filed, it could have been properly filed in Vermont as that is



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            where she was then in custody. But this fact is not dispositive. While this case “could have been

            brought” in Vermont at the time of filing, that does not mean it can be heard in the District of

            Vermont here and now. And it cannot, under Padilla—or the specific statutory text it

            interpreted. Section 2241(a) states that writs of habeas corpus “may be granted by … the district

            courts … within their respective jurisdictions.” Section 1406(a) can permit transfer but only if

            the transferee court would also have subject matter jurisdiction over the matter. Nothing in §

            1406(a)’s general authorization for transfer displaces those specific conditions for habeas relief

            or purports to vest the District of Vermont with jurisdiction that would not otherwise exist. The

            District Court in Vermont never had jurisdiction over this matter, and it cannot exercise

            jurisdiction over it now, even if this Court transferred the case to it. See Padilla, 542 U.S. at

            441-42. Even if that transfer statute technically permitted transfer to Vermont as a matter of civil

            procedure, that does not somehow vest the District of Vermont with the statutory authority to

            issue a specific remedy—and do so notwithstanding the specific preconditions for such relief.

            Put otherwise, for the District of Vermont to award habeas relief under 2241(a), it must have

            “jurisdiction” to do so—as construed by Padilla. Nothing in the transfer statutes alters that

            limitation.

                   The “default rule” articulated in Padilla controls here: “jurisdiction lies in only one

            district: the district of confinement”. 542 U.S. at 433. This means Petitioner’s Amended

            Petition should have been filed in her district of confinement, the Western District of Louisiana,

            and any transfer of this Petitioner must be to such district.

                                                      CONCLUSION

                   For these reasons, this Court lacks jurisdiction over the Petitioner and must therefore

            deny the request to issue a writ of habeas corpus. Respondents further assert that transfer of this



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            Petition, rather than dismissal, would not be “in the interest of justice” because district courts

            lack jurisdiction to review the issues presented in the Petition and to order relief as requested.

            But, if the Court determines transfer appropriate, such transfer must be to the Western District of

            Louisiana, the district of Petitioner’s confinement.

                                                                   Respectfully submitted,

                                                                   LEAH B. FOLEY
                                                                   United States Attorney

            Dated: April 1, 2025                           By:     /s/ Mark Sauter
                                                                   Mark Sauter
                                                                   Assistant United States Attorney
                                                                   United States Attorney’s Office
                                                                   1 Courthouse Way, Suite 9200
                                                                   Boston, MA 02210
                                                                   Tel.: 617-748-3347
                                                                   Email: mark.sauter@usdoj.gov


                                             CERTIFICATE OF SERVICE

                    I, Mark Sauter, Assistant United States Attorney, hereby certify that this document filed
            through the ECF system will be sent electronically to the registered participants as identified on
            the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
            registered participants.


            Dated: April 1, 2025                           By:     /s/ Mark Sauter
                                                                   Mark Sauter
                                                                   Assistant United States Attorney




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                          DECLARATION OF ACTING DEPUTY FIELD OFFICE DIRECTOR
                                                  DAVID T. WESLING
                   Pursuant to the authority of 28 U.S.C. § 1746, I, David T. Wesling, a Supervisory Detention

            and Deportation Officer for U.S. Department of Homeland Security, U.S. Immigration and

            Customs Enforcement, Enforcement and Removal Operations, Burlington, Massachusetts declare

            as follows:


               1. I am an acting Deputy Field Office Director (“(a)DFOD”) for the U.S. Department of

                   Homeland Security, U.S. Immigration and Customs Enforcement (“ICE”), Enforcement

                   and Removal Operations (“ERO”).

               2. Included in my official duties as (a)DFOD in Burlington, Massachusetts is the

                   responsibility for assisting in the managing and monitoring of scheduling and execution of

                   removal orders for aliens in ICE custody. I am familiar with ICE policies and procedures

                   for detaining individuals to initiate removal proceedings or to effectuate removal orders as

                   well as releasing individuals from ICE custody.

               3. I have experience utilizing ICE record systems to obtain information regarding specific

                   aliens. ICE maintains electronic and paper records on aliens in the course of its regularly

                   conducted business activity. These records are made in the course of regularly conducted

                   business activity at or near the time of relevant events by a person with knowledge of these

                   events.

               4. In the course of preparing this declaration, I have examined the official records available

                   to me regarding the immigration history and custody status of Ms. Rumeysa Ozturk

                   (“Petitioner”). I have also discussed this case internally with officials within my office.




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               5. Pursuant to its statutory authority contained at 8 U.S.C. § 1226(a), ICE arrested Petitioner

                  on March 25, 2025, at 1725 in Somerville, Massachusetts.

               6. Prior to the arrest, ICE determined that because there was no available bedspace for

                  Petitioner at a facility where she could appear for a hearing with the U.S. Department of

                  Justice’s Executive Office for Immigration Review in New England, that she would be

                  transferred to the South Louisiana Correctional Facility at 3843 East Stagg Avenue in

                  Basile, Louisiana where bedspace was determined to be available.

               7. Transfers out of state, and out of the ERO Boston area of responsibility, are routinely

                  conducted after arrest, due to operational necessity and considerations.

               8. Once ICE secured her final bedspace location, ICE made the appropriate flight and custody

                  arrangements to transport Petitioner to Louisiana.

               9. Upon her arrest by ICE officers on March 25, 2025, Petitioner indicated she was in

                  moderately good health with asthma, chronic back pain, and dry eye. This information was

                  also relayed to the ERO New Orleans Field Office in Louisiana.

               10. On March 25, 2025, at 1749, ICE officials departed Somerville, Massachusetts, and

                  transported Petitioner to Methuen, Massachusetts arriving at 1822.

               11. On March 25, 2025, at 1836, ICE officials departed from Methuen, Massachusetts and

                  transported Petitioner to Lebanon, New Hampshire.

               12. On March 25, 2025, at 2103, ICE officials departed Lebanon, New Hampshire to transport

                  Petitioner to the ICE Field Office in St. Albans, Vermont.

               13. On March 25, 2025, at 2228, Petitioner, arrived at the ICE Field Office in St. Albans,

                  Vermont for processing of Petitioner’s Notice to Appear (NTA), and was in custody

                  overnight at the ICE Field Office in Saint Albans, Vermont.




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               14. On March 25, 2025, ICE served Petitioner with an NTA, charging her with removability

                  under section 237(a)(1)(B) of the Immigration and Nationality Act (INA). ICE filed that

                  NTA at the Oakdale Immigration Court in Oakdale, Louisiana.

               15. The NTA orders her to appear before an immigration judge on April 7, 2025, at 8:30am at

                  the Oakdale Immigration Court, the immigration facility with jurisdiction over her place

                  of detention.

               16. On March 26, 2025, at 0400, ICE officials departed the ICE Field Office in St. Albans,

                  Vermont and transported Petitioner to the airport in Burlington, Vermont.

               17. On March 26, 2025, at 0531, Petitioner departed the airport in Burlington, Vermont with

                  ICE officials.

               18. On March 26, 2025, at 1435, Petitioner arrived at the airport in Alexandria, Louisianna

                  with ICE officials, who transferred her to the custody of ERO New Orleans.

               19. As of the date of this declaration, Petitioner is currently detained at in ICE custody in the

                  South Louisiana Correctional Facility, located at 3943 East Stagg Avenue in Basile,

                  Louisiana.

               20. At the time of Petitioner’s arrest, there was no known counsel of record. Once ICE official

                  obtained Petitioner’s counsel’s contact information through the filing of the instant habeas

                  petition, it was provided to ERO New Orleans to facilitate Petitioner’s communication with

                  her counsel, once she arrived at her final detention location.

               21. Upon her arrival to the South Louisiana Correctional Facility, Petitioner was permitted to

                  speak with her counsel.




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            I declare under penalty of perjury that the foregoing is true and correct.


            Signed on the twenty-seventh day of March 2025



            ______________________________

            David T. Wesling
            Acting Deputy Field Office Director
            U.S. Department of Homeland Security
            United States Immigration and Customs Enforcement
            Burlington, Massachusetts




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                                         UNITED STATES DISTRICT COURT
                                           DISTRICT OF MASSACHUSETTS
             __________________________________________
                                                           )
                                                           )
             RUMEYSA OZTURK,                               )
                                                           )
                                    Petitioner             )
                                                           )
                            v.                             )
                                                           )
             DONALD J. TRUMP, in his official capacity     )
             as President of the United States; PATRICIA   )
             HYDE, in her official capacity as the New     )
             England Field Office Director for U.S.        )   Case No. 25-cv-10695-DJC
             Immigration and Customs Enforcement;          )
             MICHAEL KROL, in his official capacity as     )
             HSI New England Special Agent in Charge,      )
             U.S. Immigration and Customs Enforcement;     )
             TODD LYONS, in his official capacity as       )
             Acting Director, U.S. Immigration and         )
             Customs Enforcement; KRISTI NOEM, in her )
             official capacity as Secretary of the United  )
             States Department of Homeland Security; and )
             MARCO RUBIO, in his official capacity as      )
             Secretary of State,                           )
                                                           )
                                    Respondents.           )
             __________________________________________)

                                            MEMORANDUM AND ORDER

             CASPER, J.                                                                          April 4, 2025

             I.     Introduction

                    Petitioner Rumeysa Ozturk (“Ozturk”) has filed this habeas petition under 28 U.S.C.

             § 2241 (the “Petition”) against the Respondents, United States government officials (collectively,

             the “government”). Although the government disputes Ozturk’s claims for relief, the following is

             undisputed: on March 25, 2025, at approximately 5:25 p.m. without prior notice of the revocation

             of her student visa or the grounds asserted for same, Ozturk, a graduate student in Child Study and



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             Human Development at Tufts University, was approached and surrounded by six officers (several

             wearing masks and/or hoods), stripped of her cellphone and backpack, handcuffed, and taken into

             custody in an unmarked vehicle. Despite the best efforts of her counsel and, even the Turkish

             consulate to determine her whereabouts, the government did not disclose her place of confinement

             until approximately 3:27 p.m. the following day, March 26, 2025. Given the period following her

             arrest and detention in which the government did not disclose her whereabouts, counsel for Ozturk

             filed the Petition in this Court, the location of her arrest and detention and the only location of her

             last known whereabouts, on March 25, 2025 at approximately 10:02 p.m. The government asserts

             that this Court lacks jurisdiction over the Petition as Ozturk, unknown to anyone but the

             government, was in Vermont, not Massachusetts at the time the Petition was filed and, as of

             2:35 p.m. on March 26, 2025, was in Louisiana, where she remains.

                    Ozturk alleges that she was targeted, arrested and transferred in retaliation for exercise of

             her First Amendment rights (Count I), D. 12 ¶ 69, detained in violation of her Fifth Amendment

             right to Due Process (Count II), id. ¶ 75, and detained and subject to removal in violation of the

             Administrative Procedure Act (“APA”) (Count III), id. ¶ 78. Ozturk requests release from custody

             pending adjudication (Count IV). Id. ¶¶ 84-86. Although the Petition raises serious issues as to

             the conduct of her arrest and detention as alleged in each of these Counts, before reaching the

             merits of the Petition, the Court must first address the parties’ dispute about its jurisdiction. For

             the reasons articulated below, the Court denies the government’s motion to dismiss this Petition

             or its request to transfer this matter to the Western District of Louisiana and, relying upon the

             “interest of justice” under 28 U.S.C. § 1631, transfers this matter to the District of Vermont, where

             Ozturk was confined overnight at the time that the Petition was filed.




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             II.    Factual and Procedural Background

                    A.      Ozturk’s Arrest and Detention

                    Ozturk, a Turkish national and doctoral candidate, entered the United States pursuant to a

             validly issued F-1 student visa, D. 12 ¶ 8; D. 19 at 4, on June 28, 2024, D. 12-2 at 2; see 8 C.F.R.

             § 214.2(f)(5) (providing that F-1 visas are issued for the duration of a full course of study). On

             March 25, 2025, Ozturk’s visa was revoked, subjecting her to removal from the United States

             pursuant to 8 U.S.C. § 1227(a)(1)(B) as an alien “whose nonimmigrant visa . . . has been revoked

             under section 1201(i).” D. 19 at 3; D. 12-1 at 2; D. 12-2 at 2.

                    Ozturk was given no notice of the revocation of her student visa. D. 12 ¶ 4. On March 25,

             2025, at approximately 5:25 p.m., she was arrested and taken into custody by agents of

             Immigration and Customs Enforcement (“ICE”) near her residence in Somerville, Massachusetts.

             D. 19-1 ¶ 5; D. 12 ¶¶ 19-20. A video of Ozturk’s arrest shows a hooded officer in plainclothes

             approach Ozturk and grab her by the wrists. D. 12 ¶ 19 n.4; (video). Five additional officers

             surrounded her, took her cell phone, placed her in handcuffs and took her away in an unmarked

             vehicle. Id. ¶¶ 1, 20.

                    At some unspecified time, but prior to her arrest, ICE determined that officers would take

             Ozturk to Louisiana and it made flight and custody arrangements for transport. D. 19-1 ¶¶ 6-8.

             According to ICE, Ozturk was to be transferred to Louisiana because “there was no available

             bedspace for Petitioner at a facility where she could appear for a hearing” in New England, and

             such out-of-state transfers are “routinely conducted after arrest, due to operational necessity

             considerations.” Id. ¶¶ 6-7. The ICE Boston Field Office, located in Burlington, Massachusetts

             has administrative and operational authority over ICE arrest, removal and detention operations

             throughout New England, including Massachusetts, Connecticut, Maine, New Hampshire, Rhode



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             Island and Vermont. D. 26-3 ¶ 6. ICE has detention facilities for female detainees in multiple

             locations in New England. Id. ¶ 9. According to affidavits from several experienced New England

             immigration attorneys, it is the usual practice to have detainees, arrested on civil immigration

             charges, booked and processed at the ICE Boston Field Office in Burlington, Massachusetts before

             they are sent to a detention facility. Id. ¶¶ 10, 12; D. 26-4 ¶¶ 4-5; D. 26-6 ¶¶ 5-6.

                     After Ozturk’s arrest, ICE took her from Somerville, Massachusetts at 5:49 p.m., to

             Methuen, Massachusetts, arriving there at 6:22 p.m. D. 19-1 ¶ 10. Shortly thereafter, at 6:36 p.m.,

             the officers took Ozturk from Methuen, Massachusetts and transported her to Lebanon, New

             Hampshire. Id. ¶ 11. At 9:03 p.m., ICE officials departed from Lebanon, New Hampshire, which

             is approximately five miles from the Vermont border, D. 19 at 5 n. 2, to transport Ozturk to the

             ICE Field Office in St. Albans, Vermont, where she arrived at 10:28 p.m. for processing of her

             Notice to Appear (“NTA”) and was held there in custody overnight, D. 19-1 ¶¶ 12-13. The next

             morning, March 26, 2025, at 4:00 a.m., ICE officers took Ozturk to the airport in Burlington,

             Vermont. D.19-1 ¶ 16. The flight transporting Ozturk left Burlington, Vermont at 5:31 a.m., and

             arrived in Alexandria, Louisiana at 2:35 p.m. Id. ¶¶ 17-18. From there, officers transferred her to

             the custody of Enforcement and Removal Operation (“ERO”) New Orleans. Id. ¶ 18. Ozturk is

             currently detained in ICE custody in the South Louisiana Correctional Facility in Basile, Louisiana.

             Id. ¶ 19.

                     All of this was unknown to Ozturk’s attorney, who did not know her client’s whereabouts

             upon learning of her arrest. D. 26-2 ¶¶ 6-7. Close to five hours after that arrest, still having been

             unable to confirm her whereabouts and knowing that she had been arrested and detained in

             Massachusetts, Ozturk’s attorney filed the Petition in this Court on her client’s behalf at

             approximately 10:02 p.m. D. 12 ¶ 21; D. 26-2 ¶ 2. Shortly thereafter, at approximately 10:12



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             p.m., Ozturk’s counsel sent of a copy of the Petition to the government’s counsel. D. 26-2 ¶ 3.

             Less than an hour later, at approximately 10:55 p.m., this Court (Talwani, J.) issued an order

             enjoining the government from moving Ozturk outside of Massachusetts without providing 48

             hours’ notice to the Court. D. 3 ¶ 4; D. 12 ¶ 22. Per the Court’s Order, such notice was to be filed

             in writing on the docket in the proceeding and was to “state the reason why the government

             believes that such a movement is necessary and should not be stayed pending further court

             proceedings.” D. 3 ¶ 4. A copy of this Order was delivered to the U.S. Attorney’s Office, the

             government’s counsel, minutes later, at approximately 10:57 a.m., via e-mail. 3/25/25 docket

             entry; D. 26-2 ¶ 5.

                    Even after the Petition was filed on the evening of March 25, 2025, Ozturk’s counsel was

             unable to determine her whereabouts even in her contact with the government throughout that

             evening and much of the next day. D. 26-2 ¶¶ 6-13. She contacted the ICE ERO in Burlington,

             Massachusetts and ICE Homeland Security Investigations in Boston, Massachusetts several times

             to request information, but received no response. Id. ¶ 6. Ozturk’s attorney also was unable to

             locate her via ICE’s Online Detainee Locator System, where the field for “Current Detention

             Facility” for Ozturk remained blank. Id. ¶ 7. She had several conversations with counsel for the

             government who could not confirm Ozturk’s whereabouts. D. 26-2 ¶¶ 9-12; D. 12 ¶ 27. Counsel

             was concerned about her client as Ozturk suffers from asthma (a condition apparently disclosed to

             officers by Ozturk upon her arrest, D. 19-1 ¶ 9) and she did not have her medication when she was

             detained. D. 26-2 ¶ 9; D. 12 ¶ 24. A representative of the Turkish consulate even went to the ICE

             Boston Field Office in Burlington, Massachusetts, and was reportedly informed Ozturk was not in

             that office and ICE could not provide further information about her whereabouts. D. 26-2 ¶ 8;

             D. 12 ¶ 27.


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                    In light of these difficulties, on the afternoon of March 26, 2025, Ozturk’s attorney filed

             an emergency motion to compel the government to disclose Ozturk’s location and permit counsel

             to speak with her that evening. D. 7; D. 26-2 ¶ 13. In that motion, counsel noted that a U.S.

             Senator’s office had just informed her that Ozturk had been transferred to Louisiana, but neither

             the government’s counsel nor ICE had confirmed same. D. 7 at 1. Shortly after Ozturk’s counsel

             filed this motion, D. 7, at approximately 3:27 p.m. on March 26, 2025, counsel for the government

             informed Ozturk’s attorney for the first time that Ozturk had been moved to a staging facility in

             Alexandria, Louisiana, to be transferred to South Louisiana. D. 9 at 2; D. 12 ¶ 30; D. 26-2 ¶ 14.

             Ozturk’s attorney was able to speak with Ozturk for the first time since her arrest later that night

             at approximately 9:45 p.m., D. 9 at 2; D. 19-1 ¶ 21; D. 26-2 ¶ 21, and learned that she had suffered

             an asthma attack while being transported in custody to Louisiana. D. 12 ¶ 31. As directed by the

             Court, the government filed a response to Ozturk’s motion the next morning, March 27, 2025,

             reporting that, as was now noted in ICE’s online detainee locator, Ozturk was currently confined

             at the South Louisiana Correctional Facility in Basile, Louisiana. D. 9 at 1, where she remains.

             D. 19-1 ¶ 19.

                    On March 28, 2025, Ozturk filed an amended Petition, D. 12. In light of same, the Court

             gave the government until 5:00 p.m. on Tuesday, April 1, 2025 to respond to it. D. 16. To allow

             resolution of its jurisdiction to decide the Petition, the Court ordered that “Ozturk shall not be

             removed from the United States until [its] further Order.” Id. The government timely filed its

             response and requested that this Court dismiss the Petition, or, if the Court determines that transfer

             is appropriate, transfer the case to the Western District of Louisiana, the district where Ozturk is

             presently confined. D. 19 at 28-29. The Court ordered Ozturk to file a response by 5:00 p.m. the




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             following day, Wednesday April 2, 2025. D. 20. The Court heard oral argument from the parties

             on April 3, 2025 and took the matter under advisement. D. 41.

                    B.      Ozturk’s Revocation and Removal Proceedings

                    As mentioned, Ozturk was not given notice of the revocation of her visa and had not

             received a copy of the NTA before an immigration judge for removal proceedings before her arrest.

             D. 12 ¶ 36. A letter dated March 25, 2025, which was addressed to Ozturk but not provided to her

             before her arrest and detention, states that Ozturk’s Student and Exchange Visitor Information

             System (“SEVIS”) designation “has been terminated pursuant to 237(a)(1)(C)(i) and/or

             237(a)(4)(C)(i) of the Immigration and Nationality Act.” D. 12 ¶ 33; D. 12-1 at 2. Also, as the

             government recounts, Ozturk was not served with the NTA until after she was in custody. D. 19-

             1 ¶¶ 13-14. The NTA orders Ozturk to appear before an immigration judge in Louisiana on April

             7, 2025 for an initial hearing. D. 12 ¶ 37; D. 19-1 ¶ 15; D. 12-2 at 2.

                    Although the basis of her revocation is not cited in the letter to her regarding same, Ozturk

             was one of several authors who contributed to an editorial back on March 26, 2024 in the school

             newspaper, The Tufts Daily, criticizing the University’s dismissal of several resolutions that had

             been adopted by the undergraduate student Senate in “a sincere effort to hold Israel accountable

             for clear violations of international law.” D. 12 ¶¶ 2, 16; D. 26 at 2; D. 26-1 at 67 ¶ 5. The

             President of Tufts University attests that no complaints were filed in its aftermath and there were

             multiple editorials published on different sides of this issue. D. 26-1 at 67 ¶ 5. As alleged, Ozturk’s

             current visa status aligns with new policy directives from President Donald Trump who, after

             assuming office, signed two Executive Orders aimed at fulfilling a campaign promise to revoke

             the visas of students he characterized as “Hamas sympathizers.” D. 12 ¶¶ 40-44. Ozturk’s case is

             one of several cases in which the Trump Administration has implemented these Executive Orders


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             by revoking the immigration status of non-citizens who expressed support for Palestine. D. 12 ¶¶

             53-57. In such cases, the government has invoked the same provision it cited in its letter to Ozturk,

             8 U.S.C. § 1227(a)(4)(C)(i), which provides that “[a]n alien whose presence or activities in the

             United States the Secretary of State has reasonable ground to believe would have potentially

             serious adverse foreign policy consequences for the United States is deportable.” D. 12 ¶ 50;

             D. 12-1 at 2; see, e.g., Chung v. Trump, No. 25-cv-02412-NRB, D. 1 (S.D.N.Y. March 24, 2025);

             Khalil v. Joyce, No. 25-cv-01935-JMF, 2025 WL 849803, at *1 (S.D.N.Y. Mar. 19, 2025).

             III.   Discussion

                    Before a Court can turn to the merits of the Petition, including Ozturk’s request for

             immediate release, it must determine whether it has jurisdiction over this matter. Ozturk contends

             that this is the appropriate tribunal for the Petition, D. 12 ¶¶ 6-7; D. 26 at 10-16, but if the Court

             determines that it is not, the matter should be transferred to the District of Vermont. D. 26 at 17-

             19. The government contends that the Petition should be dismissed or, alternatively, transferred

             to the Western District of Louisiana. D. 19 at 6-16; 26-28.

                    A.      Jurisdiction for the Petition

                    Ozturk filed the Petition pursuant to 28 U.S.C. § 2241, which provides in relevant part that

             “[w]rits of habeas corpus may be granted by . . . the district courts within their respective

             jurisdictions” when a petitioner “is in custody in violation of the Constitution or laws or treaties

             of the United States.” 28 U.S.C. § 2241. “Aliens in custody of federal immigration officials have

             traditionally been able to obtain review of immigration decisions by petitioning for a writ of habeas

             corpus under what is now § 2241.” Goncalves v. Reno, 144 F.3d 110, 120, 133 (1st Cir. 1998)

             (concluding that habeas jurisdiction permits a district court to review at least “pure issues of law

             concerning the applicability of statutory provisions” to immigration decisions); see Raspoutny v.



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             Decker, 708 F. Supp. 3d 371, 379 (S.D.N.Y. 2023) (stating that “Section 2241 permits a federal

             court to review ‘purely legal statutory and constitutional claims’ regarding immigration

             proceedings, but jurisdiction ‘does not extend to review of discretionary determinations by the IJ

             and the BIA’”) (quoting Sol v. I.N.S., 274 F.3d 648, 651 (2d Cir. 2001)). Section 2241 is also the

             proper vehicle for petitioners challenging their detention by immigration officials pending a

             decision in immigration matters. Aguilar v. U.S. Immigr. & Customs Enf’t Div. of Dep’t of

             Homeland Sec., 510 F.3d 1, 11 (1st Cir. 2007) (noting that “[d]istrict courts retain jurisdiction over

             challenges to the legality of detention in the immigration context”) (citing Hernández v.

             Gonzales, 424 F.3d 42, 42 (1st Cir. 2005)); Pensamiento v. McDonald, 315 F. Supp. 3d 684, 688

             (D. Mass. 2018) (observing that “[d]espite . . . jurisdiction-stripping provisions, the district court

             may still review habeas challenges to unlawful immigration detention”) (citing Aguilar, 510 F.3d

             at 11). Accordingly, the Petition, filed under § 2241, is the correct vehicle for Ozturk to pursue

             her challenge to her arrest and detention upon the revocation of her student visa pending removal

             proceedings.

                    The government, however, contests that the District of Massachusetts is the right court to

             hear the Petition.1 As provided by statute, a habeas petition “shall allege the facts concerning the



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                        The government also contends that pursuant to 8 U.S.C §§ 1226(e), 1252(b)(9) and
             1252(g), the Court lacks subject matter jurisdiction to review the merits of the Petition. D. 19 at
             17-23. As for §§ 1252(b)(9) and (g), the First Circuit has held that where a habeas petition raises
             challenges “wholly collateral” to removal, district courts are not precluded from review said
             petition. See Aguilar, 510 F.3d at 10; Kong v. United States, 62 F.4th 608, 613 (1st Cir. 2023)
             (citing Aguilar, 510 F.3d at 11). Likewise, the First Circuit has held that § 1226(e) does not strip
             district courts’ ability to review habeas petitions challenging the constitutionality of a petitioner’s
             detention. See Hernandez-Lara v. Lyons, 10 F.4th 19, 33-34 (1st Cir. 2021) (holding that federal
             district courts have jurisdiction to review a habeas petition that challenges “the extent of the
             Government’s detention authority under the ‘statutory framework’ as a whole”) (citing Jennings
             v. Rodriguez, 583 U.S. 281, 295-96 (2018)); Campbell v. Chadbourne, 505 F. Supp. 2d 191, 196
             (D. Mass. 2007) (stating that Congress did not express an intent in § 1226(e) to preclude judicial


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             application’s commitment or detention, the name of the person who has custody over him and by

             virtue of what claim or authority, if known,” 28 U.S.C. § 2242, and a writ of habeas corpus granted

             by a district court “shall be directed to the person having custody of the person detained.” 28

             U.S.C. § 2243. “Jurisdiction over the custodian is paramount because ‘[t]he writ of habeas corpus

             does not act upon the prisoner who seeks relief, but upon the person who holds him in what is

             alleged to be unlawful custody.’” Vasquez v. Reno, 233 F.3d 688, 690 (1st Cir. 2000) (alteration

             in original) (quoting Braden v. 30th Jud. Cir. Ct. of Ky., 410 U.S. 484, 494-95 (1973)).

             Accordingly and not surprisingly, as a general rule, a petitioner must file a habeas petition in the

             district in which they are confined and must name as a respondent the petitioner’s immediate

             custodian. See Rumsfeld v. Padilla, 542 U.S. 426, 442-47 (2004).

                            1.      The General Rule for Challenging Physical Custody is Against the
                                    Immediate Custodian and in the Place of Confinement

                    As to the general rule about naming the immediate custodian, the respondent is typically

             “the warden of the facility where the prisoner is being held, not the Attorney General or some other

             remote supervisory official.” Padilla, 542 U.S. at 435; see Vasquez, 233 F.3d at 696 (holding that

             “normally” the rule is that the immediate custodian and not the Attorney General is the proper

             respondent in immigration habeas challenges).

                    Also, as a general matter, a habeas petitioner must file his or her petition in the district of

             confinement. Padilla, 542 U.S. at 447 (considering the proper venue for a habeas petition brought

             by a United States citizen designated as an “enemy combatant” who was initially detained in the

             Southern District of New York (“S.D.N.Y.”) and was later transferred to military custody in South



             review of constitutional challenges to detention). Here, because the Petition does not challenge
             the government’s discretionary authority to remove her but the legality of her detention under the
             First and Fifth Amendments and the APA, D. 12 ¶¶ 69, 73-75, 78, the statutes do not strip the
             Court’s jurisdiction to review the Petition here.

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             Carolina and filed a § 2241 habeas petition in S.D.N.Y.). Id. at 432. The Court concluded that

             S.D.N.Y. lacked jurisdiction over Padilla’s claim because § 2241 permits a habeas petition only in

             “the district of confinement,” and no one in S.D.N.Y. served as Padilla’s immediate custodian. Id.

             at 442. In reaching this conclusion, the Court observed that “Congress added the limiting clause-

             ‘within their respective jurisdictions’-to the habeas statute in 1867 to avert the ‘inconvenient [and]

             potentially embarrassing’ possibility that ‘every judge anywhere [could] issue the Great Writ on

             behalf of applicants far distantly removed from the courts whereon they sat.’” Id. at 442

             (alterations in original) (quoting Carbo v. United States, 364 U.S. 611, 617 (1961)). Although

             Ozturk’s counsel observed at the motion hearing that there is some overlap in the jurisprudence

             about the two rules, the Padilla Court addressed them separately to say that the place of

             confinement rule, in conjunction with the immediate custodian rule “compose[s] a simple rule . . .

             [w]henever a § 2241 habeas petitioner seeks to challenge his present physical custody within the

             United States, he should name his warden as respondent and file the petition in the district of

             confinement.” Id. at 447. This rule serves the important purposes of “preventing forum shopping

             by habeas petitioners” and avoiding the “inconvenience, expense, and embarrassment” of district

             courts with overlapping jurisdiction. Id.

                            2.      There are Exceptions to these General Rules

                                    a)      As Recognized in Padilla

                    Significantly, the Supreme Court in Padilla acknowledged that certain exceptions have

             historically applied to both of these general rules. The majority noted exceptions to the immediate-

             custodian rule exist when there is no immediate physical custodian with respect to the “custody”

             challenged. Padilla, 542 U.S. at 438-49, pointing to the Court’s earlier ruling in Braden v. United

             States, 410 U.S. 484 (1973). In Braden, the Supreme Court considered a habeas petition filed by



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             an Alabama prisoner in the United States District Court for the Western District of Kentucky,

             which challenged a detainer lodged against him in Kentucky. Braden, 410 U.S. at 488-89.

             Because Braden sought to challenge “a confinement that would be imposed in the future,” the

             Court concluded the immediate custodian rule did not apply, and Braden was instead “in custody”

             in Kentucky by virtue of the detainer, id. at 488-89, and while the Alabama warden was the present

             custodian, he was not “the person who [held Braden] in what [was] alleged to be unlawful

             custody.” Id. at 494-95. The Padilla Court also pointed to the decision in Strait v. Laird, 406 U.S.

             341 (1992), Padilla, 542 U.S. at 438-39, where it addressed an inactive reservist’s § 2241 petition

             seeking relief from future military obligations. Id. at 344. While the petitioner was domiciled in

             California, the Supreme Court reasoned that because he was not challenging any present physical

             confinement, his “‘nominal’ custodian was a commanding officer in Indiana who had charge of

             [his] Army records.” Id. In citing these precedents, the Padilla Court concluded that the “legal

             control” test could not be applied to physical-custody challenges to allow a convicted prisoner to

             name that State or the Attorney General as a respondent to its § 2241 petition, Padilla, 542 U.S. at

             439-40, but acknowledged that Braden and Strait remained exceptions to the general rule.

                    The Supreme Court also noted an exception to this general rule regarding the immediate

             custody in Ex parte Endo, 323 U.S. 283 (1944), in which a Japanese-American citizen interned in

             California filed a § 2241 petition in the federal district court in the Northern District of California

             to challenge her detention, id. at 284-85; Padilla, 542 U.S. at 440. Endo had named her immediate

             custodian in California in her petition, but the government later transferred her to Utah. Endo, 323

             at 285. The Supreme Court concluded that the subsequent transfer did not divest the Northern

             District of California of its jurisdiction. Id. at 304-06. Instead, “when the Government moves a

             habeas petitioner after she properly files a petition naming her immediate custodian, the District



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             Court retains jurisdiction and may direct the writ to any respondent within its jurisdiction who has

             legal authority to effectuate the prisoner’s release.” Padilla, 542 U.S. at 441 (characterizing Endo’s

             holding, and describing it as “important but limited”); see Chavez-Rivas v. Olsen, 194 F. Supp. 2d

             368, 377 (D.N.J. 2002) (concluding that “where an INS-detained habeas petitioner properly files

             a habeas petition in the district where he is incarcerated, and the petitioner is subsequently

             transferred to a facility outside of that district, the Attorney General . . . may be deemed a

             ‘custodian’ to allow the original District Court to retain jurisdiction over the habeas petition”).

             The Supreme Court reasoned that the Endo exception did not apply to Padilla’s case because

             Padilla had been moved from the S.D.N.Y. to South Carolina before his lawyer had filed his habeas

             petition, meaning jurisdiction had never vested in S.D.N.Y. Id.

                    In addition, the Supreme Court noted certain exceptions legislated by Congress. Id. at 443.

             Specifically, the Court in Padilla noted that it had “long implicitly recognized an exception to the

             immediate custodian rule in the military context where an American citizen is detained outside the

             territorial jurisdiction of any district court.” Id. at 436 n.9. The majority in Padilla also

             acknowledged an exception relied upon by the dissent, but disagreed that it was applicable. Citing

             Demjanjuk v. Meese, 784 F.2d 1114 (D.C. Cir. 1986) (Bork, J.), the majority observed that

             “[w]hen, as in that case, a prisoner is held in an undisclosed location by an unknown custodian, it

             is impossible to apply the immediate custodian and district of confinement rules,” but concluded

             that was not Padilla’s case “where the identity of the immediate custodian and the location of the

             appropriate district court are clear.” Padilla, 542 U.S. at 450 n.18.

                                    b)      As proposed by the concurrence in Padilla

                    Although the 5-4 majority in Padilla applied the general rule requiring a habeas petition

             challenging physical custody to be filed in the place of confinement, two members of that majority,



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             in a concurring opinion, suggested an exception to the general rule that is implicated here. Justice

             Kennedy (joined by Justice O’Connor) noted that an exception to filing a petition in the district of

             confinement might be warranted “if there is an indication that the Government’s purpose in

             removing a prisoner were to make it difficult for his lawyer to know where the habeas petition

             should be filed, or where the Government was not forthcoming with respect to the identity of the

             custodian and the place of detention.” Padilla, 542 U.S. at 454 (Kennedy, J., concurring). In such

             a case “habeas jurisdiction would be in the district court from whose territory the petitioner had

             been removed.” Id. (Kennedy J., concurring). Although this exception was not adopted by the

             majority, because Justice Kennedy and Justice O’Connor’s votes were “necessary to the formation

             of a majority,” Justice Kennedy’s opinion is at least “given particular weight,” Schmitz v. Zilveti,

             20 F.3d 1043, 1045 (9th Cir. 1994) (citing Middlesex Mut. Ins. Co. v. Levine, 675 F.2d 1197, 1200

             (11th Cir. 1982)); see Bruno & Stillman, Inc. v. Globe Newspaper Co., 633 F.2d 583, 594 (1st Cir.

             1980) (relying upon a concurrence after noting that the author’s opinion was needed to make a

             majority); ANR Coal Co. v. Cogentrix of N.C., Inc., 173 F.3d 493, 499 n.3 (4th Cir. 1999)

             (observing that courts have given particular weight to a concurrence because the vote of each

             justice who joined that concurrence was “necessary to create a majority”). This is particularly

             appropriate where the majority in Padilla did not express disagreement with this exception

             proposed by the concurrence, but rather noted that the particular facts of Padilla’s case did not

             warrant its invocation. Padilla, 542 U.S. at 441-42 (noting, by the majority, that “[t]here is no

             indication that there was any attempt to manipulate Padilla’s transfer” and “the Government did

             not attempt to hide from Padilla’s lawyer where it had taken him”). The majority’s observation in

             Padilla also foreshadowed later cautions by the Supreme Court. For example, in Boumediene v.

             Bush, 553 U.S. 723, 732-33 (2008), the Supreme Court concluded that the Military Commissions



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             Act, which prohibited detainees classified as enemy combatants from petitioning for habeas

             corpus, was an unconstitutional suspension of the right to the writ of habeas corpus. There, the

             Court described the writ as “an indispensable mechanism for monitoring the separation of powers”

             which it cautioned “must not be subject to manipulation by those whose power it is designed to

             restrain.” Id. at 765-66; see Demjanjuk, 784 F.2d at 1116 (noting that “it is essential that petitioner

             not be denied the right to petition for a writ of habeas corpus”).

                    Although the government’s brief does not address Justice Kennedy’s proposed exception

             in the Padilla concurrence, see D. 19 at 13-15, courts within this Circuit and others have recognized

             it even as they have acknowledged that the facts in their particular case did not warrant its

             application. See Khalil, 2025 WL 849803 at *6-11 (addressing Justice Kennedy’s proposed

             exception in the Padilla concurrence); Parker v. Hazelwood, No. 17-cv-484-LM, 2019 WL

             4261832, at *3-5 (D.N.H. Sept. 9, 2019) (referencing Justice Kennedy’s exception, but noting that

             the petitioner has not “identified facts fitting this case into any of the recognized extraordinary

             circumstances warranting exception to the jurisdictional rules”); Xia v. King, No. 24-cv-2000-

             JRT-DLM, 2025 WL 240792, at *2 (D. Minn. Jan. 17, 2025) (citing Justice Kennedy’s

             concurrence and suggesting that “[t]he Supreme Court has recognized” an exception to the district

             of confinement rule “where the Government was not forthcoming with respect to the identity of

             the custodian and the place of detention”); Gayle v. Meade, 614 F. Supp. 3d 1175, 1235 (S.D. Fla.

             2020) (noting Justice Kennedy’s exception and acknowledging that the Court “might entertain

             jurisdiction” over the claims “if there were evidence of efforts on the part of the defendants to

             evade jurisdiction of the Court”) (quoting McKinnon v. Talladega Cnty., Ala., 745 F.2d 1360,

             1363 (11th Cir. 1984)); Sow v. Whitaker, No. 18-cv-11394-GBD-RWL, 2019 WL 2023752, at *5-

             6 (S.D.N.Y. May 8, 2019) (noting Justice Kennedy’s proposed exception but concluding that the



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             petitioner had failed to provide evidence showing that the government either made it difficult for

             his lawyer to know where he was or was not forthcoming about his place of detention); Salcedo v.

             Decker, No. 18-cv-8801-RA, 2019 WL 339642, at *2 n.3 (S.D.N.Y. Jan. 28, 2019) (citing Justice

             Kennedy’s exception in Padilla but would continue to apply the general rule “[a]bsent contrary

             instruction from the Supreme Court or the Second Circuit and absent any allegation that there was

             an ‘attempt to manipulate’ [the petitioner’s] transfer in bad faith”). It is also true, as the court in

             Khalil noted, that no court has “ever found that [Justice Kennedy’s] exceptions applied” to the

             facts of any particular case. Khalil, 2025 WL 849803 at *2.

                                    c)      Also as recognized in the First Circuit

                    Justice Kennedy’s concurrence outlining an exception to the place-of-confinement also

             echoed a point the First Circuit had made four years before Padilla in Vasquez, 233 F.3d at 696,

             about an exception to the immediate-custodian rule. The case involved an ICE detainee who was

             transferred from Massachusetts to Louisiana for removal proceedings following his release from

             prison, who then filed a habeas petition in this Court naming the Attorney General as the defendant.

             Id. at 690. The First Circuit concluded that, as a general rule, the Attorney General is neither the

             custodian nor the appropriate respondent in a habeas case, noting that “allowing alien habeas

             petitioners to name the Attorney General (over whom all district courts presumably have personal

             jurisdiction) as a respondent will encourage rampant forum shopping.” Id. at 693-94. The Vasquez

             court, however, noted the possibility for exceptions in “extraordinary circumstances.” Id. at 696.

             Such extraordinary circumstances would exist if “INS [the precursor to ICE] spirited an alien from

             one site to another in an attempt to manipulate jurisdiction.” Id. (concluding that no such

             “extraordinary circumstances” existed in the case where “the petitioner has neither marshaled facts

             suggesting furtiveness nor made a showing of the elements necessary to demonstrate bad faith”).



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             Such concerns regarding government conduct are heightened in the case of a habeas petitioner

             who is an ICE detainee. Anariba v. Dir. Hudson Cnty. Corr. Ctr., 17 F.4th 434, 447 (3d Cir. 2021).

             Given ICE’s “broad authority to move ICE detainees” without notice, “the Government could

             willingly transfer an ICE detainee seeking habeas from continued detention to a jurisdiction that

             is more amendable to the Government’s position, or the Government could transfer an ICE

             detainee for the purpose of intentionally introducing complicated jurisdictional defects to delay

             the merits review of already lengthy § 2241 claims.” Id. at 447-48.

                    Courts have noted that “extraordinary circumstances” could exist to invoke the exception

             articulated in Vasquez. See Tham v. Adducci, 319 F. Supp. 3d 574, 577 (D. Mass. 2018) (citing

             Vasquez, 233 F.3d at 696) (concluding that there were “no extraordinary facts . . . that would

             warrant deviating from the immediate custodian rule”); Chavez-Rivas, 194 F. Supp. 2d at 376

             (discussing exception under Vasquez, but disagreeing that “a petitioner should shoulder the burden

             of proving the Government acted in bad faith” in invoking same and that “[w]here transfer is not

             the result of the petitioner’s misconduct, [the court] would not impose such a burden upon him”);

             Gayle, 614 F. Supp. 3d at 1235 n.23 (internal citation and quotation marks omitted) (some

             alterations in original) (citing Vasquez and other cases to suggest that “if Petitioners could

             satisfactorily prove their hunch [‘that the ICE-facilitated transfers may be part of a shell game

             designed to strip the Court of jurisdiction’], then the Court might entertain jurisdiction over [their]

             claim[s] if there were evidence of efforts on the part of the defendants to evade the jurisdiction of

             the Court”).

                    A court has invoked Vasquez in at least two cases to allow a petitioner to name the Attorney

             General as the respondent where ICE moved the petitioner from the district immediately after

             detention. Farah v. I.N.S., No. 02-cv-4725-DSD-RLE, 2002 WL 31828309, at *2-3 (D. Minn.



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             Dec. 11, 2002); de Jesus Paiva v. Aljets, No. cv-036075-DWF-AJB, 2003 WL 22888865, at *4

             (D. Minn. Dec. 1, 2003). In those cases, the court expressed concern that such a practice by ICE

             would allow it “to forum shop, intentionally or not.” Farah, 2002 WL 31828309, at *3 (citing

             Alcaide–Zelaya v. McElroy, No. 99–cv-5102-DC, 2000 WL 1616981, at * 5 (S.D.N.Y. Oct. 27,

             2000)); de Jesus Paiva, 2003 WL 22888865, at *4 (observing that “[t]o now hold that Petitioners

             may only file their Petition in the state that the ICE determines to send them would be to allow the

             ICE to forum shop”) (citing Alcaide-Zelaya, 2000 WL 1616981, at *5). That the “extraordinary

             circumstances” described in Vasquez, 233 F.3d at 696, has not often been invoked reflects that

             such circumstances are rare, not that rare cases never present themselves.

                            3.      Considering the Immediate-Custodian Rule in this Case2

                    The government here points to several cases to contend that the course of events

             surrounding Ozturk’s arrest and detention do not rise to the level of “furtiveness” or “bad faith”

             that concerned the First Circuit in applying the immediate-custodian rule in certain “extraordinary

             circumstances” in Vasquez. First, it points to Ruvira-Garcia v. Guadian, No. 20-cv-2179, 2020

             WL 1983875, at *2 (N.D. Ill. Apr. 17, 2020), where the district court in the Northern District of

             Illinois, petitioner’s place of residence, concluded that it did not have jurisdiction over the

             petitioner who was initially detained in Wisconsin, transferred to Texas and ultimately detained in

             Oklahoma. Id. at *2-3. There, although the record reflected that the petitioner was not in the

             district at the time of filing, there was no suggestion that her whereabouts were unknown at the


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                       Petitioner suggests that the Court does not need to reach the exceptions because, at the
             time the Petition was filed, Ozturk was in transit in Vermont, making her immediate custodian the
             ICE New England Field Officer Director, who is based in Massachusetts. D. 26 at 12-13. Circuit
             law does not appear to support this position. See Vasquez, 233 F.3d at 695 (addressing Endo and
             Strait and U.S. ex rel. Circella v. Sahli, 216 F.2d 33, 35 (7th Cir. 1954) and summing up that “this
             trilogy of cases simply does not give a legitimate judicial imprimatur to a freewheeling definition
             of ‘custodian’ such as the petitioner champions”).

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             time that her Petition was filed or that the government did not disclose her whereabouts when her

             counsel inquired about same. The government also cites Fuentes v. Choate, 24-cv-01377-NYW,

             2024 WL 2978285, at *9-10 (D. Colo. June 13, 2024), in which the court addressed the practical

             difficulties of a habeas petitioner challenging her detention by ICE where she was moved from a

             facility in Colorado to a staging facility in Arizona for eventual transfer to Texas. Id. at *2. The

             court concluded that it did not have jurisdiction when she was detained in Arizona and it was “not

             this Court’s duty to ascertain or identify an Arizona official” to be named as the correct respondent.

             Id. at *9. Recognizing petitioner’s argument that she was only in Arizona temporarily and that

             this “present[ed] unusual logistical circumstances that likely hindered counsel’s ability to act

             swiftly and still within the bounds of permissible habeas jurisdiction,” the court declined to apply

             the exception in Justice Kennedy’s concurrence, noting an absence of “authority from the Tenth

             Circuit—or weight of authority from other circuit courts—that might justify the application of

             such exception (however logical) by this Court.” Id. at *10. In contrast, here, in the First Circuit,

             this Court must consider Vasquez. Moreover, other than the transport of the petitioner through

             several states en route to another detention facility in Oklahoma, there is no suggestion in that case

             that the petitioner’s whereabouts were unknown to her counsel at the time she filed the habeas

             petition. Id. In fact, the court in Fuentes noted that petitioner’s counsel was at least informed of

             her transfer to Texas as it was occurring. Id.

                    Here, the government attests that “[t]ransfers out of state, and out of the ERO Boston area

             of responsibility, are routinely conducted after arrest, due to operational necessity and

             considerations.” D. 19-1 at 7. But even accepting that it is routine to move detainees between

             different locations before transport to their final destination, see Sow, 2019 WL 2023752, at *1-2

             (reflecting petitioner’s transport between locations in New York and New Jersey before



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             Louisiana), the government here provides no information about whether it is routine to move

             detainees to various locations in a single day or to have a detainee on a plane heading out of the

             region within twelve hours of her arrest.

                    Moreover, unlike the circumstances in Vasquez, 233 F.3d at 696, the petitioner has

             “marshaled facts” at least showing “furtiveness” on the part of the government here. Id. Ironically,

             the government (at least in its papers) faulted Ozturk for failing to file the Petition in the district

             of her confinement and failing to name her immediate custodian, D. 19 at 6-13, despite the fact

             that Ozturk was not permitted to communicate her whereabouts as she was transported from

             Somerville, Massachusetts to Methuen, Massachusetts to Lebanon, New Hampshire and then to

             Saint Albans, Vermont, see D. 26-7 ¶ 6 (Ozturk attesting that she kept asking to call her attorney

             but was told that she would be allowed to do so “once [she] reached [her] final destination”).

             Ozturk’s attorney did not and could not have known her place of confinement or her immediate

             custodian at the time she filed the Petition, and even in the aftermath of that filing, the government

             did not disclose Ozturk’s whereabouts in Vermont or her planned transport to Louisiana until a

             day later after she arrived in Louisiana. D. 19-1 ¶ 21.3

                    Ozturk has filed multiple affidavits from experienced, immigration attorneys in the New

             England area that attest that the sequence of events here was far from routine, even putting aside

             the circumstances of her arrest. According to these sworn statements, most ICE detainees arrested

             on civil immigration warrants are booked and processed in the ICE ERO Field Office in

             Burlington, D. 26-3 ¶ 10; D. 26-4 ¶ 5; D. 26-6 ¶ 6, and then are transferred to a detention facility.


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                       That ICE has an internal policy that it will notify a detainee’s attorney of record of a
             transfer “as soon as practicable on the day of the transfer, but in no circumstances later than twenty
             four (24) hours after the transfer occurs,” U.S. ICE, Policy No. 11022.1(5.3)(2)(a)(2012), does not
             counter this conclusion here where the government was aware that Ozturk and her counsel
             affirmatively had requested such contact before the expiration of this time period.

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             D. 26-6 ¶ 6. This was not the case with Ozturk, who was booked and processed in another city in

             Massachusetts, Methuen, transported to New Hampshire and then to Vermont. Although ICE

             detainees might be moved during custody, D. 19-1 ¶ 7 (the Acting Deputy Field Office Director

             for ICE ERO attesting that “[t]ransfers out of state, and out of the ERO Boston area of

             responsibility, are routinely conducted after arrest, due to operational necessity and

             considerations”), it is unusual for that to occur within a few hours. D. 26-3 ¶ 11; D. 26-4 ¶ 7;

             D. 26-5 ¶ 13; D. 26-6 ¶ 7. Women who are detained by ICE in the region are regularly detained

             at facilities in New Hampshire (Strafford Jail), Rhode Island (Wyatt) and Maine (Cumberland

             County Jail), D. 26-4 ¶ 6, and another facility in Vermont (Chittenden Regional Correctional

             Facility). D. 26-6 ¶ 9. At least as to the facility in Maine (Cumberland County Jail), there was

             space for female detainees on March 25 and 26, 2025. D. 26-5 ¶ 12. An experienced immigration

             attorney working in Vermont attested that she has only experienced people being detained at the

             St. Albans office upon initial arrest in Vermont and has “never once encountered the case of a

             detained person who is being transferred into Vermont for the purposes of continued ICE

             detention” and that it is “even more extraordinary for a person to be transferred into the St. Albans

             ICE office, which is a government office and not a detention facility.” D. 26-7 ¶ 8. The irregularity

             of the arrest, detention and processing here is coupled with the failure to disclose Ozturk’s

             whereabouts even after the government was aware that she had counsel and the Petition was filed

             in this Court.   Moreover, contrary to counsel’s arguments at the motion hearing, that the

             government had a pre-arranged plan for Ozturk’s detention and transport before the agents

             effectuated her arrest does not necessarily show lack of attempt to manipulate jurisdiction where

             that plan continued (apparently uninterrupted) even after the government was aware of the Petition.




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                     Even if Vasquez’s extraordinary circumstances exception to the immediate custodian rule

             did not apply here, there is also an exception to the immediate-custodian rule where the custodian

             of the petitioner is unknown at the time that the Petition is filed. As discussed above, in

             Demjanjuk, 784 F.2d at 1116, where the petitioner was being held by the U.S. Marshal in a

             confidential location, the court treated the Attorney General as the custodian and concluded that

             jurisdiction would lie in the D.C. Circuit at the time that the Petition was filed. Id.; Khalil v. Joyce,

             No. 25-cv-01963-MEF, 2025 WL 972959, at *28-37 (D.N.J. Apr. 1, 2025) (discussing

             Demjankuk).4 Similarly, where ICE took Ozturk into custody in Massachusetts, but transported

             her to an unknown place, she cannot be faulted for filing the Petition in this Court against the

             Respondents with national and regional supervision over ICE. This is particularly true here where

             counsel for Ozturk could not have known to name her client’s immediate custodian in Vermont,

             her location at the time the Petition was filed.

                             4.      Considering Place-of-Confinement Rule in this Case

                     The same is true as to the general rule under Padilla and its progeny that a Petition should

             be filed in the petitioner’s place of confinement, which we now know was the District of Vermont

             for Ozturk. See Demjanjuk, 784 F.2d at 1116. Despite her counsel’s argument at the motion

             hearing, whatever the analytical overlap between this general rule and the immediate-custodian

             rule may be, the Court must address both rules in determining its jurisdiction. Padilla, 542 U.S. at



                     4
                      At oral argument, in addressing Demjanjuk, counsel for the government argued that even
             if it were true that the immediate custodian was unknown at the time the Petition was filed on
             March 25, 2025, the Court should focus on the fact that this was no longer the case when the
             amended Petition was filed on March 28, 2025. Such an approach is contrary to “relate-back”
             rules that apply in a civil case such as this one, Jaynes v. Grant, No. 03-cv-11582-JLT, 2010 WL
             4181241, at *2-3 (D. Mass. Oct. 19, 2010) (concluding that an amended habeas petition relates
             back to the original filing), particularly when the critical focus is at the time the Petition was filed.
             See Padilla, 542 U.S. at 441 (discussing Endo, 323 U.S. at 304-06).

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             447. It is the irregularity of the processing and transport in a single day and failure to disclose

             Ozturk’s whereabouts discussed above as to Vasquez that also implicates the Padilla exception to

             the place-of-confinement rule proffered by Justice Kennedy. Justice Kennedy’s remedy in this

             scenario would have been that “habeas jurisdiction would lie in the district or districts from which

             [the detainee] had been removed.” Padilla, 542 U.S. at 454. This is the remedy that Ozturk seeks

             in the first instance, but argues in the alternative that transfer to the District of Vermont, D. 26 at

             9, would be appropriate. This is perhaps in Ozturk’s recognition of the fact that no court has yet

             relied upon the Padilla concurrence as the basis for jurisdiction. Khalil, 2025 WL 849803, at *2.

             Moreover, if the purpose of any exception to the place-of-confinement rule is to curb forum

             shopping by the government, see Anariba, 17 F.4th at 447, the transfer of this matter to the federal

             district court in the District of Vermont, the place that Ozturk was confined at the time that the

             Petition was filed, does so. See Boumediene, 553 U.S. at 779 (observing that “common-law habeas

             corpus was, above all, an adaptable remedy”); Khalil, 2025 WL 972959, at *35 (noting that “[p]er

             the Supreme Court, courts must apply the habeas statute with an eye to the underlying equitable

             nature of the writ”) (and cases cited).

                    B.       Transfer to Vermont is Warranted Here

                    In the context of a habeas petition, the jurisdictional rules are “not jurisdictional in the

             sense of a limitation on subject-matter jurisdiction,” but rather akin to “personal jurisdiction or

             venue.” Padilla, 542 U.S. at 451 (Kennedy, J., concurring); Tham, 319 F. Supp. 3d at 576 n. 2.

             There are a number of transfer statutes, 28 U.S.C. §§ 1404(a), 1406(a), 1631, but the most

             applicable here appear to be the latter two, §§ 1406(a) and 1631. If a case is filed in the wrong

             venue, 28 U.S.C. § 1406(a) permits the district court in the district in which the case was filed to

             “transfer such case to any district or division in which it could have been brought” if such transfer



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             serves “the interest of justice.” Id.; Tham, 319 F. Supp. 3d at 577. If “there is a want of

             jurisdiction,” as the Court concludes here, 28 U.S.C. § 1631 permits transfer of a civil action to

             any court “in which the action . . . could have been brought at the time it was filed or noticed,” if

             such transfer “is in the interest of justice.” In Hoffman v. Blaski, 363 U.S. 335, 342-44 (1960),

             the Supreme Court considered whether the phrase “where it might have been brought” in § 1404(a)

             required the transferee court to have jurisdiction at the time the original action was filed, or whether

             it permitted transfer to a court that would have had jurisdiction at the time of the transfer only.

             The Court concluded that the “unambiguous, direct (and) clear” language of the transfer statute

             permitted transfer only in the former case. Id. Courts have concluded that Hoffman’s limitation

             also applies to the “could have been brought” language in §§ 1406(a) and 1631. See, e.g., Gonzalez

             v. Grondolsky, 152 F. Supp. 3d 39, 47 (D. Mass. 2016).

                     “Want of jurisdiction” under § 1631 means a lack of either personal or subject matter

             jurisdiction. See HC&D, LLC v. Precision NDT & Consulting, LLC, 698 F. Supp. 3d 180, 197-

             98 (D. Mass. 2023) (internal citation omitted). Once transferred, “the action or appeal shall

             proceed as if it had been filed in or noticed for the court to which it is transferred on the date upon

             which it was actually filed in or noticed for the court from which it is transferred.” 28 U.S.C.

             § 1631; see Khalil, 2025 WL 972959, at *14-20 (discussing § 1631). Such transfer treats the

             transferred case as if it was filed at the time of the original filing; here, it would treat the Petition

             as filed in Vermont on March 25, 2025 at 10:02 p.m. Gonzalez, 152 F. Supp. 3d at 47; see Miller

             v. United States, 753 F.2d 270, 276 (3d Cir. 1985); Martinez-Nieto v. Att’y General, 805 F. App’x

             131, 135 (3d Cir. 2020).

                     The First Circuit has recognized that § 1631 applies in the context of habeas petitions. See

             Tham, 319 F. Supp. 3d at 577-78 (transferring a habeas petition pursuant to § 1631 and noting that



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             “there is a rebuttable presumption in favor of transferring a case instead of dismissing it”); Del

             Carvalho v. Moniz, No. 21-cv-11946-WGY, 2021 WL 5811301, at *1 (D. Mass. Dec. 7, 2021)

             (transferring a habeas petition to New Hampshire pursuant to § 1631 and “in the interest of

             justice”).

                       Under either statute, however, an action may only be transferred to the court where it

             “could have been brought.” 28 U.S.C. §§ 1406(a), 1631.5 Here, because Ozturk was confined

             overnight in Vermont when the Petition was filed, the District of Vermont is the proper transferee

             court.6

             IV.       Conclusion

                       For the reasons articulated below, the Court DENIES the government’s motion to dismiss

             this Petition and its alternative request to transfer this matter to the Western District of Louisiana.

             The Court ALLOWS the alternative relief sought by Ozturk and transfers this matter “in the

             interest of justice” pursuant 28 U.S.C. § 1631 to the U.S. District Court for the District of Vermont.

                       To ensure that Ozturk has an opportunity to have the Petition considered by the District of

             Vermont, and to preserve the status quo, this Court’s March 28, 2025 Order enjoining the

             government from removing her from the United States, D. 16, shall remain in effect unless and

             until the transferee court orders otherwise. See Khalil, 2025 WL 849803, at *14 (ordering same

             upon transfer).

                       So Ordered.


                       5
                      For at least this reason, the Court rejects the government’s argument that if it did not
             dismiss the Petition, it should instead transfer it to the Western District of Louisiana, where Ozturk
             was not detained at the time of the filing of the Petition.
                       6
                       It will be for the District of Vermont to determine if it has jurisdiction over Ozturk’s
             Petition notwithstanding her later transfer to Louisiana after the filing of the Petition that is now
             transferred there. See Khalil v. Joyce, 2025 WL 972959, at *24-38 (taking transferred petition as
             filed in New Jersey at the time it had been filed in S.D.N.Y.).

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                                                                 /s
                                                                 /s Denise
                                                                    Denise J.
                                                                            J. Casper
                                                                               Casper
                                                                 United States
                                                                 United  States District
                                                                                 District Judge
                                                                                          Judge




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                1                           UNITED STATES DISTRICT COURT
                                             DISTRICT OF MASSACHUSETTS
                2

                3     RUMEYSA OZTURK,                             )
                                                                  )
                4                             Plaintiff           )
                                                                  ) No. 1:25-cv-10695-DJC
                5     vs.                                         )
                                                                  )
                6     PATRICIA HYDE, et al.,                      )
                                                                  )
                7                             Defendants.         )
                                                                  )
                8                                                 )
                                                                  )
                9

               10

               11                     BEFORE THE HONORABLE DENISE J. CASPER
                                           UNITED STATES DISTRICT JUDGE
               12                                 MOTION HEARING

               13

               14

               15
                                  John Joseph Moakley United States Courthouse
               16                               Courtroom No. 11
                                               One Courthouse Way
               17                         Boston, Massachusetts 02210

               18
                                                      April 3, 2025
               19                                       2:00 p.m.

               20

               21
                                          Kristin M. Kelley, RPR, CRR
               22                            Official Court Reporter
                                  John Joseph Moakley United States Courthouse
               23                        One Courthouse Way, Room 3209
                                           Boston, Massachusetts 02210
               24                           E-mail: kmob929@gmail.com

               25                 Mechanical Steno - Computer-Aided Transcript



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                  1                              P R O C E E D I N G S

                  2              THE CLERK:      All rise.

                  3              (The Honorable Court entered.)

                  4              THE CLERK:      Civil Action No. 25-10695, Ozturk vs.

         02:00    5   Hyde.

                  6              THE COURT:      Good afternoon, counsel.          I'll have you

                  7   introduce yourselves for the record.

                  8              MS. ROSSMAN:       Good afternoon, your Honor.           Jessie

                  9   Rossman on behalf of petitioner.

         02:00 10                THE COURT:      Good afternoon.

                 11              MS. LAFAILLE:       Good afternoon, your Honor.           Adriana

                 12   Lafaille on behalf of the petitioner.

                 13              THE COURT:      Good afternoon.

                 14              MS. DAVIDSON:       Good afternoon, your Honor.           Rachel

         02:01 15     Davidson for the petitioner.

                 16              THE COURT:      Good afternoon.

                 17              MR. BAVA:      Good afternoon, your Honor.             Julian Bava

                 18   for the petitioner.

                 19              THE COURT:      Good afternoon.

         02:01 20                MS. KHANBABAI:       Good afternoon, your Honor.           Mahsa

                 21   Khanbabai for the petitioner.

                 22              THE COURT:      And there are two attorneys on Zoom?

                 23              MS. ZAFAR:      Good afternoon.       Noor Zafar for the

                 24   petitioner.

         02:02 25                MR. HAUSS:      Good afternoon, your Honor.             Brian Hauss



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                  1   for the petitioner.

                  2               THE COURT:     Good afternoon to you both as well.

                  3               Counsel?

                  4               MR. SAUTER:     Good afternoon.       AUSA Mark Sauter on

         02:02    5   behalf of the defendant.

                  6               THE COURT:     Good afternoon.

                  7               Counsel, I know we're here on the petitioner's

                  8   petition.     I've had a chance to read the briefs on either side

                  9   and the submissions as well.           I'm prepared to hear argument.

         02:02 10     As you might imagine, and certainly as your briefs anticipated,

                 11   I'm very focused on jurisdiction.            So I would like to start

                 12   there, counsel.

                 13               I'll hear from the petitioner first.

                 14               MS. ROSSMAN:      Thank you, your Honor.         Attorney

         02:02 15     Lafaille will be addressing jurisdiction.

                 16               THE COURT:     Thank you.

                 17               MS. LAFAILLE:      Are you referring to the habeas?

                 18               THE COURT:     Yes.

                 19               MS. LAFAILLE:      I can start there.

         02:02 20                 THE COURT:     I'm focused on 2142.

                 21               MS. LAFAILLE:      Understood.      Your Honor, first of all,

                 22   we're incredibly grateful for the Court's attention to this

                 23   matter on such a short time frame.

                 24               THE COURT:     Pardon me for one second.          Can we mute

         02:03 25     Zoom?



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                  1              Counsel?

                  2              MS. LAFAILLE:       We're here, as your Honor knows, to

                  3   address the case of a student who was grabbed by federal agents

                  4   in front of her home and then taken over the course of several

         02:03    5   hours, to Vermont without any ability to contact counsel,

                  6   without the ability for counsel to contact her, and with her

                  7   location for a period of about 22 hours being undisclosed, even

                  8   to the Department of Justice attorneys on this case.

                  9              We've talked in our briefs about some of the

         02:03 10     exceptions to the general rule for habeas venue and

                 11   jurisdiction.      I do want to first make argument that this

                 12   rule -- this case actually falls within general venue

                 13   principles, and there's actually no need to invoke any

                 14   exception, but to the extent the Court disagrees, we also fall

         02:04 15     within several of those exceptions.

                 16              So as the Court is aware, there's the general rule,

                 17   and as the government cites, is that the parties have to sue

                 18   the immediate custodian.         In this case, we've done exactly

                 19   that.    Miss Ozturk was not at any detention facility at the

         02:04 20     time this petition was filed at approximately 10:02 p.m.                  She

                 21   was, it appears to be, in a car or a vehicle of some sort being

                 22   transported between locations.

                 23              THE COURT:      And, counsel, I understood that you were

                 24   relying, at least in part or in alternative, to the unknown

         02:05 25     custodian concept?



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                  1              MS. LAFAILLE:       Yes.    And I can address that, your

                  2   Honor.    I don't think we even need to go there because this is

                  3   a case where we did name the right custodian.

                  4              Our client was, at the time she was detained, in the

         02:05    5   custody of ICE Boston, ICE's Boston field office, and certainly

                  6   before she left Massachusetts if a habeas petition had been

                  7   filed, again, she was not in a detention facility, she's just

                  8   in a vehicle, certainly the government would agree we could

                  9   have filed that petition in Massachusetts.               And I assume the

         02:05 10     government would agree that the custodian would be the director

                 11   of the ICE field office, which has control over ICE in New

                 12   England, and not the individual ICE officer in whose vehicle

                 13   she is or the two or three ICE officers with her in that

                 14   vehicle.

         02:05 15                And that didn't change when she crossed the state

                 16   lines.    The custodian here --

                 17              THE COURT:      Even the state lines into Vermont?

                 18              MS. LAFAILLE:       Correct, your Honor.

                 19              The custodian, this is not one of those cases where,

         02:06 20     you know, the typical case in which a petitioner is in a

                 21   facility detained outside of a jurisdiction.               Our client was

                 22   simply in a vehicle in the custody of the ICE officers.                  The

                 23   government hasn't told us who they think the appropriate

                 24   custodian is.      They noted we haven't named the appropriate

         02:06 25     custodian.



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                  1              Unless the appropriate custodian is the ICE officers

                  2   in whose vehicle she is, I think it's clear that the

                  3   appropriate custodian would have to be the head of New

                  4   England's ICE office.        That's Patricia Hyde, who we've named,

         02:07    5   and this is the Court with jurisdiction over Patricia Hyde.

                  6              So as the general rule is articulated in Padilla, and

                  7   there's a very clear articulation in the first few lines of

                  8   Justice Kennedy's concurrence that explains that this general

                  9   rule is you have to sue the immediate custodian in the place

         02:07 10     where the immediate custodian is.

                 11              Normally, the very meaning of the immediate custodian

                 12   is that the immediate custodian and the petitioner are in the

                 13   same place, but this happens to be an odd situation where she

                 14   was in a vehicle that had crossed state lines, and so the

         02:07 15     immediate custodian is still the head of New England's ICE

                 16   office who's based here in Massachusetts.

                 17              So we think it's clear under general principles, even

                 18   as articulated in the government's brief, that we sue the

                 19   immediate custodian, and we've done just that.                So this is

         02:07 20     unlike -- I know the parties cited to the briefing in the

                 21   Khalil case down in the Southern District of New York and the

                 22   District of New Jersey, and this has some distinctions with

                 23   that case, in that Mr. Khalil had already reached a detention

                 24   facility in New Jersey at the time the petition was filed.

         02:08 25                That's not our case here.          For that reason, we think



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                  1   that we fall within general habeas jurisdiction principles even

                  2   without relying on the exceptions.

                  3               But to move on to those exceptions, as your Honor

                  4   mentioned, there is an exception where the custodian is unknown

         02:08    5   and that exception is recognized by the Padilla majority in a

                  6   footnote.     It's also implicitly recognized in 28 U.S.C. 2242

                  7   which asks us, requires habeas petitioners to name the

                  8   custodian if known.        And, essentially, what that case law

                  9   establishes is, if you don't know the custodian, it's okay to

         02:09 10     sue the supervisory official in the place where the supervisory

                 11   official is, and that's exactly what we've done here.                  The

                 12   habeas petition was filed at the place of the local supervisor

                 13   in the place where the supervisor is.

                 14               THE COURT:     Isn't there also language in that Judge

         02:09 15     Bork decision that once you know who the custodian is, to the

                 16   extent that that gives you jurisdiction over the custodian,

                 17   that disappears?

                 18               MS. LAFAILLE:      I don't think the jurisdiction -- I may

                 19   not be understanding your Honor's question.

         02:09 20                 THE COURT:     So meaning, at some point -- and I

                 21   understand the point about it not being known at the time that

                 22   the petition is filed given now the factual record about where

                 23   your client was at the time, but I do recall that there was

                 24   language in that decision about what happens once the custodian

         02:10 25     is known.     Should it become known that the petitioner is held



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                  1   in a jurisdiction other this one, a judge of this circuit would

                  2   be divested of jurisdiction.

                  3              So what would you have the Court do with that?

                  4              MS. LAFAILLE:       So I think I want to understand this

         02:10    5   case in light of how the Supreme Court cited it.                   What the

                  6   Supreme Court said is that, in this circumstance where the

                  7   custodian and location are unknown, the regular rules, the

                  8   regular immediate custodian rule doesn't apply.                   And so that --

                  9   that's all I draw from the citation of that exception in

         02:11 10     Padilla, is that this is a recognized exception where if there

                 11   isn't a known custodian, the rules bend a little bit.                  And,

                 12   again, we don't even think we're bending the rules, but the

                 13   rules bend a little bit.         And here we have personal -- we've

                 14   sued in a place with personal jurisdiction over the custodian

         02:11 15     and where the client was -- where our client was detained.

                 16              THE COURT:      And my memory is that when you're reciting

                 17   to Padilla in this regard, that's the majority in Padilla.

                 18              MS. LAFAILLE:       Exactly, your Honor.

                 19              And there are two other exceptions recognized -- well,

         02:12 20     recognized in the concurrence in Padilla, which I think are

                 21   perhaps less well established than the unknown custodian

                 22   exception, which is when the government is not forthcoming with

                 23   respect to the identity of the custodian --

                 24              THE COURT:      And so, counsel, before jumping to that,

         02:12 25     as I understand it, there are two issues, right?                   There's the



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                  1   immediate custodian and then there's a place of confinement.

                  2   So are there other exceptions as to the immediate custodian

                  3   that you would have me consider?            I think the parties on both

                  4   sides had cited to Vasquez.

         02:12    5              MS. LAFAILLE:       Vasquez I think is just establishing,

                  6   it's a case pre-dating Padilla, if I recall correctly, and is

                  7   establishing the general rule that, even in immigration cases,

                  8   we typically should sue the immediate custodian.                   This is a

                  9   case where, you know, we're not talking about cases where it's

         02:13 10     unknown who the immediate custodian is.

                 11              THE COURT:      Right.

                 12              MS. LAFAILLE:       Under this circumstance, we have not

                 13   only --

                 14              THE COURT:      And, counsel, I apologize if I wasn't more

         02:13 15     precise.     I was talking about the language in Vasquez that

                 16   refers to exceptional circumstances, when you would depart from

                 17   that general rule.

                 18              MS. LAFAILLE:       Exactly.     This is a case that has a

                 19   number of those exceptional circumstances.               Because of the --

         02:13 20     we've submitted a number of declarations just attesting to,

                 21   and, again, this is where this case differs from the Khalil

                 22   circumstances in the Southern District of New York where Judge

                 23   Furman said he did not believe, had been shown that the

                 24   circumstances were unusual.          Here we've submitted a number of

         02:13 25     declarations attesting to --



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                  1              THE COURT:      And I've read them.

                  2              MS. LAFAILLE:       -- how unusual what happened here was.

                  3   And, particularly, the efforts to withhold information about

                  4   Miss Ozturk's whereabouts from her counsel and from even

         02:14    5   counsel for the government make this case particularly unusual.

                  6              The declarations submitted by the government's witness

                  7   at paragraph 20 talks about how at the time of petitioner's

                  8   request there was no known counsel of record, and once, through

                  9   the filing of this habeas, there was attorney contact

         02:14 10     information, it was provided to the people in Louisiana so that

                 11   she could call counsel from Louisiana.

                 12              So, in other words, it was deliberately not provided

                 13   to people who were with Miss Ozturk and who could have helped

                 14   her call counsel, which, as her declaration attests, she was

         02:14 15     asking to do.      That information was withheld from those who

                 16   could have given it to her at a time when she could have used

                 17   it to call counsel before being sent to Louisiana.

                 18              And I want to --

                 19              THE COURT:      Counsel, I can't recall if it's in the

         02:15 20     submission by the government here or reflected in the papers

                 21   that were filed in the Khalil case where I've read the papers

                 22   in that case as well, but I imagine one of the responses from

                 23   the government is going to be in regards to some internal ICE

                 24   rule about having detainees have contact with their attorneys

         02:15 25     within 24 hours of their detention.



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                  1              What, if anything, would you have me make of that, of

                  2   that rule?

                  3              MS. LAFAILLE:       Well, she didn't, first of all.           She --

                  4   again, despite -- I think even if your Honor saw nothing

         02:16    5   unusual in the fact that she couldn't call counsel within the

                  6   time that she was in Massachusetts and Vermont, it's still

                  7   quite unusual that even the government's own lawyers were not

                  8   told despite their efforts to learn their whereabouts, where

                  9   she was.

         02:16 10                There's an added feature here, which is this Court's

                 11   order on Tuesday night close to 11:00 p.m. which instructed the

                 12   government not to move Miss Ozturk out of Massachusetts except

                 13   after 48 hours of notice.          The government getting that order

                 14   and knowing she was out of Massachusetts at the time of that

         02:16 15     order had a couple of choices, one of which was coming to the

                 16   Court to say, hey, actually, she's already out of

                 17   Massachusetts, and obviously that wasn't the route taken.                     The

                 18   route taken instead was to ignore the order and not disclose

                 19   her location to her counsel.

         02:17 20                It's particularly notable because the intention of

                 21   that order is stated in the order, and it's to preserve the

                 22   status quo.      Even if the status quo at that moment was that she

                 23   was in Vermont, what the government did was the opposite of

                 24   preserving the status quo, which was secretly whisking her away

         02:17 25     and making sure no one would know where she was until she was



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                  1   in Louisiana.

                  2              THE COURT:      Counsel, before I interrupted you with a

                  3   question before, I think you were moving to the other matter of

                  4   place of confinement, which I'm also interested in hearing

         02:17    5   about.

                  6              MS. LAFAILLE:       So I think these are interrelated

                  7   concepts, of course.        In terms of the -- the government has

                  8   separated them in their brief, but the general rule, sue the

                  9   immediate custodian, sue the immediate custodian where the

         02:18 10     custodian is, and, of course, that's also generally where the

                 11   petitioner is.      For the idiosyncratic reasons here, the vehicle

                 12   the petitioner was in had already crossed state lines.

                 13              We think, generally, the rule about suing in the

                 14   location of confinement is really just an expression of the

         02:18 15     ordinary principle that we sue the immediate custodian in the

                 16   location where the immediate custodian is.

                 17              The same exceptions -- the exceptions we discussed

                 18   with regard to the immediate custodian is also relevant here.

                 19   Where the custodian is unknown, it's permissible to sue someone

         02:19 20     higher up in the chain in the place where that person is.                     Of

                 21   course, that's what we've done, and then here we have all of

                 22   these unusual circumstances involving efforts to make it

                 23   difficult for anyone to learn where Miss Ozturk was.

                 24              THE COURT:      And so, counsel, that language from the

         02:19 25     concurrence in Padilla if I'm following correctly.



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                  1              MS. LAFAILLE:       With regards to the -- yes, the purpose

                  2   of removing to make it difficult, exactly.

                  3              THE COURT:      So, counsel, other than the concurrence in

                  4   Padilla, what else do I -- do you rely on in regards to the

         02:19    5   place of confinement?        And I understand your point that they're

                  6   interrelated, although a number of the cases seem to treat them

                  7   differently.

                  8              MS. LAFAILLE:       Yes.    The place of confinement, again,

                  9   this is not a situation where they're talking about subject

         02:20 10     matter jurisdiction.        We're talking about habeas petitions,

                 11   which are meant to be equitable.

                 12              And I also want to go back to the purpose of these

                 13   rules, which is to prevent forum shopping.               The purpose of

                 14   these rules, of course, is to make sure that a petitioner

         02:20 15     cannot simply choose which level of official they're going to

                 16   sue or sue a national official in any jurisdiction of their

                 17   choice in the United States.

                 18              Here we have the opposite situation.              We really have a

                 19   situation where the government is forum shopping, that is

         02:20 20     whisking away a petitioner to its forum of choice and doing

                 21   everything in its power to ensure that a habeas petition cannot

                 22   be filed and then seeking the dismissal of this petition or a

                 23   transfer to its forum of choice.

                 24              So particularly keeping in mind that we're not talking

         02:21 25     here about subject matter jurisdiction, and there's no question



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                  1   that there's personal jurisdiction, this really is about

                  2   implementing venue and implementing the intention of the habeas

                  3   statute, which again is to -- is set up to prevent petitioners

                  4   from forum shopping and having a choice of forum.

         02:21    5              Here, Attorney Khanbabai sued in the only forum she

                  6   really could have sued in unless she was going to sue in

                  7   multiple forums, which, as is pointed out in the recent

                  8   District of New Jersey opinion, might raise ethical questions

                  9   if she can't have a good faith basis to assert that her client

         02:21 10     is in a particular forum.

                 11              THE COURT:      And so I appreciate the argument.              I think

                 12   that is invoking the language in Justice Kennedy's concurrence,

                 13   I think, as the government has pointed out in their papers.

                 14   Although it was the concurrence, it was joined by two justices.

         02:22 15     I was unable, as I think the judge in Khalil was unable, to

                 16   find any case in which a court has relied on that exception for

                 17   the purposes of finding jurisdiction where the petitioner was

                 18   not in -- was not in confinement in the district of which the

                 19   petition was filed.

         02:22 20                So what do you say to that?

                 21              MS. LAFAILLE:       I think in looking at all those cases

                 22   the thing they have in common though is that the petitioner is

                 23   in another facility that has another custodian.                   There

                 24   aren't -- I don't think we've seen a case where the petitioner

         02:23 25     is in transit.      I'm not aware of one where these rules about



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                  1   habeas jurisdiction are being applied in such an unbending way

                  2   to someone who is in transit still within the custody and

                  3   control of the official in the state in which she was arrested

                  4   and in which the petition was filed.

         02:23    5              THE COURT:      Thank you.

                  6              MS. LAFAILLE:       And then, lastly, your Honor, largely

                  7   for the reasons in the Khalil opinions, if the Court determines

                  8   that Massachusetts is not an appropriate forum for this case,

                  9   then transfer to Vermont would be the appropriate remedy, not

         02:23 10     dismissal or transfer to Louisiana.             And that's simply, I

                 11   think, explained quite well in the Khalil decisions but also

                 12   just a straightforward application of 28 U.S.C. 1631.

                 13              THE COURT:      Right.    And I understood from the papers

                 14   that you were relying on 1631, although I think the Southern

         02:24 15     District had invoked 1404 or 1406, but your argument is under

                 16   1631.

                 17              MS. LAFAILLE:       Yes, your Honor, and we also have

                 18   specific case law in the First Circuit Federal Home Loan Bank

                 19   vs. Moody's Corp., 821 F.3rd 102, that speaks specifically to

         02:24 20     1631.    Questions have been raised about whether that provision

                 21   applies when there's an issue of personal jurisdiction as

                 22   opposed to subject matter jurisdiction.

                 23              So, in the First Circuit, it is law that any kind of

                 24   jurisdiction if there's an issue of habeas jurisdiction,

         02:24 25     personal jurisdiction, that also is cause to apply this



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                  1   provision, and that decision also makes clear that the law in

                  2   the First Circuit creates a presumption of transfer in that

                  3   circumstance and it's only when it has to be found that it's

                  4   not in the interest of justice to transfer the case that the

         02:25    5   analysis would result in not transferring.

                  6              THE COURT:      Right.

                  7              MS. LAFAILLE:       And I think for all the reasons we were

                  8   discussing with regards to the application of the Padilla

                  9   exceptions, we think it's certainly in the interest of justice

         02:25 10     if the Court concludes that this is not an appropriate venue to

                 11   transfer the case to Vermont.

                 12              THE COURT:      And so 1631 is invoking the want of

                 13   jurisdiction of the transferring court.              Okay.

                 14              MS. LAFAILLE:       Correct.

         02:25 15                THE COURT:      So, counsel, is it as an operation of 1631

                 16   or as of case law that the petition filed here would be taken

                 17   as having been filed on the evening of March 25th in Vermont?

                 18              MS. LAFAILLE:       As the Khalil decision in New Jersey I

                 19   think very well analyzes this provision, I think it could be,

         02:26 20     just the text of it that it would be taken, proceed as if it

                 21   was filed in that court at the time it was filed.

                 22              THE COURT:      Thank you.

                 23              MS. LAFAILLE:       Thank you, your Honor.

                 24              THE COURT:      I'll hear from the government on this

         02:26 25     point about jurisdiction.



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                  1               MR. SAUTER:     Thank you, your Honor.

                  2               I'll start with where counsel started with the general

                  3   rules that everyone understands apply to habeas provisions,

                  4   which require for a court to have habeas jurisdiction that the

         02:26    5   petition needs to be filed in the district of confinement and

                  6   needs to name the immediate custodian over the petitioner.

                  7               In this case, neither of those two general rules that

                  8   have been called longstanding rules by the Supreme Court were

                  9   followed.

         02:27 10                 THE COURT:     And, counsel, can the petitioner really be

                 11   faulted for that here given the circumstances that have become

                 12   clear even from the government's affidavit?

                 13               MR. SAUTER:     At the time of the original filing, no,

                 14   your Honor.      I don't think petitioner can be faulted for filing

         02:27 15     the petition in Massachusetts.           Certainly at the time the

                 16   amended petition was filed on March 28th, it was clear at that

                 17   point that the district of confinement was the Western District

                 18   of Louisiana for at least three days at that point, two and a

                 19   half days, and the immediate custodian of that facility was

         02:27 20     also known at the time, in time of the amended filing.

                 21               THE COURT:     Counsel, and I know your sister is

                 22   pointing me to the overlap of these considerations of place of

                 23   confinement and immediate custodian, but I'd like to hear you

                 24   in regards to the argument about the Court not needing to reach

         02:28 25     any exception as to the immediate custodian given the transient



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                  1   nature of her location at whatever it was, 10:03 or 10:05, on

                  2   the evening of March 25th.

                  3              MR. SAUTER:      I think, based on the standard practice,

                  4   an exception would need to be reached here because, again,

         02:28    5   district of confinement, this petition was not filed in the

                  6   district of confinement and an immediate custodian was not

                  7   named, nor sister counsel indicates that she believes that the

                  8   immediate proper custodian was named in that supervisory

                  9   officials were named to the petition, but this is from the

         02:28 10     Supreme Court to the First Circuit, down to this district court

                 11   that supervisory officials, such as the field office director

                 12   of ICE, even if that field office director covers New England,

                 13   is not a proper respondent to a habeas petition.

                 14              And Vasquez, the First Circuit case, discussed this

         02:29 15     with, in that case, the petitioner had named that when INS, the

                 16   district director for Boston, First Circuit said, well, did not

                 17   name the respondent, the proper respondent, which was the INS

                 18   district director in Louisiana.

                 19              So, in this case, the proper respondent would have

         02:29 20     been an ICE field office director that had jurisdiction,

                 21   immediate jurisdiction over Vermont where petitioner was at the

                 22   time.

                 23              THE COURT:      But that was unknown at the time.            So,

                 24   counsel, you've talked about Vasquez.             There was language there

         02:29 25     about exceptional circumstances, right, in regards to the



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                  1   immediate custodian where there's either furtiveness or bad

                  2   faith by the government.         It's an "or", so I don't think the

                  3   Court has to find both.         It can find either or.            Why shouldn't

                  4   I apply -- if for some reason I wanted to apply the unknown

         02:30    5   exception, why shouldn't I reach that exception?

                  6              MR. SAUTER:      Yes, your Honor.        So Vasquez dealt with

                  7   two different potential extraordinary circumstances that the

                  8   First Circuit could imagine.           First was in citation to

                  9   Demjanjuk from Judge Bork where it said if petitioner was being

         02:30 10     held at an undisclosed location.            The second was when there was

                 11   the facts that indicated that movement out of the district was

                 12   done to manipulate jurisdiction.

                 13              I'll take the first extraordinary circumstance, if

                 14   that's fine with your Honor, in terms of being held in an

         02:31 15     undisclosed location.        So, again, this citation was from the

                 16   Demjanjuk case.       If you look at the facts of that case, it

                 17   dealt with an individual who was subject to immediate

                 18   extradition from the United States who was being held in a

                 19   confidential location.         Judge Bork acted on the petition,

         02:31 20     saying that it won't make sense for the public to learn of the

                 21   location of the individual.

                 22              The facts in this case are dramatically different.

                 23   Within 24 hours of the arrest, petitioner's location was known.

                 24              THE COURT:      But, counsel, isn't the period I'd be

         02:31 25     looking at when the petition was filed and at that time it was



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                  1   unknown?     It was undisclosed.

                  2               MR. SAUTER:     It was undisclosed.

                  3               THE COURT:     I should take that back.          It was known to

                  4   the government but not disclosed to the petitioner.

         02:31    5               MR. SAUTER:     It was not disclosed to the petitioner at

                  6   that time.     That is true.       And, again, going to the Demjanjuk

                  7   decision, as the Court pointed out earlier, the language from

                  8   Judge Bork says, at the point when the disclosure, when we

                  9   learn where the individual is, if that individual is not in the

         02:32 10     D.C. circuit, then the circuit loses jurisdiction over that

                 11   individual.      So that would be the case here when the next day

                 12   this was not an unknown location anymore, not an undisclosed

                 13   location.

                 14               THE COURT:     But it certainly was at the time the

         02:32 15     petition was filed, counsel, right?

                 16               MR. SAUTER:     Yes, your Honor.

                 17               The other cases cited by the petitioner when she

                 18   discusses the unknown custodian also show the difference from

                 19   this case.     Those involved enemy combatants, Al Qaeda members

         02:32 20     who were being held by the military overseas.                Those were the

                 21   first two cases cited.         The third case was a national class

                 22   action about detainees.

                 23               THE COURT:     Are we still talking about Vasquez?

                 24               MR. SAUTER:     This is talking about Vasquez because

         02:33 25     it's talking about the undisclosed location, which is this same



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                  1   exception that's referenced by petitioner as the unknown

                  2   custodian exception, I believe.

                  3              THE COURT:      But I guess, counsel, I mean, I know that

                  4   Vasquez, as I think you mentioned, does mention that case, but

         02:33    5   I'm not sure that they're exactly the same, right?                  One is

                  6   about unknown, and the other I suppose could also be unknown,

                  7   but it seems focused on government conduct.

                  8              MR. SAUTER:      Yes, your Honor.        And, again, with the

                  9   government conduct here, and I think this also touches the

         02:33 10     second possible extraordinary circumstance set forth by the

                 11   Vasquez court, whether there's an attempt to manipulate

                 12   jurisdiction, the government would argue here that there was no

                 13   attempt to manipulate jurisdiction.

                 14              The driving force for the transfer of petitioner

         02:34 15     outside of Massachusetts was the fact that there is no detainee

                 16   facility, no facility to detain female detainees in

                 17   Massachusetts.

                 18              THE COURT:      And, counsel, I've read all of the

                 19   affidavits, right, filed by the government and the multiple

         02:34 20     ones filed on petitioner's side.            I see reference in the

                 21   government's affidavit to sort of a characterization of the

                 22   movement of detainees being routinely conducted after arrest

                 23   due to operational necessity and considerations.                   It doesn't

                 24   say anything about the timing of any detainee moves, and I now

         02:35 25     have a number of affidavits from immigration attorneys



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                  1   experienced in this field and working within this region who

                  2   say that the timing of these moves is not -- is not routine and

                  3   common.

                  4              Isn't that something I can look at under the Vasquez

         02:35    5   exceptions?

                  6              MR. SAUTER:      I think what your Honor can look at is

                  7   the reasons set forth by ICE as to why she was transferred out

                  8   of Massachusetts and when those decisions were made.                  Those

                  9   decisions were made prior to her arrest, which means they were

         02:35 10     made prior to the filing of this habeas petition.                  Prior to her

                 11   arrest it was determined that there is no detention facility in

                 12   Massachusetts where she could be detained.

                 13              So if she was transferred -- any places she'd be

                 14   transferred to after her arrest would be outside of

         02:36 15     Massachusetts.      It was then determined that there was detention

                 16   location space for her at a female facility in Louisiana.                     As a

                 17   result, a plan was put in place, which led to her transfer out

                 18   of Massachusetts to Vermont and then to a flight the next, very

                 19   early the next morning.

         02:36 20                THE COURT:      I'm not sure, counsel.         Which way does

                 21   that cut in regards to the issue your sister brings up about

                 22   that counsel, even after the petition was filed on her behalf,

                 23   didn't know her whereabouts?           Like, I'm not sure that -- I'm

                 24   not sure that the prior arrangements made by the government are

         02:36 25     a fact in the government's favor in this analysis.



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                  1              MR. SAUTER:      I think the prior arrangements made by

                  2   the government show that there was no attempt to manipulate

                  3   jurisdiction of a habeas petition when that habeas petition had

                  4   not yet been filed when those arrangements were made.                  If a

         02:37    5   habeas petition is filed and then there was a flurry of

                  6   activity to try to bring a person outside of the jurisdiction

                  7   of that court, I think that would be the attempt to manipulate

                  8   jurisdiction.

                  9              THE COURT:      But what do you say to your sister's

         02:37 10     argument that the flurry of activity actually continued after

                 11   the petition was filed and the government was on notice that it

                 12   had been filed and that she was represented?

                 13              MR. SAUTER:      The government activity that continued

                 14   was activity that had already been set in place prior to the

         02:37 15     petition being filed.        She was being moved to Vermont so she

                 16   could spend the night in Vermont and then be able early morning

                 17   to take a flight out of Vermont.

                 18              THE COURT:      And, counsel, doesn't -- shouldn't that

                 19   movement be effected by an order entered by this Court?

         02:38 20                MR. SAUTER:      If the petitioner was inside of

                 21   Massachusetts and the government learned that there was an

                 22   order prohibiting her departure or transfer outside of

                 23   Massachusetts, then that movement certainly would be effected

                 24   by such an order, but when she was not in Massachusetts, an

         02:38 25     order that says, do not move from Massachusetts does not have



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                  1   that same effect.

                  2              THE COURT:      Even if the respondents have nationwide

                  3   authority presumably?

                  4              MR. SAUTER:      Even if the respondents have nationwide

         02:38    5   authority?     The language of the order still says do not move

                  6   outside of Massachusetts, which does not affect a situation

                  7   when a person is already outside of Massachusetts.

                  8              THE COURT:      And, counsel, just to move on to another

                  9   consideration, still focused on Vasquez, counsel, in this

         02:39 10     situation under Vasquez, the exceptions, can the Court consider

                 11   the circumstances of the arrest itself in regards to

                 12   furtiveness or bad faith?

                 13              MR. SAUTER:      I don't believe there's language in

                 14   Vasquez that would allow a court to consider the circumstances

         02:39 15     of the arrest, your Honor.

                 16              THE COURT:      Why would that be, counsel?

                 17              MR. SAUTER:      I think what Vasquez is concerned about

                 18   is a transfer from district of confinement, and the arrest

                 19   itself is not related to the transfer outside of the

         02:39 20     jurisdiction.      Vasquez is looking at if extraordinary

                 21   circumstances exist in an undisclosed location or if ICE

                 22   spirited the individual to another jurisdiction in an attempt

                 23   to manipulate jurisdiction to a different district.                  The

                 24   lawfulness of the arrest itself --

         02:40 25                THE COURT:      I'm not talking about the lawfulness.              I'm



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                  1   talking about the circumstances.

                  2              MR. SAUTER:      I'm not sure I -- I'm not sure I

                  3   understand the circumstances that you are referring to in terms

                  4   of how it may affect.

         02:40    5              THE COURT:      So whether or not -- so in regards to

                  6   identification or where the petitioner was going to be

                  7   transferred.

                  8              MR. SAUTER:      The information that we have, your Honor,

                  9   from ICE is that the decision was made before of where she was

         02:40 10     going to be transferred because there's not a detention

                 11   location in Massachusetts for female detainees.

                 12              THE COURT:      Do I know anything in the record about

                 13   what the petitioner was told at the time that the agents

                 14   arrested her in regards to where she was headed?

         02:41 15                MR. SAUTER:      No, your Honor.       Your Honor did reference

                 16   earlier a detainee transfer policy that Judge Furman cited to

                 17   in Khalil, Southern District of New York.

                 18              THE COURT:      This is in regards to the contact with

                 19   counsel?

         02:41 20                MR. SAUTER:      Exactly, your Honor.         A few things that

                 21   come into play with that.          At the time of petitioner's arrest,

                 22   ICE did not have a counsel of record for petitioner.                  For ICE

                 23   to have a counsel of record, the petitioner's counsel needs to

                 24   submit a form called a G-28.           No G-28 had been submitted prior

         02:41 25     to her arrest on behalf of petitioner.             That's set forth by ICE



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                  1   in their declaration.

                  2              But the transfer policy, the language in the transfer

                  3   policy indicates that the individual is not, does not have the

                  4   opportunity to contact counsel until the individual arrives at

         02:42    5   the final destination.

                  6              So here on the night of her arrest, that was not her

                  7   final destination in Vermont.           Her final destination was next

                  8   day in Louisiana.       After she arrived in Louisiana, she was able

                  9   to contact her attorney.

         02:42 10                THE COURT:      And so I guess, counsel, to ask you the

                 11   flip side of what I asked your sister on this particular issue,

                 12   I understand that ICE might have a policy in that regard but

                 13   don't I get to consider that circumstance along with the other

                 14   circumstances under Vasquez, at least as to this issue about

         02:43 15     the immediate custodian?

                 16              As I understand the affidavits that I now have,

                 17   there's an affidavit that the petitioner was not able to

                 18   contact her attorney, and obviously I had previously heard from

                 19   her counsel that she wasn't able to locate her client.

         02:43 20                So, as I said, the flip side of what I asked your

                 21   sister, isn't that something I can consider?

                 22              MR. SAUTER:      I think certainly that can be considered

                 23   in the analysis of whether the petition was filed in the proper

                 24   court.    If she was not able to contact her attorney to say, I

         02:43 25     am in Vermont, then, as the Court asked earlier, can



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                  1   petitioner's counsel be faulted for not filing in Vermont, and

                  2   the government does not fault the petitioner's counsel for

                  3   filing in Massachusetts.

                  4               Does her inability to contact her attorney on the

         02:44    5   night of her arrest bring this into an exception?                  That's been

                  6   discussed in Vasquez or in a concurrence and indeed is a

                  7   different question.        I think that question cuts against

                  8   petitioner, that it does not bring us into an exception because

                  9   ICE following the policy that it follows did not allow a phone

         02:44 10     call to be made that evening is not bad faith or is not an

                 11   attempt to keep someone in an undisclosed location or to

                 12   prevent the awareness of where the individual is going to be.

                 13   That awareness came the next day, midday the next day, when it

                 14   was apparent she was in Louisiana.

         02:44 15                 THE COURT:     I wasn't suggesting that circumstance

                 16   alone, but it's one of the circumstances the Court could

                 17   consider.

                 18               MR. SAUTER:     I think the Court can consider that and I

                 19   think the Court would also, in that consideration, look that

         02:45 20     it -- that action follows directly in accordance with an ICE

                 21   policy.

                 22               THE COURT:     And, counsel, I focused my questions on

                 23   this immediate custodian issue, but in regards to the place of

                 24   confinement, which you also mentioned, counsel, what do you say

         02:45 25     to your sister's arguments in regards to Padilla and otherwise?



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                  1              MR. SAUTER:      Place of confinement can't be swept away

                  2   as one of the longstanding rules that the Supreme Court in

                  3   Vasquez has looked at as a necessary precondition for the

                  4   district court to exercise jurisdiction over a habeas petition

         02:45    5   because, again, the Court's order would be directed to

                  6   custodian of the individual in the place of confinement.                  If

                  7   the individual is not located in the district that the Court

                  8   sits, then the Court doesn't have jurisdiction over that

                  9   person, the custodian.

         02:46 10                So even in the Demjanjuk case where it was found to be

                 11   an exception of the immediate custodian rule, the court there

                 12   was quick to note that once we learn the district of

                 13   confinement, if it's not District of D.C., then the Court

                 14   doesn't have jurisdiction.

         02:46 15                And that same reasoning was used by the Khalil court

                 16   in New Jersey where the court there said, even if it is an

                 17   unknown custodian, proper district for the petition to be heard

                 18   still has to be in the district of confinement.                   That's why the

                 19   New Jersey, the Khalil New Jersey court said that was in New

         02:47 20     Jersey where she was detained at the time that the petition was

                 21   filed.

                 22              THE COURT:      You mean in terms of the transfer between

                 23   the Southern District and New Jersey?

                 24              MR. SAUTER:      Correct, your Honor.

         02:47 25                THE COURT:      And so, counsel, on this last point, and



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                  1   some of it I think you anticipated when I was asking you about

                  2   Vasquez, why not consider the exception suggested in the

                  3   concurrence?

                  4              MR. SAUTER:      From Rumsfeld v. Padilla?

         02:47    5              THE COURT:      From Padilla.      From Padilla.

                  6              MR. SAUTER:      The Court doesn't need to consider it

                  7   because it's not binding.          It's not holding from that Supreme

                  8   Court case as Judge Furman in Southern District of New York

                  9   discussed, but even if court -- well, I'll add the second point

         02:48 10     to that, and I think the Court mentioned this earlier.

                 11   Petitioner, in her briefing and argument here, was not able to

                 12   provide any case nationwide that has applied the concurrence

                 13   from Padilla to obtain relief, and Judge Furman made that point

                 14   also.

         02:48 15                But even if we look at those proposed exceptions from

                 16   Padilla, I think we've discussed parts of them.                   The first

                 17   talks about ICE not being forthcoming with respect to the

                 18   identity of the custodian or the place of the detention.                  All

                 19   of that information was known less than 24 hours after the

         02:49 20     arrest on the next day.         So we're not in a situation where

                 21   someone was being held in an undisclosed location for a

                 22   determinant time.

                 23              THE COURT:      But wasn't it a period, counsel?             I guess

                 24   that's -- I mean, isn't my focus on when the petition was

         02:49 25     filed?



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                  1               MR. SAUTER:     When the petition was filed, your Honor,

                  2   they -- petitioner's counsel did not know where she was.

                  3   That's not the same thing as ICE not being forthcoming about

                  4   her location.      ICE was still in the process of transporting her

         02:49    5   through Vermont at the time that the petition was filed.                  There

                  6   hadn't been -- it would be a -- perhaps it would be a different

                  7   situation if there was communication prior to the petition

                  8   being filed and that information was not disclosed.

                  9               THE COURT:     Counsel, let me ask a better question.             I

         02:50 10     think Padilla also talks about the movement of the petitioner

                 11   or of a petitioner as being one of the issues that could lead

                 12   to the application of this exception that Justice Kennedy

                 13   discussed.

                 14               MR. SAUTER:     Right, whether there was an indication

         02:50 15     that the purpose of the transfer was to make it difficult.

                 16               THE COURT:     Yes.

                 17               MR. SAUTER:     ICE, through a sworn declaration, stated

                 18   the purpose of the transfer was to -- was because there was not

                 19   facilities within Massachusetts where she could be detained and

         02:50 20     the purpose of the transfer was to take her to a location where

                 21   she could be detained.

                 22               THE COURT:     But that doesn't stand as undisputed on

                 23   the record now, does it, given the affidavits that have been

                 24   filed in regards to bed space and processing and the timing of

         02:51 25     movement?



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                  1              MR. SAUTER:      There's no bed space within, no detention

                  2   space within Massachusetts where a female detainee could be

                  3   detained for purposes of removal proceedings, which is why she

                  4   was detained.      So, in Massachusetts, there's none, no space for

         02:51    5   female detainees.

                  6              THE COURT:      Right, but I guess -- isn't the Padilla

                  7   exception a little bit broader than that in regards to not just

                  8   about -- not just about the whether or not she's in

                  9   Massachusetts but whether or not she's being moved in a manner

         02:51 10     in which it would make it difficult to determine where you

                 11   would file the petition?

                 12              MR. SAUTER:      Right, and I think this was discussed

                 13   before the southern district with Judge Furman in the Khalil

                 14   case.    The petitioner there tried to say the swift transfer

         02:52 15     across a number of states brought upon this concurrence.                  Judge

                 16   Furman there said no.        What the concern was in Padilla was

                 17   continuous movement so he could never be in one location to

                 18   allow the habeas petition to catch up.

                 19              THE COURT:      Right.

         02:52 20                MR. SAUTER:      The transfers here were made so she could

                 21   get to the location where the habeas petition could be filed

                 22   the next day when she was in Louisiana.              So the transfers here

                 23   were not done in a way to try to, you know, stay ahead of the

                 24   habeas petition.       They were done to put her in a location where

         02:52 25     she could be on a flight at five in the morning to end up at



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                  1   the location that had been determined for her prior to her

                  2   arrest, prior to a habeas petition.

                  3              THE COURT:      Counsel, obviously your sister would have

                  4   me take a different interpretation of the facts here, and

         02:53    5   obviously the Khalil case, I don't know what factual

                  6   development was made in regards to what the regular and routine

                  7   practice is, but I appreciate the argument.

                  8              Counsel, if I -- I don't know if you have anything

                  9   further to say on this point, but I know the government is

         02:53 10     seeking dismissal of the petition, but if I were to choose not

                 11   to dismiss the petition, you argue in the alternative that I

                 12   should send this to the Western District of Louisiana.

                 13              Why should I do that as opposed to Vermont where this

                 14   petition could have been filed at the time that it was filed?

         02:53 15                MR. SAUTER:      Thank you.      I will address that one very

                 16   quick last point on the --

                 17              THE COURT:      Sure.

                 18              MR. SAUTER:      -- the questions have been about the

                 19   unusual nature of transfers.

         02:54 20                THE COURT:      Yes.

                 21              MR. SAUTER:      There was a recent news article that was

                 22   cited and the government's response involving a female

                 23   scientist who was detained at Boston Logan Airport.                  She was

                 24   detained by Customs and Border Protection.               She was turned over

         02:54 25     to ICE.    She was transferred from Massachusetts to Vermont, on



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                  1   a flight from Vermont to Louisiana.             This happened I believe in

                  2   mid February.      So this circumstance that is alleged to have

                  3   been very unusual --

                  4              THE COURT:      Yes.    I guess the difference is, counsel,

         02:54    5   whether recent is regular, but I understand your point.

                  6              MR. SAUTER:      Thank you.

                  7              THE COURT:      I'll give it consideration.

                  8              MR. SAUTER:      Thank you, your Honor.

                  9              In terms of a proper venue for this case to be

         02:54 10     transferred, so the government argues that they should be

                 11   transferred to the Western District of Louisiana because it is

                 12   the district of confinement.           The immediate custodian is known.

                 13   And when the transfer statutes, three of which have been cited

                 14   by the Court earlier, they look at where the petitioner might

         02:55 15     have been brought or could have been brought.

                 16              The time that the amended petition in this case was

                 17   filed, there's only one location and first district where the

                 18   amended petition could be filed, and that's the Western

                 19   District of Louisiana at that time as the district of

         02:55 20     confinement and the immediate custodian is known.                  So a

                 21   transfer to the District of Vermont at this point, the court

                 22   there does not have jurisdiction over an immediate custodian

                 23   and the petitioner is not in that district either.

                 24              THE COURT:      Counsel, isn't it sort of common in civil

         02:55 25     cases that an amended pleading would relate back to the



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                  1   original pleading?

                  2              MR. SAUTER:      In civil cases, yes, generally.            I think

                  3   here where we're dealing with the filing of a habeas petition

                  4   in a proper district when there's two longstanding rules that

         02:56    5   when an amended petition is filed that is not in a proper

                  6   district, it doesn't make sense for it to be transferred to

                  7   another district that is also not proper because that district

                  8   doesn't satisfy the longstanding rules.

                  9              THE COURT:      But you're aware of the decision I might

         02:56 10     find persuasive out of the District of New Jersey?

                 11              MR. SAUTER:      I am, your Honor.        The only -- the thing,

                 12   the distinguishing factor there is there was not an amended

                 13   petition that was filed and it wasn't filed at a time when this

                 14   was clear as to district of confinement and immediate custodian

         02:56 15     over the petitioner.

                 16              THE COURT:      Thank you.

                 17              MR. SAUTER:      Thank you, your Honor.

                 18              THE COURT:      Counsel, if you want brief rebuttal.

                 19              MS. LAFAILLE:       Thank you, your Honor.

         02:57 20                I guess I'll start here with the point about the

                 21   amended petition.       I don't think the government has cited a

                 22   single case where that is at all relevant for the

                 23   jurisdictional analysis here.           And, again, this plays very much

                 24   the wrong way into the concern for forum shopping that's at the

         02:57 25     heart of these rules.        It's not possible at the time in these



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                  1   cases where a petitioner is quickly being moved and the basis

                  2   for detention, the circumstances for detention, are unknown.

                  3   It's not possible to have a fully fleshed out habeas petition.

                  4              What the government is saying is, essentially, parties

         02:57    5   should be penalized for amending habeas pleadings and that

                  6   should leave the government to be able to choose its forum.

                  7   And that just sets a very strange and dangerous precedent here.

                  8              I also want to go back to the -- actually, just to

                  9   stay on that point for a moment, it also cuts against ex parte

         02:58 10     Endo and I thought the very persuasive points --

                 11              THE COURT:      Meaning where it's filed in the proper

                 12   district initially and someone has transferred after that?

                 13              MS. LAFAILLE:       Exactly, your Honor.        And nothing about

                 14   amendment changes that.         I think your Honor has it right that

         02:58 15     the relevant thing for habeas is the time of filing.                  Your

                 16   Honor referenced the language in Judge Bork's opinion.                  That's

                 17   not binding on the Court and contrary to ex parte Endo which

                 18   makes clear that it's the time of filing.              It's the

                 19   jurisdiction at the time of filing that matters.                   We think that

         02:59 20     was established here.

                 21              I also would point to the compelling language in the

                 22   District of New Jersey opinion in this regard about gaps in

                 23   habeas jurisdiction.        We can't interpret these rules in a way

                 24   that would create periods of time when there's effectively no

         02:59 25     habeas jurisdiction and no habeas petition can be lodged.                     That



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                  1   would --

                  2              THE COURT:      In terms of the travel of a detainee?

                  3              MS. LAFAILLE:       Correct, your Honor.

                  4              What the government is saying essentially is there is

         02:59    5   no way in those early periods that a habeas petition could be

                  6   filed and considered if the government is making the choice to

                  7   move someone to their forum of choice and, essentially,

                  8   petitioners won't have the ability during those periods to file

                  9   petitions that would be considered.             That just runs contrary to

         03:00 10     the suspension clause and ex parte Endo.

                 11              I also want to talk about this prior plan thing and

                 12   the government's argument that the prior plan somehow helps the

                 13   government.      First of all, the notion that the prior plan was

                 14   due to bed space constraints is not something the Court has to

         03:00 15     credit.    It is in a sworn declaration, but it's a sworn

                 16   declaration of an officer who is claiming no personal knowledge

                 17   over that and is claiming to write this declaration based on

                 18   reviews of record systems and conversations with undisclosed

                 19   other people.

         03:00 20                So I see nothing there that needs to be credited,

                 21   particularly when on the other side of that ledger there is

                 22   credible testimony, including the declaration of Miss Walsh,

                 23   Attorney Walsh saying that there's reason to think that there

                 24   was bed space in New England and that transfer --

         03:01 25                The government says, of course, in this paragraph 6 of



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                  1   this declaration, the portion over which we're talking about

                  2   that there is no personal knowledge, that there was no bed

                  3   space in a facility where essentially in New England, where the

                  4   petitioner would have been able to appear for an immigration

         03:01    5   court hearing in New England.           Attorney Sauter kept quoting no

                  6   space in Massachusetts.         Of course, that's not the same thing

                  7   as the declarations.        We know there is reason to think there

                  8   was bed space in New England.

                  9               And the Court doesn't have to ignore what was

         03:01 10     happening.     The government was already embroiled in litigation

                 11   about Mr. Khalil and litigation of a number of other cases

                 12   similarly involving students and scholars arrested in response

                 13   to pro-Palestine protests.          It does not have to -- the Court

                 14   does not have to ignore the question of venue as being

         03:02 15     litigated, and the government would have had every incentive to

                 16   transfer Miss Ozturk quickly and not to inform her counsel and

                 17   to make it difficult essentially for counsel to learn her

                 18   location.

                 19               The rule about calling counsel, again, even if that

         03:02 20     wasn't violated, that says nothing about when counsel is making

                 21   affirmative attempts to reach the petitioner and, again, it

                 22   says nothing even about why even counsel for the government

                 23   were not told where Miss Ozturk was even though -- it appears

                 24   they were making, at least represented to us, that they were

         03:03 25     making inquiries about her whereabouts, and that's particularly



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                  1   troubling in light of the supposed prior plan.

                  2              If there was a prior plan all along and these

                  3   movements weren't happening in the spur of a moment fashion,

                  4   which I accept, then it's even more troubling that counsel for

         03:03    5   the government won't have been informed about it at a time when

                  6   corrective action might have been taken.

                  7              The Russian scientist case that Mr. Sauter

                  8   mentioned --

                  9              THE COURT:      In a footnote, yes.

         03:03 10                MS. LAFAILLE:       Somebody was transferred to Vermont.           I

                 11   appreciate that this is not in the record but I'm happy to get

                 12   an affidavit from this attorney.            That attorney spoke to his

                 13   client while she was in Vermont because her location in Vermont

                 14   was disclosed to him.

         03:03 15                So, again, this just highlights the unusual nature,

                 16   like all of the declarations highlight, of what was done here

                 17   and I think makes abundantly clear that these circumstances,

                 18   even if they don't fall within the ordinary rule, which for the

                 19   reasons we've said we think they do, certainly fall within

         03:04 20     exceptions that are intended again to be consistent with the

                 21   interest to prevent forum shopping to extend the jurisdiction

                 22   of habeas courts in equitable ways.

                 23              And, finally, on this point about the immediate

                 24   custodian, Mr. Sauter still hasn't been clear about which

         03:04 25     custodian he thinks the petitioner should have named or could



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                  1   have named.      I believe he said during his remarks that it would

                  2   have been the ICE field office director with control over

                  3   Vermont.     That is exactly who he named.           Because there's a New

                  4   England field office, a field office director sits in

         03:05    5   Massachusetts in Burlington, and that person has control --

                  6              THE COURT:      This is Miss Hyde?

                  7              MS. LAFAILLE:       Yes.

                  8              I'll end just where I started.            I'm sure we've all

                  9   seen the video of Miss Ozturk being grabbed by ICE officers on

         03:05 10     the street in Somerville.          If we could freeze that moment in

                 11   time and imagine a habeas petition being filed, which surely

                 12   she had the right to file if there was the wherewithal to do it

                 13   at that moment, it's clear that the --

                 14              I don't think Mr. Sauter is saying that the ICE

         03:05 15     officer who was physically grabbing her would have been the

                 16   custodian.     The custodian had to be the person in control of

                 17   the New England area for ICE.           I took his remarks to be

                 18   essentially acknowledging that.           And that didn't change.         That

                 19   person in control did not change when the vehicle that

         03:06 20     Miss Ozturk was in crossed state lines.

                 21              So we think this, although this is an unusual case

                 22   where the client was across state lines, she was in a vehicle,

                 23   her condition -- excuse me -- her custodian had not changed.

                 24   And for all of the reasons we've articulated, habeas

         03:06 25     jurisdiction in this court is consistent with ordinary



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                  1   principles of habeas jurisdiction and, if not, certainly the

                  2   government's behavior, ignoring a Court's order and whisking

                  3   her away, certainly give ample reason to preserve the

                  4   jurisdiction of this Court in Massachusetts.

         03:06    5              THE COURT:      And, if not, in the District of Vermont,

                  6   counsel?

                  7              MS. LAFAILLE:       Well, we think this case --

                  8              THE COURT:      And if not, in the District of Vermont?

                  9              MS. LAFAILLE:       Sorry, your Honor.        I hear you now.

         03:07 10     Yes.   Absolutely, your Honor.          If not here, then a transfer to

                 11   Vermont would be the appropriate remedy.

                 12              THE COURT:      Meaning I took those to be alternative

                 13   arguments as the government has made alternative arguments.

                 14              MS. LAFAILLE:       Yes, your Honor.

         03:07 15                THE COURT:      Counsel, I appreciate the arguments, thank

                 16   you, on both sides.

                 17              Counsel, I think there were other folks, some who are

                 18   on Zoom, that were queued up to address other issues.                  To be

                 19   completely transparent, as hopefully my questions to both sides

         03:07 20     suggested, I'm very focused on the jurisdictional issue, which

                 21   is very much a live issue here, so I'm inclined to wrestle with

                 22   that a little bit more and get a decision out in that regard.

                 23   And then if there are further proceedings, we would go from

                 24   there.    Okay?

         03:07 25                Thank you, counsel.



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                1                THE CLERK:      All rise.

                2                (The Honorable Court exited.)

                3                (Adjourned, 3:09 p.m.)

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                1                             C E R T I F I C A T E

                2

                3

                4     UNITED STATES DISTRICT COURT )

                5     DISTRICT OF MASSACHUSETTS            )

                6

                7

                8                  I, Kristin M. Kelley, certify that the foregoing is a

                9     correct transcript from the record of proceedings taken

               10     April 3, 2025 in the above-entitled matter to the best of my

               11     skill and ability.

               12

               13

               14           /s/ Kristin M. Kelley                           April 8, 2025

               15           Kristin M. Kelley, RPR, CRR                         Date
                            Official Court Reporter
               16

               17

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              1                         UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF VERMONT
              2

              3       RUMEYSA OZTURK,              )
                                                   )
              4                                    )
                             vs.                   ) CASE NO. 2:25-cv-374
              5                                    )
                      PATRICIA HYDE, MICHAEL KROL, )
              6       TODD LYONS, KRISTI NOEM,     )
                      DONALD J. TRUMP, MARCO A.    )
              7       RUBIO,                       )
                                                   )
              8                      Defendants.   )
                      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _)
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             12               Telephonic status conference held at 12:11 p.m.
             13       on Monday, April 7, 2025, in Burlington, Vermont,
             14       before Honorable William K. Sessions, III, District
             15       Judge.
             16

             17

             18

             19

             20

             21       Sarah M. Bentley, CCR-B-1745
                       Registered Professional Reporter and Notary Public
             22

             23

             24
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              1                              A P P E A R A N C E S
              2

              3       For the Plaintiff:
              4                  LIA N. ERNST, ESQ. (via telephone)
                                 ACLU Foundation of Vermont
              5                  P.O. Box 277
                                 Montpelier, Vermont 05601-0277
              6                  lernst@acluvt.org
              7
                                 RAMZI KASSEM, ESQ. (via telephone)
              8                  Main Street Legal Services, Inc.
                                 CLEAR Project
              9                  CUNY School of Law, 5th Floor
                                 2 Court Square
             10                  Long Island City, New York 11101
                                 (718) 340-4558
             11

             12

             13

             14

             15       For the Defendants:
             16                  MICHAEL P. DRESCHER, ESQ. (via telephone)
                                 Assistant United States Attorney
             17                  United States Attorney's Office
                                 3rd Floor
             18                  11 Elmwood Avenue
                                 Burlington, Vermont 05402-0570
             19                  (802) 951-6725
                                 michael.drescher@usdoj.gov
             20

             21

             22

             23

             24       Also Present:
             25

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              1                                         I N D E X
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              3                                                                              PAGE
              4           Statements by Mr. Kassem                                      6, 27, 30
              5
                          Statements by Mr. Drescher                                       19, 26
              6

              7           Statement by the Court                                    18, 23, 28
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              1                              P R O C E E D I N G S
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              4                         THE CLERK:       Please be seated.
   12:11      5                         THE COURT:       Good afternoon.
              6                         THE CLERK:       This is Civil Case No.
              7               25-374, Rumeysa Ozturk vs. Patricia Hyde,
              8               Michael Krol, Todd Lyons, Kristi Noem, Donald J.
              9               Trump, and Marco Rubio.
   12:11     10                         Present for the plaintiffs by telephone
             11               is Lia Ernst and Ramzi Kassem.
             12                         Present for the defendant is Assistant
             13               United States Attorney Michael Drescher.
             14                         The matter before the Court is a status
   12:11     15               conference.
             16                         THE COURT:       All right.        This is a status
             17               conference.        Let me set, as I understand it, the
             18               background to this Court's involvement.
             19                         First, the petition was filed in the
   12:12     20               District of Massachusetts.              Soon after the
             21               petition was filed the government filed a motion
             22               to dismiss, essentially arguing, first, that
             23               there was no jurisdiction in Massachusetts
             24               because at the time of the filing of the
   12:12     25               petition the petitioner was not in the district

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              1               of confinement and did not identify the persons
              2               who were restricting her liberty.                  And, as a
              3               result, the matter should be dismissed for lack
              4               of jurisdiction.
   12:12      5                         Second, the government is also arguing in
              6               its motion to dismiss that under the Immigration
              7               and Nationality Act essentially the Court, this
              8               Court, the Article 3 court has no jurisdiction,
              9               and this was exclusively delegated to the
   12:13     10               immigration authorities.              And, of course, the
             11               petitioner has objected to both of those
             12               requests.
             13                         Finally, the petitioner has
             14               also requested a release from confinement.
   12:13     15                         It seems to me that the Court needs to
             16               address the question of whether it has
             17               jurisdiction in this case, both in terms of
             18               whether the petition that was filed in
             19               Massachusetts on the 25th of March gave the
   12:13     20               Court jurisdiction and, second of all, whether
             21               the Court still has jurisdiction in light of the
             22               application of the Immigration and Nationality
             23               Act.
             24                         First, the Court has to decide whether it
   12:13     25               has personal jurisdiction in this particular

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              1               case.     If it does, then the Court needs to
              2               address the request on the part of the
              3               petitioner for release from confinement.
              4                         So let me turn to the lawyers for the
   12:14      5               case, first the lawyers for the petitioner,
              6               Mr. Kassem.
              7                         And, also, Mr. Drescher I think is
              8               representing the government; is that correct?
              9                         MR. DRESCHER:         It is.
   12:14     10                         THE COURT:       Okay.     So let me ask you
             11               whether I described the background correctly and
             12               tell me, I think you have requested a status
             13               conference, Mr. Kassem, I believe, and so tell
             14               me what your thought is about how we proceed.
   12:14     15                         MR. KASSEM:        Thank you, your Honor.             Good
             16               morning.
             17                         THE COURT:       Good morning.
             18                         MR. KASSEM:        This is Ramzi Kassem for the
             19               petitioner, Rumeysa Ozturk.               I'm from the CLEAR
   12:15     20               Project at CUNY School of Law.
             21                         First of all, on behalf of our client and
             22               the rest of the legal team, I'm like to thank
             23               the Court for its attention to this pressing
             24               matter.
   12:15     25                         And with the Court's permission I'd like

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              1               to take just a few minutes to review the case's
              2               stance from our perspective, and if the Court
              3               will indulge --
              4                         THE COURT:       Yes.
   12:15      5                         MR. KASSEM:        -- I have four keys points.
              6                         THE COURT:       Yes.
              7                         MR. KASSEM:        First of all, your Honor --
              8                         THE COURT:       I think you should identify
              9               exactly what is before the Court.
   12:15     10                         I don't think that you have to get into
             11               extended argument at this particular point.                      I
             12               should tell you that I have read all of the
             13               pleadings that were before Judge Casper in
             14               Massachusetts.         I've also read her decision and
   12:15     15               begun research into the issues that are
             16               presented by this really unique case.
             17                         So -- but you don't need to get into the
             18               argument.       You're going to have plenty of
             19               opportunity to do that in the very near future,
   12:16     20               but go ahead.
             21                         MR. KASSEM:        Thank you, your Honor.
             22                         I mean, the top one, your Honor, is, of
             23               course, that Ms. Ozturk was locked up by ICE and
             24               by the government essentially for co-authoring
   12:16     25               an op-ed in a Tufts campus newspaper.                     So that

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              1               is retaliation for her speech, we allege, which
              2               also -- which also chills not just her speech
              3               but the speech of many others, offending our
              4               most basic notions of freedom.
   12:16      5                         And in her case it's part of a larger
              6               pattern, as your Honor well knows by now,
              7               including such cases as Mr. Mahmoud Khalil's
              8               case, Dr. Badar Khan Suri, and, also, Yunseo
              9               Chung, Rajani Srinivasan and Momodou Taal, and
   12:16     10               the list does not end there.
             11                         So from our perspective, your Honor, the
             12               Court has the power to grant release right now.
             13               The government has responded to the amended
             14               habeas petition, as the Court well knows.
   12:16     15               Petitioner has replied, so that petition is
             16               fully briefed and ripe for decision,
             17               particularly as to the urgent detention claims
             18               raised in habeas, and so the Court could today
             19               grant the writ, order the petitioner's release,
   12:17     20               and then we litigate the remaining --
             21                         THE COURT:       One, as I say, I have read
             22               the motion to dismiss.             I've read your response.
             23                         The problem, of course, is that when the
             24               case was in Massachusetts you were in the
   12:17     25               1st Circuit.        And one of the observations that I

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              1               made in regard to the memoranda that were
              2               submitted is that you focused, quite naturally,
              3               on 1st Circuit law.           In particular, the Vasquez
              4               became very much a part of the issue.                     That's a
   12:17      5               1st Circuit case.
              6                         Well, you're now in the 2nd Circuit.
              7               And, of course, the Court responds directly to
              8               the expertise of the judges of the 2nd Circuit,
              9               and there is no research that has been shown to
   12:17     10               me about how the 2nd Circuit has applied some of
             11               these concepts of law in its precedent.
             12                         So I appreciate the fact that you say
             13               that the motion to dismiss is fully briefed but,
             14               in fact, it's not because nobody has dealt with
   12:18     15               2nd Circuit cases.
             16                         Do you disagree?
             17                         MR. KASSEM:        We fully appreciate that
             18               point, your Honor.           And, in fact, if I may just
             19               make two points in quick response.
   12:18     20                         First, you know, as extraordinary as this
             21               case may be, your Honor has already recognized
             22               the Lakhani case, L-A-K-H-A-N-I, the
             23               well-established principal that habeas cases
             24               should be filed in the judicial district in
   12:18     25               which the petitioner is held at the time they

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              1               are filed, and so this case is no different from
              2               that.     And so the issue is not entirely novel to
              3               the Court.
              4                         The second point I'd like to make, your
   12:18      5               Honor, is that should the Court understandably
              6               wish to see additional briefing under 2nd
              7               Circuit case law, that briefing has already
              8               occurred in other cases, including one that my
              9               organization and some of our co-counsel are
   12:19     10               involved in and, of course, that the government
             11               is involved in in the 2nd Circuit so that should
             12               not delay the issue.
             13                         Because, of course, the cost of the delay
             14               is being born by Ms. Ozturk, and for habeas
   12:19     15               purposes that is a grave harm and that's why
             16               habeas exists as a remedy, as the Court well
             17               knows.
             18                         So what we would propose, your Honor, is
             19               that to the extent that any additional briefing
   12:19     20               is needed, whether it's on bail or venue, that
             21               briefing should be expedited, ideally starting
             22               with bail first or at least proceeding on
             23               parallel tracks where one does not hold up the
             24               other.
   12:19     25                         And what we would suggest is that

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              1               plaintiffs file any -- any supplement with
              2               2nd Circuit case law tomorrow.                You know,
              3               respondents can either file simultaneously or by
              4               the following day, Wednesday.                We would be
   12:19      5               willing to waive our reply and tee up the
              6               issues, and we'll willing to do this, your
              7               Honor, both on bail as well as venue; to tee up
              8               the issues for resolution as soon as possible.
              9                         Petitioner's counsel would be glad to
   12:20     10               appear later this week for a hearing, should the
             11               Court wish to call us in, or at the earliest
             12               possible time convenient to the Court.
             13                         THE COURT:       Well, as I assess the issues,
             14               you have hit two of them.              That is, the bail
   12:20     15               question, obviously, and whether there's
             16               jurisdiction as a result of the filing of the
             17               petition in Massachusetts at a time when the
             18               petitioner was located.             That's her district of
             19               confinement was in Vermont, and so the question
   12:20     20               is whether that's a valid petition or whether it
             21               should be dismissed.
             22                         But there's a third issue as well, and of
             23               course the government has requested, in its
             24               motion to dismiss, to dismiss the case based
   12:21     25               upon the Immigration and Nationality Act.

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              1               You've responded to that in your briefing.
              2                         You haven't responded necessarily with
              3               2nd Circuit case law, but it seems to me that
              4               before the Court addresses the issue of release,
   12:21      5               that the Court make a determination that it, in
              6               fact, has jurisdiction, and that requires the
              7               answer both to the question about whether it's a
              8               proper place of filing but it also requires an
              9               answer to the initial question as to whether
   12:21     10               this case should be dismissed under the
             11               Immigration and Nationality Act.
             12                         And do you agree with that?
             13                         MR. KASSEM:        Well, your Honor, we take a
             14               slightly different perspective, both on that
   12:21     15               point and, of course, on the government's
             16               position as to the INA jurisdictional bars that
             17               your Honor is referencing.
             18                         Our view, your Honor, is that,
             19               respectfully, the Court can rule on the venue
   12:22     20               issue should it so decide, and at that point the
             21               Court would have jurisdiction to order release.
             22                         Of course, our client is not a flight
             23               risk.     The government has not contended that
             24               she's a flight risk.            All she wants to do is to
   12:22     25               return to her home and to her studies at Tufts,

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              1               and at that point we could litigate the
              2               jurisdictional bars.
              3                         And should the Court at the end of that
              4               process conclude that the government has the
   12:22      5               better end of the argument on the INA
              6               jurisdictional bars, then all the options would
              7               be left on the table for the government.
              8                         The government would be no worse off
              9               should it seek to re-detain Ms. Ozturk following
   12:22     10               a dismissal of the habeas petition and complaint
             11               based on the INA jurisdictional bars.                     That
             12               option would be on the table.                The government
             13               would be no worse off.
             14                         Your Honor, our concern is the delay that
   12:22     15               would be occasioned by lengthy litigation over
             16               these jurisdictional questions because the cost
             17               of that delay would be born by Ms. Ozturk.
             18                         And recently, as in the Srinivasan case,
             19               the Supreme Court has held that the habeas
   12:23     20               corpus, the cost of the delay, should not be
             21               born by the detainee.
             22                         So the appropriate course here would be
             23               for the Court to rule on venue and bail as a
             24               priority, and then we can litigate the INA
   12:23     25               jurisdictional bars, which actually merge into

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              1               the merits of the blended petition and complaint
              2               that we filed.
              3                         And so it's appropriate to litigate those
              4               at that stage while Ms. Ozturk is back home at
   12:23      5               Tufts completing her course of study.                     Again,
              6               the government would be no worse off by that
              7               outcome.
              8                         The alternative would place the cost of
              9               delay squarely and exclusively on the shoulders
   12:23     10               of Ms. Ozturk, which the Supreme Court has
             11               already said is inconsistent with the purpose of
             12               the great writ.
             13                         THE COURT:       Well, you've got a filing by
             14               the government under the Immigration and
   12:23     15               Nationality Act which seeks dismissal.                     You have
             16               a whole briefing from the government.                     You
             17               apparently have fully briefed the response.
             18                         Don't you think, assuming that there's an
             19               update to reflect the case law in the 2nd
   12:24     20               Circuit, don't you think the Court could address
             21               the motion to dismiss quickly based upon the
             22               pleadings that have already been submitted and
             23               the pleadings that would be submitted that are
             24               updating the previous submissions by additional
   12:24     25               case law?

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              1                         So we're not talking about a significant
              2               delay.      You know, quite frankly, I was fully
              3               anticipating addressing the motion for the
              4               jurisdiction, the motion to dismiss under the
   12:24      5               Immigration and Nationality Act, and the
              6               question of release on confinement
              7               expeditiously.
              8                         And, in fact, you know, my thought, and I
              9               will submit to you and then I'll ask
   12:24     10               Mr. Drescher to respond for the government, is
             11               that I would give both sides until Thursday at
             12               5 o'clock for the submission of updated briefing
             13               on the motion to dismiss and the motion for no
             14               jurisdiction for the Court, as well as the
   12:25     15               request for release from confinement, all
             16               briefing for that by Thursday.
             17                         I'd make available the Court for argument
             18               on Monday, Monday morning, and, also, submission
             19               of any evidence that either side would want to
   12:25     20               provide.
             21                         I mean, I know that you've submitted a
             22               whole series of affidavits.               I don't think it's
             23               necessary that it be oral testimony, but it may
             24               be that one side or the other may request oral
   12:25     25               testimony.

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              1                         Frankly, I would make my schedule
              2               available on Monday, into Tuesday and with a
              3               full eye -- with a full goal of addressing all
              4               of these issues expeditiously.                And so you tell
   12:26      5               me if you have an objection to that process.
              6                         That is, opening up the Court for hearing
              7               on Monday with the idea that I would address all
              8               of these issues quickly.
              9                         MR. KASSEM:        Thank you, your Honor, and,
   12:26     10               again, we truly appreciate, all of us, including
             11               our client, we all appreciate the Court's prompt
             12               attention to this case, including the schedule
             13               that your Honor is suggesting.
             14                         I would just like to make two points.                   As
   12:26     15               your Honor appreciates, from our perspective
             16               Ms. Ozturk has already spent 13 days behind bars
             17               at a facility in Louisiana, a distance from her
             18               community, all for writing an op-ed, which is
             19               already far longer than any free society should
   12:27     20               tolerate.       And that's where, you know, our
             21               position -- that's what our position is rooted
             22               in fundamentally.
             23                         The other point I'd like to make, your
             24               Honor, is to share with the Court what we, those
   12:27     25               of us who have represented other similarly

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              1               situated petitioners in other cases outside of
              2               this district, what we've seen in those cases;
              3               for example, the Mahmoud Khalil case, which has
              4               dilatory tactics.
   12:27      5                         And, of course, I do not impute that
              6               intention onto opposing counsel here, but I'm
              7               just sharing sort of the larger pattern that
              8               we've seen, which is re-litigation of the venue
              9               issue in the transferee court, which here in the
   12:27     10               District of Vermont is the transferee court
             11               under 1631, following the ruling by the District
             12               of Massachusetts.
             13                         So venue re-litigation followed by a
             14               request for certification for interlocutory
   12:27     15               appeal and probably a stay motion.
             16                         So, again, this is our concern, is that,
             17               you know, getting into the jurisdictional
             18               questions, including the INA bar arguments that
             19               the government has made, would again shift the
   12:28     20               cost of delay onto Ms. Ozturk.
             21                         But with that said, your Honor, I think
             22               the schedule you're proposing is certainly
             23               expedited.       With the Court's permission, perhaps
             24               while Mr. Drescher addresses the Court, I will
   12:28     25               confer with my co-counsel, and then if the Court

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              1               permits me to come back on mic I'll share our
              2               position.
              3                         THE COURT:       Okay.     And as you share with
              4               co-counsel the Court's suggestion, you know,
   12:28      5               understand that the first thing the Court has to
              6               do in any litigation is make a determination as
              7               to whether it has jurisdiction.                 And if it
              8               doesn't have jurisdiction, it has no authority
              9               or power to order anything.
   12:28     10                         So I appreciate the difficulties that
             11               you're experiencing with your client being
             12               incarcerated, but understand that to actually
             13               address this question thoroughly and correctly I
             14               first have to make a decision in regard to
   12:29     15               whether, in fact, I have jurisdiction and
             16               whether a motion to dismiss, it seems to me,
             17               should be granted.
             18                         What I'm offering to both sides is an
             19               expedited process by which this would be
   12:29     20               resolved quite, quite quickly.
             21                         So with that, Mr. Drescher, you've heard
             22               the issues that have been presented by the
             23               petitioner and the previous pleadings by the
             24               government.        What is your thought as to whether
   12:29     25               or not the schedule that the Court is proposing

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              1               is acceptable?
              2                         MR. DRESCHER:         Thank you, your Honor.
              3                         We agree that jurisdiction is absolutely
              4               the threshold issue that the Court needs to
   12:30      5               address; that the provisions of Title 8 raise
              6               serious jurisdictional questions that the Court
              7               has to navigate and deal with in deciding
              8               whether it has jurisdiction over this case.
              9                         An additional wrinkle that I'm not sure
   12:30     10               may be on your Honor's radar is the question as
             11               to whether the transfer under 1631 is
             12               appropriate or whether 1631 on its face vests
             13               this Court with jurisdiction.                That is a
             14               question that the district court in New Jersey
   12:30     15               in the Khalil case that Mr. Kassem referenced
             16               has actually certified for an interlocutory
             17               appeal.
             18                         In that case New Jersey was the
             19               transferee district from the Southern District
   12:31     20               of New York.        The application of 1631 needs to
             21               be dealt with as well, and the government
             22               intends to supplement.             Or actually in light of
             23               the Court's -- in light of the Court's vision
             24               for how to proceed here, we'd be arguing that
   12:31     25               under 1631 -- that 1631 does not create

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              1               jurisdiction in this court, and that under 1631
              2               the appropriate district for the case to be
              3               transferred to is in the Western District of
              4               Louisiana rather than Vermont.
   12:31      5                         We also agree with your Honor that the
              6               briefing that occurred in Boston was, quite
              7               understandably, very 1st Circuit centric and
              8               that this Court should have the benefit of 2nd
              9               Circuit research, specific research on this
   12:31     10               case.
             11                         And then with regard to the schedule, of
             12               course we're going to do whatever the Court
             13               directs in that regard.             The one reason why a
             14               slower schedule might make sense, and I'm going
   12:32     15               to suggest to the Court, is that it is my
             16               understanding that petitioner has the
             17               opportunity to seek release on conditions before
             18               the immigration judge.             I do not know --
             19                         THE COURT:       Well, wasn't she before the
   12:32     20               immigration judge this morning?
             21                         MR. DRESCHER:         Perhaps her counsel can
             22               address that.
             23                         MR. KASSEM:        Your Honor, no, she was not.
             24                         THE COURT:       She was not?
   12:32     25                         MR. KASSEM:        She was not.

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              1                         THE COURT:       I thought there was a hearing
              2               scheduled for the morning of the 7th, and I was
              3               wondering whether there were any developments
              4               about her confinement?
   12:32      5                         MR. KASSEM:        Your Honor, there may have
              6               been some confusion.            There is an immigration
              7               court hearing in another case, Mr. Khalil's case
              8               in Louisiana today, so that may have been, you
              9               know, the news that reached the Court.
   12:33     10                         But with respect to Ms. Ozturk, there is
             11               no immigration court hearing today.                  In fact,
             12               there is none on the calendar.
             13                         What is immediately teed up in the
             14               immigration case in Louisiana for Ms. Ozturk is
   12:33     15               that the government has until April 24th to
             16               respond to Ms. Ozturk's denial to immigration
             17               counsel of all charges.
             18                         THE COURT:       Well, I --
             19                         MR. KASSEM:        And, your Honor, to clarify,
   12:33     20               the immigration court cancelled the hearing that
             21               was originally on schedule for today.
             22                         THE COURT:       Oh, I see, so that there was
             23               a hearing.
             24                         Because I read your pleadings.
   12:33     25                         MR. KASSEM:        Correct, your Honor.

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              1               Correct.
              2                         THE COURT:       And I was -- it was clearly
              3               indicated that she was going to be before the
              4               immigration court this morning.                 But what you're
   12:33      5               saying is that the immigration court postponed
              6               the hearing?
              7                         MR. KASSEM:        You were correct, your
              8               Honor.      The immigration court cancelled the
              9               hearing in favor of the briefing scheduled that
   12:34     10               I just mentioned.
             11                         So Ms. Ozturk denied the immigration
             12               charges in immigration court, and now the
             13               government has until April 24th to respond in
             14               writing.
   12:34     15                         THE COURT:       All right.        And as far as you
             16               know there's no request for release pending
             17               before the immigration court?
             18                         MR. KASSEM:        Not at present, your Honor.
             19                         THE COURT:       Okay.
   12:34     20                         All right.       Mr. Drescher, you've added an
             21               additional issue and you've also agreed with me
             22               that the pleadings have to be updated to include
             23               2nd Circuit case law.
             24                         Well, do you have any objection to
   12:34     25               ordering that all of the briefings be submitted

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              1               by 5 o'clock Thursday afternoon and that the
              2               Court would be available for argument of counsel
              3               on Monday and that if, for any reason, any side
              4               wishes to call witnesses, that they would notify
   12:35      5               the Court in advance?
              6                         The witnesses would be called, and the
              7               Court would make available time for the hearing
              8               of those witnesses if the Court felt it
              9               necessary to hear from those witnesses.                      And
   12:35     10               that hearing would start on Monday and continue
             11               until completed.
             12                         Is there any objection to that schedule?
             13                         MR. DRESCHER:         My only -- in short, your
             14               Honor, yes.        My objection is that planning for
   12:35     15               an evidentiary hearing before the Court has
             16               addressed the question of jurisdiction seems --
             17               it seems irregular under the circumstances; that
             18               we need to understand the Court's authority.
             19                         THE COURT:       Except it's not really.              So
   12:36     20               when you actually look at the question about the
             21               filing in Massachusetts when, in fact, she was
             22               in Vermont, the question is whether that filing
             23               has to literally comply with the rules in regard
             24               to habeas corpus petitions, or are there
   12:36     25               exceptions in extraordinary circumstances?

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              1                         And I would suspect, because I don't want
              2               to get off into this litigation at this point,
              3               but I would suspect that the petitioner may say
              4               that she doesn't have to follow all of the
   12:37      5               literal requirements like district of
              6               confinement.
              7                         In a situation in which she has no idea
              8               where her client is, the lawyer would have no
              9               idea where the client is, and as a result the
   12:37     10               argument may be that the filing in Massachusetts
             11               for judgment here is essentially a filing for
             12               habeas in any place once she finds out where the
             13               client is.       That is extraordinary circumstances,
             14               and the question is whether extraordinary
   12:37     15               circumstances apply in this case.
             16                         So it may be that one side would want to
             17               introduce evidence to show what the
             18               extraordinary circumstances were, which
             19               justified the Court accepting the submission of
   12:38     20               the petition that was filed in Massachusetts as
             21               one that's effective in Vermont.
             22                         That means that we may have evidence in
             23               regard to how the process happened, and that is
             24               before we make a determination as to whether the
   12:38     25               Court has jurisdiction because that -- that is

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              1               related to whether the Court has jurisdiction.
              2                         So there could be a circumstance, I would
              3               imagine, in which some party would want to call
              4               evidence about what happened and why the
   12:38      5               petitioner was not able to file in Vermont when
              6               the petitioner was in Vermont.                And that all
              7               relates to the question of extraordinary
              8               circumstances justifying some variance as to the
              9               legal requirements of the filing of a habeas
   12:39     10               petition.
             11                         So I don't know.          I don't -- I don't mean
             12               to speculate.         Well, I guess I do speculate.
             13               That's my nature, but I just wonder whether
             14               there may be evidence in regard to the
   12:39     15               exceptional circumstances surrounding the filing
             16               of the petition that may require evidence.                      And
             17               it may require evidence if the Court eventually
             18               gets to the issue of release.
             19                         Either party may want to call witnesses
   12:39     20               in regard to whether she poses a danger of
             21               flight or of risk to the community.                  Either side
             22               might want to provide evidence in that regard.
             23                         So I -- what I would really want to do is
             24               to make sure that this is done in an expedited
   12:40     25               basis but a thorough basis.

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              1                         So, you know, we'll give you until
              2               Thursday to submit whatever briefing you want to
              3               submit, and then we're available to open up the
              4               Court's schedule so that you could have the time
   12:40      5               that you need early on in the week.
              6                         And the expectation is that once the
              7               evidence has been completed, either by way of
              8               affidavit, all this could be by way of affidavit
              9               or oral testimony and, also, all of the legal
   12:40     10               submissions made and the argument of counsel,
             11               then the Court would be in a position to address
             12               the three separate questions.
             13                         And that's the motion to dismiss based
             14               upon the filing in Massachusetts when she, in
   12:40     15               fact, was in Vermont; the motion to dismiss as a
             16               result of the Immigration and Nationality Act;
             17               and then only if the Court finds jurisdiction,
             18               doesn't dismiss the case, finds jurisdiction
             19               would the Court then address whether she should
   12:41     20               be released.
             21                         And that's -- that's my thought.                  So tell
             22               me if you have any strenuous objection to that
             23               process.
             24                         MR. DRESCHER:         This is Mike Drescher for
   12:41     25               the record.

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              1                         My only requested addendum to your list
              2               of issues, your Honor, is the propriety of the
              3               1631 transfer that I referenced earlier.
              4                         THE COURT:       That's correct.          That's the
   12:41      5               new issue that was not addressed before in the
              6               Massachusetts pleadings and Judge Casper's
              7               decision and, yes, that would be the fourth.
              8                         MR. DRESCHER:         Thank you.
              9                         THE COURT:       Okay.
   12:41     10                         All right?       Mr. Kassem.
             11                         MR. KASSEM:        Thank you, your Honor.
             12               Ramzi Kassem for the petitioner, Rumeysa Ozturk.
             13                         THE COURT:       Do you pronounce your name
             14               Kassem?      Is it Kassem?
   12:42     15                         MR. KASSEM:        Kassem, yes, your Honor.
             16                         THE COURT:       Mr. Kassem, what's your
             17               reaction to that?
             18                         MR. KASSEM:        Thank you for asking, your
             19               Honor.
   12:42     20                         Just a couple points, your Honor.                  Your
             21               Honor's description is essentially, to my mind,
             22               a perfectly appropriate description of
             23               jurisdictional discovery which would be proper
             24               through an evidentiary hearing as the Court
   12:42     25               describes it.         And so -- and it would be limited

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              1               to the jurisdictional points as your Honor --
              2               exactly as your Honor described.
              3                         I will say with respect to the evidence
              4               that is now on the record, because I have to say
   12:42      5               this, your Honor, there has been no allegation,
              6               nor could be there be any allegation that
              7               Ms. Ozturk is a flight risk or public safety
              8               concern of any sort.            And this is undisputed.
              9                         And, in fact, on the other side of that
   12:42     10               you have these voluminous filings, two dozen
             11               letters of support, including from the head of
             12               Tufts and other administrators, faculty
             13               advisors, other community members, all attesting
             14               to Ms. Ozturk's community integration and, in
   12:43     15               fact, to the harm that the community faces from
             16               her continued detention.              So that's what's in
             17               the balance right now.
             18                         THE COURT:       Yes.     So, Mr. Kassem, I
             19               appreciate that you're really want to make that
   12:43     20               point.      You made that point actually in your
             21               brief.
             22                         And you made the argument that there's no
             23               evidence to suggest that she would provide a
             24               risk of flight or danger to the community and
   12:43     25               that she has the support.              She's got all of the

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              1               affidavits.
              2                         You know, what I really want to do is
              3               make sure both sides have a full opportunity to
              4               introduce what they need to support their
   12:43      5               argument.       It may require some evidence; it may
              6               not.     It may require affidavits; it may not.
              7                         But, as a result, I think the Court is
              8               going to have adequate opportunity to give you a
              9               lot of time to be able to argue your case as to
   12:44     10               what the government has shown and what it hasn't
             11               shown and what the Court should conclude in
             12               terms of jurisdiction.             So I think this is all
             13               going to be fair game on Monday.
             14                         And if anyone wants to introduce oral
   12:44     15               testimony on Monday or Tuesday, then you should
             16               notify the Court that you are wanting to seek
             17               the introduction of certain testimony, summarize
             18               the testimony.
             19                         The Court will make a determination as to
   12:44     20               whether that's appropriate or not, but I'm
             21               hoping that the submissions, including the
             22               briefs and the testimony and the affidavits and
             23               the argument of counsel, will all be done by
             24               Tuesday.
   12:45     25                         MR. KASSEM:        Thank you, your Honor.             This

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              1               is Ramzi Kassem for the petitioner again.
              2                         I've had a chance to confer with
              3               co-counsel.        We agree to the Court's -- we have
              4               no objection to the Court's appropriately
   12:45      5               expedited schedule.           Briefs due on Thursday on
              6               the INA -- the asserted INA jurisdictional bars.
              7                         That's the motion to dismiss element of
              8               the government's response to our habeas
              9               petition, plus the venue 1631 issues, plus bail,
   12:45     10               so any supplemental by Thursday at 5:00 p.m.
             11                         And, your Honor, we welcome the
             12               opportunity and we will consider the need on our
             13               end to submit additional evidence or testimony
             14               and seek testimony going to the jurisdictional
   12:45     15               question.
             16                         I imagine if we were to go down that
             17               path, notice to the Court with any summaries
             18               necessary by Friday, would that be the Court's
             19               intention?
   12:45     20                         THE COURT:       Any summary by Friday, yes,
             21               it would be the Court's intention.
             22                         So by Friday at 5:00 o'clock, if you want
             23               to submit any oral testimony, any witnesses,
             24               then you summarize the testimony and submit it
   12:46     25               to the Court with a copy obviously to the

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              1               opposing counsel, an opportunity over the
              2               weekend for opposing counsel either to object or
              3               consent, and then the Court would rule on Monday
              4               as to whether that witness can be called.
   12:46      5                         MR. KASSEM:        Understood, your Honor.
              6                         And a point of clarification I guess for
              7               both parties.         Would it be appropriate to submit
              8               a consolidated brief that addresses those three
              9               broad lines that we've identified instead of
   12:46     10               three separate briefs?
             11                         And, if so, would it be -- I guess under
             12               either scenario would additional pages be
             13               appropriate and agreeable to the Court?
             14                         THE COURT:       I think that you can combine
   12:46     15               them all in one memorandum.               Oh, absolutely.
             16                         I don't think it's necessary that you
             17               have a separate memorandum on the motion to
             18               dismiss and, you know, the jurisdiction arising
             19               out of the filing in Massachusetts, I think that
   12:47     20               would all be a part of one memorandum dealing
             21               with all of these issues.
             22                         Well, actually, I strike that.
             23                         So if there is a filing that you want to
             24               file in terms of argument for her release, you
   12:47     25               know, that's after the Court has made a

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              1               determination as to jurisdiction.                  Then assume
              2               that the Court has made a determination as to
              3               jurisdiction, found that there's jurisdiction,
              4               has personal jurisdiction in this case, then the
   12:47      5               Court addresses the issue of her release.                      So I
              6               think that would be in a separate filing.
              7                         But, again, in terms of calling
              8               witnesses, that would all be combined either on
              9               Monday or Tuesday of next week.
   12:47     10                         MR. KASSEM:        Okay.     Thank you, your
             11               Honor.
             12                         THE COURT:       So the answer is that those
             13               first three legal issues arising out of the Act
             14               and, also, the placement of the filing would be
   12:48     15               in one brief, and the release or detention would
             16               be in a separate one.
             17                         MR. KASSEM:        Understood, your Honor.
             18                         And would it be appropriate to seek leave
             19               of court right now for overlong briefs on both
   12:48     20               of those filings for --
             21                         THE COURT:       Well, I'm not going to limit
             22               the amount of pages that you want to file.                      You
             23               can make it as long as you want.
             24                         MR. KASSEM:        Thank you, your Honor.             We
   12:48     25               will -- we will not burden the Court any more

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              1               than we have to, but we appreciate it.
              2                         THE COURT:       So, yeah, I think there's
              3               something about briefs that are much too long
              4               become much less persuasive, but that's up to
   12:49      5               you.
              6                         MR. KASSEM:        Understood, your Honor.
              7               Thank you.
              8                         THE COURT:       Okay.
              9                         All right, Mr. Drescher, your response to
   12:49     10               this schedule and -- well, any response?
             11                         MR. DRESCHER:         I think I've said my
             12               piece, your Honor.
             13                         I understand the Court's desire to move
             14               expeditiously; that that is the schedule that
   12:49     15               has been set, and we understand.
             16                         THE COURT:       Good.     That's good.
             17                         That's great.         So we'll see you here on
             18               Monday, but meanwhile at 5 o'clock on Thursday
             19               I'll expect the submission of the briefs.
   12:49     20                         MR. KASSEM:        Thank you, your Honor.
             21                         THE COURT:       Okay.
             22                         Is there anything else we need to address
             23               at this point?
             24                         MR. KASSEM:        Nothing for the petitioner,
   12:49     25               your Honor.

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              1                         THE COURT:       Okay.
              2                         Mr. Drescher, anything else?
              3                         MR. DRESCHER:         I don't believe so.            Thank
              4               you, your Honor.
   12:49      5                         THE COURT:       Okay.     All right.           Thank you.
              6                         THE CLERK:       All rise.
              7                         (End of hearing at 12:50 p.m. and end of
              8               transcript of same.)
              9

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             16                            C E R T I F I C A T E
             17

             18              I certify that the foregoing is an accurate
             19       transcript from the proceedings in the above-entitled
             20       matter, dated this 8th day of April, 2025.
             21

             22
                                                       /s/ Sarah M. Bentley, RPR
             23                                        ____________________________
                                                       Sarah M. Bentley, RPR
             24

             25

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                                           UNITED STATES DISTRICT COURT
                                               DISTRICT OF VERMONT



            RUMEYSA OZTURK,

                             Petitioner,

                   v.

            DONALD J. TRUMP, in his official capacity             Case No. 2:25-cv-00374
            as President of the United States; PATRICIA
            HYDE, in her official capacity as the New
            England Field Office Director for U.S.
            Immigration and Customs Enforcement;
            MICHAEL KROL, in his official capacity as
            HSI New England Special Agent in Charge,
            U.S. Immigration and Customs Enforcement;
            TODD LYONS, in his official capacity as
            Acting Director, U.S. Immigration and
            Customs Enforcement; KRISTI NOEM, in her
            official capacity as Secretary of the United
            States Department of Homeland Security; and
            MARCO RUBIO, in his official capacity as
            Secretary of State,

                           Respondents.


             MOTION FOR RELEASE UNDER MAPP v. RENO, OR IN THE ALTERNATIVE, FOR
                                  RETURN TO VERMONT

                   Petitioner Rümeysa Öztürk, through counsel, moves this Court for an order of immediate

            release pending the adjudication of her habeas petition under the Court’s inherent authority to

            grant release on bail to a habeas petitioner who warrants immediate relief and release. In the

            alternative, Ms. Öztürk respectfully requests that the Court order her to be transferred back to

            this District for the pendency of this litigation. In support of this motion, Petitioner submits the

            accompanying memorandum of law and associated exhibits.




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                                        REQUEST FOR ORAL ARGUMENT

                   Ms. Öztürk believes oral argument may assist the Court in resolving this motion and

            respectfully requests oral argument.



                   Respectfully submitted,

                             /s/ Lia Ernst
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                             FOUNDATION

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                    **Admitted to appear pro hac vice




                                                          3

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                          CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7(a)(7)

                   I hereby certify that on April 10, 2025, Petitioner’s counsel conferred with Respondents’
            counsel in accordance with Local Rule 7(a)(7). Respondents’ counsel indicated that Respondents
            oppose the motion.

                   April 10, 2025                       /s/ Lia Ernst
                                                        Lia Ernst




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                                     EXHIBIT
                                     EXHIBIT 11




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                                            UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF VERMONT


             RÜMEYSA ÖZTÜRK,
                                              Petitioner,
                 v.                                                      Civil Action No. 2:25-cv-00374-wks

             DONALD J. TRUMP, et al.,
                                              Respondents.




                 DECLARATION OF ATTORNEY LIA ERNST SUBMITTED IN SUPPORT OF
                PETITIONER’S MOTION FOR RELEASE UNDER MAPP V. RENO, OR IN THE
                    ALTERNATIVE, FOR RETURN TO VERMONT; AND PETITIONER’S
                 SUPPLEMENTAL MEMORANDUM OF LAW ON JURISDICTIONAL ISSUES

                      I, Lia Ernst, declare under penalty of perjury that the following is true and correct:

                      1.     I am an attorney for Rümeysa Öztürk.

                      2.     Attached as Exhibit 1-A is a true and correct copy of a declaration by Cynthia Smith

            dated April 1, 2025.

                      3.     Attached as Exhibit 1-B is a true and correct copy of a declaration by Lynn Cooper,

            D.Min dated March 31, 2025.

                      4.     Attached as Exhibit 1-C is a true and correct copy of a declaration by Professor

            Sara K. Johnson dated April 2, 2025.

                      5.     Attached as Exhibit 1-D is a true and correct copy of a declaration by Mairéad

            O’Grady dated April 1, 2025.

                      6.     Attached as Exhibit 1-E is a true and correct copy of a declaration by Professor

            Calvin L. Gidney dated March 30, 2025.

                      7.     Attached as Exhibit 1-F is a true and correct copy of a declaration by Ayse Reyyan

            Bilge Yildirim, PhD dated April 1, 2025.



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                   8.     Attached as Exhibit 1-G is a true and correct copy of a declaration by Matthew N.

            Gee dated April 1, 2025.

                   9.     Attached as Exhibit 1-H is a true and correct copy of a declaration by Elisa Guzman

            dated April 2, 2025.

                   10.    Attached as Exhibit 1-I is a true and correct copy of a declaration by Professor Ellen

            E. Pinderhughes dated April 1, 2025.

                   11.    Attached as Exhibit 1-J is a true and correct copy of a declaration by Najiba Akbar

            dated March 30, 2025.

                   12.    Attached as Exhibit 1-K is a true and correct copy of a declaration by Alison

            Campion dated April 2, 2025.

                   13.    Attached as Exhibit 1-L is a true and correct copy of a declaration by Professor

            Christine McWayne dated March 31, 2025.

                   14.    Attached as Exhibit 1-M is a true and correct copy of a declaration by Dr. Julie

            Dobrow dated March 30, 2025.

                   15.    Attached as Exhibit 1-N is a true and correct copy of a declaration by Professor

            Jayanthi Mistry dated March 30, 2025.

                   16.    Attached as Exhibit 1-O is a true and correct copy of a declaration by W. George

            Scarlett, PhD dated April 1, 2025.

                   17.    Attached as Exhibit 1-P is a true and correct copy of a declaration by Sam Alterman

            dated April 2, 2025.

                   18.    Attached as Exhibit 1-Q is a true and correct copy of a declaration by SooYun

            Byeon dated March 31, 2025.




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                   19.     Attached as Exhibit 1-R is a true and correct copy of a declaration by Lucinda

            Garcia dated April 2, 2025.

                   20.     Attached as Exhibit 1-S is a true and correct copy of a declaration by Rola Kazaer

            dated April 2, 2025.

                   21.     Attached as Exhibit 1-T is a true and correct copy of a declaration by Professor

            Saeed Mehraban dated April 1, 2025.

                   22.     Attached as Exhibit 1-U is a true and correct copy of a declaration by Professor

            Tama Leventhal dated March 30, 2025.

                   23.     Attached as Exhibit 1-V is a true and correct copy of a declaration by Tufts

            President Sunil Kumar dated April 1, 2025.

                                                            ***

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on April 10, 2025, in Montpelier, VT.



                                                          /s / Lia Ernst
                                                          Lia Ernst




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         Tufts
                                SCHOOL OF ARTS AND SCIENCES

                                Eliot-Pearson Department of
                                Child Study and Human Development

         April 1, 2025

         I, Cynthia Smith, depose and state as follows:

         I am an individual of sound mind and legal age. I make this affidavit based on my personal
         knowledge and relationship with Rumeysa Öztürk, a doctoral student at Tufts Graduate School of Arts
         and Sciences where I am a faculty member in the Eliot Pearson Department of Child Study and
         Human Development.

         As a faculty member at Tufts University in the Eliot Pearson Department of Child Study and Human
         Development, I have had the privilege of knowing and collaborating with Rumeysa Öztürk for three
         years on various projects for the community … the most memorable being a workshop on Collective
         Grieving for Children at the Interfaith Center at Tufts University. Our relationship has been deeply
         rooted in shared values, intellectual engagement, and a mutual commitment to the well-being of
         children, women, and humanity as a whole. During this time, I have gotten to know Rumeysa on an
         academic, professional and personal level.

         Throughout our friendship, Rumeysa and I have engaged in extensive discussions about the
         importance of family and friends … exchanging stories about her mom, her family’s garden in Turkey
         and about her attempts to grow a small indoor garden in her apartment in Somerville. We have often
         reflected on the role of community in fostering emotional well-being and resilience, and we have
         shared personal experiences that underscore our commitment to nurturing strong social connections.
         We would often be the first ones arriving to campus, in the early morning, which gave us an
         opportunity to talk about a soup recipe we tried, how taking walks help us to destress and focus on
         the work we are engaged in, and how we both strive to serve children. In addition to these
         conversations, we collaborated on a grief workshop aimed at providing support to individuals
         navigating individual and collective loss.. Rumeysa's leadership, insights, empathy, and intellectual
         contributions significantly enriched the workshop, making it a valuable resource for all participants
         which included students, faculty, and staff.

         Rumeysa has demonstrated unwavering dedication to the welfare of children, women, and humanity
         through her academic work and community involvement. Her research focuses on the positive
         development of adolescents in a media-embedded, digitally connected world. Her commitment to
         mentorship, education, and advocacy has been evident in her role as a Teaching Assistant and in her
         involvement in various initiatives that promote well-being and inclusivity.




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         Rumeysa and I share a profound appreciation for the creative arts as a tool for social and emotional
         well-being. We have discussed and explored how artistic expression can be used to foster healing,
         resilience, and community engagement. Her contributions and leadership on projects, such as a
         community expressive arts grief workshops and the mosaic project, symbolizing the values of the
         Eliot-Pearson Department, highlight her belief in the transformative power of art.

         Beyond academic and professional collaborations, Rumeysa and I have cultivated a friendship
         enriched by shared culinary experiences. We have made soups for each other, exchanged our
         favorite recipes, and bonded over the joy of cooking. These simple yet meaningful gestures reflect her
         generous spirit, warmth, and dedication to building authentic relationships.

         It is with deep concern that I acknowledge and bear witness to Rumeysa’s current detention in a
         federal facility in Louisiana. Her absence has left a profound void in our community. As attested by her
         colleagues, students, and friends at Tufts University, Rumeysa is a dedicated scholar, mentor, and a
         person of immense integrity and kindness. Her contributions extend far beyond academia, touching
         the lives of those around her in immeasurable ways.
         I attest to Rumeysa’s character as a compassionate, service-minded, and principled individual. Her
         presence is invaluable to our academic and social community, and I urge the relevant authorities to
         recognize the immense positive impact she has had on those who know her.

         I submit this affidavit in good faith and in support of Rumeysa Öztürk, affirming her contributions to
         academia, her unwavering commitment to humanity, and the profound impact she has made on my
         life and the lives of many others.


         I affirm that the statements made in this affidavit are true and correct to the best of my knowledge and
         belief.

         Rumeysa needs to remain in the United States and be returned to Massachusetts because she is a
         significant contributor to all facets of our community … making the world a better place.

         In solidarity and support,


         Cynthia Smith




         April 1, 2025




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                        | University
        Tufts           "Chaplaincy


                                                                                               31 March 2025

                I first met Riimeysa Oztiirk in the fall of 2022. In my role as Catholic Chaplain at Tufts
               University, I direct Be-Friend, an interfaith friendship program, and that fall, Riimeysa
               signed up to be one of our graduate student Be-Frienders. At the beginning ofthis semester-
               long program, we ask each participant whether they prefer to be paired with a partner
               within their religious tradition or across tradition. Riimeysa requested to be paired with
               someone from another religious tradition. As I have come to know Riimeysa better in the
               intervening years, I have found this detail to align with her character. She is always eager to
               get to know people who are different from her. She values learning from them and shining a
               light on building meaningful connections through empathy.

               In the spring of 2024, Rimeysa emailed me and our University Chaplain, Elyse Nelson
               Winger, inviting us to collaborate on a new project. She was in the beginning stages of
               planning a gathering to honor the experience of children living in conflict and war. In the
               months that followed, we shared resources from different religious traditions, collecting
               poetry and art. The title of this event was: “Collective Grieving for Children Facing War and
               Conflict: Sharing Poetry, Art, and Stories for Children around the World.” The outline
               Rumeysa wrote for this program demonstrated her anguish at the suffering of others,
               specifically children. ] knew that the wide breadth of conflicts she acknowledged (Sudan,
               Gaza, Yemen, Congo, Ukraine, Syria, Uyghur) would be a balm for many attendees as so
               many of our students come to us from parts of the world that do not receive as much media
               attention as others. Her goal was to create connection and togetherness with a shared value
               of improving childhood and using stories and artistic expression to lift up the pain and
               wisdom of children. Even the title says so much about Riimeysa: “Collective Grieving”. She
               knows that we are better together. At her core, she is like connective tissue in our
               community. Her integration of academic study and practical application is noteworthy. She
               is not simply concerned about an intellectual exercise but how to utilize her expertise to
               affect those most in need.

               Rumeysa is a deeply humble human being. She is always aware of those around her, their
               needs and thinks about how she may serve and support them. In September 2024, she
               joined our team of volunteers for a weekly dinner shift at the Harvard Square Homeless
               Shelter. This shelter is a hub of education around housing insecurity in Boston, and
               Riimeysa served as a trusted and equipped graduate student who guided undergraduates in
               this work. We rely on such students to help lead at the shelter, as many of our younger
               students are unfamiliar with navigating off-campus engagements.

               In the fall of 2024, Rumeysa stepped into leadership to help restart our women’s fitness
               class at the Interfaith Center. We were in the midst of a job search for a new Muslim
               Chaplain, and with the freneticism of the new academic year, this program could have easily
               been tabled until January. Rtimeysa, however, knew how important this space was for her




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                classmates and reached out to help us reconfigure the class. I was named the point person
                on staff, and her contribution and support were central to this effort. She was keen to make
                changes from last year to ensure that the program would be more accessible - logistics-wise
               with more workout equipment and thinking ahead about how to use that blocked-off time
               during the fast in Ramadan. At the last moment, on the afternoon of the first class, Riimeysa
               suggested we adjust the time to accommodate others’ schedules—students         who had only
               just then expressed interest in joining. This might seem like a small gesture, but it shows
               how her concern for others pours through her every interaction in our community.
               Riimeysa Otiirk is a thoughtful and conscientious human being who has beenagift to Tufts
               University. Her critical contributions to her field and our community cannot be overstated.
               Her absence has caused deep anguish among so many whose lives she has touched. I urge
               the court to please release Rimeysa Ostiirk and return her to her home and our shared
               community.

               I declare   that the above statements   are all true and correct to the best of my knowledge   and
               ability.




                                          ——
               Sincerely



                          Yh
               Lynn Cooper, D.Min
               Associate Director of the University Chaplaincy and Catholic Chaplain




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                                       SCHOOL OF ARTS AND SCIENCES

                                      Eliot-Pearson Department of
                                      Child Study and Human Development
             April 1, 2025

             Dear Honorable Immigration Judge:

             My name is Sara K. Johnson. I am Associate Professor and Director of Graduate Studies in the
             Eliot-Pearson Department of Child Study and Human Development at Tufts University and a
             United States citizen. I am writing with the Strongest possible support of Rumeysa Ozturk; I
             urge you to allow her to return to her home in Massachusetts and her studies at Tufts in order to
             complete her innovative research and resume her career trajectory as an amazing young scholar.

            I have been a member ofRumeysa's doctoral advising committee since she began her studies in
            our program in September 2020. Initially, I was her secondary advisor. Since January 2023, I
            have had the immense privilege of being her primary advisor. In that time, we have met nearly
            every week for at least an hour, she works as a research assistant in my lab, and has also been a
            student in several of my courses. In short, I have gotten to know Rumeysa extremely well, so I
            have an abundance of examples to draw from to describe the quality of her character and the
            thoughtfulness of her academic work, both of which are primary reasons why I believe she
            should be allowed to remain in the United States to finish her doctorate.

            I know that many, many other people are also submitting affidavits in support of Rumeysa that
            will include countless examples, from virtually every comer of her life, of her many strengths
            and positive qualities. That is why I want to focus this letter on Rumeysa' s dissertation, which I
            have a unique window into as her primary academic advisor and which I believe represents not
            only her research talent but also who she is as a person.

            There is a saying among social scientists that "research is me-search": people are drawn to
            studying things that are important to them personally. In my more than fifteen years of
            supervising students as they develop their research interests, I have seen quite a bit of evidence
            for that. When viewed from that perspective, it makes total sense that Rumeysa has been very
            clear about her plan to do a dissertation on the topic of prosocial behavior: these are things that
            a person does to benefit others rather than themselves.

            Rumeysa's research on this topic is highly innovative and special because she wants to
            investigate how young people's prosocial behavior can be facilitated by social media platforms,
            which are more typically viewed as a setting that encourages self-centeredness. Her perspective
            acknowledges that social media also has potential negative effects; but she-wants to make sure
            that we really truly understand the complete picture around social media, both positive and
            negative, before being able to make decisions about its role in young people's lives. Her choice
            of this topic, and overall approach to it, reflect Rumeysa's overall level of thoughtfulness and her
            clear desire to understand things from multiple points of view. These qualities have played a
            main role in her success in our doctoral program and will facilitate her career as a productive and
            influential researcher. Working with Rumeysa to develop the idea for her dissertation has
            expanded my own thinking about prosocial behavior and how we promote it. The quality of her
            research ideas has also been recognized by our department, which awarded her a prestigious
            fellowship, and also by Tufts University itself, which awarded her a competitive Graduate

              105 College Avenue, Medford, MA 02155 I TEL: 617.627.3355 I   FAX: 617.627.3503   I   http://ase.tufts.edu/epcshd
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                                       SCHOOL OF ARTS AND SCIENCES

                                       Eliot-Pearson Department of
                                       Child Study and Human Development
             Student Research Award to support her dissertation. Our program, and the discipline of
             developmental science in general, is lucky to have a student such as Rumeysa, and she should be
             allowed to remain in the United States to finish her degree.

             Beyond its innovative nature, Romeysa's choice of research topic also aligns with the values
             that she holds most closely: she is prosocial to the core of her being. I have seen her prosocial
             nature constantly in my work with Rumeysa over the past five years; she always does things to
             benefit other people, including those who may come from different backgrounds than she does.

            I see her prosocial nature in her care for me as her advisor. She asks about how I am doing,
            how my family is doing, and how my cats are doing (despite her being very allergic to them!).
            When my mother moved from Kentucky to Boston last summer, Rumeysa gave me information
            about senior events in the area that she knew from her volunteer work as well as people she knew
            of similar age to my mother who might have shared interests. She has since spent many hours
            talking with my mother, when they are both at my house for dinner, about visiting Turkey (the
            number one country on my mom's travel bucket list!). All of my doctoral students (I currently
            have four working with me, including Rumeysa) care about me, of course, but Rumeysa really
            stands out in the level of care she shows for me as a person, not just an advisor, and the
            thoughtful ways in which she shows it.

            I see her prosocial nature in her care for the other students in my research group. In our
            group meetings I hear about how Rumeysa has provided excellent feedback on their writing and
            other aspects of their research, and how she has learned about all of their cultural traditions and
            especially the food that is included in their celebrations. She takes excellent care of our shared
            lab space, such as creating a tea station that she stocks with her favorite teas and others from the
            list of favorites that she asks the other graduate students to contribute to. These are only a few
            such examples, and I am sure that the letters from other students contain many more. Our lab
            group would be significantly harmed if she were not allowed to return.

            I see Rumeysa's prosocial nature in her care for everyone else in our department. Rumeysa
            is an integral member of our larger departmental community who not only organizes events on
            topics important to her (such as the welfare of children around the globe who are affected by
            war) but also shows up and thoughtfully participates in events organized by other students and
            the department. We can count on her active and thoughtful presence. I know that virtually every
            faculty member in our department, as well as other students outside of my lab, have examples to
            share of the ways that Rumeysa has made a positive difference in their lives. Our community
            would be irreparably damaged if she were not allowed to return.

            I know from others that Rumeysa's prosocial behavior extends outside of our department
            to the larger university community and far beyond. I expect that many of the other affidavits
            you will receive will contain myriad examples from those contexts, ranging from the university
            Chaplaincy to other academic departments.


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                                       SCHOOL OF ARTS AND SCIENCES

                                       Eliot-Pearson Department of
                                       Child Study and Human Development
            In sum, Rumeysa is an innovative researcher of prosocial behavior, and she is the very epitome
            of prosocial behavior herself. For those reasons, and many more, she should be allowed to
            remain in the United States to complete her doctoral degree at Tufts. During her time in our
            doctoral program, she has exceeded our expectations of and requirements for doctoral students,
            and she has done so in a timely manner. Rumeysa is nearing the end of her program and is
            entering the intensive dissertation phase. We require students to have a meeting at this point,
            called the "qualifying review" and hers is scheduled to take place in early May. Rumeysa is well
            prepared for the dissertation, and she is so enthusiastic about it. I am really looking forward to
            seeing the innovative and rigorous research she produces.

            Rumeysa has done everything right in terms of being a doctoral student and should absolutely be
            allowed to return to her home in Massachusetts, and her place as a valued and integral member
            of our community at Tufts, to complete her dissertation and her degree. I urge you, as strongly as
            possible, to release her so that she may do so. I miss her very much.

            I declare that the above statements are all true and correct to the best of my ability.

            Sincerely,




            Associate Professor
            Director of Graduate Studies
            Eliot-Pearson Department of Child Study and Human Development
            Tufts University




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            April 1, 2025

            To Whom It May Concern:

            I am writing in support of my esteemed colleague and dear friend, Rumeysa Öztürk. I have known
            Rumeysa for two years. We first met when I visited the Tufts University campus as an admitted
            student in February 2023, and we became lab mates and colleagues when I arrived on campus to
            begin my doctoral program in August 2023. I urgently compel you to allow Rumeysa to return and
            complete her doctoral studies at Tufts University, where she is an integral part of our scholarly and
            social community.

            Within the first few weeks of my time on campus, Rumeysa invited me to have coffee and go for a
            walk with her, offering me a tour of various spaces around campus and asking me about my own
            background and my early experiences in our doctoral program. Although I am several years her
            senior, I immediately felt that she was not only a peer but could also be a source of wisdom and
            comfort to me as I adjusted to life as a Tufts University student. It also became clear to me that her
            work was both interesting and essential. As a former high school teacher, I am particularly interested
            in her upcoming dissertation focused on how adolescents use social media in prosocial ways (e.g., to
            help each other, connect, and build community).

            Rumeysa is, herself, incredibly prosocial in our lab, department, and campus communities. Within
            the lab, she is often the first to reply with helpful comments when a peer shares a piece of writing for
            feedback, and she also shares her own work willingly as she seeks to develop her ideas. I have agreed
            to be the second coder on her dissertation when data analysis begins; she also served as my second
            coder for my thesis this spring, and her questions and insights greatly enriched the final product. In
            addition to her scholarly input, each time that we host a lab event, not only does she make
            extraordinary homemade dishes to share, but she also ensures that she brings something special for
            those who have food allergies. (Her gluten-free, dairy-free almond cookies were a particular hit.)
            And when I was dog-sitting for my sister’s small puppy and asked my lab mates if I could bring her
            to campus, Rumeysa agreed despite a lifelong fear of dogs – and fell in love, asking when the puppy
            could come back to visit again.

            Beyond the lab, Rumeysa serves as both a formal teaching assistant and an informal mentor to others
            within the department. Last week, after hearing of her detainment, a student came to the lab and
            shared with me that she had provided him with the best advice he’d gotten on applying to doctoral
            programs. And I know that Rumeysa is a linchpin in the Muslim community on campus: she invited
            a group of our friends to join her for both a multifaith prayer and an iftar last year during Ramadan,
            where I witnessed how beloved she is within that affinity group. We were scheduled to have an iftar
            as a lab the same week that she was detained.

            In short, Rumeysa is not only involved on campus, but she constantly seeks to bring together
            disparate groups of people to connect. It is not lost on me that although I am a native Bostonian and a
            domestic student, it is she who has played a far greater role in welcoming me to the Tufts
            community.

            I declare that the above statements are all true and correct to the best of my knowledge and ability.




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             Mairéad
             Mairéad O’Grady
                     O’ Grady




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                   ‘Lufts
                    UNIVERSITY




            March 30, 2025

            I am writing this affidavit of support on behalf of Ms. Rumeysa Ozturk, a doctoral candidate in
            the Eliot-Pearson Department of Child Study and Human Development at Tufts University. I am
            an Associate Professor in the department, where I have taught for over 30 years.

            I first met Ms. Ozturk on January 24, 2020, during an interview day hosted by our department for
            applicants shortlisted for our doctoral program. Ms. Ozturk had applied to work with me on my
            research in children’s media. I was immediately impressed by her background in psychology, her
            interest in children’s media, and her commitment to supporting refugee children. After our initial
            interview, I wrote in my evaluation, “Rumeysa is an outstanding applicant: she is very smart,
            very engaged, and engaging...” I enthusiastically supported her admission to the program.

            In March 2020, the COVID-19 pandemic led to a nationwide lockdown. As a result, I met
            Rumeysa only via Zoom during the Fall 2020 semester. She served as a teaching assistant for my
            introductory child development course. As a TA, Rumeysa was outstanding—kind,
            approachable, and deeply attentive to the psychological needs of her students as we navigated the
            challenges of the pandemic. Students in her section wrote glowing reviews, highlighting her
            empathy, dedication, and commitment to their well-being.

            In the Spring 2021 semester, while still in lockdown, Rumeysa co-taught a course with me
            through the university’s GIFT program, a teacher training initiative for doctoral students. As a
            GIFT fellow, she played a pivotal role in reshaping the course, integrating innovative
            pedagogical technologies and contemporary teaching strategies. When she assumed the primary
            teaching role for our course, Understanding Child Development Through Film, she demonstrated
            exceptional scholarship, organization, and instructional design. Her lessons encouraged critical
            self-reflection and meaningful discussion. Students deeply valued her warmth, engagement, and
            investment in their learning experience.

            During her first two years in the doctoral program, Rumeysa worked with me and several
            colleagues as a research assistant on the Children’s Television Project, a longitudinal content
            analysis of contemporary children’s cartoons. As a research assistant, she brought fresh energy to
            the project and led successful efforts to present our work at academic conferences.

            Ms. Ozturk deserves the highest accolades—both as a scholar and as a person. Academically, she
            is deeply engaged, hardworking, and passionate about authentic representation in children’s

            media. As an educator, she is engaging, informative, and fosters an inclusive, supportive learning
            environment. Personally, she is of the highest character—kind, open-minded, and respectful of
            diverse perspectives.

            Over the years in our doctoral program, Rumeysa has built strong connections within multiple
            communities. As a core member of a close-knit social and intellectual group, she actively
            engages with fellow graduate students both academically and socially. Beyond the program,


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                   ‘Lufts
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            Rumeysa plays a vital role in various interfaith groups on campus. Her deep ties to the
            Department, Tufts University, and the Somerville community underscore the necessity of her
            return to Massachusetts and release from detention. Given Rumeysa’s character and commitment
            to her community, I can confidently attest that she does not pose a flight risk once reinstated in
            her rightful place among us.

            Rumeysa Ozturk is one of the most cherished members of our Eliot-Pearson community. She is
            kind, curious, and genuinely invested in understanding other cultures. She has the potential to
            become a leader in applied developmental science. Her deportation from the United States would
            be a profound loss—not only to our department but to the entire Tufts community. Like many
            others, I am devastated by Rumeysa’s detention and strongly advocate for her continued
            presence in this country and in our program.

            I declare that the above statements are true and correct to the best of my knowledge and ability.



            Sincerely,

            /s/ Calvin L. Gidney, Ph.D.

            Associate Professor




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                      Northeastern
                      University


         Ayse Reyyan Bilge Yildirim
         01/04/2025

         To Whom It May Concern,
         It is my great honor to write this character affidavit in support of Rümeysa Öztürk, a dear friend and
         former student, who is currently facing unjust detention by ICE despite being here on a valid visa and
         having no criminal involvement whatsoever.
         I have known Rümeysa for over a decade. She was one of my top students at Istanbul Sehir University,
         where I taught as part of the psychology faculty. I later wrote her recommendation letters for the
         prestigious Fulbright Scholarship, her Master’s at Columbia University, and her Ph.D. studies at Tufts
         University. Throughout this time, we have remained close friends and colleagues, even co-authoring a
         paper together on children's conceptualization of death, which was originally her undergraduate thesis.
         Rümeysa is an extraordinary human being—intelligent, compassionate, dedicated, and deeply
         respected by all who know her. Her passion for research and education is unmatched. She excels both
         academically and socially, consistently impressing with her leadership, integrity, and empathy. During
         her undergraduate research, she led a culturally sensitive and complex study on children's
         understanding of death among refugee populations, coordinating a diverse team of research assistants
         with professionalism and kindness. The project culminated in a successful presentation at an
         international conference in the Netherlands and has been published.

         Beyond her academic brilliance, Rümeysa is an integral member of our community. She speaks English
         fluently and engages meaningfully with people from all walks of life. She has worked on multiple
         initiatives aimed at enriching children's media literacy and development. Her warmth, inclusivity, and
         generosity have made her beloved by friends, colleagues, and countless members of her extended
         community.
         Personally, Rümeysa is like family to us. My two children, now aged 12 and 16, consider her an older
         sister. I have met her with my family many times and always appreciated her thoughtfulness—she
         brings gifts, checks in regularly, and even follows up and cares how they are doing. She offered
         invaluable guidance to my daughter during her current college application process, helping us find
         resources and providing encouragement. Rümeysa is a role model for our children, and we are raising
         them with a strong belief in freedom, justice, and civil rights. Watching Rümeysa be treated unfairly
         and detained without cause has shaken those beliefs—not only for us as parents, but for our children,
         who are now asking if these foundational ideals of America are truly being upheld.
         Since her detainment on March 26, there has been an overwhelming outpouring of love and support. I
         have received dozens of calls, emails, and texts from people eager to help her. Many of these
         individuals are also here on valid visas and are now afraid to speak out due to fear of retaliation.



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         Rümeysa’s situation has sent shockwaves through a law-abiding, peaceful community. Her absence is
         deeply felt.

         Rümeysa should return to her home in Boston, continue with her studies, have a chance to finish her
         Ph.D., and be allowed to stay in the United States not only because she is innocent of any wrongdoing,
         but because she represents the very best of what America stands for—intellect, compassion, diversity,
         and service. Her contributions to academia, to children’s education, and to her community are
         irreplaceable. She is someone to be celebrated, not targeted.
         I declare that the above statements are true and correct to the best of my knowledge and ability.
         Sincerely,
         Ayse Reyyan Bilge Yildirim, Ph.D.



         Rar             lee




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            April 1, 2025

            To whom it may concern,

            My name is Matthew N. Gee, I am a U.S. citizen, and I am a friend of Rümeysa Öztürk. I am
            writing this affidavit to demonstrate Rümeysa’s character to the courts. From my letter, I hope it
            is clear what a kind, caring, considerate, and hardworking person Rümeysa is. She is a cherished
            friend who has contributed so much to my life and the life of our department.

            I have known Rümeysa for over five years. We are in the same PhD cohort, meaning that we
            started studying for our PhDs in Child Study and Human Development at the same time.
            Rümeysa and I met in January of 2020; she was actually the first prospective student I met
            during our Tufts University PhD interview day. During that day, I was a nervous wreck, but I was
            drawn to talk to Rümeysa because of her radiant kindness, positivity, and enthusiasm for
            research. She was so excited for the opportunity to study children’s media and how it contributes
            to children’s mental health. She was also genuinely curious about my research interests, and in
            our conversation, she affirmed that I deserved to be in that room and that my research interests
            were important, despite my insecurities. Talking to Rümeysa calmed my nerves, and as fate
            would have it, we would both be admitted to Tufts.

            Since 2020, Rümeysa and I have studied and worked together in the Department of Child Study
            and Human Development. She is a disciplined researcher who is committed to representing
            children in their full humanity. Recently, Rümeysa and I have had weekly writing meetups where
            we would work on our theoretical qualifying papers together. She has read hundreds of articles to
            support her theoretical model regarding how social media may be a modality for developing
            adolescents’ prosocial behaviors (i.e., voluntary acts of kindness, respect, and cooperation that
            benefit others). Rümeysa recently received a Graduate Student Research Competition Award to
            fund research that she plans to conduct this summer to test her theoretical model. In her proposed
            project, Rümeysa plans not only to survey adolescents but also interview them about their
            prosocial behaviors and social media use. To Rümeysa, research participants are not just numbers
            on a survey; they are humans full of love and potential, and she is interested in what they are
            thinking, feeling, dreaming, and navigating in their contexts.

            Rümeysa’s humanizing perspective on children in her research extends to all of us who have the
            honor of calling her a friend. Rümeysa is one of the kindest people I have ever met, and her
            kindness manifests in small and large ways. Every morning, Rümeysa greets us in the lab and
            asks us how we are, and when she asks, she truly wants to know how we are doing. Another
            small act of her kindness is that she always opens the door for others and motions them through
            with a smile. And yet another is that she always takes time to stop and catch up with people in
            the hallways. Examples of her larger acts of kindness include sending me job postings every time
            she becomes aware of opportunities that are related to my interests. One time, she informed me
            of a competitive fellowship that she was also applying for— she does not have a competitive
            bone in her body. In a very touching example, she asked me how my family celebrates Lunar
            New Year, and then she brought in culturally appropriate treats to celebrate. Rümeysa never
            wants to be an imposition to others, but she always goes above and beyond to help others and
            make sure they feel respected and valued.




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            Rümeysa is a beloved member of our department community. In our lab, there are four PhD
            students, and she is so supportive of us. She always offers to read our writing, and she has given
            me insightful feedback that has significantly improved my writing and thinking. She regularly
            brings teas and baked goods to the lab to bring us comfort during times of stress. Rümeysa cares
            so much about contributing to the community. She is a regular presence at community events,
            especially those with a service component. Most recently, she and I made blankets for children
            who are ill or otherwise seriously in need. We have also worked on a number of projects to bring
            the department community together and offer space for collective healing. In one of these
            projects, we secured funding, collaborated with a local youth arts organization, and facilitated the
            creation of a community mosaic that all members of the department had a hand in. In each of
            these events, Rümeysa has been so attentive to each person’s needs. Her considerate nature is
            evident by her providing a variety of foods to meet various dietary restrictions, accommodations
            for folks with disabilities, and various activities for people who process their emotions in
            different ways. Again, her kindness and caring are truly extraordinary.

            Rümeysa’s friendship has enriched my life in countless ways. She is an invaluable member of
            our community, and her absence has been deeply felt. She is a dedicated scholar who truly cares
            about supporting the well-being of all children. To Rümeysa, each child (and each of us) is
            precious and deserving of respect and love, which she aims to provide in every single one of her
            actions. I declare that the above statements are all true and correct to the best of my ability.

            Sincerely,

            /s/ Matthew N. Gee




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                                  Declaration
                                  Declaration of
                                              of Elisa
                                                 Elisa Guzman,
                                                       Guzman, dated
                                                               dated April
                                                                     April 2,
                                                                           2, 2025
                                                                              2025




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            To Whom It May Concern,
            I, Elisa Guzman, of legal age and citizen of the United States, wholeheartedly support Rumeysa
            Ozturk’s case to remain in this country. I have had the privilege of knowing her for two years
            after meeting her through friends in the Muslim Student Association (MSA) at Tufts University.
            From the moment we met, her kindness, warmth, and dedication to her community were evident.
            I can say with complete confidence that she is an individual with an exemplary character.
            Rumeysa is the embodiment of inclusivity and compassion and is well loved in the community. I
            have seen her greet everyone with a warm welcome and her infectious smile. I distinctly
            remember one of my first MSA events – I knew only a few people and felt nervous. Being
            greeted by Rumeysa and her calm presence instantly calmed my nerves. She introduced me to
            others, making sure I felt included and comfortable, as she continued welcoming and saying
            hello to other friends. Her kindness is unmatched and not performative; it is ingrained in her
            character.
            Beyond MSA gatherings, Rumeysa has invited me to tea parties, dinners, and graduation events
            for her roommate in their home. One telling moment was when I accidentally dropped my cookie
            at her house during one of the tea parties she was hosting, and without hesitation, she gave me
            hers before getting herself another. It may seem like a small instance, but it’s the culmination of
            these microevents that truly define a person’s character.
            Outside of social gatherings, Rumeysa and I also attend a Fit and Strong workout class together.
            Her encouragement and positive spirit make even the toughest exercises enjoyable. On days I
            lacked motivation, knowing she would be there kept me accountable. Her soft-spoken demeanor
            invites you in, makes you feel safe, and combined with her welcoming smile instantly washes
            away any bad feelings of the day.
            Rumeysa is not only a compassionate friend, but a dedicated scholar. She is currently pursuing
            her doctoral degree in Child Study and Human Development at Tufts University where she
            focuses on children’s and adolescents’ development in this media surrounded world, and the
            positive impact their use can have on society. Her research is deeply relevant in today’s world
            and has the potential to greatly and positively impact future generations. Her academic
            excellence has earned her a Fulbright Scholarship, a prestigious award recognizing her
            intellectual contributions by supporting her studies. She has also received a fellowship from the
            department and the Graduate Institute for Teaching. She is incredibly humble about her
            recognized impact and achievements – I only learned about these through a mutual friend.
            Despite coming from a different cultural background, Rumeysa has fully immersed herself in the
            American life. She speaks English fluently and actively engages with her community forming
            strong friendships across cultures. Through our friendship, I have increased my understanding
            and appreciation of different traditions, reinforcing the values of empathy and inclusion.




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            Rumeysa’s presence in the U.S. is an asset to both her academic and social communities. Her
            dedication to fostering meaningful connections, her impactful research, and her commitment to
            spreading kindness makes her an invaluable part of this country. She values and fully believes in
            cultivating joy and protecting others, especially children. I feel blessed to have met her and be
            able to call her my friend. She fosters a positive environment that makes me want to be a better
            person, and especially a better friend.
            I strongly urge the court to release Rumeysa Ozturk and return her back her community in
            Massachusetts. I also strongly encourage you to allow Rumeysa Ozturk to remain in the United
            States. Her contributions and character demonstrate the values of kindness, peace, and respect
            that we all should strive for. Her absence would not only leave a void in the lives of her friends
            and colleagues but also deprive the community of a brilliant mind dedicated to making a
            difference.
            I declare that the above statements are true and correct to the best of my ability. If any further
            information is required, please do not hesitate to contact me.
            Sincerely,
                 Recoverable Signature



             X Eluua Guzman
             Elisa Guzman

             Signed by: 4e1d0f63-705c-4749-8fbc-40000295b732
            Elisa Guzman




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                     UNIVERSITY
                                            SCHOOL OF ARTS AND SCIENCES

                                            Eliot-Pearson Department of
                                            Child Study and Human Development


            April 1, 2025

            Letter of Support for Ms. Rumeysa Öztürk

            TO WHOM IT MAY CONCERN:

            I write to provide this affidavit of support for Ms. Rumeysa Öztürk, a Turkish international
            student enrolled in our doctoral program here at Eliot-Pearson Department of Child Study and
            Human Development (Eliot-Pearson) at Tufts University. I write as a citizen of the United
            States, having been born here.

            I write to advocate strenuously for a decision to allow Rumeysa to stay in the United States. As
            my letter describes, Rumeysa is an individual, who through her interactions with others,
            collaborations within communities, her learning as a student, and work as a scholar has made
            important contributions during her time in the United States. These contributions are to the
            functioning of communities (notably departmental academic community and peer community)
            and as a developing scholar, to the literature.

            I have known Rumeysa since fall, 2020, when she entered the doctoral program. I first met her
            during our PhD admission interview day in January 2020. I have interacted with Rumeysa as an
            instructor of a course that she took, “Cultural Sensitivity in Child and Family Research/Practice,”
            and as an informal mentor. In the latter role, we have had numerous conversations about her
            research interests in children and media, personal passion for the rights and needs of children
            throughout the world, her sense of commitment to the Eliot-Pearson community, and her life
            here in the United States. In short, I know Rumeysa well.

            Rumeysa, as a person, is a gentle individual who carries herself with quiet passion for children
            and compassion for all. During her time at Eliot-Pearson, she has made an indelible mark on our
            community through these two qualities. I share just two examples. Two years ago, she co-led a
            major effort in our department to engage students at all levels, faculty and staff in the creation of
            a community mosaic that represented the values of our department. That mosaic hangs in our
            lobby for all to see as they move through our space. Just last fall, Rumeysa spearheaded another
            community activity dedicated to children who are caught up in traumatic situations (“Collective
            Grieving for Children Facing War and Conflict: A Night for Poetry and Storytelling”). When she
            sent me the flyer, asking me to share the news, she noted that she was co-organizing this with
            two other doctoral students. However, the reality is that this was Rumeysa’s idea: she
            approached me in spring semester, 2024, with this idea. I could tell how pained she was about
            the experiences of children globally who face challenges and trauma in various ways. She was
            explicitly clear that she wanted to help the Eliot-Pearson community develop an activity that was
            for all children, not for certain children or children in certain parts of the world. We discussed
            her initial ideas, and I offered my thoughts about how she might proceed. True to who she is,
            Rumeysa brought in peer collaborators, who all worked seamlessly on this project that was so
            deeply thoughtfully, meticulously and sensitively planned to ensure a safe space for those who
            attended to experiences a shared reflective, creative, and productive space that promoted healing


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                    UNIVERSITY
            for all who attended. Also true to who Rumeysa is, she took no credit, instead, thanking her
            collaborators and others who made important contributions to the activity.

            Rumeysa, as a student, brings not only her compassion for others, but also her strong
            intellectual curiosity to the learning experience. In my class, Rumeysa carefully listened to
            others, asking questions that enabled her to understand others’ perspectives; she did so in deeply
            respectful ways. As a result, others typically felt heard and seen by her, which helped them feel
            validated as a person. Rumeysa’s academic work was very strong. She always came to class
            well-prepared, having done the readings, crafted questions or points that she offered in class
            discussions. In her written work and class discussions, she demonstrated her ability to critically
            think and evaluate material, often elevating the conversation and contributing to other students
            and my own learning.

            Rumeysa, as a scholar, is deeply committed to developing her skills in disseminating her ideas.
            Rumeysa took the highly unusual step of developing the final assignment for the course I taught
            into a manuscript that she successfully published (Ozturk, R. 2023. Representation of refugee
            characters and experiences in children’s animated television: missed opportunities and hopes.
            Journal of Children and Media). This article reflected her ability to translate what she learned
            into published recommendations for ways to improve children’s media. No other student has
            ever taken this step in my over 30 years of teaching this class.

            Rumeysa, as a peer among graduate students, has actively encouraged her fellow students to
            move along in their graduate programs, celebrating their achievement of particular milestones
            and honoring and encouraging them when they have self-doubts. Several of my advisees have
            reflected on the ways in which she touched them during their time here in Eliot-Pearson. In her
            role as a peer student, Rumeysa has been invaluable – quietly so – to the fabric of the graduate
            student community. Her absence has struck a deep void in the student community.

            My last point is to provide some critically important context for understanding Rumeysa. She
            lives with daily prejudice and bias about her faith and her faith practices (including wearing
            hijab), from verbal harassment to physical harassment. She rarely talks about these experiences
            and her deep disappointment that she has not felt supported or understood by officials whom she
            contacted about some of these experiences. Can you imagine the person I have described having
            to navigate these realities? It is in this context that Rumeysa engages in community spaces
            where she can offer and find support in the pursuit of a better world.

            In sum, Rumeysa Öztürk makes everyone around her a better person; she is an essential member
            of the Tufts community. We need her back. I urge that the courts return Rumeysa Öztürk to our
            community. I declare that the above statements are all true and correct to the best of my ability.

            Sincerely,
            Thum Qrndenfengther,
            Ellen E. Pinderhughes PhD
            Professor of Child Study and Human Development




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                                                                                       Najiba Akbar

                                                                                       March 30, 2025


           Subject: Affidavit Letter of Support for Rumeysa Ozturk

           To Whom It May Concern,

           I am writing this letter in strong support of Rumeysa Ozturk. I served as the Muslim Chaplain at
           Tufts University from 2021-2024 and first met Rumeysa during my initial academic year. From our
           earliest conversations, it was clear to me that she was an engaged and thoughtful member of the
           Tufts community. She spoke highly of her experience as a Tufts student and expressed a deep
           desire to foster a greater sense of belonging amongst Muslim and international graduate students
           on campus. This shared vision led us to begin meeting regularly, and over the next three years, we
           collaborated closely, organizing a variety of gatherings—dinners, social events, and community
           discussions—held at the Tufts Interfaith Center. These events provided a warm, welcoming space
           for graduate students to connect and support one another. Rumeysa was always willing to step up
           to help organize the event, prepare food, or co-lead a discussion.

           Rumeysa has always struck me as a deeply compassionate and conscientious individual. She listens
           with care, considers diverse perspectives, and approaches others with kindness and humility. She
           was not only an active participant in our community initiatives but also one of the first to step up
           in service—whether by helping to prepare meals, welcoming new students, or staying late to clean
           up after events. Her intelligence, maturity, and generosity made her a pillar of our graduate
           student community. Undergraduates at Tufts describe her as having the presence of an “older
           sister” who took them under her wing and offered unconditional love and support.

           Beyond her contributions at Tufts, I know Rumeysa has a deep passion for children's literature and
           aspires to become a children’s book author—driven by her belief in the power of storytelling to
           inspire and uplift young minds. Rumeysa is precisely the kind of student we should be welcoming
           and supporting in the United States. As a Fulbright scholar, she has demonstrated exceptional
           academic merit and has been highly regarded by her professors and peers. She deserves the
           opportunity to complete her education at Tufts.

           I know Rumeysa was excited about being at the end of her PhD journey, after all of the hard work
           and long hours she has put into this endeavor. She was almost at the finish line! I respectfully ask
           that she be allowed to return to the state of Massachusetts to complete her PhD program in Child
           Study and Human Development.

           I declare that the above statements are all true and correct to the best of my ability.




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           Sincerely,

           /s/Najiba Akbar___________________________
           Najiba Akbar
           U.S. Citizen, Born November 5, 1981 in New York, NY




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            April 1, 2025

            To Whom it May Concern,

            My name is Alison Campion, I am a third year PhD student at Tufts University writing this
            letter in support of Rumeysa Ozturk.

            I have met Rumeysa several times through the Tufts graduate student community. Most
            memorably, I attended an interfaith Iftar event sponsored by the Muslim Students
            Association and Tufts Chaplaincy with her on March 12, 2024. I had gone to the event with
            a mutual friend and ended up spending much of the evening with Rumeysa. Rumeysa was
            warm, friendly, and quick to smile. She was clearly a valued member of the Muslim
            student community, but also made me, a Catholic who did not know many people there,
            feel incredibly valued and welcomed. She patiently answered my questions about
            Ramadan and introduced me to each new person that came over to squeeze around our
            table. She showed the same genuine kindness to each person that joined our group, no
            matter how well she knew them.

            That Iftar dinner and Rumeysa’s generous spirit perfectly reﬂected how she invests in her
            religious community while also extending support, respect, and kindness to the wider
            community. To me, Rumeysa’s ability to express her own cultural and religious views while
            accepting, respecting, and celebrating others’ is the true embodiment of American values.

            Every time I have crossed paths with Rumeysa since that Iftar dinner, she has lifted my
            spirits with her friendly smile and kind words. I always knew her to be hard working and
            studious, and a good, dependable, caring friend. She is a valued member of the Tufts
            graduate student community and I look forward to seeing her back on campus where she
            very much belongs.

            I can personally attest to the fact that Rumeysa has actively improved the experience of
            myself and other students at Tufts. I urge the courts to release Rumeysa and return her to
            her community at Tufts University, so she can continue to make a positive impact on her
            colleagues, students, teachers, and friends.

            I declare that the above statements are all true and correct to the best of my ability.

            Alison Campion




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            Tufts                   Eliot-Pearson Department of
                                    Child Study and Human Development

                                                                                               March 31, 2025

            To Whom it May Concern,

                     I am writing a letter of emphatic support for Rumeysa Öztürk to implore that she be
            released, returned to her community, and allowed to stay in the United States through the
            completion of her doctoral program at Tufts University. I am a Professor of Child Study and
            Human Development, Faculty Affairs Coordinator, and Director of the Ensuring eXperiences for
            Children’s Early Learning Success (ExCELS) lab at Tufts University. I currently serve as
            Rumeysa’s second advisor in the doctoral program and have been meeting with her formally
            once or twice each semester over the last couple of years to support her work. Rumeysa’s
            research area of interest centers on children’s and adolescents’ positive development in a media-
            embedded, digitally connected global world. Her dissertation will investigate how adolescents
            and young adults use social media in prosocial ways. This theme of positive youth development
            is entirely consistent with Rumeysa’s character and aligns with her personal values of care, hope,
            and compassion.
                     Since the beginning of her time in the Eliot-Pearson Department of Child Study and
            Human Development, Rumeysa has stood out for these qualities and has contributed greatly to
            the heart and soul of our department. Based on conversations with her about her work in the
            DICE lab, she’s that wonderful combination of an independent scholar and collaborative team
            player! In our meetings together to discuss progress in her work, she has demonstrated a strong
            work ethic, great attention to detail, always asks astute questions, and immediately adjusts based
            on the feedback she receives. She is a strong writer and takes the initiative to learn what she
            needs to learn to make progress toward her goals. I have witnessed her professional growth and
            the increasing sophistication of the questions she is asking, especially regarding the best ways to
            support positive youth development through social media. Rumeysa shows her eagerness to learn
            by taking the initiative to find opportunities to develop professionally and intellectually, whether
            it be through attending and presenting at professional conferences or serving as a teaching
            assistant or mentor to other students in the department. She has also shown the highest level of
            professionalism by always maintaining clear communication and connection with her advisors
            and peers. Rumeysa will be an invaluable contributor to any research team or in any field setting
            in the future and will be a critical leader in any context she chooses for her next professional
            home.
                     Rumeysa’s pleasant and collaborative demeanor, professional work ethic, intellectual
            curiosity, and thoughtful interactions with faculty and students all make her an important
            member of our department and a role model for the other graduate and undergraduate students.
            She is, quite simply, one of the most earnest and compassionate students I’ve ever known in my
            22 years as a professor. Rumeysa, as you’ve no doubt learned from others, is a deeply valued
            member of other Tufts communities as well, including those formed through the Tufts University
            Chaplaincy. As a recent article states, “Her leadership as a graduate student with different life
            experiences and practical wisdom has been a profound gift for the undergraduate students on the
            Medford campus–for both Muslim students and students from other religious and philosophical
            traditions.” Rumeysa is one of the most caring, humble, and inclusive people I know. We all



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            Tufts
                                    SCHOOL OF ARTS AND SCIENCES

                                    Eliot-Pearson Department of
                                    Child Study and Human Development
            miss her so much, and just want her returned to our Tufts community, so that we can embrace
            her again and benefit from her sweet, sweet spirit.

                    Rumeysa’s professional and interpersonal skills, intellectual curiosity, writing and
            analytic capabilities, and commitment to creating communities of care make her an essential
            member of our department and the larger Tufts community. Though I have known her only a
            short while, Rumeysa’s professional dedication and intellectual ability can be seen in every
            course, leadership, and research task she is given. But, perhaps above all, her contribution to the
            soul of our community is what we miss most. I sincerely hope that those reading this letter will
            give her case the most positive consideration and release and return her to us as soon as possible.
            She is mere months from completing her PhD program and will honor that privilege by putting
            the best developmental science, guided by her commitments to inclusion and equity, out into the
            world. Please let me know if I can provide any additional information in support of Rumeysa
            Öztürk. I declare that the above statements are all true and correct to the best of my ability.


            Sincerely,




            Christine McWayne, Ph.D.
            Professor




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                                  Tu         fts              SCHOOL OF ARTS AND SCIENCES
                                   UNIVERSITY
                                                              Eliot-Pearson Department    of Child Study and Human
                                                              Development




            March 30, 2025

            To Whom It May Concern:

            Rumeysa Ozturk was a student in two of my classes, and she was the teaching assistant for three courses I
            taught. In the Fall of 2020 she took my graduate seminar (CSHD 267) in which she received an A. She
            audited my Creating Children’s Media class in the spring of 2021 but attended every single class and did
            every single assignment although she did not take the course for credit – she was simply interested in
            furthering her knowledge and experience in the area of children’s media.

            In the fall of 2022, Rumeysa was the TA for CSHD 167, Children and Mass Media. In the spring of 2023,
            she was the TA for both CHD 169, Creating Children’s Media, and CSHD 113, Media Literacy. In each
            instance Rumeysa went above and beyond anything I asked of her. She was always willing to set up
            separate office hours and meet with students individually outside of class to clarify any questions, help
            them frame assignments, or just to chat. In each of these classes, I turned part of one session over to
            Rumeysa to teach. She was always well-prepared and engaging. And memorable. Just yesterday I heard
            from a student from Creating Children’s Media from 2023, who stated that Rumeysa’s work about low
            income and refugee children in media had inspired her own senior honors thesis that she is now
            completing.

            When Rumeysa took my graduate seminar, we were in the height of Covid and the entire semester was
            online. This class met once a week. There was one day early in the semester that was Rosh Hashanah, the
            Jewish New Year. I explained to the class that we would not meet that day since I would be celebrating
            with my family. Rumeysa, always curious about others and sincerely interested in learning about different
            faith traditions, asked me what I would be doing to celebrate. And when I explained that part of my
            family tradition was to bake my grandmother’s honey cake, Rumeysa immediately asked for the recipe.

            Rumeysa is someone who always prefaces her queries with the phrase, “May I kindly ask that…” To me,
            this is the essence of who she is: someone who never wishes to impose herself on others, someone who is
            extremely considerate, someone who cares about engaging with and learning about the world.

            When my father passed away last winter, the first person I heard from was Rumeysa. This was no
            surprise. She is, and has always been, someone who cares deeply about those around her. Her peers and
            her professors know Rumeysa to be a thoughtful and compassionate person, someone who has made a
            difference in our lives, someone who cares profoundly about children and families. I have greatly valued
            having her kind, competent and interculturally aware presence as a student and as a teaching assistant.
            She is an integral part of the fabric that is our community in the Eliot-Pearson Department of Child
            Development.




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            Sincerely,



            Dr. Julie Dobrow
            Distinguished Senior Lecturer

            I declare that the above statements are all true and correct to the best of my knowledge and
            ability.




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                                         SCHOOL OF ARTS AND SCIENCES
                                         ___________________________

                                         Eliot-Pearson Department of Child Study and
                                         Human Development

                                                                      March 30th, 2025
            To Whom It May Concern

                     I have known Rumeysa since started her PhD program in Applied Child Development in
            our department. At that time, I knew her as a member of our student community. In Spring 2021,
            Rumeysa took my course on “Qualitative Research Methods” and I got to know her well, both as
            a person and as a student. I observed her intelligence, her deep interest in learning, her
            commitment to conducting well-designed research, and her dedication to serving children and
            families. As part of the requirements of this course, Rumeysa completed a small pilot research
            project that involved analyzing stories written by young adults as they recalled significant events
            in their childhood. I remember being most impressed with Rumeysa’s attention to detail and her
            sensitivity to the diverse backgrounds of the young adults. She is a very thoughtful and
            introspective person, who pays careful attention to all individuals with whom she interacts.

                   Rumeysa spends much of her time in the department, working in Professor Sara
            Johnson’s lab, which is near the main corridor of our department building. I see and interact with
            Rumeysa regularly, as she has a kind and pleasant demeanor and always greets everyone with a
            smile on her face. She is very respectful, warm, and friendly. She is also a very active member of
            our department community. She has served on student committees, has volunteered and helped
            out with event planning and engages in all department gatherings and events.

                    Rumeysa has also served as a Teaching Assistant for several courses, and many of my
            undergraduate advisees mention that she is always willing to go out of her way to answer their
            questions and provide supportive and encouraging assistance. Last year, Rumeysa was an active
            member of a group of students who created a mosaic with an artist from the community that
            represents the all-encompassing spirit of community and unity that we value very deeply in our
            department. Rumeysa is known, not only in our department, but also within the larger Tufts
            community, through her involvement with graduate students in other departments, with members
            of the Chaplaincy at Tufts, and in community organizations in the neighboring areas. Our
            department and university community are eager to have Rumeysa back in Somerville, back on
            campus, and in our department. She is an integral and active member of our community.

            I declare that the above statements are all true and correct to the best of my knowledge.

            Sincerely,




            Jayanthi Mistry, Ph.D.
            Professor of Child Study & Human Development



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            Tufts
                                        SCHOOL OF ARTS AND SCIENCES

                                        Eliot-Pearson Department of
                                        Child Study and Human Development
            April 1, 2025

            To Whom it May Concern:

            I am a U.S. citizen and member of the faculty teaching in the Eliot-Pearson Department of Child
            Development at Tufts University. This letter is a letter of support for Rumeysa Ozturk, written with the
            hope that she will be returned very soon to continue her good work in our department and be the kind
            and caring person we all know and admire.

            I first met Rumeysa four years ago when she joined a group of students and myself to put together an
            anti-racism poetry festival – an event that had students and faculty performing their poetry. In the
            many meetings preparing for this event, I was struck by Rumeysa’s gentle and kind nature. It was
            immediately obvious that she cared about anyone’s suffering and wished to do what she could to
            reduce that suffering – in soft and kind ways.

            More recently, I joined a group that Rumeysa and other students hosted to express support for children
            suffering from war. We gathered to share in different ways (through music, poetry, weaving, and more)
            – all expressions of how children have been suffering because of war. Again, this was no loud and
            aggressive protest. Rather, it was a way the group could feel together and be empowered to do what we
            can to lessen the impact of war on children. In many ways, the gathering and ways of expressing
            encapsulated Rumeysa’s ways of showing care.

            Finally, though I don’t work closely with Rumeysa, every time we pass in the hallway or converse at a
            community event, I am struck once again by her kind and gentle nature. She is the real deal when it
            comes to caring for others. We should all be more like Rumeysa.

            I hope these comments contribute to the collective picture of Rumeysa as a person who deserves to not
            only remain in the U.S. and to return to campus to work on her Ph.D surrounded by the support of the
            Tuft’s community, but also deserves our admiration for her kind and caring nature and her devotion to
            lessening the pain and suffering of others, especially children.

            I declare that the above statements are all true and correct to the best of my knowledge and ability.

            Sincerely,


             Ange. Aca sll
            VW
            W. George Scarlett, Ph.D.

            Distinguished Senior Lecturer and Tisch Sr.Fellow

            Eliot-Pearson Department of Child Study and Human Development




            105 College Avenue, Medford, MA 02155 | TEL: 617.627.3355 | FAX: 617.627.3503 | http://ase.tufts.edu/epcshd



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            Tuesday, April 1 2025

            My name is Sam Alterman. I am a PhD student in Physics at Tufts University. I've known
            ROmeysa OztOrk for about two years, both in my capacity as a steward of the Tufts
            University Graduate Worker's Union and as a personal friend. ROmeysa is a gentle,
            intelligent, caring person and a valued member of our community. I believe very firmly she
            should be allowed to remain in the United States.

            I first met ROmeysa in Summer 2023 when our graduate student union was trying to talk to
            graduate students in the Child Studies and Human Development department to better
            understand their working conditions. The first time I walked into the Child Studies and
            Human Development offices, it was immediately clear how central ROmeysa was and is to
            the culture of that department. She warmly greets everyone by name every morning, and
            always makes time to genuinely listen to her coworkers talking about their day. I continue
            to be struck by the depth and sincerity of her relationships with her coworkers. ROmeysa's
            involvement in our union has been vital, making connections with her coworkers and giving
            them space to advocate for their needs. After running into each other at several interfaith
            events, where she always brings her deep respect for and curiosity about other spiritual
            and religious traditions, I became lucky enough to call ROmeysa a friend.

            I strongly believe that ROmeysa OztOrk should be allowed to remain in the United States.
            ROmeysa is one of the kindest, gentlest, and most compassionate people I have ever had
            the pleasure to meet. Her passion for teaching and natural curiosity has made her well­
            known at Tufts as an excellent Teaching Assistant whose courses are highly sought by
            students. Within the graduate student community, ROmeysa is always a quiet but
            persistent voice for kindness, mutual understanding, and care. Our community is not
            whole without her here. I urgently request that the Court allow ROmeysa to be returned to
            Massachusetts and released on bail so she can be with the community that cares for her
            and finish her doctoral studies.

            I declare that the above statements are all true and correct to the best of my ability.




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                                                                                                      March 31st, 2025


            To whom it may concern,

            I am writing to you to describe the gentle and caring nature of Rumeysa Ozturk and to ask that she be
            allowed to stay in Somerville, Massachusetts.

            I met Rumeysa in February 2022 when I was interviewing for my doctoral program at Tufts. The
            interviews that year were held on zoom and Rumeysa had the difficult job of facilitating a room full of
            nervous applicants, which she did with grace. Within her first few sentences on that zoom call, I was
            soothed by her kind greetings and smiles, then immediately impressed with her scholarship and passion
            for research on children’s media. Even before meeting her in person, I felt Rumeysa warmth. In the three
            years I have been privileged to know her since, she has continued to amaze me with her integrity, care,
            and love for her family.

            When I had to take some time off from school to care for my mom, Rumeysa was checking in on me and
            reminding me of how much I was missed in our lab. For each of our lab members' birthdays, she stayed
            up late baking a treat that reminded her of us. When I was new to Tufts, she went out of her way to have
            lunch and coffee with me. These are just a few of the instances that demonstrate Rumeysa’s commitment
            to her friends and peers.

            Rumeysa cares deeply about helping children. We bonded over how much we love the children’s show
            Bluey, a show featuring a family of Australian shepherds, particularly because of the way it can help kids
            process big emotions such as grief or as small as cleaning up toys. Whenever Rumeysa and I talked about
            Bluey, her face lit up with positivity and radiance. We would giggle at the events of the newest episodes
            and talk about our favorite moments.

            Last year, Rumeysa cared so deeply for children affected by wars all over the world, so she organized a
            community art night at the interfaith center at Tufts. Prior to the event, Rumeysa spent hours organizing
            the event, crafting a budget for a community quilt to process grief, and went from store to store to find
            necessary supplies. Rumeysa’s organizing helped Tufts students and faculty members come together to
            grieve children affected by wars through poem reading, song singing, and art making. I will carry that
            memory of mutual care in my heart as I continue to channel Rumeysa’s deep commitment to morality
            through both my scholarship and personal life.

            To know Rumeysa is to love Rumeysa. Rumeysa is a valuable member of the community, scholar, and,
            most importantly, friend. I urge you to allow her to stay in the Somerville community.

            Warm regards,
            SooYun Byeon




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            Garcia


            April 2, 2025

                     I met Rumeysa three years ago when we were paired as co-teaching assistants

            during the first semester of my PhD program at Tufts. She was very kind to me even though I

            was visibly nervous about starting grad school after taking several years away from

            academia. Rumeysa always asked for my input on our projects and made sure I felt

            included. During that first semester, we took an autumnal walk around Cambridge, treating

            ourselves to cookies from the local bakery. Our new friendship helped me to adjust to my

            life here at Tufts and as a grad student. Rumeysa's warm presence makes her the type of

            person you want around when you feel nervous or alone.

                     During our time as co-teaching assistants, Rumeysa's schedule allowed her to be in

            the class more than me, and as a result, students often felt more comfortable emailing her

            over me. I noticed Rumeysa always worked diligently to keep up with their questions and

            requests. Her hard work and attention to our students was an amazing model for me as a

            new PhD student.

                     Last year, Rumeysa and I attended the Graduate Student Council awards in support

            our friend and PhD colleague Matt, who was receiving an award that year. Rumeysa always

            advocates to make sure everyone is recognized for their accomplishments, big and small.

            Her positivity has a powerful impact on our department, shining through her kindness to all

            and her resounding encouragement, and celebration of everyone's achievements.

                     During a weekend-long writing retreat organized by the PhD students, Rumeysa

            helped with every chore - from getting set up, to cooking, to cleaning up. She was always

            asking how she could be of service, and ensured we were respectful of the cleaning rules




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            Garcia


            when we were putting everything away. In the years I have known Rumeysa, I have noticed

            that she is consistently thoughtful and mindful, always taking care not to disrupt the

            spaces she is in or disturb the people she is with. Her thoughtfulness extends beyond

            those in her immediate proximity - she always asks after my pets and loved ones.

                     During the writing retreat, we unexpectedly lost power and because we were in

            relatively isolated cabin, some of the students felt freaked out about the unfamiliar

            circumstances. We found candles and gathered around the dining room table together.

            Rumeysa led us through positive affirmations for PhD students, speaking aloud intentions

            such as, "I know what it takes to successfully complete scholarly work" and "It is okay to

            make mistakes because I always learn from them." After she spoke each affirmation, we all

            repeated it back to her. Through her guidance, she transformed the space from something

            uncertain and scary into a supportive and safe environment.

                     Rumeysa loves animals. Unaware that she had such a bad allergy to cats, I invited

            her over to meet my new kitten, and she came over gladly. When she started to have

            allergic reactions after playing with the kitten, she did not complain. Instead, I heard her in

            the bathroom splashing water on her face to soothe her allergy-induced irritated eyes. It

            was clear that she wanted to keep the visit fun and not ruin the mood with her allergic

            reaction. I insisted that we leave the kitten alone and hang out outside, even though she

            said she was enjoying herself. Rumeysa is a team player, and not a complainer, even when

            it comes to enjoying the company of furry creatures she is allergic to.

                     Rumeysa has the biggest heart of anyone I know. The last text she sent me was a

            book recommendation for a children's book called "Just What To Do", described as a tender




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            Garcia


            children's book on processing grief, which I've read to process my own sense of loss in her

            absence. She has always been interested in helping others, but especially children,

            process big emotions - it's a topic we have discussed extensively, touching on subjects

            such as gentle parenting and positive youth development.

                       Rumeysa and I recently got dinner together and talked about the struggles of

            maintaining our health while trying to stay on top of multiple deadlines in a PhD program. I

            bought her a special collagen smoothie because we were joking about wanting to reduce

            our stress and maintain youthful skin. She told me that she would be happy to join me for a

            gym date in the future, but we never got around to it.

                       I am asking the court to please return Rumeysa to her home in Massachusetts. She

            is a dear friend, and has shown me support with her encouragement and gentle positivity.

            She has a strong community here, and many, many people who miss her.

                       I declare that all the above statements are all true and correct to the best of my

            ability.



                       /s/ Lucinda Garcia

                       Lucinda Garcia

                       US Citizen




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            April 1, 2025

            To whom it may concern,

            I first met Rumeysa Ozturk during my freshman year at Tufts University at a Muslim Student
            Association (MSA) event. We were introduced by my friend, who was Rumeysa’s roommate at
            the time. Now a junior at Tufts, I’ve had the privilege of knowing Rumeysa for the past three
            years.

            In that time, I’ve come to know Rumeysa as one of the most compassionate, gentle, and caring
            individuals. Our former Muslim chaplain, Najiba Akbar, once described Rumeysa as having an
            “angelic presence” in our community, and I couldn't agree more. I would regularly see
            Rumeysa at MSA events—whether it was Friday prayers, iftars, or casual gatherings. Without
            fail, every time I saw her, she would greet me warmly with a hug, ask about my family, and
            genuinely check in on how I was doing in class. Her deep, authentic curiosity about others was
            extended to so many members of our community.

            What stood out most was Rumeysa’s unwavering kindness and desire to serve others. Despite
            not holding a leadership role in the MSA, she consistently volunteered to help—often serving
            food at our crowded iftars even though she was fasting all day herself. Her actions reflect a
            selfless heart and a desire to uplift others before thinking of her own needs. Her selfnesses
            along with her warmth made Rumeysa a pillar in our community and source of comfort for
            many.

            Rumeysa is also an exceptionally bright and accomplished young woman. She earned a
            master’s degree in Developmental and Child Psychology from Columbia University and is
            currently pursuing a PhD in Child Studies and Human Development at Tufts—two highly
            prestigious programs that speak to her academic excellence. Achieving this as an international
            student and non-native English speaker is a testament to Rumeysa’s dedication, intelligence,
            and perseverance. Additionally, Rumeysa is a Fulbright Scholar and illustrator of the children’s
            book The Tale of Ibrahim Ibn Adham, written by her friend and fellow graduate student at
            Columbia.

            Rumeysa is not your average woman. She is talented, driven, and deeply filled with
            compassion. Her energy has touched many of us in the MSA and wider Tufts community. Since
            her absence, many of us who have known her personally have felt a deep void. It has been
            difficult to continue with our daily lives while our thoughts and hearts are with our dear
            Rumeysa.

            I urge you to consider the profound positive impact Rumeysa has had on those around her,
            and how devastating her absence has been to our community. Rumeysa does not deserve to
            be detained—she deserves to be here, where she has built a home and a community that
            values and needs her. She is not only a friend but a source of light, strength, and inspiration to
            many. I strongly urge you to allow her to remain in the United States so she can continue her
            studies and contribute positively to the lives of those around her, as she has always done.

            I declare the above statements are true and correct to the best of my ability.

            Sincerely,
            Rola Kazaer
            /s/ Rola Kazaer

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                                                             Assistant Professor of Computer Science,
                                                                                      Tufts University

            To whom it may concern,

            My name is Saeed Mehraban, and I am an Assistant Professor of Computer Science at
            Tufts University. I have known Rümeysa Öztürk since March 2023 through the Muslim
            Student Association (MSA) community Iftar. When she learned I am a faculty at the
            university, she respectfully approached me to invite me to participate in a special Iftar
            for graduate students she and her friends were participating. This made me feel
            specially welcomed. From our very first interaction, I found her to be kind, humble, and
            full of positive energy and respect. Since then, I have seen her frequently at Islamic
            events at Tufts University or around
            campus.

            I cannot emphasize enough her caring and admirable character. Every time I have seen
            her, she has approached others with a warm smile and genuine kindness. She is a great
            listener who makes people feel understood and always ensures that those around her
            are doing well. At the Iftar events, she consistently helped with setting up, serving food,
            and cleaning afterward. Rümeysa communicates clearly in English and easily connects
            with others. I know she deeply values her education and was hoping to complete her
            PhD soon and take the next step in her life journey.

            Her strong and compassionate presence has helped bring our community together.
            Everyone I know is deeply saddened by what has happened, and we all miss her dearly.
            Our community is not the same without her. I sincerely hope she can return to our
            community, finish her degree, and flourish in every step she takes afterward. I declare
            that the above statements are true and correct to the best of my knowledge and ability.

                                                                                               Sincerely

                                                                                   /s/ Saeed Mehraban
                                                                                           April 1, 2025




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                                           SCHOOL OF ARTS AND SCIENCES
                    UNIVERSITY

                                           Eliot-Pearson Department of
                                           Child Study and Human Development


            March 30, 2025

            To Whom It May Concern:

            My name is Tama Leventhal, and I am Professor and Chair of the Eliot-Pearson Department of
            Child Study and Human Development. I am writing this highest letter of support for Rumeysa
            Öztürk. I have been most fortunate to know Rumeysa since September 2020, when she enrolled
            in our doctoral program. I was the Director of Graduate Studies at that time. Since then, I have
            served on committees with Rumeysa, attended events she organized, and interacted with her
            informally on numerous occasions. Most recently, I was asked to be on her upcoming doctoral
            committee. Thus, I have had extensive opportunities to interact with Rumeysa and can attest
            with the utmost confidence that she is someone of the absolute highest character.

            All first- and second-year doctoral students are required to take the Doctoral Proseminar, which I
            taught the year Rumeysa entered our doctoral program. That year there were ten students in the
            course, providing ample opportunity to observe her. From the start, Rumeysa stood out as a
            curious and motivated student as well as a true community-builder despite her soft-spoken
            manner. She was highly regarded by her peers and faculty alike who joined the seminar on a
            regular basis. It was here that I learned about her interest in children and media and the work she
            hoped to accomplish over the course of her doctoral studies.

            Consistent with the role she played in the Doctoral Proseminar, Rumeysa became a leader in our
            department’s student-led Belonging Committee—a committee intended to create an inclusive
            community where all members feel valued. Through this committee, she organized many
            events designed to do just that. Two examples standout. Before describing these events, I will
            note that as Department Chair, we depend on our graduate students to play an active role in our
            community by organizing events, serving on committees, assisting with admissions recruitment,
            etc. It is only a handful of students, however, who typically take the lead in assuming these
            roles. Accordingly, Rumeysa is one of these students upon whom our department has come to
            depend.

            The first event is the Beautiful Stuff project held during the Spring of 2023. Rumeysa played a
            key role in the development and creation of a mosaic representing the values of the department,
            including a more equitable, inclusive, and just department. That mosaic, so-created by many
            members of our community (e.g., undergraduate and graduate students, faculty, staff, and
            children from the Eliot-Pearson Children’s School), now holds a prominent place in our building
            for all visitors to see. It is a testament to the values she brings to our community.




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            The second event this past Fall was entitled, Collective Grieving for Children Facing War and
            Conflict, and entailed poetry and quilting. Very tellingly, it was held at the Interfaith Center and
            was intended to address concerns for children in conflict globally. Here was how Rumeysa
            expressed her gratitude to the participants, “I am grateful for everyone who gathered to listen and
            offer pieces of grief and love for the children. Your presence, songs, poems, words, art, and time
            means a lot. It is heavy sadness that we held this event due to the loss and impact on so many
            children and families (since our program started, especially last year and this year). I appreciate
            that we could all dedicate at least a few hours to remembering those children often overlook. I
            value the compassionate space we offered each other, a rare opportunity for the genuine
            connections we sometimes miss in academic settings.” Rumeysa’s remarks capture her own
            compassion for children, generosity of spirit, and commitment to justice through the arts in this
            case.

            Rumeysa’s active role as a leader and community-builder meant she volunteered to serve on
            other committees as well. In Fall of 2022, she was the student representative on a faculty search
            committee. I had the pleasure of being on her interview team. Rumeysa acted with the highest
            professionalism and demonstrated respect and kindness for the numerous candidates we
            interviewed. It was an absolute joy to work with her, and we established a closer relationship
            afterwards. Rumeysa and I often talked about cooking, travels, exercise, etc. It was hard to pass
            her in the hallways without exchanging a few pleasantries. The department is not the same
            without Rumeysa’s steady presence. As someone so devoted to creating a sense of belonging,
            Rumeysa belongs back in Massachusetts and here at Tufts to rejoin our Eliot-Pearson
            community, where she is a most valued member.

            One incident that I recall most poignantly is when I sought advice from her about an upcoming
            family vacation to Turkey in Summer 2024. Rumeysa was full of advice and offered to host me,
            but unfortunately our schedules did not align. When we returned in the fall, she told me my trip
            had inspired her to go to Cappadocia, a part of her country to which she had never been. Unlike
            me, she was too afraid to go up in a hot air ballon, which is a common activity there, because she
            was too scared. I think of that now and it only reinforces my concern for her welfare.

            In terms of her scholarship, Rumeysa received the prestigious Evan’s Literacy Fellowship to
            support her research on children and media. This award is given to an outstanding doctoral
            student in the department. For this reason, I was thrilled when her advisor asked me on Monday,
            March 24th—the day before she was detained—if I would serve on her doctoral committee. It is
            a role I gladly accepted. I welcome the opportunity to interact with Rumeysa in this new capacity
            and to support her academic journey.

            To that end, I want to highlight that Rumeysa’s dissertation on social media and positive youth
            development will cover an understudied and critically important to the field of developmental
            science specifically and to public discourse around the role of social media in the lives of
            children and youth more generally given widespread attention to this topic. Completing her
            dissertation is the final step in Rumeysa’s doctoral studies, and she is extremely close to this
            major milestone after years of intensive work. It is essential for her professional development
            that she return to Tufts to complete her dissertation within the next year as planned.




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            Although I have not worked directly with Rumeysa in her role as a Teaching Assistant. She has
            made a valuable contribution to the education of undergraduates at Tufts. She even taught her
            own course on children and media for a pre-college program. As is clear, her contributions to
            our department are innumerable.

            In conclusion, Rumeysa is a deeply valued member of our community and truly a remarkable
            person. I have tried to express her strong character, defined by her role as a uniter and
            community builder with a kind and gentle manner. Please do not hesitate to reach out to me for
            any additional information I can provide.

            I declare that the above statements are true and correct to the best of my knowledge and ability.

            Cordially,



            Tama Leventhal, Ph.D.
            Professor & Chair




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                                     DECLARATION OF TUFTS UNIVERSITY

            Tufts University (an entity legally known as “The Trustees of Tufts College” and henceforth

            referred to as “Tufts University”, the “University” or “Tufts”), declares as follows:

                   1.      On Tuesday, March 25, 2025, the University learned that Rümeysa Öztürk, a Tufts

            doctoral student from Turkey, was taken into custody by the Department of Homeland Security

            as she was leaving her off-campus apartment in Somerville, Massachusetts. The University

            understands that she was leaving her home that evening for an Iftar dinner hosted at the Tufts

            Interfaith Center where she would break her Ramadan fast for the day.

                   2.      At around 6:30 p.m. that evening, the Tufts University Police Department received

            courtesy notification from the Somerville Police Department that an individual had been detained

            by federal authorities and that the person in custody might be a Tufts student. We confirmed

            through our records that the person in question was Rümeysa Öztürk.

                   3.      At 7:32 p.m., Ms. Öztürk’s record in the Student and Exchange Visitor

            Information System (SEVIS) was updated to note that her visa was terminated. Prior to that, and

            at the time of her detention, Ms. Öztürk was in “good immigration standing” according to her

            record in SEVIS, and both Ms. Öztürk and Tufts had followed the governing regulations for

            students on visas. The University then received a notice, dated March 25, 2025 and received via

            email on March 26, 2025 at 10:31 a.m., stating that Ms. Öztürk’s SEVIS designation was

            terminated under the Immigration and Naturalization Act (INA) section 237(a)(1)(C)(i) (which

            relates to failure to maintain valid nonimmigrant status) and/or INA section 237(a)(4)(C)(i)

            (which addresses noncitizens “whose presence or activities in the United States the Secretary of

            State has reasonable ground to believe would have potentially serious adverse foreign policy

            consequences for the United States”).




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                   4.      With her consent, the University can confirm that Ms. Öztürk is a third-year

            doctoral student in good academic and administrative standing. Her research focuses on how

            young adults can use social media in positive, prosocial ways and she is described by her faculty

            as a hard-working student dedicated to her studies and the Tufts community. The University has

            no information to support the allegations that she was engaged in activities at Tufts that warrant

            her arrest and detention. The University has seen an outpouring of support for Ms. Öztürk over

            the last week from Tufts students, faculty and staff. These individuals have described Ms. Öztürk

            as a valued member of the community, dedicated to her academic pursuits and committed to her

            colleagues.

                   5.      The University can confirm that Ms. Öztürk was one of several authors of an

            opinion piece in the student newspaper, The Tufts Daily, published on March 26, 2024, entitled:

            “Try again, President Kumar: Renewing Calls for Tufts to Adopt March 4 TCU Senate

            resolutions.” The University declares that this opinion piece was not in violation of any Tufts

            policies. Further, no complaints were filed with the University or, to our knowledge, outside of

            the University about this op-ed. The University maintains that the op-ed was consistent with

            speech permitted by the Declaration on Freedom of Expression adopted by our trustees on

            November 7, 2009. (Attached hereto as Exhibit A.) For the record, a search of the Tufts Daily

            will reveal op-eds on multiple sides of the issue with opinions that were shared just as strongly

            as the op-ed Ms. Öztürk co-authored. The University has no further information suggesting that

            she has acted in a manner that would constitute a violation of the University's understanding of

            the Immigration and Naturalization Act.

                   6.      Our international students, faculty, and staff are vital to deliver on the education,

            teaching, research, and public service mission of Tufts University. The University sponsors 1,818




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            continuing international students on F-1 visas, alongside 569 alumni who are pursuing post-

            completion work authorization in the United States, and 24 degree and non-degree students on J-

            1 visas. This is in addition to the broader community of students, faculty, and staff that hold

            various immigrant and non-immigrant statuses.

                   7.      The free movement of our international community members is therefore essential

            to the functioning of the University and serving our mission. The University has heard from

            students, faculty and staff who are forgoing opportunities to speak at international conferences

            and avoiding or postponing international travel. In the worst cases, many report being fearful of

            leaving their homes, even to attend and teach classes on campus.

                   8.      The University declares that many of these students will go on to make significant

            economic and intellectual contributions to the United States and in countries around the world.

            They will do so by working in or building new companies, through teaching and research in

            universities and other academic and healthcare institutions, and through public service in the

            United States and across the globe. The University is confident in its declaration because

            thousands of Tufts University alumni have received their education while on F-1 visas and have

            gone on to make a positive impact to the economic prosperity and intellectual success of the

            United States and other countries.

                   9.      The undersigned submits this declaration, on behalf of Tufts University, in support

            of Ms. Öztürk and asks that she receive the due process rights to which she is entitled. Based on

            everything we know and have shared here, the University seeks relief so that Ms. Öztürk is

            released without delay so that she can return to complete her studies and finish her degree at Tufts

            University.




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            On behalf of the University, the undersigned declares under the penalty of perjury that the

            foregoing is true and correct.

                   Executed on April 1, 2025, at Tufts University.




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                                                        ______________________________
                                                        SUNIL KUMAR
                                                        PRESIDENT, TUFTS UNIVERSITY




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                 DECLARATION ON FREEDOM OF EXPRESSION AT TUFTS UNIVERSITY
            Tufts University is an educational community that has as its paramount mission the discovery
            and dissemination of knowledge and the pursuit of the arts through study, teaching, and
            research. For this community to achieve its mission, all members must have full and equal
            opportunity to pursue personal and intellectual growth.
               Freedom of expression and inquiry are fundamental to the academic enterprise. Without
               freedom of expression, community members cannot fully share their knowledge or test ideas
               on the anvil of open debate and criticism. Without freedom of inquiry, community members
               cannot search for new knowledge or challenge conventional wisdom.
            Freedom of expression and inquiry are not absolute. The law, for example, provides that
            freedom of expression does not include the right to slander the reputation of another, to engage
            in specified forms of harassment, to threaten or obstruct a speaker who advances unwelcome
            ideas, or to incite another person to violence. Scholarly inquiry also is limited by federal and
            state regulation, ethical tenets, and professional standards designed to protect human and
            animal subjects. In addition, the University seeks to ensure the orderly function of the
            educational enterprise and to ensure that all members of the community have the opportunity to
            participate in and benefit from the discovery and dissemination of knowledge.
            Members of the Tufts community owe one another the basic respect and ethical obligations of
            human beings engaged in a common endeavor. While not enjoying the force of law, these
            obligations reflect three basic community values: 1) respect for the freedom of other community
            members to inquire and express themselves fully; 2) the need to exercise freedom of expression
            and inquiry in ways that respect the human dignity of others; and 3) the importance of a climate
            at Tufts that is conducive to learning and in which all community members, regardless of
            background, are free from behavior that interferes with their ability to study, grow, and attain
            their full potential.

            Members of the university community, including academic and administrative leaders, must
            hold accountable those who do not respect these values.
            When community values are not respected, every member of the Tufts community has an
            obligation to respond. Those who are the target of such speech should not and must not bear the
            burden of responding alone. An affront against any member of our community is an affront to
            all of us. It is only by affirming our collective values that we can build a stronger, more
            cohesive, and more vibrant community where differences are respected and all are made to feel
            welcome.
            It is incumbent upon all members of the Tufts community, and especially the University
            leadership, to educate the community about the diverse world in which we live and to support
            and empower members whose rights are violated. In the end, freedom of expression and inquiry
            is necessary but not sufficient on its own for learning to take place. Achieving our educational
            mission requires an environment of respect, tolerance, and civil dialogue.


            Approved by the Board of Trustees, November 7, 2009




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                                        UNITED STATES DISTRICT COURT
                                            DISTRICT OF VERMONT

             RÜMEYSA ÖZTÜRK,
             Petitioner,

             v.                                                                 No. 2:25-cv-00374

             DONALD J. TRUMP, et al.,
             Respondents.


                                Declaration of Stefanie Fisher-Pinkert, Esq.


                  I, Stefanie Fisher-Pinkert, declare the following under pain and penalty of

            perjury:

                  1.     I am an attorney licensed to practice law in the Commonwealth of

            Massachusetts. I am also admitted to the Federal District Court for the District of

            Massachusetts, the Federal District Court for the District of Nebraska, and the First

            Circuit Court of Appeals.

                  2.     Since obtaining my license in November of 2009, I have specialized in

            immigration law, and specifically in removal defense. I have been a member of the

            American Immigration Lawyers Association (“AILA”) since January of 2010. As a

            member of AILA, I have served in various volunteer positions, including as a member of

            the Federal Litigation Committee, as a liaison to the Office of Chief Counsel of U.S.

            Immigration and Customs Enforcement (“ICE”), and as a a liaison to U.S. Customs and

            Border Protection. I am currently Counsel in the law firm Araujo & Fisher.

                  3.     Throughout my legal career, I have represented detained individuals in New

            England    facing    removal/deportation   proceedings     or   otherwise    slated   for




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            removal/deportation. The statements in this declaration are based on my personal

            knowledge accumulated during my years of immigration practice.

                   4.     My coworkers and I have represented women in civil immigration

            detention, including women detained at the Strafford County facility in Dover, NH, and

            ICE’s Buffalo facility in Batavia, NY.

                   5.     In my experience, ICE regularly detains women at their faciliaties in New

            England, including the Strafford County facility in New Hampshire, at the Wyatt

            Detention facility in Rhode Island, and at the Cumberland County facility in Maine. In

            my experience, female detainees from New England who are sent outside of New England

            have most commonly been sent to the detention facility in Batavia, NY.

                   6.     In my experience, ICE Enforcement and Removal Operations regularly

            processes individuals they detain in eastern Massachusetts at their Boston Field Office,

            located in Burlington, Massachusetts. In my experience, it has been common for family

            members of a detainee to receive a phone call from the detainee (or possibly from an ICE

            officer who is with the detainee) while their family member is still in Burlington,

            Massachusetts. In these phone calls, the family member might learn, for example, that

            the detainee is in Burlington, Massachusetts and is being taken to be held in Plymouth

            (or another area facility). I am aware that these phone calls from the Boston Field Office

            in Burlington occur because I have been contacted by family members who have just

            received news that their loved one is in ICE custody and is in Burlington, Massachusetts.

                   7.     In my experience, people arrested by ICE’s Homeland Security and

            Investigations (“HSI”) are regularly booked and processed at HSI’s offices in Boston,

            Massachusetts.




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                   8.     I have reviewed the Declaration of David T. Wesling. In my 16 years of

            practice, I have not seen or even heard of an ICE detainee arrested in Massachusetts being

            booked and repeatedly moved in the manner described in that declaration. I have never

            seen or even heard of an ICE detainee arrested in Massachusetts being moved to

            Methuen, Massachusetts, then Lebanon, New Hampshire, then St. Albans, Vermont,

            within a matter of hours. I have never heard of any ICE facility or office in Methuen,

            Massachusetts at all, and have never heard of someone detained by ICE being taken there.

            I am also unaware of any ICE facility in Lebanon, New Hampshire, and have never heard

            of an ICE detainee from Massachusetts being taken there. Nor have I ever heard of an ICE

            detainee arrested in Massachusetts being taken to St. Albans, Vermont. The conduct

            described in Mr. Wesling’s declaration is, in short, highly irregular.



                   Executed on April 9, 2025, in Boston, MA.



                                                      ____________________
                                                      Stefanie Fisher-Pinkert




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                                     EXHIBIT
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                                        UNITED STATES DISTRICT COURT
                                            DISTRICT OF VERMONT

             RÜMEYSA ÖZTÜRK,
             Petitioner,

             v.                                                                      No. 2:25-cv-00374

             DONALD J. TRUMP, et al.,
             Respondents.



               Declaration of Professor Anna R. Welch, Esq. submitted in support of
             Petitioner’s Motion for Release Under Mapp V. Reno, or in the Alternative,
              for Return to Vermont; and Petitioner’s Supplemental Memorandum of
                                    Law on Jurisdictional Issues


            I, Anna R. Welch, declare the following under pain and penalty of perjury:

                   1. I am an attorney licensed to practice in the State of Maine.

                   2. Since 2012, I have worked as the founding director and a professor in the

            University of Maine School of Law’s Refugee and Human Rights Clinic. I also teach

            Immigration Law. I previously worked as a fellow at Stanford Law School, where I

            taught and supervised students in Stanford’s Immigrants’ Rights Clinic. From 2006 to

            2010, I practiced at the law firm Verrill in Portland, Maine, where I was the head of the

            firm’s Immigration and Global Migration Group.

                   3. The information below is based on my years of immigration practice in Maine,

            including monitoring and interacting with and supervising students and colleagues

            interacting with dozens of civil immigration detainees at the Cumberland County Jail

            (“CCJ”) in Portland, Maine, and including my communications with CCJ’s management

            staff over the years.




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                  4. CCJ has an agreement with U.S. Immigration and Customs Enforcement

            (“ICE”) to house civil immigration detainees. I have been informed recently by

            Cumberland County’s Sheriff Joyce that CCJ can house up to 88 civil immigration

            detainees.

                  5. CCJ houses both male and female civil immigration detainees. Female

            detainees are housed at CCJ whether or not they have a criminal record.

                  6. CCJ provides our clinic with daily data concerning, among other things, the

            number of civil immigration detainees housed in its facility. Paragraphs 7-11 below

            summarize voluminous writings that cannot be conveniently examined in court, in part

            because they contain personally identifying information concerning certain persons

            housed in CCJ.

                  7. On March 7, 2025, records indicated that approximately 27 civil immigration

            detainees were housed in Pod C3 at CCJ. Pod C3 is the female housing unit.

                  8. On March 7, 2025, records indicated that approximately 62 total female

            detainees, including civil immigration detainees, were housed at CCJ.

                  9. On March 25, 2025, records indicated that approximately 19 civil immigration

            detainees were housed in Pod C3 (the female housing unit) at CCJ.

                  10. On March 26, 2025, records indicated that approximately 18 civil

            immigration detainees were housed in Pod C3 (the female housing unit) at CCJ.

                  11. On March 26, 2025, records indicated that approximately 46 total female

            detainees, including civil immigration detainees, were housed at CCJ.

                  12. Based on my review of these records, and my extensive experience working

            with CCJ and detainees at CCJ over more than a decade, I conclude that there were at

            least 16 open beds to house additional female detainees at CCJ on March 25 & 26, 2025.



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                   13. Throughout my years of experience working with the immigrant population in

            northern New England, I have never heard of an ICE detainee being arrested in

            Massachusetts and being transferred to Methuen, MA, Lebanon, NH, and then St.

            Albans, VT in a matter of hours. Nor have I heard of detainees from Massachusetts

            being taken to any of these locations at all.



            Executed on April 10, 2025, in Portland, Maine.




                                                            Anna R. Welch




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                                            UNITED STATES DISTRICT COURT
                                                  DISTRICT OF VERMONT

            RUMEYSA OZTURK,
            Petitioner,

            V.                                                                          No. 2:25-cv-00374

            DONALD         J. TRUMP,     et al.,
            Respondents.



                               DECLARATION OF HEATHER YOUNTZ, ESQ.
               SUBMITTED IN SUPPORT OF PETITIONER’S MOTION FOR RELEASE UNDER
               MAPP vy. RENO, OR IN THE ALTERNATIVE, FOR RETURN TO VERMONT AND
             PETITIONER’S SUPPLEMENTAL MEMORANDUM OF LAW ON JURISDICTIONAL
                                               ISSUES

                    I, Heather Yountz, declare the following under pain and penalty of perjury:

                    1.      I am an attorney licensed to practice in the Commonwealth of Massachusetts.

                    2.      Overall,   I have      been   practicing   immigration   law for 17 years.    I make   this

            declaration based on my personal knowledge and personal observations accumulated over that

            time period.

                    3.       Since 2021, I have been employed as a Senior Immigration Staff Attorney at the

            Massachusetts Law Reform Institute. Immediately prior to that, I was an immigration and criminal

            defense attorney at the firm Demissie & Church for about six years.

                    4,       I have been honored to receive awards based on my work representing detained

            immigrants and related matters.         I was named one of Boston Magazine’s Top Lawyers of 2022,

            2023 and 2024, and 2018 Top Women of Law by Massachusetts Lawyers Weekly. I have chaired

            the AILA New England Litigation committee, and given seminars, talks, and served on panels for

             the American    Medical   Association,       Massachusetts    Women’s    Bar Association,   New   England




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            Muslim Bar Association, Boston University Law School, Northeastern University School of Law,

            Suffolk Law School, Boston College Law School, and many other organizations and groups.

                       5.          Since much of my work has been in deportation defense and the intersection of

            criminal        law and immigration law, I have often spent approximately one day a week in detention

            facilities operated by U.S. Immigration and Customs Enforcement (“ICE”), including by ICE’s

            Enforcement and Removal Operations (“ERO”) department. ICE ERO is generally responsible for

            civil immigration           enforcement         within the United         States,    including the identification,   arrest,

            detention, and removal of noncitizens who ICE alleges are subject to removal or unlawfully present

            in the United States.

                       6.          I have    been     to    ICE    Boston     Field    Office,    which     is located   in Burlington,

            Massachusetts.            The Boston Field Office has administrative and operational authority over ICE

            arrest, removal,          and   detention       operations   in all of New           England,    including   Massachusetts,

            Connecticut, Maine, New Hampshire, Rhode Island, and Vermont.                                 The scope of this authority is

            confirmed         by   ICE’s    website        entry   for the    Boston     Field    Office:   https://www.ice.gov/field-

            office/boston-field-office

                       7,          ICE has a another division, called Homeland Security Investigations (“HSI”).                     HSI

            conducts        federal    criminal     investigations.         In my     experience,    HSI    also gives notice of visa

            revocations in some cases.              HSI’s mission is confirmed on its website: https://www.ice.gov/about-

            ice/hsi
                       8.          I have been to four ICE detention facilities in New England, including the Plymouth

            County Correctional Facility and the Wyatt Detention Facility, and I have represented clients held

            at other ICE detention facilities throughout the northeastern United States. I am generally familiar

            with the use these facilities in the immigration detention and removal process.




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                   9,       There are multiple ICE detention facilities in New England and elsewhere in the

            Northeastern United       States that hold women     detainees.   These    include the Stafford County

            Corrections facility in New Hampshire, Cumberland County Jail in Maine, Chittenden Regional

            Correctional   Facility   in Vermont,   and   the   ICE’s   Buffalo   Facility   in Batavia,   New   York.

            Additionally, for short-term and overnight detention of women detainees, ICE has holding cells in

            Wyatt Detention Facility and its local offices, including at ICE ERO’s Boston Field Office in

            Burlington, Massachusetts.

                    10.     In my experience, immigrants who are arrested on civil immigration charges in

            eastern Massachusetts are booked and processed at ICE ERO’s Boston Field Office in Burlington,

            Massachusetts. In my 17 years of practicing immigration law, I cannot recall seeing an immigrant

            arrested on civil immigration charges in eastern Massachusetts who has not been processed at

            Burlington before being sent to a detention facility. I have also seen some immigrants arrested in

            eastern Massachusetts taken to Boston for booking and processing, but my recollection is they

            were people arrested by either by HSI or by U.S. Customs and Border Protection.

                    11.     In my 17 years of working with hundreds of immigrants in Massachusetts, I have

            never seen or heard of an immigrant arrested by ICE or HSI taken to Methuen, Massachusetts or

            to St. Albans, Vermont. I have also never seen an immigrant moved to Methuen, then moved to

            Lebanon, New Hampshire, and then moved to ICE’s local office in St. Albans, Vermont. This is a

            highly unusual event, especially taking place within a matter of a few hours. According to Google

            Maps, the drive from Boston to St. Albans, Vermont, is over 240 miles.              According to Google

            Maps, St. Albans, Vermont, is less than 15 miles from the Canadian border.

                    12.     The typical path for immigrants arrested on civil immigration charges in eastern

             Massachusetts is that they are booked and processed at the Boston Field Office in Burlington.




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            Typically, the booking process takes over an hour and often much longer as the ICE officer

            typically         has multiple    questions   to ask the immigrant,     the immigrant      is fingerprinted,     the

            immigrant is served with the NTA, the immigrant’s belongings are taken and documented, the

            immigrant’s passport and other immigration paperwork                  is documented       and stored, and other

            procedures are performed.            In most cases, ICE is not required by law to detain noncitizens arrested

            within the United States on civil immigration charges, and ICE sometimes releases people directly

            from   Burlington.        Where     ICE   chooses   to pursue   detention,   the person    is generally   held    at

            Burlington and transferred many               hours later or the next day to a detention facility such as

            Plymouth, Wyatt, or Strafford. The detainee may stay at those locations long term, or may be

            transferred a few days later to a facility elsewhere in the United States. In all of those situations, |

            observed that the detainees were held in Massachusetts for at least 12 hours (and generally more

            like 24-48 hours).

                        13.        I have reviewed the Declaration of David Wesling.           The procedures described

            therein for Ms. Ozturk are not consistent with anything I have ever observed in my 17 years of

            immigration practice.            I have never seen or even heard of an immigrant booked in 14 minutes. I

            have never seen a client transferred twice in the same day. The fastest transfer I recall seeing was

            24 hours after initial placement. I do not recall ever seeing a client arrested in Massachusetts be

            detained in St. Albans, Vermont.              I have never seen an F-1 revocation where the noncitizen was

            arrested and detained on the street, by masked men, with no prior notice that the visa had been

            revoked. To the best of my memory, in each of the F-1 revocations I have seen, the noncitizens’

            alleged actions leading to the visa revocation would (if true) have been clearly in violation of the

            terms of the visa (e.g., the immigrant was no longer attending the listed school, the immigrant had




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            overstayed the visa). I have never before seen an F-1 visa revoked, and the student arrested without

            prior notice of the revocation, based on an op-ed published in a school newspaper.

                                                           OK




            Executed on April 10, 2025, in Boston, MA.




                                                          Heather Y.ountz




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                                            UNITED STATES DISTRICT COURT
                                                     DISTRICT OF VERMONT

              RUMEYSA OZTURK,
              Petitioner,

              V.                                                                       No. 2:25-cv-00374

              DONALD         J. TRUMP,     et al.,
              Respondents.



              Declaration of Margaret Moran, Esq. submitted in support of Petitioner’s
             Motion for Release Under Mapp v. Reno, or in the Alternative, for Return to
                  Vermont; and Petitioner’s Supplemental Memorandum of Law on
                                        Jurisdictional Issues
             I, Margaret Moran, do hereby swear and affirm as follows:

                   1.   I am an immigration attorney at New Hampshire Legal Assistance (NHLA)
                        responsible for NHLA’s Immigrant Justice Project. I have been practicing
                        immigration law for 13 years and represent NHLA clients in immigration court
                        proceedings in the Boston and Chelmsford Immigration Courts and in appeals or
                        petitions for review therefrom.

                        NHLA is a non-profit law firm that provides free civil legal services to people with
                        low income, including noncitizens. NHLA works on civil cases impacting low-
                        income clients’ basic needs.

                        In April 2021, NHLA began providing full representation to people in
                        immigration proceedings, focusing on those apprehended by Immigration and
                        Customs Enforcement (ICE) and detained at the Strafford County House of
                        Corrections in Dover, New Hampshire (Strafford Jail). I have been representing
                        noncitizens in ICE custody at the Strafford Jail since April 2021. Before joining
                        NHLA in April 2021, I worked at Greater Boston Legal Services, where I also
                        represented noncitizens in ICE detention in New England.

                        The Strafford Jail holds men and women in ICE detention. The noncitizens in
                        ICE detention I have met at the Strafford Jail are in a variety of immigration-
                        related postures and have been apprehended by ICE for different reasons. People
                        in ICE detention at the Strafford Jail have included people who have entered or
                        attempted to enter the U.S. on student or visitor visas, pursuant to a visa waiver
                        program, as refugees, without inspection, or on parole, or who are lawful
                        permanent residents or applicants for asylum, withholding of removal or
                        Convention Against Torture protection, etc. The ICE detainee population at the
                        Strafford Jail has included people who have been charged with or convicted of


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                   non-immigration crimes as well as people who have no history with the criminal
                   legal system in the U.S. or elsewhere.

                  . During the past four years, I have continuously represented and provided legal
                    consultations for women and men in ICE detention at the Strafford Jail. I have
                    observed that almost all the women and men I have met in ICE detention at the
                    Strafford Jail have been apprehended in Massachusetts and processed for
                    detention at the ICE Enforcement and Removal Operations (ICE ERO) Boston
                    Field Office in Burlington, MA before being transported to the Strafford J ail.
                    Most recently, for example, of the 30 men and women I met with in March 2025
                    at the Strafford Jail, 29 were residing in Massachusetts before ICE apprehension
                    and were apprehended by ICE in Massachusetts, and one came from Rhode
                    Island.

                  . Based on my experience, people apprehended by the Boston ICE ERO Field
                    Office and its sub-offices are processed for detention by ICE at an ICE office,
                    usually the Burlington, MA Field Office, and then transported to a detention
                    facility. When people are brought to the Strafford Jail, for example, ICE has
                    already prepared custody papers and sometimes has already confiscated their
                    personal property and placed it in storage at the ICE office. If anyone is
                    transported to the Strafford Jail who is in possession of their personal property,
                    the Strafford Jail confiscates the property and puts it in storage at the Strafford
                    Jail. People are then processed through the booking process at the jail, including
                    a medical screening and an interview to determine any safety or other issues that
                    might influence where they will be housed at the facility, and held in the Booking
                    Area of the Strafford Jail until taken by jail personnel to the unit where they are
                    to be housed. People are often held in an interim location at the Strafford J ail due
                    to medical protocols or while the facility personnel are relocating people within
                     the facility to accommodate new arrivals. Part of the booking process includes a
                     determination about the appropriate unit to which someone will be taken. These
                     are the typical steps I have observed while at the Strafford Jail and heard of from
                     ICE detainees I have met with.

                   . Inmy years of immigration practice, I have never seen a person arrested in
                     Massachusetts moved to Methuen, Massachusetts, to Lebanon, NH, to St. Albans,
                     VT, all within a span of hours. I have never heard at all of any ICE facility in
                     Methuen, Massachusetts, or of ICE detainees being taken there. Similarly, Iam
                     not familiar with any ICE facility in Lebanon, NH, and have never heard of ICE
                     detainees being taken to such a facility. Nor am I aware of detainees from
                     Massachusetts or New Hampshire ever being transported to the ICE Field Office
                     in St. Albans, Vermont.

                   . In my work at NHLA, I routinely participate in meetings and collaborate with
                     immigration attorneys in New England who work with other non-profit legal
                     services providers, law school clinics, and private firms providing pro bono or
                     low-cost removal defense. In those meetings, I discuss with other practitioners



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                     the enforcement, detention, and removal operations of ICE and Customs and
                     Border Protection in the region.

                9.   Based on my conversations and collaboration with other attorneys in New
                     England, I am aware of at least two other facilities in New England that hold or
                     have recently held women in ICE detention. One of these facilities is the
                     Cumberland County Jail in Portland, Maine, and the other is the Chittenden
                     Regional Correctional Facility in Burlington, Vermont.

             I declare under penalty of perjury that the foregoing is true and correct to the best of my
             knowledge.


                 W// OL FOES                                 rn ar(Mal VAD
             Date                                              MargaretMoran, Esq.




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                                     EXHIBIT
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                                       IN THE UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF VERMONT

                                                              Case No. 2:25-cv-00374

            RUMEYSA OZTURK                                    SUPPLEMENTAL DECLARATION OF
                                                              JILL MARTIN DIAZ OF VERMONT
                              Plaintiffs,                     ASYLUM ASSISTANCE PROJECT, (VAAP)
                                                              IN SUPPORT OF PETITIONER’S MOTION
                   v.                                         FOR RELEASE UNDER MAPP V. RENO,
                                                              OR, IN THE ALTERNATIVE, FOR
            PATRICIA HYDE, et al.,                            RETURN TO VERMONT; AND
                                                              PETITIONER’S SUPPLEMENTAL
                              Defendants.
                                                              MEMORANDUM OF LAW ON
                                                              JURISDICTIONAL ISSUES




            Pursuant to 28 U.S.C. § 1746, I, Jill Martin Diaz, Esq., Executive Director of Vermont Asylum
            Assistance Project and Part-Time Lecturer at the University of Vermont, declare under penalty of
            perjury the following:


               1. I am Jill Martin Diaz, my pronouns are they/them, and I am an experienced immigration
                  defense attorney licensed to practice in New York (2017), Vermont (2018), and the District
                  of Vermont (2022) and living and working in Burlington, Vermont.
               2. I have worked as an immigration defense attorney for about nine years since 2014, my
                  second year of law school, and spent my other two years of legal practice in housing and
                  benefits defense at Vermont Legal Aid. Today, I serve as Executive Director of the
                  Vermont Asylum Assistance Project (VAAP; www.vaapvt.org), Vermont’s only nonprofit
                  law firm dedicated to direct immigration legal service delivery and technical assistance.
               3. At VAAP, I lead a team of two lawyers, dozens of pro bono volunteers, and numerous
                  students focused on providing humanitarian immigration legal services to noncitizens in
                  Vermont, including individuals seeking detained and non-detained removal defense. I also
                  teach immigration service provision as a part-time lecturer in social work at the University
                  of Vermont; direct legal services for Connecting Cultures–New England Survivors of
                  Torture and Trauma (NESTT); serve as an appointed member to the Vermont Judiciary’s
                  Access to Justice Coalition and the Vermont Treasurer’s Federal Transition Task Force;
                  and co-chair the Vermont Bar Association’s Immigration Law Section as well as the
                  Vermont Queer Legal Professionals affinity network.
               4. My previous experience includes co-founding and directing the Center for Justice Reform
                  Immigration Clinic; lecturing in doctrinal immigration law at Vermont Law and Graduate
                  School; practicing as a Vermont Poverty Law Fellow at Vermont Legal Aid; practicing as
                  an Immigrant Justice Corps Fellow at Sanctuary for Families New York; and practicing as
                  a student attorney at Brooklyn Defender Services, Immigrant Defense Project, and Atlas:



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                  Developing Immigrant Youth. I received my Juris Doctor degree, cum laude in 2016 from
                  Brooklyn Law School and my Bachelor of Arts degree, summa cum laude in 2008 from
                  the George Washington University.
               5. Over my eleven years in the legal profession, my supervisees and I have defended detained
                  and nondetailed Vermont and New York respondents in removal proceedings and custody
                  matters in New York, New Jersey, Massachusetts, and Texas Immigration Courts.
               6. The St. Albans Office serves as a subordinate office to the ICE Boston Field Office and is
                  where ICE conducts Enforcement and Removal Operations (ERO) including supervision.
                  The St. Albans Office is a small government office in a corporate park and not a detention
                  facility. It lacks normal detention facility amenities like attorney-client meeting space,
                  visitation space, or a telephone system with which detainees can communicate accessibly
                  with loved ones or counsel.
               7. Last year, ICE Boston Field Office and St. Albans Office leadership called a meeting with
                  Vermont immigration legal services providers in Burlington, Vermont to introduce us to
                  new management who would be permanently staffing the office. There, I had the chance
                  to personally meet with Boston and St. Albans ICE leadership, solicit their practice
                  preferences and prosecutorial discretion priorities, and exchange contact information to
                  facilitate more efficient resolution of represented parties’ immigration custody and removal
                  proceedings. I understood from this engagement and have heard confirmed by numerous
                  supervisees that the St. Albans Office is a small, simple administrative office not suitable
                  for long-term custody and detention.
               8. In my experience, noncitizens arrested by ICE in Vermont are processed at the St. Albans
                  ICE Office and may be detained there for a short period of time—generally, hours—before
                  being moved to another detention center in the region. I have only ever seen or heard of
                  ICE detaining immigrants at the St. Albans Immigration and Customs Enforcement (ICE)
                  Office upon their initial arrest in Vermont. I have never previously seen or heard of people
                  from other states being transferred into the St. Albans Office for detention.
               9. In my seven years of practicing in Vermont and serving as a local expert on immigration
                  matters, I have seen many cases of noncitizens who are arrested by ICE in Vermont
                  transferred to other states, such as Strafford in New Hampshire or Plymouth in
                  Massachusetts. But I have not seen people detained in other states being transferred by ICE
                  into Vermont, with one exception. That exception involved a recent case of an individual
                  detained on the New York side of Lake Champlain, across from Burlington, Vermont. She
                  was detained at the Chittenden Regional women’s facility in Burlington temporarily before
                  being transferred to Louisiana.
               10. Last month was the first time I encountered a Vermont resident who had been initially
                   detained in Vermont and then relocated to long-term custody outside of the northeast. That
                   individual was initially moved to the Plymouth facility in Massachusetts and then to a
                   facility in Texas. ICE told us the unusual transfer resulted from an administrative error that
                   flagged that client’s case for expeditious removal, even though the client’s asylum
                   application on Form I-589 was pending before the Chelmsford Immigration Court.




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               11. It is extraordinary for a Vermont detainee to be transferred from custody in the northeast
                   to custody outside of the northeast. It is similarly extraordinary for a person to be
                   transferred into a Vermont facility from ICE custody out of state.
               12. It is even more extraordinary for a person to be transferred into the St. Albans ICE office,
                   which is not a detention facility. It lacks normal detention facility amenities like attorney-
                   client meeting space, visitation space, or a telephone system with which detainees can
                   communicate accessibly with loved ones or counsel.
               13. In my experience, the ICE Detainee Locator does not typically specify a Vermont
                   detainee’s location, no matter whether they are at the St. Albans office or at a Vermont
                   Department of Corrections facility such as Chittenden pursuant to a Vermont-U.S.
                   Marshals Service Intergovernmental Service Agreement (IGSA). Instead of a precise
                   facility, the Detainee Locator typically suggests contacting ERO at the St. Albans Office.
               14. The example of the asylum seeker who ICE relocated from Vermont to Plymouth, MA to
                   Laredo, TX at Paragraph 10 is my only known example of a detainee whose custody at the
                   St. Albans office was reflected on the Detainee Locator.
            WHEREFORE, I declare under penalty of perjury under the laws of the United States of America
            that the foregoing is true and correct. Executed at Washington, D.C. on this 2nd day of April 2025.
            Respectfully Submitted,



            Jill Martin Diaz, Esq.
            Executive Director




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                                          UNITED STATES DISTRICT COURT
                                              DISTRICT OF VERMONT


             RÜMEYSA ÖZTÜRK,
             Petitioner,

             v.                                                                      No. 2:25-cv-00374

             DONALD J. TRUMP, et al.,
             Respondents.


                                      Declaration of Brett Stokes, Esq.
                  submitted in support of Petitioner’s Motion for Release Under Mapp V.
                    Reno, or in the Alternative, for Return to Vermont; and Petitioner’s
                       Supplemental Memorandum of Law on Jurisdictional Issues

            I, Brett Stokes, declare the following under pain and penalty of perjury:

                  1. I am an attorney licensed to practice in Vermont and New Mexico.

                  2. I have been practicing immigration law in the area of removal defense for about 9
                     years. I previously worked in Colorado but have been practicing in Vermont since
                     July 2022. I am presently the Director of the Center for Justice Reform Clinic at
                     Vermont Law & Graduate School.

                  3. I am providing this declaration based on my experience as a removal defense
                     practitioner in Vermont since 2022. My declaration is also informed by
                     conversations with immigration practitioners in Vermont and other Northern
                     New England states.

                  4. I am aware of two primary facilities that Immigration and Customs Enforcement
                     uses to detain noncitizens overnight in Vermont, the Chittenden Regional
                     Correctional Facility and the Northwest State Correctional Facility. Both of these
                     facilities are run by the Vermont Department of Corrections. In my experience,
                     ICE typically uses these facilities to detain noncitizens who are first taken into
                     custody in Vermont or near the Vermont border. ICE detainees typically stay at
                     these facilities for a few days before being transferred to another facility, such as
                     the Plymouth County Correctional Facility in Massachusetts. Chittenden is used
                     to house female ICE detainees, whereas the Northwest State Correctional Facility
                     is used to house male ICE detainees. I have heard but cannot confirm that ICE
                     may also use other Vermont Department of Corrections facilities sometimes.

                  5. ICE also has a suboffice in St. Albans, Vermont. In my experience, noncitizens
                     who are taken into custody in Vermont are detained at that Field Office location
                     only for the duration of their initial processing. In my experience, after being
                     initially processed in the St. Albans Field Office, noncitizens who were not



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                  released from custody on supervision are then promptly taken to another
                  detention facility, such as one of the Vermont Department of Corrections
                  facilities or the facility in Plymouth, Massachusetts. I have never heard of a
                  detainee arrested in Massachusetts, or any other location not in or very near
                  Vermont, being processed or held at the St. Albans Field Office. And I have never
                  heard of a case in which a detainee has been held overnight at the St. Albans Field
                  Office.

               6. The Vermont Department of Corrections facilities are all connected to an online
                  portal where, in my experience, within an hour or so of booking, their location is
                  publicly available at the doc.vermont.gov website. The St. Albans Field Office is
                  the only ICE detention location I am aware of in Vermont where an ICE detainee
                  could be held without their location becoming publicly available via that portal.

               7. On three occasions that I can recall, clients that I was already working with have
                  been detained by ICE in Vermont and processed at the St. Albans Field Office.
                  Two of these clients had their phones with them and were permitted to use their
                  phones to call family members while held for processing at the St. Albans Field
                  Office. On those occasions, I was able to learn in real time not only that the client
                  was detained for processing at the St. Albans Field Office, but also the facility to
                  which the client would be taken next. The third client checked into the ICE at the
                  St. Albans Field Office without a phone, was detained, and as far as I am aware
                  did not call anyone from the St. Albans Field Office.

               8. I have reviewed the declaration of Acting Deputy Field Office Directo David T.
                  Wesling in this case. I have never encountered or heard of a detainee transferred
                  into and out of Vermont in a manner resembling the transfer of Ms. Özturk. The
                  distance from which Ms. Özturk was brought to Vermont, the fact that she was
                  processed and held overnight at the Field Office St. Albans rather than being
                  taken to Chittenden, and the speed with which she was transferred into and out
                  of Vermont all make this case highly unusual, in my experience.


                  Executed on April 10, 2025, in Burlington, VT.



                                                      ____________________
                                                      Brett Stokes




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                                          UNITED STATES DISTRICT COURT
                                               DISTRICT OF VERMONT

            RÜMEYSA ÖZTÜRK,
            Petitioner,

            v.                                                                   No. 2:25-cv-00374

            DONALD J. TRUMP, et al.,
            Respondents.



                        DECLARATION OF ATTORNEY MAHSA KHANBABAI
             SUBMITTED IN SUPPORT OF PETITIONER’S MOTION FOR RELEASE UNDER
              MAPP v. RENO, OR IN THE ALTERNATIVE, FOR RETURN TO VERMONT AND
            PETITIONER’S SUPPLEMENTAL MEMORANDUM OF LAW ON JURISDICTIONAL
                                            ISSUES


                    I, Mahsa Khanbabai, declare under penalty of perjury that the following is true and

            correct:

                    1.     I am an attorney for Petitioner Rümeysa Öztürk. I submit this declaration in support

            of the Petitioner’s motion for release under Mapp v. Reno, or in the alternative, for return to

            Vermont and Petitioner’s supplemental memorandum of law on jurisdictional issues.

                    2.     I filed a habeas petition on behalf of Rümeysa Öztürk on March 25, 2025 at

            approximately 10:01 pm in the United States District Court for the District of Massachusetts. The

            habeas petition appeared on the electronic docket at 10:02 pm.

                    3.     At approximately 10:12 pm, I sent a copy of the habeas petition to Attorney Rayford

            Farquhar, who is the Chief of Defensive Litigation in the Civil Division at the United States

            Attorney’s Office in the District of Massachusetts. I also spoke with the emergency clerk for the

            United States District Court for the District of Massachusetts at approximately 10:30 pm. The clerk

            informed me that they too had let the United States Attorney’s Office know about the habeas

            petition.


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                   4.      At approximately 10:55 pm, the Court issued an order that Ms. Öztürk not be

            moved outside the District of Massachusetts without 48 hours’ notice.

                   5.      At approximately 10:59 pm, I sent a copy of the Court’s order to Attorney Farquhar.

            I also spoke with the emergency clerk for the United States District Court for the District of

            Massachusetts at approximately 10:57 pm. The clerk informed me that they too had let the United

            States Attorney’s Office know about the habeas petition.

                   6.      Between the evening of March 25 and the afternoon of March 26, I contacted both

            the ICE ERO in Burlington, Massachusetts and ICE HSI in Boston, Massachusetts several times

            to ask about Ms. Öztürk’s whereabouts, but I received no response to these inquiries.

                   7.      Between the evening of March 25 and the afternoon of March 26, I checked ICE’s

            Online Detainee Locator System several times for Ms. Öztürk’s location, but the “current detention

            facility” field repeatedly remained blank.

                   8.      A representative of the Turkish consulate personally went to ICE offices in

            Burlington, Massachusetts on March 26 and was reportedly informed that she was not in that office

            and that ICE did not have information about her whereabouts.

                   9.      I called Attorney Farquhar on the morning of March 26 to inquire about Ms.

            Öztürk’s location, to ask to speak with her, and to alert him that she has asthma and her medication

            was not on her when she was detained. Attorney Farquhar told me he did not know where she was

            and that he would look into it.

                   10.     At approximately 9:55 am, I emailed Assistant United States Attorney Mark Sauter

            to inform him that I had spoken with Attorney Farquhar to inquire about Ms. Öztürk’s location, to

            ask to speak with her, and to alert him that she has asthma and her medication was not on her when

            she was detained. Attorney Sauter responded that he was “trying to confirm current location still.”




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                   11.     At approximately 1:11 pm, I emailed Attorney Sauter and Farquhar to express my

            dismay that they still had not been able to locate Ms. Öztürk, and to inform them that I would be

            filing a motion within the hour asking the Court to order the government to disclose her location

            and to permit me to speak to her by 6pm.

                   12.     At approximately 1:43 pm, Attorney Sauter responded that he was “continuing to

            try to obtain information about petitioner’s current lcoation” and that he had “asked ICE again for

            this information.”

                   13.     At approximately 3 pm, I filed a motion asking the Court to order the government

            to disclose her location and to permit me to speak to her by 6pm.

                   14.     At approximately 3:27 pm, Attorney Sauter stated that ICE “informed” him that

            Ms. Öztürk was transferred to Louisiana in the morning and was en route to a detention facility.

            He stated “I continue to ask ICE for the detention facility that she will be placed and that she be

            permitted to contact you.”

                   15.     At approximately 3:49 pm, I responded and said that I needed to speak with Ms.

            Öztürk as soon as possible as it had been nearly 24 hours since she had been detained and I had

            not had any access to her.

                   16.     At approximately 6:15 pm, Attorney Sauter infomed me that Ms. Öztürk was in a

            staging facility in Alexandra, Louisiana and would later be sent to the South Louisiana ICE

            processing center.

                   17.     At approximately 7:19 pm, I emailed Attorney Sauter and said that I was alarmed

            that I had not access to my client for more than 24 hours since her detention.




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                   18.     At approximately 8:45 pm, Attorney Sauter informed me that he understood that

            Ms. Öztürk was now at the South Louisiana ICE processing center and that she could now contact

            me.

                   19.     At approximately 8:50 pm, I emailed Attorney Sauter and informed him that I still

            had not been able to speak with Ms. Öztürk.

                   20.     At approximately 9:45 pm, I was finally able to speak with Ms. Öztürk. This was

            the first time that I had been able to speak with her since she had been taken into custody at

            approximately 5:15 pm the day before.

                   21.     At no time following her arrest while Ms. Öztürk was in Massachusetts, New

            Hampshire or Vermont was I informed where my client was located.



            I declare under penalty of perjury that the foregoing is true and correct copy.

            Executed on April 10, 2025, in North Easton, MA.




                                                                  Mahsa Khanbabai Esq.




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                                  UNITED STATES DISTRICT COURT
                                       DISTRICT OF VERMONT

             RÜMEYSA ÖZTÜRK,
             Petitioner,

             v.                                                                No. 2:25-cv-00374

             DONALD J. TRUMP, et al.,
             Respondents.



                                     Declaration of Rümeysa Öztürk


            I, Rümeysa Öztürk, under penalty of perjury declare as follows:

                  1. My name is Rümeysa Öztürk. I am 30 years old. I am a citizen of Turkey.
                  2. I previously submitted a declaration in this case before the District of
                     Massachusetts. I now submit this updated declaration to explain some of my
                     ongoing health and safety concerns and the circumstances of my detention in
                     support of my request for bail and in the alternative for return to New
                     England.
                  3. I have lived in the United States since 2018 and am currently a Ph.D student
                     at Tufts University in the Child Study and Human Development program. I
                     miss interacting with my Tufts community from working with my advisor and
                     professors, supporting my labmates as we worked on peer reviews, my
                     interactions with undergraduate students, and special projects like our Mosiac
                     Art Project and the Collective Grieving Space for children.
                  4. My plans are to stay in academia and to undertake a post-doc in positive
                     media for youth.
                  5. I was detained on March 25, 2025 in the early evening. I was speaking to my
                     mother on the phone when several men approached me on the street and then
                     surrounded me and I screamed.
                  6. Since appearing on the Canary Mission website in February, I had begun to be
                     afraid that I could be targeted for violence. When the men approached me, my
                     first thought was that they were not government officials but private
                     individuals who wanted to harm me. I felt very scared and concerned as the
                     men surrounded me and grabbed my phone from me.
                  7. I asked who they were, and they said they were the police. I asked them for
                     badges and one showed me a gold badge but it happened so quickly I couldn’t
                     tell what it said. But I didn't think that they were the police because I had




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                      never seen police approach and take someone away like this. I thought they
                      were people who had doxxed me and I was afraid for my safety. They also
                      didn’t respond when I asked why and if they were arresting me. I saw a
                      neighbor recording the scene.
                  8. After I was put into the car, I asked who they were, where they were taking me
                      to, and they told me I was being arrested but they didn't say why. I began to
                      cough as we drove. I asked for my inhaler and to open the window.
                  9. It was hard to see out of the window but I could see we arrived at a parking
                      lot. There were a few cars parked. About 8-9 officers huddled together while I
                      was waiting in the car.
                  10. They took me out of the car and shackled my feet and belly and then put me in
                      the car again. I again asked to speak with my attorney, but they told me that I
                      could not.
                  11. I wanted to ask questions about what was happening to me but t hey were
                      scary and harsh. They asked my name but I told them I choose to remain
                      silent. I was held in the parking lot area for about 15-20 minutes.
                  12. We changed cars and different officers got into the car with me. I asked for a
                      woman officer to be with us, but they said none were around. They were all
                      wearing civilian clothes. I thought this was a strange situation and was sure
                      they were going to kill me.
                  13. We had another stop, this time in or near Lawrence, MA, in a parking lot
                      outside of an office building. It was an isolated place which had me very
                      concerned. I was there roughly for 15-20 minutes. We waited in the car and I
                      asked who they are. I asked to speak with an attorney. He showed me his
                      badge very quickly but I couldn't read it. I asked a few times if I was physically
                      safe. He seemed to feel guilty and said “we are not monsters”, “we do what
                      the government tells us”. He also warned me that what you can say can be
                      used against you.
                  14. I asked them where they were taking me and they said Vermont. When I
                      asked why, they said there are no detention centers in MA for women .
                  15. I had spoken to a lawyer about a week earlier because I was afraid after having
                      been doxxed and had the lawyer’s phone number with me. After being
                      detained, I asked to speak to a lawyer several times. Each time they told me I
                      could speak to a lawyer later. I again reminded the officers that I needed my
                      emergency asthma inhaler close by and they kept it near me.
                  16. We left this place and I told them that it was close to the time for me to break
                      my fast, and that I needed a full meal. They said they can't get me a meal but
                      can provide me snacks. We drove for about 5-7 minutes and one of the officers
                      went inside an office building and came out with some snacks.
                  17. They gave me two small packages of crackers and water but I didn't drink and
                      eat it because I was worried they could have poisoned it. I told them I wanted



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                      to speak to my lawyer first before I eat. I was afraid that if something
                      happened to me, no one would know where I was. A woman officer then
                      joined us but we didn't speak. She appeared to avoid eye contact with me as
                      did all the other officers. I was able to do my prayer in the car.
                  18. I was transported quickly to New Hampshire and believe we stopped in
                      Lebanon at what appeared to be a police station. This is when I first thought it
                      might be a US law enforcement agency detaining me rather than kidnappers
                      related to the doxxing. Inside the police station I asked their names and to use
                      the bathroom.
                  19. After a short time, the officers took me to a car and I asked where they were
                      taking me. I again asked to speak to an attorney. They told me I could at the
                      next stop. On the drive, I again asked where they were taking me. They told
                      me Vermont and that when we get there I could make a call.
                  20. In Vermont, I asked to speak to an attorney again but was told that I could
                      not, despite them having said before that I could call my lawyer from
                      Vermont. They told me I would be going to another location but then I spent
                      the night there.
                  21. I stayed in a cell that had no bed but a hard bench. I asked if there was a bed
                      and they said no. I was not able to sleep. The toilet was in the same space with
                      basically no barrier and there was no soap. There were no other detainees
                      there, as far as I could tell.
                  22. I felt like I was going to faint and again asked for a full meal as I had fasted all
                      day. I also had a lot of motion sickness from all the driving. They gave me
                      some snacks.
                  23. They took my biometrics, did DNA testing and then went over the NTA with
                      me. I didn’t understand some of the language they were using and asked for
                      an interpreter. They said it was late, it was midnight, and that it was hard to
                      find an interpreter. I refused to sign the documents.
                  24. Inside the building I saw a book titled “National Detainee Handbook” written
                      by US ICE in 2016 and asked them for the book, which they gave to me after
                      checking if it was okay. I again told them I need my asthma and other
                      medications.
                  25. I have lived with asthma for approximately 2-3 years. My asthma causes me
                      difficulty breathing, including when I am exposed to chemical fumes, dust,
                      damp spaces, mold, perfumes, heavy smells as well as stress.
                  26. I take medications for my asthma. I take one medication on a daily basis to
                      prevent asthma attacks. I also keep an emergency inhaler for use during
                      asthma attacks. I take these medications because asthma attacks can be
                      dangerous.
                  27. I estimate that I have had about 13 asthma attacks in my life. During those
                      attacks, I feel short of breath, afraid, anxious, and physically exhausted.



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                  28. I asked to call my attorney but they said I can’t make any calls. I asked to call
                      friends to let them know what happened. They again said I could not.
                  29. They said I could take some phone numbers from my phone to call from my
                      next location. Once I did that, they had access to my phone. I have private
                      photos of me without hejab and my loved ones on there of me and am very
                      concerned about them having access to these.
                  30. They didn’t let me make any calls and they asked me to put the phone into
                      flight mode. I was so tired and scared so I agreed. It was an isolated place with
                      four men and it was terrifying.
                  31. During the night they came to my cell multiple times and asked me questions
                      about wanting to apply for asylum and if I was a member of a terrorist
                      organization. I tried to be helpful and answer their questions but I was so
                      tired and didn’t understand what was happening to me. I asked where they
                      were going to take me and they said Louisiana. One of them said “I hope we
                      treated you with respect.”
                  32. Around 4am we left for the airport and I was handcuffed again. I gave up
                      asking to speak to a lawyer again.
                  33. I experienced an asthma attack while I was waiting in the Atlanta airport with
                      ICE. I felt like I could not breathe. I asked permission to go to the restroom to
                      use my inhaler, which I did, but I could not get over the asthma attack. I asked
                      for the medication I am prescribed to treat asthma attacks but I was told that
                      there was no place to buy it and that I would get it at my final destination. My
                      asthma attack finally passed after I used my emergency inhaler twice but it
                      took some time and I was in pain.
                  34. In Louisiana, myself and a few other women were taken to a processing
                      center. I saw many women and men handcuffed and belly chained. We were
                      placed in a cage-like vehicle and could not communicate with the officers
                      detaining us. We waited in this place for 3-4 hours. We had no access to food
                      or water.
                  35. I eventually arrived at the Louisiana facility where I am now. During the
                      entire first week of my stay there we were not allowed to go outside. During
                      the first two weeks, access to food and supplies was very limited because of
                      their systems to request these items.
                  36. I had a second asthma attack while at the Louisiana facility. I had difficulty
                      breathing and used the emergency inhaler but my breathing didn't improve. I
                      asked to go to the medical center and it took them a very long time to take me
                      there. While waiting, I was incredibly distressed as I couldn’t breathe well.
                  37. I asked them to let me outside to get some fresh air. They said no but let me
                      wait outside of the room in the hallway. While waiting, I still couldn't breathe
                      well and was crying. They let me stand near the door to the outdoors to get a




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                      little fresh air. It took 10-15 minutes to take me to the medical center during
                      which time I had a lot of difficulty breathing.
                  38. Once they finally took me to the medical center, the nurse took my
                      temperature. She said “you need to take that thing off your head” and took off
                      my hejab without asking my permission. I told her you can’t take off my hejab
                      and she said this is for your health. After a few minutes I put my hejab back
                      on. But they did nothing to treat my asthma and gave me a few ibuprofen.
                  39. I had a third asthma attack at the Louisiana facility. Again, this happened in
                      the cell and other woman knocked on the window to get the attention of the
                      officers. I was told that the nurse would come to the cell to see me. She took
                      me outside for a short bit and told me that it was all in my mind. She finally
                      took me to the medical center but I was not treated for my difficulty
                      breathing. The nurse left the room and didn’t answer my questions
                  40. I had a fourth asthma attack on Wednesday March 9th around noon. I used my
                      inhaler and waited for it to pass. I was in pain and very scared but I didn’t ask
                      to go to the medical center because I don’t feel that they address my medical
                      needs.
                  41. I don’t feel safe at the medical center because of my prior experiences there.
                      They complain when I go there and speak to me in an insulting and
                      condescending manner. They also write information in my medical records
                      that is not accurate. The doctor and nurses there are rude and uncaring.
                  42. I fear that my asthma is not being adequately treated and it will not be
                      adequately treated while I remain in ICE custody. The air is full of fumes from
                      cleaning supplies and is damp which triggers my asthma. We don’t get much
                      fresh air which also impacts my ability to breath e well.
                  43. The conditions in the facility are very unsanitary, unsafe, and inhumane.
                      There is a mouse in our cell. The boxes they provide for our clothing are very
                      dirty and they don’t give us adequate hygiene supplies.
                  44. We are in a cell that has a sign stating capacity for 14 but there are 24 of us in
                      this small space. None of us are able to sleep through the night. They come
                      into the cell often and walk around triggering the fluorescent lights. They
                      shout in the cell to wake up those who work in the kitchen around 3:30am
                      each day.
                  45. They wake me up for a blood sugar test at 4:15am every morning despite me
                      asking to change the time. I have since declined to have these tests.
                  46. If we need hygienic supplies like toilet paper, we may not get it until 18 hours
                      later, depending on the officer.
                  47. When they do the inmate count we are threatened to not leave our beds or we
                      will lose privileges, which means that we are often stuck waiting in our beds
                      for hours.




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                   48. At mealtimes, there is so much anxiety because there is no schedule when it
                       comes meals. They threaten to close the door if we don’t leave the room in
                       time, meaning we won’t get a meal.
                   49. There is lack of medical care too. For example, a woman was hit on the head
                       with a tray and fainted. It took a long time for her to be given medical
                       attention, at least 15 minutes.
                   50. I still have not been provided a prayer rug or a Quran. I also requested to meet
                       with a Muslim chaplain. I made these requests over two weeks ago. I also
                       asked for lightweight long sleeve clothing because of the heat but have not
                       received that.
                   51. I pray everyday for my release so I can go back to my home and community in
                       Somerville. I plan to stay with a dear friend for a short while after the ordeal I
                       have been through. I still have my apartment close to Tufts that I plan to
                       return to.
                   52. I want to complete my PhD which I have been working on for the last 5 years.
                       I only have about 9 months left to complete it and am very concerned about
                       not being able to finish my studies.
                   53. I have had to delay working on my dissertation proposal because of my
                       detention. It is very hard to access books here and it took nearly 2 weeks to get
                       a few pieces of paper and pens.
                   54. I am supposed to present at a conference in Minnesota in late April/early May
                       on character role models based on one of my PhD qualifying papers. My
                       qualifying review is scheduled for the beginning of May which we put a lot of
                       planning and preparation into. It will be very difficult to reschedule this
                       process.
                   55. I am also concerned about my summer plans to mentor graduate and
                       undergraduate students. I am scheduled to teach a summer class titled
                       Introduction to Children’s Media for college level high school students. I was
                       also in the process of selecting students for an undergraduate research
                       program this summer. I want to return to Tufts to resume all of my cherished
                       work.

            I declare under penalty of perjury that the foregoing is true and correct to the best of my
            knowledge.

            4/10/25
            ________________                                         ss Rümeysa Öztürk
            Date                                                     RÜMEYSA ÖZTÜRK




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              1                         UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF VERMONT
              2

              3       RUMEYSA OZTURK,              )
                                                   )
              4                      Petitioner    )
                             vs.                   ) CASE NO. 2:25-cv-374
              5                                    )
                      PATRICIA HYDE, MICHAEL KROL, )
              6       TODD LYONS, KRISTI NOEM,     )
                      DONALD J. TRUMP, MARCO A.    )
              7       RUBIO,                       )
                                                   )
              8                      Respondents. )
                      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _)
              9

             10

             11

             12               Motions Hearing held at 9:33 a.m. on Monday,
             13       April 14, 2025, in Burlington, Vermont, before
             14       Honorable William K. Sessions, III, District Judge.
             15

             16

             17

             18

             19

             20

             21       Sarah M. Bentley, CCR-B-1745
                       Registered Professional Reporter and Notary Public
             22

             23

             24
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             25                             sbireland7@gmail.com

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              1                            P R O C E E D I N G S
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              3

              4                         THE COURT:       Good morning.
              5                         THE CLERK:       This is Civil Case No.
              6               25-374, Rumeysa Ozturk vs. Patricia Hyde, et al.
              7                         Present for the petitioner are Attorneys
              8               Adriana Lafaille, Jessie Rossman, and Noor
              9               Zafar.
             10                         Present for the respondent is Assistant
             11               United States Attorney Michael Drescher.
             12                         The matter before the Court is a hearing
             13               on a motion to dismiss.
             14                         THE COURT:       Okay.     Good morning,
             15               everyone.
             16                         (Brief pause.)
             17                         THE COURT:       All right.        Good morning,
             18               everyone.       This is a full house.            At least it
             19               looks like a full house from this perspective.
             20                         I invite you to be here.              I just would
             21               remind everyone that this is a courtroom.                      This
             22               is a respectful environment; that I've asked the
             23               marshals if anyone becomes disruptive during the
             24               course of the argument that they should be
             25               removed, but other than that we certainly invite

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              1               everyone to be here.
              2                         So we're addressing a number of motions
              3               that have been filed.
              4                         First, the government has filed a motion
              5               to dismiss, and I think we'll address that
              6               first.
              7                         The petitioner has also filed a request
              8               for release and, alternatively, that she be
              9               removed back to this jurisdiction for the course
             10               of the habeas proceedings, and we'll deal with
             11               that second.
             12                         So, first, is the government ready to
             13               proceed on its motion to dismiss?
             14                         MR. DRESCHER:         It is.
             15                         THE COURT:       Technically you didn't file a
             16               motion to dismiss, but I perceived that that's
             17               exactly what you were requesting.                  In fact,
             18               that's what you requested in the course of your
             19               filing so I call it a motion to dismiss, and
             20               I'll hear you.
             21                         MR. DRESCHER:         Understood.
             22                         With your Honor's indulgence, as the
             23               Court is aware, there are two or three separate
             24               issues pertinent to whether the Court has
             25               jurisdiction; the first being habeas, the second

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              1               being the transfer under 1631, and the third
              2               being the effect of the INA.
              3                         THE COURT:       Yes.
              4                         MR. DRESCHER:         Do you wish -- and I
              5               appreciate that counsel for petitioner,
              6               different counsel will argue different issues
              7               for petitioner, and so my question is how would
              8               you like the government -- do you want me to
              9               argue all of the issues initially?
             10                         THE COURT:       I think that you should argue
             11               all of the issues initially.               Then if, in fact,
             12               different counsel want to address those issues
             13               from the petitioner, they can do that.
             14                         MR. DRESCHER:         Thank you.
             15                         At the outset I want to emphasize that we
             16               do not contest that Ms. Ozturk is entitled to
             17               judicial review of what has happened and what is
             18               happening to her.
             19                         Our position is that under the system set
             20               up by Congress for administering the immigration
             21               laws and pursuant to decisions, pursuant to the
             22               decisions of the Supreme Court in the 2nd
             23               Circuit, this is neither the time nor the forum
             24               for that review to occur.
             25                         THE COURT:       All right, so you are

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              1               essentially suggesting that she does have a
              2               right to file a habeas petition addressing
              3               constitutional issues, which are separate and
              4               apart from the removal proceedings that she is
              5               now facing; is that correct?
              6                         MR. DRESCHER:         We're not contesting her
              7               right to file a habeas petition.
              8                         THE COURT:       Okay.
              9                         MR. DRESCHER:         She's in the executive --
             10               she's in the custody of the executive.                     Habeas
             11               is a traditional means of challenging the
             12               legality of that.
             13                         We do challenge whether this Court has
             14               habeas -- is the appropriate venue for that
             15               habeas challenge to be heard.
             16                         THE COURT:       All right.
             17                         MR. DRESCHER:         And, again, at the outset
             18               I appreciate that the system that Congress has
             19               set up does not provide Ms. Ozturk for the
             20               relief that she wants at this time and that she
             21               understandably wants to believe now.
             22                         I also appreciate that her detention, as
             23               for anyone who is in the custody of the
             24               executive branch, has a profound impact on her.
             25                         The Congress has made clear that claims

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              1               such as the one that are before the Court,
              2               whether it's habeas or other -- or fashioned
              3               otherwise, because they arise from the fact that
              4               Ms. Ozturk is in immigration proceedings right
              5               now and is subject to removal proceedings, her
              6               claims must be presented to an appropriate court
              7               of appeals at the appropriate time.
              8                         And in the meantime Ms. Ozturk may
              9               request that she be released on bond before the
             10               immigration judge, and to my knowledge she has
             11               not yet done so.
             12                         On the question of habeas jurisdiction, I
             13               think the critical case is Padilla.                  And that
             14               case makes clear that the appropriate venue for
             15               considering a petitioner's habeas petition is
             16               the venue in which the petitioner's immediate
             17               custodian, is the venue that has jurisdiction
             18               over the immediate custodian, and is the venue
             19               of her detention.
             20                         THE COURT:       Okay.     So just before we get
             21               into the discussion about venue, you've looked
             22               at the complaint that has been filed by the
             23               petitioner.        Tell me what you think the
             24               complaint is seeking as a remedy.
             25                         MR. DRESCHER:         On its face it seeks an

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              1               order returning her initially to the District of
              2               Massachusetts.         Now they are asking her to be
              3               returned to the District of Vermont.
              4                         It's asking that she be released on bail.
              5                         It's asking that the Court declare her
              6               arrest and detention are constitutionally -- are
              7               unconstitutional.
              8                         It asks the Court to set aside a policy
              9               of targeting noncitizens for removal based on
             10               protected speech.
             11                         It's asking the Court to restore her --
             12               certain entries relating to her in the system
             13               set up by the Department of Homeland Security
             14               relating to student visas, the SEVIS record,
             15               which it's not completely clear.
             16                         It may also be a challenge to the actual
             17               revocation of her visa.
             18                         She's asking the Court to enjoin any
             19               enforcement action against her based on -- based
             20               on foreign policy.
             21                         And those are the principal requests for
             22               relief.
             23                         THE COURT:       Well, so what questions is
             24               she addressing in her complaint in regard to her
             25               removal proceedings?

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              1                         In other words, what restriction is she
              2               asking the Court to make about how immigration
              3               is to proceed in the removal proceeding?
              4                         MR. DRESCHER:         With your Honor's
              5               indulgence, I want to answer your Honor's
              6               question indirectly.
              7                         THE COURT:       Okay.
              8                         MR. DRESCHER:         First, as a core habeas
              9               matter, the only relief that's available for a
             10               core habeas matter is the petitioner's release.
             11                         THE COURT:       All right.
             12                         MR. DRESCHER:         All of the other remedies,
             13               while certainly relevant to her situation, are
             14               really outside the normal scope of a habeas
             15               case.
             16                         THE COURT:       All right, so -- and have you
             17               read the complaint to be consistent with that
             18               principal?
             19                         That is, what the petitioner is seeking
             20               is a declaration that her arrest violated both
             21               the First and the Fifth Amendment as well as the
             22               APA, and what she is seeking essentially is
             23               release?
             24                         That is, because the arrest was in
             25               violation of the First, Fifth and APA, she's

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              1               entitled to a release, but that has no impact
              2               upon the revocation or the removal proceeding?
              3                         MR. DRESCHER:         That's not totally clear,
              4               your Honor.
              5                         I'll take a step back.             It does have an
              6               impact on the removal proceedings insofar as she
              7               is currently in custody because her visa has
              8               been revoked and she's received a notice to
              9               appear asserting that she is no longer -- she is
             10               out of status because of the revocation of her
             11               visa.     Under the discretion that is accorded to
             12               the executive branch by Congress in 1226(a), she
             13               is being held in custody.
             14                         She is in custody because she is in
             15               removal proceedings.            She was taken into custody
             16               because -- because of her absence of status.
             17                         It is conceptionally impossible to
             18               separate her request to be released from custody
             19               from the fact that she is in custody because the
             20               Attorney General has initiated removal
             21               proceedings.        She has detained her in her
             22               discretion as part of those and has detained her
             23               as part of those removal proceedings.
             24                         Under the 2nd Circuit's analysis in the
             25               Delgado case and in the 2nd Circuit's analysis

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              1               in the Ragbir case, these -- the fact of her
              2               detention is inextricably connected to the fact
              3               that she is in removal proceedings.                  And --
              4                         THE COURT:       Okay, so let's just assume
              5               that the Court were to grant the petitioner's
              6               request, declare the arrest to be in violation
              7               of the First and Fifth Amendment, okay,
              8               constitutional violation, which means then the
              9               Court addresses whether she should be in
             10               custody.
             11                         Are you suggesting that if the Court were
             12               to determine that she was arrested in violation
             13               of the First Amendment and the Fifth Amendment,
             14               that the Court has no remedy or that the
             15               petitioners have no remedy?
             16                         That is, in fact, if the Court ordered
             17               her to be released, you would say that the Court
             18               had no jurisdiction to order her released
             19               because of its impact on the removal proceeding?
             20                         MR. DRESCHER:         Not because of its impact
             21               on the removal proceeding, although it certainly
             22               would presumably have an impact in terms of
             23               venue and other aspects of the removal
             24               proceedings, which I'm not completely familiar
             25               with.

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              1                         Our position is the Court doesn't have
              2               jurisdiction to do that because it's connected
              3               to the removal proceedings.               And it's not just
              4               me as a lawyer saying that.               It's what Congress
              5               said in 1226 and in 1252.
              6                         First, Congress says that in 1226 there
              7               shall be no judicial review of the discretion --
              8               the discretionary detention of a noncitizen who
              9               is subject to removal proceedings.
             10                         Now, that noncitizen, like petitioner
             11               here, can seek relief before the immigration
             12               court if she's detained, as is the case here.
             13               So Congress has made pretty crystal clear in
             14               1226 that's the case.
             15                         The 2nd Circuit has recognized that
             16               that's the case in a case, Velasco Lopez.
             17                         THE COURT:       Velasco Lopez, which is the
             18               central case, indicating that the Court does
             19               have the power to address a habeas petition
             20               despite the fact that someone may be in removal
             21               proceedings?
             22                         MR. DRESCHER:         As I understand Velasco
             23               Lopez, and this is consistent with, I believe,
             24               the Supreme Court decision in Jennings, a court
             25               can exercise habeas jurisdiction when the

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              1               assertion is the scope of authority or a
              2               challenge to the statutory scheme; that in those
              3               cases that was what was at issue.
              4                         There was a -- it was not a challenge to
              5               the discretionary decision or, I believe in
              6               Jennings, in some cases a nondiscretionary
              7               decision under 1226(c).
              8                         THE COURT:       Well, you've read the
              9               proceedings of the petitioner which basically
             10               suggests that they're not in any way addressing
             11               the removal proceedings.              They're, in fact,
             12               approaching this subject matter almost as two
             13               separate areas of concern.
             14                         The first area of concern would be in the
             15               arrest and immediate detention in violation of
             16               constitutional rights.             That's a separate habeas
             17               proceeding which goes before an Article III
             18               judge.      That's habeas.
             19                         The second is the removal proceedings.
             20               And what they're suggesting is they're not
             21               seeking relief at all in terms of the removal
             22               proceedings.        In fact, they're not trying to get
             23               the immigration judge or ICE in its prosecution
             24               of the removal proceedings to do anything.
             25               That's not -- that's not a part of this case.

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              1                         All they're saying is she was illegally
              2               arrested in violation of the First and Fifth
              3               Amendment in particular and, as a result, the
              4               remedy would be her release from detention here,
              5               not impacting her -- the removal proceedings in
              6               any particular way.           And, in fact, you know,
              7               suggesting that the removal proceedings continue
              8               on despite the fact that her arrest was
              9               determined to be illegal.
             10                         So do you disagree with that sort of dual
             11               way of approaching this subject matter?
             12                         MR. DRESCHER:         I believe I understand
             13               your Honor's point, but what I take issue with,
             14               what we take issue with is the -- is the idea
             15               that the Court can separate the fact that
             16               Ms. Ozturk was arrested and is in immigration
             17               custody from the fact that she's been charged
             18               with a notice to -- she's been served a notice
             19               to appear and is in custody because of the
             20               revocation of her visa.
             21                         THE COURT:       Okay, so she's filed a habeas
             22               petition suggesting that she was illegally
             23               arrested.       The remedy that she is seeking has
             24               nothing to do with damages against the
             25               government, has nothing to do with stopping her

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              1               removal proceeding.           Her remedy is pretty
              2               straightforward.
              3                         If you have a constitutional violation in
              4               the arrest of a person, you are entitled to
              5               release.       And, you know, I appreciate the fact
              6               that you -- that it becomes a little bit fuzzy
              7               when you're talking about detention and its
              8               impact on the removal proceeding, but what is
              9               really fundamentally a question for me is what
             10               if she is right?
             11                         What if there was a constitutional
             12               violation in her arrest?
             13                         The only remedy she's seeking is release,
             14               and you are suggesting that the Court has no
             15               power to release her because she has a removal
             16               proceeding in which she has been ordered
             17               detained by immigration authorities so that, as
             18               a result, she has no remedy.
             19                         I mean, this is the fundamental question
             20               because obviously if the Court -- if the Court
             21               found that there was a constitutional violation,
             22               I would turn to you and say, well, of course she
             23               needs to be released.
             24                         And if the government then says, well,
             25               no, she can't be released because we have a

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              1               detention order in immigration, which is in
              2               violate and she's not going to be released, then
              3               we're in a constitutional crisis.
              4                         MR. DRESCHER:         So I don't want to be
              5               heard -- I don't want to be perceived in any way
              6               as suggesting that we're not going to abide by
              7               an order of the Court.             If I take that hint in
              8               your Honor's statement, I want to make that
              9               clear.
             10                         Our argument, Judge, is that -- and it's
             11               not -- it's not the executive.                It's not me who
             12               is saying this.          It's Congress who said this,
             13               and it's the 2nd Circuit and the Supreme Court
             14               who have said this; that because of the
             15               intricacies of operating and administering the
             16               immigration laws of our country, the executive
             17               is vested with a wide amount of discretion.
             18                         And because of the intricacies of that
             19               system, Congress has specified that district
             20               courts should not be involved in reviewing the
             21               operations of the immigration -- of the
             22               immigration courts, to include reviews of the
             23               Attorney General's discretion, discretionary
             24               decision to detain a noncitizen who is in
             25               immigration proceedings, to include -- well, to

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              1               include the question of whether somebody is
              2               detained or not.
              3                         THE COURT:       So as a general matter I
              4               don't disagree with that at all.                 I mean, I
              5               certainly think that Congress in the INA has, in
              6               particular, a number of provisions said that
              7               immigration authorities are in charge and that
              8               the judicial branch should have no impact in
              9               reviewing removal proceedings, removal orders,
             10               et cetera.       There's no question about that.
             11                         There only is a question about this
             12               fundamental issue about whether or not during
             13               the course of an arrest or bringing the
             14               petitioner before immigration authorities there
             15               was a violation of fundamental liberties, in
             16               which case I agree with you that this is a very
             17               complex area of the law and -- and essentially
             18               the Constitution rubs up against the INA perhaps
             19               in some areas.         You know, but fundamentally the
             20               Court's responsibility is to make an assessment
             21               about the constitutional liberties.
             22                         And if there is a constitutional
             23               violation here, I mean certainly that takes
             24               precedence, it seems to me.
             25                         Is that -- do you disagree with that?

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              1                         MR. DRESCHER:         I don't disagree at all
              2               that making sure there is a system in place for
              3               judicial review of the constitutionality of
              4               what's going on is understandably important to
              5               all of us.
              6                         In this context, Congress has specified
              7               in Section 1252(b)(9) that judicial review of
              8               all questions of law and fact, including
              9               interpretation and application of constitutional
             10               provisions arising from any action taken or
             11               proceeding brought to remove an alien from the
             12               United States, shall be available only in
             13               judicial review of the final order under this
             14               section.
             15                         THE COURT:       I don't disagree with that,
             16               but to move the ball forward you have to make an
             17               assessment as to whether that provision is
             18               related to removal proceedings or that provision
             19               suggests that an Article III judge has no power
             20               to make a determination of a constitutional
             21               violation earlier in the process.
             22                         And I don't hear you saying that an
             23               Article III judge would not have the power to
             24               make a determination in a habeas proceeding of
             25               whether there has been a fundamental violation

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              1               of the First and Fifth Amendment.
              2                         Am I correct about that?
              3                         MR. DRESCHER:         I'm not sure.        There are
              4               habeas cases in which courts exercise habeas
              5               jurisdiction over challenges to a statutory
              6               system, over challenges to whether the executive
              7               has authority to exercise at all, but
              8               Section 1226(e), I believe, specifies in
              9               similarly broad language that there shall be no
             10               judicial review of the -- of the decision to --
             11               and, again, and this is not just the statute.
             12                         If you look to Jennings, the Supreme
             13               Court case on point, which was a very messy set
             14               of concurrences, and at some point there was an
             15               opinion for the majority.              At some point there
             16               was different justices saying different things.
             17                         In Part II of that decision three
             18               justices say that 1226(e) bars judicial review
             19               of discretionary -- the exercise of discretion
             20               to detain an alien who is in removal
             21               proceedings.        Three justices say that.
             22                         Two justices in a concurrence say that
             23               there should be no jurisdiction at all under
             24               1252.
             25                         So a majority of the Supreme Court has

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              1               concluded that there is no judicial review at
              2               the District Court level of an arrest in this
              3               context.
              4                         THE COURT:       Okay, so tell me, if that's
              5               true, if what you're saying is under 1223 or
              6               1226(e), there is no review of detention, right?
              7               Tell me why there would still be habeas corpus
              8               relief.
              9                         MR. DRESCHER:         As I indicated, there
             10               are -- courts will exercise habeas jurisdiction
             11               in the immigration context when the challenge is
             12               not to the legality of an individual's -- when
             13               the challenge is not to the executive's exercise
             14               of discretion to detain a noncitizen who's in
             15               removal proceedings.
             16                         Rather, when the challenge is to a
             17               statutory scheme or the challenge is whether
             18               there is authority at all to be exercised in
             19               that case.       I think this is the -- these are
             20               the -- these are the lines that are drawn as I
             21               read them in the habeas, in the cases where
             22               there is habeas jurisdiction asserted over
             23               detained -- detained noncitizens under 1226.
             24                         THE COURT:       And there is no question that
             25               if you take habeas relief as proposed by the

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              1               petitioner or, you know, I think by the Circuit
              2               in Velasco, that courts address the fundamental
              3               question about whether there's a constitutional
              4               violation and, if so, the remedy is to release
              5               that person.        The remedy is not to impact in any
              6               way the removal proceedings but to release that
              7               person.
              8                         MR. DRESCHER:         And I --
              9                         THE COURT:       That's the fundamental
             10               distinction.
             11                         MR. DRESCHER:         Well, I appreciate that,
             12               but I think -- I don't think that's the issue.
             13                         The fact that removal proceedings can
             14               continue does not disconnect the detained status
             15               of the petitioner from the fact that there are
             16               removal proceedings, and it's that connection
             17               which is what triggers these provisions in the
             18               INA.
             19                         THE COURT:       But would you then agree that
             20               your position is that because of 1226(e), that
             21               the impact on detention in a removal proceeding,
             22               that essentially the petitioner here has no
             23               remedy under habeas?
             24                         MR. DRESCHER:         That's what Congress says,
             25               and --

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              1                         THE COURT:       Okay.
              2                         MR. DRESCHER:         And because of -- because
              3               of the extraordinary complexity that is -- that
              4               surrounds the operation of our immigration laws,
              5               Congress has made that policy determination to
              6               vest judicial review, including constitutional
              7               review, in the petition for review at the end of
              8               the proceedings.
              9                         THE COURT:       And that if we found some
             10               law, some judicial history -- well, actually
             11               legislative history, the legislative history to
             12               the INA which suggests that the INA does not
             13               really impact the fundamental right to bring
             14               habeas, so that is somewhat distinct, if there
             15               is something mentioned in legislative history to
             16               suggest that the right to habeas remains,
             17               despite the passage of the INA, you would find
             18               that extraordinary?
             19                         MR. DRESCHER:         I think the INA speaks
             20               clearly that habeas relief is not available in
             21               contexts where the immigration laws are being
             22               administered.
             23                         THE COURT:       All right.        So I wanted
             24               really to address that fundamental question
             25               because I wasn't sure exactly what the

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              1               government's position is.
              2                         Now it's pretty clear that basically what
              3               you're suggesting is that at least in regard to
              4               detention under 1226(e), you feel that the Court
              5               really has no jurisdiction, just generally, as a
              6               general matter, and we'll get into the more
              7               specific.
              8                         MR. DRESCHER:         Yes.    And, your Honor, I
              9               recognize that in many respects that's a
             10               counterintuitive set of rules.
             11                         THE COURT:       Yes.
             12                         MR. DRESCHER:         But it's also a very
             13               counterintuitive area of the law given -- given
             14               the intricacies of how our immigration system
             15               operates and given Congress's judgment in terms
             16               of at what point is it appropriate for the
             17               judicial branch to involve itself in that, in
             18               the administration of that area of the law.
             19                         I want to, by way of example, the 2nd
             20               Circuit's case in Ragbir, which I think does a
             21               lot of work for both sides in this case, you
             22               know, in that case the Court concluded that
             23               there was -- although in the end the Supreme
             24               Court vacated this part of the ruling.
             25                         THE COURT:       But that was on a

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              1               different -- that was on a totally different
              2               issue, right?
              3                         MR. DRESCHER:         Well, it had to do with
              4               the nature of the relief that was being granted
              5               in habeas.
              6                         THE COURT:       Yes.
              7                         MR. DRESCHER:         But the Court concluded
              8               like it would be okay for there to be habeas
              9               jurisdiction in that First Amendment challenge
             10               to the execution of a removal order.
             11                         The only reason why the 2nd Circuit
             12               concluded that was because at that point in the
             13               proceedings there was no prospect of a petition
             14               for review at the appropriate circuit court
             15               level.
             16                         Because by that time in the -- in the
             17               immigration history of Mr. Ragbir, the final
             18               order of removal had already issued.                      There was
             19               no way -- and the timing for her seeking
             20               petition for review had expired.
             21                         The only reason why the 2nd Circuit said
             22               there could be habeas jurisdiction in that case
             23               was because the provisions of 1252 sending the
             24               constitutional review to the Circuit Court of
             25               Appeals couldn't apply.

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              1                         THE COURT:       Right, but that's an
              2               extraordinary circumstance in which there is no
              3               judicial review at the circuit level after
              4               there's an order of removal.
              5                         So this is -- this is -- Ragbir is sort
              6               of, it seems to me, sort of suggests that in
              7               habeas kinds of cases they're flexible.
              8               Sometimes there are extraordinary circumstances.
              9                         In this particular case, in Ragbir, there
             10               was the extraordinary circumstance of no
             11               judicial review once an order of removal has
             12               been approved by the IJ, the immigration judge,
             13               and so as a result in this extraordinary
             14               circumstance you actually can review an order of
             15               removal.
             16                         I mean, clearly they're not seeking to be
             17               able to review an order of removal.                  This has
             18               nothing to do with immigration, at least
             19               according to what the petitioner is saying.
             20               This just has to do with what happened when she
             21               was arrested and was the arrest pursuant to a
             22               violation of the First Amendment.
             23                         Anyway, so we could stand debating this
             24               for I think probably -- not debating.                     I'm
             25               trying to learn, but --

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              1                         MR. DRESCHER:         You and I both, your
              2               Honor, and I appreciate -- you know, I think
              3               I've said most of my piece with regard to the
              4               operation of the INA in that context.
              5                         THE COURT:       Right.
              6                         MR. DRESCHER:         I don't want to lose sight
              7               of the threshold habeas questions that are
              8               triggered by Padilla, and I think they're
              9               intractable, another very difficult
             10               jurisdictional problem for this Court.                     I think
             11               they make it necessary --
             12                         THE COURT:       We're talking about the
             13               arrest and her being brought to Metheun,
             14               Massachusetts, then New Hampshire and Vermont,
             15               and the filing of the petition at 10:02 in
             16               Massachusetts when, in fact, the petitioner's
             17               lawyers did not know where she was.
             18                         And what's your argument?
             19                         Well, tell me what your argument is.
             20                         MR. DRESCHER:         My argument is simply that
             21               under Padilla in order for a court to have
             22               habeas jurisdiction, meaning being the
             23               appropriate venue for a habeas case to be filed,
             24               that the petition has to be filed against the
             25               petitioner's immediate custodian over whom the

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              1               Court would have jurisdiction, and the
              2               petitioner has to be in the district of -- the
              3               district where it's filed has to be the district
              4               of confinement.
              5                         THE COURT:       And are there any
              6               extraordinary circumstances in which the
              7               district of confinement or the immediate
              8               custodian, those are the rules in habeas; that
              9               you have to file in the district of confinement
             10               and that you have to actually identify the
             11               immediate custodian as opposed to the Attorney
             12               General, et cetera?
             13                         That's the rule.          Are there any
             14               exceptions to that rule?
             15                         MR. DRESCHER:         The Supreme Court has
             16               recognized what I would consider two sets of
             17               exceptions.
             18                         One is the rule of Endo, which is when
             19               the petition is initially filed in the
             20               appropriate district against the immediate
             21               custodian.       Habeas jurisdiction attaches at that
             22               time when -- if it's filed when the petitioner
             23               is there.
             24                         If the petitioner in the custody -- if
             25               the executive branch then moves the petitioner

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              1               away, jurisdiction doesn't move.                 But that
              2               requires the petition to be filed in conformity
              3               with the immediate custodian rule when it's
              4               filed.
              5                         THE COURT:       Okay, so let's first address
              6               the facts.
              7                         The facts here; she's arrested at, I
              8               think 5:35, and she's taken to Methuen,
              9               Massachusetts, et cetera.              The petition is filed
             10               at 10:04 or, I'm sorry, 10:02.                And at 10:02 she
             11               is actually in a vehicle being operated by law
             12               enforcement officials on her way.                  She's in
             13               Vermont, but she's on her way to St. Albans; is
             14               that right.
             15                         MR. DRESCHER:         That's my understanding;
             16               that she was in transit at the time the petition
             17               was filed.
             18                         THE COURT:       Okay.
             19                         MR. DRESCHER:         And in Vermont.
             20                         THE COURT:       So she's not in Massachusetts
             21               for sure.
             22                         So do you agree that counsel for the
             23               petitioner had no idea where she was; that
             24               counsel for the petitioner had called DOJ, ICE,
             25               et cetera, trying to locate her.                 Nobody would

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              1               respond and, as a result, she had no idea or
              2               they had no idea where she was.                 And then chose
              3               to file in Massachusetts because Massachusetts
              4               was the last place where she was located, and
              5               because she had no -- they had no idea who the
              6               custodian was, they filed against the Attorney
              7               General.       Is that correct?
              8                         MR. DRESCHER:         I don't think there's any
              9               factual dispute about what happened and why
             10               things happened the way they did in terms of
             11               where the petition was filed.
             12                         THE COURT:       Okay.     So clearly there's
             13               a -- clearly they filed a petition in
             14               Massachusetts.         They seek -- they seek an
             15               exception to be able to file in Massachusetts
             16               because they had no clue where she was and --
             17               but she, in fact, is in Vermont.
             18                         So in regard, first of all, to the
             19               immediate custodian, who is the immediate
             20               custodian at the time of the filing?
             21                         MR. DRESCHER:         It would have to be
             22               somebody now who was other than a supervisory
             23               official over the people in whose custody the
             24               petition was.         I don't have a name for you right
             25               now, but Padilla makes clear it has to be

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              1               somebody with immediate custody.
              2                         It's not just an official located in
              3               another city or even in Washington, D.C.                      That's
              4               one of the clear holdings of Padilla.
              5                         THE COURT:       Yeah, so ordinarily in all
              6               the cases I've been involved in, usually the
              7               warden, the warden of the prison, that's the
              8               supervisory personnel, but it's the person who
              9               has the ability to release -- release her.
             10                         MR. DRESCHER:         Right.
             11                         THE COURT:       Why wouldn't that be the head
             12               of the field office of ICE?
             13                         MR. DRESCHER:         Your Honor, I'm just
             14               repeating the holding of Padilla; that it can't
             15               be somebody with legal authority.                  It has to be
             16               the person with immediate custody.
             17                         If you're asking why that's the reason,
             18               I'm going to circle back to it's because that's
             19               what the Supreme Court says.
             20                         THE COURT:       Well, now you have a second
             21               amended petition which identifies a number of
             22               people, and one of them is the head of the field
             23               office for the northeast area, which controls
             24               all of New England.
             25                         MR. DRESCHER:         I think even Judge Casper

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              1               acknowledges in her decision that that -- that
              2               that wasn't sufficient under the immediate
              3               custodian rule in terms of --
              4                         THE COURT:       So you don't think the
              5               identification of Ms. Hyde as the person who's
              6               the head of the office would be similar to a
              7               person who was a warden of a prison?
              8                         MR. DRESCHER:         Right.
              9                         THE COURT:       Okay.
             10                         MR. DRESCHER:         To your Honor's point
             11               about what counsel knew or didn't know, again, I
             12               think that issue is taken up in Padilla, and I
             13               want to point the Court specifically to
             14               Footnote 17 in Padilla where the Court
             15               specifically rejects the idea that it's okay to
             16               file in the Southern District of New York
             17               because counsel was not -- did not know at that
             18               time that the petitioner had been moved to South
             19               Carolina; that what's known or not known to
             20               plaintiff's counsel.
             21                         And I hope nobody in this room hears me
             22               to be -- to be criticizing the performance of
             23               counsel.       They were trying to represent their
             24               client, but they didn't know where she was, just
             25               like the petitioner's counsel in Padilla did not

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              1               know where he was.           They filed in the district
              2               which was, you know, for lack of a better set of
              3               words, their best estimate of where their client
              4               was located.
              5                         But in this case she -- and in Padilla
              6               he -- was not located there.               And the Supreme
              7               Court specifically said habeas jurisdiction does
              8               not attach under those circumstances.
              9                         And the fact that counsel didn't know
             10               does not affect that analysis.                It's -- and that
             11               being the case, that being the case the petition
             12               and the amended petition here have never
             13               conformed to the requirements of Padilla.
             14                         THE COURT:       But perhaps they didn't --
             15               well, they clearly did not know, but one of the
             16               things they would say is that they really made
             17               all of these efforts to contact the Department
             18               of Justice and ICE and calling numerous places
             19               to try to get some information about where she
             20               was.     And -- and it may be for legitimate
             21               purposes.       It may be because of security
             22               concerns.
             23                         I think part of your pleadings why, ICE
             24               was very concerned about security and, as a
             25               result, would not want to disclose where they

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              1               are.     But the fact is they continued to refuse
              2               to tell counsel where she was, and does that
              3               make a difference?
              4                         MR. DRESCHER:         No, I don't think it does.
              5               And I don't think it does, just like in Padilla
              6               it didn't make a difference.
              7                         And I appreciate your Honor, you know,
              8               recognizing the point we made in our filing that
              9               there are legitimate security reasons not to
             10               disclose the location of somebody who's been
             11               detained while that person is in transit.
             12                         And, you know, as -- and I can speak from
             13               personal experience in the criminal context.
             14               Sometimes somebody who has been arrested and
             15               charged with a crime is, you know, held without
             16               an opportunity to connect with family or a
             17               lawyer for a period of, you know, a day or more.
             18                         If the system operated more efficiently,
             19               nobody would be complaining about that, but this
             20               is sort of the reality of when people get
             21               arrested and get transported to a holding
             22               facility.       I appreciate why that's frustrating
             23               to counsel.        I appreciate why that was
             24               frustrating to the petitioner in this case, but
             25               it's not unusual for somebody who's being

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              1               arrested to be deprived of the ability to
              2               communicate for most of a day following an
              3               arrest.
              4                         THE COURT:       Right.      I suppose that they
              5               could recognize why ICE would not necessarily
              6               want to reveal the location, but then what their
              7               argument would be, but we're prejudiced by the
              8               fact that no one told us where she was.                      Because
              9               if somebody had told us that she was in Vermont,
             10               they could very well have filed the same habeas
             11               petition in Vermont that they filed in
             12               Massachusetts.
             13                         MR. DRESCHER:         Well, I appreciate not
             14               knowing where their client was located, they did
             15               not know where to file a petition.
             16                         And I appreciate that one follows the
             17               other, but that doesn't mean it's improper to
             18               not disclose the location of their client until
             19               she reached her final -- her final facility.
             20                         THE COURT:       All right.        There's one
             21               other -- there's one other area of this
             22               particular point in the story.                That is, when
             23               she is filing her petition in Massachusetts,
             24               10 o'clock, 10:02, the Massachusetts court
             25               responded relatively quickly and, in fact, there

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              1               was a judicial order signed, I think at
              2               11 o'clock, approximately 11 o'clock, certainly
              3               well before her transport from Vermont to
              4               Louisiana, in which they said, Don't move her.
              5               They clearly expressed in a judicial order from
              6               an Article III judge a desire to maintain
              7               jurisdiction, keep her in Massachusetts.                      At
              8               that point they thought it was Massachusetts.
              9               Don't move her.
             10                         And that was filed with the parties, so
             11               the Department of Justice and ICE had notice of
             12               this ruling and this order as of -- you know, on
             13               the 25th, and yet that order had no impact.
             14                         And I'm interested to know, first of all,
             15               if ICE knew about that order.                I know that
             16               counsel made an effort to contact the lawyer for
             17               the government so I just assume that they knew
             18               of this order, and yet that seemed to have no
             19               impact upon what ultimately happened to the
             20               petitioner.
             21                         I'm wondering whether you acknowledge
             22               that you, in fact, or the government, not you
             23               particularly, but the government knew about the
             24               order in the U. S. District Court in
             25               Massachusetts and how you responded?

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              1                         MR. DRESCHER:         I don't know who learned
              2               about that order and when.              That's my threshold
              3               answer.      I just don't know.           I'm not able to
              4               speak to the factual flow of information.
              5                         My only observation, and I appreciate
              6               this is pertinent to your Honor's point but
              7               not -- it's pertinent to your Honor's point.                      My
              8               only observation is it's my -- it is my
              9               understanding that order was to not remove the
             10               petitioner from Massachusetts.
             11                         And at the time that order issued, she
             12               was already out of the District of
             13               Massachusetts, making, you know -- and so
             14               it's -- it created some complications for what
             15               to make of that order.
             16                         Now I'm speaking about that as an
             17               educated observer who's aware of that aspect of
             18               the record but, again, you know, without --
             19               without having information about who knew what
             20               and when, if there's a court order that says,
             21               you know, don't leave Burlington but you're
             22               already in Rutland, it's not clear if it's
             23               possible to comply with that court's order.
             24                         And as I understand the order your Honor
             25               is referring to, that's sort of -- that's sort

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              1               of the predicament that was existing then.
              2                         THE COURT:       Well, the spirit of the order
              3               clearly was that the Massachusetts judge, the
              4               U. S. judge in Massachusetts wanted to maintain
              5               jurisdiction on the habeas.
              6                         MR. DRESCHER:         I assuming incorrectly
              7               that -- that that court had jurisdiction under
              8               Padilla at the time the petition was filed.
              9                         The other thing I'd point out, and I know
             10               your Honor confronts this all the time in the
             11               criminal context; that it would be extremely
             12               unusual for a court to dictate to the branch of
             13               the executive, the agency of the executive
             14               branch specifically, where to house somebody
             15               who's in custody.
             16                         In the criminal case the marshal service
             17               makes those calls based upon all sorts of
             18               reasons.
             19                         In this case the record is that the folks
             20               at ICE had canvassed the available --
             21               potentially available facilities in New England.
             22               I believe this is Paragraph 6 of the Wessling
             23               declaration, Docket 19-1, I believe, and ICE had
             24               concluded there was no available bed space in
             25               New England.

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              1                         And under those circumstances, you know,
              2               they -- you know, managing bed space is a
              3               recurring issue, and --
              4                         THE COURT:       So your position is that they
              5               decided to use this rather unique proceeding,
              6               taking her to Metheun, Massachusetts, to just a
              7               really quick stop and then -- then New Hampshire
              8               and then Vermont, that was all because of lack
              9               of bed space?
             10                         And you know that there's some affidavits
             11               that were submitted by petitioner which
             12               described the available bed space in all of New
             13               England, which was contrary to what you just
             14               said.
             15                         But what you're saying is that -- is that
             16               the ICE agents in this particular case actually
             17               looked into whether there was space.                      They
             18               didn't want to treat her any differently than
             19               anybody else, but they saw that there was no
             20               space available?
             21                         MR. DRESCHER:         I don't want to talk -- I
             22               can't speak to what they wanted.
             23                         I can speak to what's in the Wessling
             24               declaration.        And my recollection of that
             25               declaration is that there was no available bed

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              1               space and that managing bed space was one of the
              2               factors that contributed to why things played
              3               out the way it did.
              4                         Now, I appreciate that there are -- that
              5               there are -- you know, in the declarations that
              6               your Honor referenced there are descriptions
              7               from immigration advocates about their
              8               familiarity with people who are in immigration
              9               detention being housed in different facilities
             10               around New England.
             11                         But as your Honor knows, at any given
             12               time the availability of bed space is a
             13               fluctuating thing; that my recollection is that
             14               there was an affidavit from an advocate or a
             15               declaration from an advocate in Maine who
             16               explained she had sort of regular information
             17               flow from one of the local jails in a county
             18               jail in Maine.         I have no reason to dispute the
             19               fact that she had access to those flows, but the
             20               fact --
             21                         THE COURT:       My memory is that she said
             22               there was 19 beds available, right?
             23                         MR. DRESCHER:         That was her assessment.
             24                         It's -- ICE's assessment was that there
             25               was no bed space available for -- based upon the

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              1               Wessling declaration.            I appreciate that, and
              2               I -- you know, ICE is going to have a
              3               perspective different than an immigration
              4               advocate in terms of communication with the
              5               jails.      I can't speak to those, but the
              6               statement of an immigration advocate about what
              7               she assesses in terms of the availability of bed
              8               space I don't think should be cause for, you
              9               know, questioning the accuracy of the
             10               declaration from the ICE official, whose job it
             11               is to manage bed space and take in all sorts of,
             12               you know, the day-to-day issues associated with
             13               that.
             14                         THE COURT:       Okay, but at least in this
             15               broad issue about whether there can be
             16               flexibility in habeas cases, and in particular
             17               in extraordinary circumstances adjustment as to
             18               the rules so that in the interest of justice
             19               cases can be filed and then adjusted, do you
             20               have any more to say on that?
             21                         MR. DRESCHER:         I think -- well, if your
             22               Honor is asking about 1631 --
             23                         THE COURT:       Right, so now we're getting
             24               into 1631.       That was the bridge to 1631.
             25                         MR. DRESCHER:         Thank you.       I'm glad I

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              1               picked up on that.
              2                         1631, the 2nd Circuit has observed that
              3               1631 does not cure defects that -- such as if
              4               something is filed out of time.                 It does cure if
              5               something is filed in the wrong court but on
              6               time.
              7                         In this case there are defects in terms
              8               of filing in the wrong court, not naming the
              9               right petitioner, and using 1631 to -- in the
             10               words, of the district judge in New Jersey, as a
             11               time machine to sort of -- to declare that the
             12               case will proceed as if it was filed somewhere
             13               else at a particular time is -- you know, is
             14               counterintuitive and I believe is contrary to
             15               the rule of Padilla.
             16                         You know, 1631 uses the verb "shall" in
             17               the interest of justice and, you know, there's
             18               no mention of 1631 in Padilla.                1631 existed at
             19               that time.
             20                         If 1631 was supposed to apply in that
             21               context, then you would have expected it to have
             22               at least come up in discussions in some fashion.
             23                         As we note in our papers, the district
             24               judge in New Jersey who accepted the transfer
             25               from the SDNY under 1631 recognizes that it's a

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              1               potentially thorny issue that -- and has
              2               certified the question of its jurisdiction as
              3               the basis for an interlocutory appeal to the
              4               3rd Circuit.
              5                         And, you know, taking another half a step
              6               back, if 1631 were allowed to fix a habeas
              7               petition any time it was filed in the wrong
              8               district, especially during the time of transit,
              9               when the petitioner is in the time of transit,
             10               courts would be engaged in -- you know, for
             11               example, when this case, when the petitioner was
             12               flying and had a stop in Atlanta, as I
             13               understand it, if the petition had been filed
             14               while -- while she was in the air would it be
             15               the Court's job to figure out what state she was
             16               over at that point?
             17                         Or if she was going through, you know,
             18               the Hartsfield Airport, does that mean that
             19               Massachusetts could have conveyed it,
             20               transferred it to -- it creates a host of
             21               problems and basically, you know, undermines the
             22               reason for the Supreme Court's attention to the
             23               immediate custodian rule in Padilla.
             24                         THE COURT:       But isn't that an argument
             25               for the opposite of the point that you want to

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              1               make?
              2                         That's an argument for flexibility.
              3               That's an argument for a person, let's say who's
              4               in transition.         You don't know where they are
              5               and, quite frankly -- well, you know, a person
              6               is in transition.           You don't know exactly what
              7               jurisdiction would be the final call, but you
              8               know that if a person is in a particular place,
              9               at that particular place they got a right to
             10               file a habeas.
             11                         And then it's fair to say, I mean, I can
             12               think of probably many cases in which people
             13               have filed habeas in Vermont and the case is
             14               then transferred to the appropriate jurisdiction
             15               in the interest of justice, assuming it's in the
             16               interest of justice.            And, you know, that
             17               happens quite regularly.
             18                         People file in the wrong place and, as a
             19               result, it's moved over to the place in which it
             20               should be filed.          And it's never been a big
             21               deal, frankly.         And you're suggesting that it's
             22               not appropriate here and --
             23                         MR. DRESCHER:         I'm suggesting that, you
             24               know, that what is known to petitioner's counsel
             25               at the time the original petition files and

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              1               petitioner's counsel making her best effort to
              2               file it in the place of confinement, Footnote 17
              3               of Padilla makes clear that that doesn't matter
              4               for purposes of habeas jurisdiction.
              5                         THE COURT:       Okay.
              6                         MR. DRESCHER:         If your Honor has any
              7               other questions, I'll try to field them.
              8               Otherwise, I'll sit down.
              9                         THE COURT:       Okay.     All right.
             10                         Who's going to argue on behalf -- well,
             11               we've been going for an hour.                How about if we
             12               take a fifteen-minute recess, and then you can
             13               figure out who's going to argue first.
             14                         Okay.
             15                         THE CLERK:       All rise.
             16                         (A recess was taken from 10:31 a.m. to
             17               10:49 a.m.)
             18                         THE COURT:       Good morning.
             19                         MS. ZAFAR:       Good morning, your Honor.
             20               Noor Zafar for Petitioner Rumeysa Ozturk, and
             21               I'll be addressing the INA judicial bars.
             22                         I'd like to make three points with
             23               respect to the bars.
             24                         First is clarify the nature of the relief
             25               that we're seeking today.              Second is to explain

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              1               why the petition for review process is an
              2               inadequate substitute for this Court's habeas
              3               review.      And then, finally, just to note for the
              4               record that Ms. Ozturk did, in fact, submit a
              5               bond application this morning but, regardless,
              6               the Court does not need to wait for that process
              7               to play out because exhaustion here would
              8               largely be futile.
              9                         THE COURT:       She has filed a bond
             10               request --
             11                         MS. ZAFAR:       Correct.
             12                         THE COURT:       -- in Louisiana?
             13                         MS. ZAFAR:       Correct, as of this morning.
             14                         So first with respect to the relief that
             15               we're seeking.         What Ms. Ozturk seeks here is
             16               relief from unlawful detention.                 Her claim
             17               arises from detention, not from her removal
             18               proceedings.
             19                         THE COURT:       Okay, so let me ask you about
             20               the remedy that you're seeking.                 You're arguing
             21               that based upon the constitutional violations,
             22               the First and Fifth Amendment violations in
             23               particular you're arguing happened, you're
             24               arguing for release on this particular petition?
             25                         MS. ZAFAR:       Correct, your Honor.

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              1                         THE COURT:       So is she being held on this
              2               order, or is she being held on the order of the
              3               immigration court?
              4                         MS. ZAFAR:       She's being held -- our
              5               argument is that she's being held in retaliation
              6               for her speech.          And so we're not -- we're not
              7               contesting the general authority that the
              8               government has to detain people pending removal.
              9               We're not challenging that discretion.
             10                         THE COURT:       Okay, so you take a look at
             11               1226(e).       The issue of detention is delegated to
             12               the immigration authorities, and the argument
             13               that Mr. Drescher is making is that immigration
             14               has decided she should be detained for the
             15               removal proceedings.
             16                         Now, you are arguing that her detention
             17               violated the First and the Fifth Amendment?
             18                         MS. ZAFAR:       Correct.
             19                         THE COURT:       And the remedy that you're
             20               seeking is release from detention.
             21                         And my question is if the Court released
             22               her from detention on her habeas petition, does
             23               that have any impact on her detention which has
             24               been ordered by the Immigration and
             25               Naturalization Act by ICE?

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              1                         In other words, they could very well
              2               say -- and obviously we were addressing that
              3               question.       They could very well say you have no
              4               authority to tell ICE that they can release her
              5               in the removal proceedings.
              6                         MS. ZAFAR:       So that, your Honor, simply
              7               conflicts with established Supreme Court law and
              8               the law of the Circuit which makes clear that
              9               when a petitioner is challenging the legal basis
             10               for their detention, which is what Ms. Ozturk is
             11               doing here; she's saying that the government
             12               does not have any legal authority to detain
             13               people in retaliation for their speech.                      When
             14               the question is of what is executive's legal
             15               authority, that is something that this Court has
             16               jurisdiction to review, and that's been made
             17               clear, again through Supreme Court case law and
             18               through case law in the 2nd Circuit and other
             19               courts in this district.
             20                         THE COURT:       Okay.     So you say case law in
             21               which the granting of the habeas petition
             22               resulted in the release of a defendant -- I mean
             23               of a petitioner who is, in fact, in removal
             24               proceedings?
             25                         In other words, something directly on

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              1               point.      That is, if the Court finds habeas
              2               violation, violation of the First and the Fifth
              3               Amendment, I'm going to order her release, do
              4               you have precedent to say that order ordering
              5               her release would then impact the ICE
              6               authorities in the removal proceedings?
              7                         MS. ZAFAR:       So, your Honor, the
              8               government sites the Delgado case, which there
              9               the Court -- so there it was not a detention
             10               habeas, but basically the principal that was
             11               articulated in Delgado was that the relief that
             12               the petitioner was seeking there, if it were
             13               granted, would directly result in the
             14               nullification of removal proceedings.                     That's
             15               not what we have here.
             16                         If the Court grants release here, her
             17               removal proceedings will proceed as they are and
             18               there would be no impact on that.                  So the
             19               detention claim is really collateral to and
             20               independent of the removal proceedings that are
             21               happening.
             22                         THE COURT:       Okay, so let's assume that
             23               she is released here on this habeas petition.
             24               She's no longer in ICE custody.                 She's released.
             25                         Does the proceeding continue?

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              1                         MS. ZAFAR:       Yes, the proceeding continues
              2               because the release order would have no bearing
              3               on whether her removal proceedings are lawful.
              4                         THE COURT:       Okay, so the removal
              5               proceedings would continue.               I assume she would
              6               appear virtually?
              7                         MS. ZAFAR:       Yes.     She could appear
              8               virtually, yes.
              9                         THE COURT:       Okay.     What about the impact
             10               on detention?
             11                         When you look at the INA, which basically
             12               says the Court should not -- it has no
             13               jurisdiction over detention in a removal kind of
             14               setting, doesn't this suggest that there is some
             15               impact on detention?
             16                         That's the detention order made by ICE?
             17                         MS. ZAFAR:       There would be impact
             18               generally if we're talking about the
             19               discretionary decision to detain pending
             20               removal.       But where -- our claim is not with
             21               respect to the discretion to generally detain.
             22               It's about the legal authority to detain in the
             23               first place.
             24                         THE COURT:       Okay, but still that's going
             25               to impact their discretionary decision on

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              1               detention, is it not?
              2                         MS. ZAFAR:       It will, but -- but the
              3               courts have recognized that when it comes to
              4               unlawful detention, the Court, the District
              5               Court has habeas jurisdiction to review that.
              6                         THE COURT:       Okay, so what you're saying
              7               is that when you have habeas jurisdiction and
              8               you rule that there's a constitutional violation
              9               in the beginning of the prosecution, the
             10               beginning of the removal proceedings, that is
             11               there's a violation of the constitutional right,
             12               that person cannot be held so there is going to
             13               be impact upon the ability of ICE agents to
             14               order detention?
             15                         MS. ZAFAR:       There will be an impact on
             16               their ability to order detention but not to
             17               carry out removal.
             18                         THE COURT:       How about discretion?
             19                         How about when the INA says, oh, that
             20               they have discretion or they have the ability to
             21               make decisions which are discretionary and those
             22               are to be upheld and not reversed by courts,
             23               does that impact your argument?
             24                         MS. ZAFAR:       Well, your Honor, there's no
             25               discretion to violate the Constitution so,

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              1               again, we're not talking about a discretionary
              2               decision here.
              3                         THE COURT:       Well, there is a
              4               discretionary decision in regard to detention.
              5               And in the removal proceeding when they make the
              6               discretionary decision about detention, that
              7               isn't necessarily violating the Constitution.
              8                         The Constitution was violated well before
              9               when -- at the very beginning of the process.
             10                         So does that constitutional violation
             11               continue?
             12                         MS. ZAFAR:       Yes, your Honor, and I can
             13               point the Court to a case that we cite from the
             14               Southern District of New York, the Michalski
             15               case, and there the petitioner brought a similar
             16               challenge in that he was challenging the initial
             17               legal authority for ICE to detain him.
             18                         And the government raised similar
             19               jurisdictional bars about why the INA would
             20               strip the District Court of habeas jurisdiction,
             21               and the Court found that because the petitioner
             22               was challenging not a discretion decision to
             23               detain pending removal but the very legal
             24               authority and basis for his detention in the
             25               first place, that the INA did not strip habeas

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              1               review.
              2                         So really the distinction comes down to
              3               whether there's a challenge to a discretionary
              4               action, which is not what we have here, or if
              5               there's a challenge to the executive legal
              6               authority to carry out certain actions.
              7                         THE COURT:       But that sort of turns the
              8               argument on its head because then they're likely
              9               to say, the government may very well be likely
             10               to say the Court made a decision about habeas,
             11               about the beginning of the process but, in fact,
             12               the reason that she's being held right now is
             13               because of the detention order in the removal
             14               proceedings that was made by the IJ or, you
             15               know, by ICE.
             16                         There, that's the decision that is
             17               holding her right now, and you are acknowledging
             18               that this Court has nothing to do with that
             19               decision, is not reversing that decision.
             20                         So does that give them the ability to say
             21               you haven't overruled our decision, our
             22               discretionary decision about detention and,
             23               therefore, that ruling is in effect?
             24                         MS. ZAFAR:       Your Honor, I would just
             25               again reiterate that we're not challenging a

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              1               discretionary decision here.               We're really
              2               challenging ICE's authority to detain.
              3                         And I'll just note that in the typical
              4               visa revocation, ICE does not detain.                     Usually
              5               those -- in those cases there's no detention,
              6               and there's frequently not even a removal order.
              7                         What we have here is really extraordinary
              8               circumstances where a decision was made by ICE,
              9               not by the IJ, by ICE to detain her in
             10               retaliation for her speech.
             11                         THE COURT:       Okay.     All right.
             12                         MS. ZAFAR:       And then just to move to the
             13               second point about why a petition for review
             14               would be inadequate substitute for -- for this
             15               Court's habeas review, so in Jennings the Court
             16               made clear that when the channeling provision at
             17               1252(b)(9) would essentially result in a court
             18               not being able to provide meaningful relief,
             19               that channeling is not appropriate and the
             20               District Court has habeas jurisdiction.
             21                         And the 3rd Circuit and the 1st Circuit
             22               have sort of distilled that principal into a
             23               now-or-never principal, which basically says
             24               that if waiting for the PFR process to play out
             25               would preclude effective relief, then District

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              1               Court review is available.
              2                         And here we have the sort of prototypical
              3               now-or-never claim.           We have, one, the
              4               irreparable harm from her detention but then, in
              5               addition to that, we also have the harm to her
              6               speech.      Every minute that she's detained her
              7               speech is being chilled, and that's why review
              8               from this Court and relief from this Court is so
              9               important.
             10                         Secondly, there are some built-in
             11               limitations to the nature of the review that
             12               could take place in the immigration courts.
             13                         So, first of all, the immigration judge
             14               and the BIA are not empowered to consider
             15               constitutional claims, which is exactly what we
             16               have here.       We're challenging the
             17               constitutionality of her detention, but the IJ
             18               and the BIA simply would not have the power to
             19               consider those claims as part of her removal
             20               proceedings.
             21                         And then, in addition to that --
             22                         THE COURT:       I mean, they can never
             23               consider constitutional issues and at least as a
             24               part of their review?
             25                         MS. ZAFAR:       No, your Honor, they're not

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              1               empowered to consider constitutional claims.
              2               Their review is limited to whether the charge of
              3               removability has been met.
              4                         And here the government says she's
              5               removable because her visa was revoked, so
              6               their -- the scope of their review would be
              7               limited to that question.
              8                         But, of course, we say that there are
              9               constitutional questions implicated in that, but
             10               those constitutional questions are not something
             11               that the immigration judge or the Board of
             12               Appeals would be empowered to consider.
             13                         THE COURT:       Okay.
             14                         MS. ZAFAR:       And then, finally, the
             15               ability of the IJ and the BIA to create a
             16               factual record, an evidentiary record is also
             17               very limited.         So there's limited authority to
             18               call witnesses and to issue subpoenas.
             19                         And, again, that would really have an
             20               impact on, once the ruling actually gets up to
             21               the Court of Appeals which can review the
             22               constitutional issues in the first instance, the
             23               record developed would be largely inadequate for
             24               a robust review of the constitutional issues.
             25                         THE COURT:       Well, what about the

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              1               requirement that they notice you, notice the
              2               petitioner or notice you in a removal proceeding
              3               about the nature of the charges?
              4                         About what evidence they have to bring
              5               the petition and to seek removal.                  Do you have a
              6               right to a full disclosure of what they are
              7               alleging?
              8                         MS. ZAFAR:       Yes.     I mean, they can submit
              9               their evidence and the petitioner has some time
             10               to review that but, you know, I would like to
             11               sort of refer to a recent example of a case that
             12               I think has a lot of parallels with Ms. Ozturk's
             13               case, and that was the case of Mahmoud Khalil,
             14               who just had his merits removability hearing on
             15               Friday.
             16                         And there the government presented its
             17               evidence, and the petitioner was given 48 hours
             18               to review and respond to that evidence, which of
             19               course is inadequate.
             20                         And there were other, you know, defects
             21               with that proceeding that I can get into, but
             22               just because the government presents its
             23               evidence does not mean that the petitioner will
             24               get an adequate time to review and respond.
             25                         And I'll just note in that case the

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              1               petitioner made several evidentiary requests,
              2               all of which were denied.              So there really is a
              3               concern that if these claims were to be raised
              4               exclusively in the PFR process, that petitioner
              5               would not get a robust and meaningful hearing of
              6               her claims.
              7                         THE COURT:       All right.        So what is the
              8               evidence that has been disclosed to you about
              9               the basis of the government's request for
             10               removal?
             11                         MS. ZAFAR:       Well --
             12                         THE COURT:       Is it just the article?
             13                         MS. ZAFAR:       To this point, and I am not
             14               working on the immigration proceeding so I don't
             15               want to speak to something I don't have direct
             16               knowledge of, but at this point the only thing
             17               that's happened is that Ms. Ozturk's master
             18               calendar hearing has been scheduled for this
             19               Wednesday.       And that's the hearing where the
             20               petitioner and the government will determine a
             21               schedule and sort of how to proceed with the
             22               actual merits hearing.             So so far there hasn't
             23               been evidence submitted by the government.
             24                         THE COURT:       Well, there was a submission
             25               that you filed with the Court on Friday

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              1               indicating that really the basis of this claim
              2               is all within the Tufts article and that there
              3               was no other evidence of your client engaging in
              4               anti-Semitism or advocacy for terrorists groups,
              5               right?
              6                         There's no evidence of that?
              7                         MS. ZAFAR:       Correct.       Correct.
              8                         THE COURT:       Is that -- have you been told
              9               that?
             10                         Is that what the government's position
             11               is?
             12                         MS. ZAFAR:       As far as -- as far as I know
             13               that is the entirety of the government's case,
             14               is that she is -- her visa was revoked, and
             15               she's been detained because she co-authored an
             16               op-ed in her school newspaper.
             17                         THE COURT:       And that's it?
             18                         MS. ZAFAR:       As far as we know.             The
             19               government has not presented any additional
             20               evidence.
             21                         THE COURT:       And do you anticipate that
             22               any additional evidence or claims to be made by
             23               the government would be filed on Wednesday?
             24                         MS. ZAFAR:       It's possible.         I'm not sure
             25               if the government would submit evidence on

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              1               Wednesday.       You know, it could introduce
              2               additional charges for removability, but at
              3               least -- I mean, so far we don't have any
              4               evidence from the government except for that one
              5               State Department memo.
              6                         THE COURT:       Thank you.
              7                         MS. ZAFAR:       And then, finally, I just
              8               want to turn to the bond hearing process and why
              9               this Court does not need to wait for that
             10               process to play out before ordering relief here.
             11                         So, first of all, exhaustion here is not
             12               a statutory or regulatory requirement.                     It's
             13               purely production, and it would be futile for a
             14               couple of reasons.
             15                         So, first, as I mentioned, the IJ and BIA
             16               is only limited to considering whether she's a
             17               flight risk or danger in the context of a bond
             18               hearing.       They cannot consider any of the
             19               constitutional claims that we are bringing with
             20               respect to her detention.
             21                         Secondly, even if she were released on
             22               bond, that would not remedy the First Amendment
             23               harms here because the government under the
             24               relevant regulations has wide-ranging discretion
             25               to re-detain her, including if she wrote another

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              1               op-ed that the government disagreed with.                      So
              2               release on bond would not be a sort of
              3               meaningful remedy because she could easily be
              4               re-detained.
              5                         And then, finally, even if bond were
              6               granted, the government can appeal it to the BIA
              7               but, more importantly, it can also obtain an
              8               automatic stay, which would stay the decision to
              9               release her on bond from at least 90 days up to
             10               almost 200 days.
             11                         And, of course, during this whole time
             12               Ms. Ozturk would be detained and the irreparable
             13               harm, detention, and the chilling of her speech
             14               would be accruing.
             15                         So, you know, for these reasons we don't
             16               think it's appropriate for this Court to wait
             17               for that process to play out because it doesn't
             18               offer a meaningful remedy.
             19                         THE COURT:       Okay.     All right.
             20                         MS. ZAFAR:       Thank you, your Honor.
             21                         THE COURT:       Okay.
             22                         Okay, who's next?
             23                         (Ms. Lafaille approached the podium.)
             24                         THE COURT:       Good morning.
             25                         MS. LAFAILLE:         Good morning, your Honor,

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              1               I'm Adriana Lafaille.            I'm here to speak to the
              2               venue, habeas jurisdiction issues.
              3                         THE COURT:       Okay.
              4                         MS. LAFAILLE:         As your Honor pointed out,
              5               habeas is a flexible and equitable remedy.                      And
              6               every case that the government has cited and
              7               that's in the party's papers demonstrates over
              8               and over again that although there are ordinary
              9               rules, the ordinary rules bend to ensure the
             10               availability of The Great Writ, that sacred
             11               remedy of habeas corpus.              This case falls
             12               squarely within the letter of 1631.
             13                         The District Court determined that
             14               jurisdiction was wanting, transferred it to the
             15               Court in which the action could have been
             16               brought, and now this action must proceed as if
             17               it had been filed in this Court at 10:02 p.m. on
             18               March 25th at a time when the petitioner,
             19               Ms. Ozturk, was unquestionably in this district.
             20                         THE COURT:       And she was in a vehicle; is
             21               that correct?
             22                         Am I right about the facts there?
             23                         MS. LAFAILLE:         Correct, your Honor.            Yes,
             24               that's what we understand from the government's
             25               declaration.

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              1                         THE COURT:       And who would you think would
              2               be the immediate custodian of her at that
              3               moment?
              4                         MS. LAFAILLE:         So we think we've named
              5               the immediate custodian.              We think it's Patricia
              6               Hyde, the field officer/director for the New
              7               England region.
              8                         This is a petition case where the
              9               government has said over and over again "not
             10               that custodian" but they refuse to say, well,
             11               then who is the custodian that they will
             12               acknowledge as correct.
             13                         It falls -- you know, if anything, if not
             14               Ms. Hyde then, of course, this case has to fall
             15               squarely within the unknown custodian exception,
             16               because the custodian appears so unknown that it
             17               cannot even be named by government counsel in
             18               this proceeding.
             19                         THE COURT:       And what does the unknown
             20               custodian exception say?
             21                         MS. LAFAILLE:         That exception allows a
             22               case to be brought against supervisory officials
             23               when the custodian is unknown.
             24                         THE COURT:       All right.        So if the
             25               custodian is not known and it's without fault of

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              1               the petitioner, then the fallback or default
              2               position would be, in fact, to sue or to name
              3               the Attorney General, the head of ICE, some
              4               removed official because you can't figure out
              5               who is the immediate custodian, and has that
              6               been established in precedent?
              7                         MS. LAFAILLE:         Yes, your Honor, and here
              8               we've named all of those individuals of the
              9               chain from the local district director, Patricia
             10               Hyde, to the DHS secretary, who might be thought
             11               of as the ultimate legal custodian here.
             12                         So the custodian has been named either
             13               because the custodian -- either because Patricia
             14               Hyde is the immediate custodian or because the
             15               immediate custodian is someone else, and these
             16               principals have to be allowed to bend to allow
             17               us to amend in that person and to require the
             18               government to tell us who that person even is.
             19                         THE COURT:       And the Court would have the
             20               authority to open up the pleadings to let you
             21               amend the pleadings when you, in fact, have
             22               identified the immediate custodian; is that
             23               right?
             24                         MS. LAFAILLE:         Yes, your Honor.           That
             25               would be replacement of the -- adding immediate

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              1               custodian would be standard, is the kind of
              2               thing that's done routinely in habeas cases.
              3                         THE COURT:       Okay, so I want to ask you a
              4               little bit about the facts.
              5                         MS. LAFAILLE:         Yes, your Honor.
              6                         THE COURT:       So the filing was at 10:02,
              7               and your pleadings have said that you didn't
              8               know where she was; that what efforts were made
              9               to contact the government, and can you just
             10               describe what efforts were made prior to 10:02
             11               to identify the district of detention and the
             12               immediate custodian?
             13                         MS. LAFAILLE:         So, your Honor, the -- and
             14               I'll refer the Court to the declaration of Mahsa
             15               Khanbabai, the attorney who filed the habeas
             16               case.
             17                         Attorney Mahsa Khanbabai was calling ICE
             18               multiple times during the course of those -- of
             19               those -- of that day beginning on the March 25th
             20               and continuing into March 26th.
             21                         THE COURT:       Well, she was taken into
             22               custody about 5:30.           So between 5:30 and 10:00
             23               he was making constant contact with ICE?
             24                         MS. LAFAILLE:         Your Honor, I'm not sure
             25               about that point.           I'll have to clarify that

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              1               with Attorney Khanbabai.
              2                         There were continuous efforts to locate
              3               Ms. Ozturk, but there was no reason to think
              4               that so quickly after her arrest that she might
              5               be outside the jurisdiction other than the
              6               practice in, your Honor, the Khalil case to
              7               transfer quickly.
              8                         THE COURT:       Okay, but then there was a
              9               judicial order, was there not?
             10                         MS. LAFAILLE:         Correct, your Honor.
             11                         THE COURT:       So tell me about that.              What
             12               happened there?
             13                         MS. LAFAILLE:         And that is one of the
             14               features of this that I find most troubling.
             15                         There was a judicial order close to
             16               11 o'clock, which was transmitted to counsel for
             17               the government, and --
             18                         THE COURT:       How was that done?
             19                         MS. LAFAILLE:         Through the emergency
             20               clerk.
             21                         This is -- so the clerk informed Attorney
             22               Khanbabai that they had let the United States
             23               Office know about the petition and the -- they
             24               were sent, also, the order.
             25                         Now, we discussed this order at length in

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              1               our proceedings in the District Court of
              2               Massachusetts.         Not once has the government come
              3               forward to say we didn't receive the order in
              4               time; we didn't know about the order.
              5                         What the government has said was, well,
              6               the order was issued after she was out of
              7               Massachusetts.         Mr. Drescher just said, you
              8               know, complications or what to make of that
              9               order would arise at that point because she was
             10               no longer in Massachusetts.               And, you know,
             11               Mr. Drescher was being not clear if it was
             12               possible to comply at that point.
             13                         And the government receiving an order
             14               from a court to keep someone in Massachusetts
             15               when that person has already crossed state lines
             16               into Vermont has a couple of choices.                     One might
             17               be to bring petitioner back to Massachusetts to
             18               be in conformity with the order.
             19                         Another might be to seek clarification
             20               from the Court and say actually this person is
             21               outside of Massachusetts.
             22                         But the purpose of the order was very
             23               clear, and it was to preserve the status quo.
             24               And that phrase is in the order itself.
             25                         And the government having received --

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              1                         THE COURT:       It was to preserve the status
              2               quo for the habeas petition --
              3                         MS. LAFAILLE:         Correct, your Honor.
              4                         THE COURT:       -- which had been filed in
              5               Massachusetts?
              6                         MS. LAFAILLE:         Yes.
              7                         THE COURT:       So the judge then ordered
              8               that she was not to be removed from
              9               Massachusetts.
             10                         So how do you address the argument that
             11               the government is making that she's already
             12               outside the state and this is an order which is,
             13               I guess, impossible to comply with?
             14                         MS. LAFAILLE:         General -- generally the
             15               order is intended, and there's law in the 2nd
             16               Circuit about violation not just of the letter
             17               but of the spirit of the order.
             18                         THE COURT:       So where is that in case law?
             19                         MS. LAFAILLE:         I'd have to get your Honor
             20               the cite.       I don't have it right with me.
             21                         THE COURT:       Okay.     So in the immigration
             22               context there is case law to suggest that in
             23               this kind of situation the government is on the
             24               obligation to say the spirit of this order, in
             25               addition to the letter of the order, requires

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              1               this person not to be moved?
              2                         Is that --
              3                         MS. LAFAILLE:         It's not so specific as
              4               that, your Honor.           There's case law about
              5               following the compliance with the spirit of the
              6               order, not just the letter of the order, but --
              7                         THE COURT:       So what is the remedy that
              8               you seek for a violation of that order?
              9                         MS. LAFAILLE:         My point here is that this
             10               is one of the factors that goes to these
             11               equitable considerations that we were talking
             12               about when we think about the habeas
             13               jurisdiction issues that have been brought up
             14               here.
             15                         This is a case in which someone has been
             16               locked up for writing an op-ed, grabbed off the
             17               street in, you know, something that should
             18               really shake all Americans, and we're almost
             19               three weeks into her custody with every judge
             20               that has touched this case moving as
             21               expeditiously as possible.              And, you know, still
             22               Ms. Ozturk is -- you know, still has not, until
             23               today, had the opportunity to have the merits of
             24               her case presented to a federal court.
             25                         THE COURT:       Well, I'm interested in your

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              1               request to have her transferred back to this
              2               district.
              3                         You make this argument that -- almost a
              4               totality of circumstances argument.                  That is,
              5               because you have such a strong case and because
              6               of the circumstances of this situation where
              7               there was only one article and that was an
              8               article which, according to you, basically was
              9               critical most of the authorities at Tufts
             10               University, and those combination of factors,
             11               together with the fact that you need to have her
             12               here to prepare for your trial or your hearing
             13               warrant her being moved.
             14                         I guess my question is if you argued that
             15               there was a judicial order that she not be
             16               removed, and at least a part of your solution
             17               would be to enforce that order?
             18                         MS. LAFAILLE:         Yes, your Honor, and in
             19               the first -- my colleague, Jessie Rossman, can
             20               speak to the bail and transfer issues.                     In
             21               the --
             22                         THE COURT:       All right.
             23                         MS. LAFAILLE:         In the first instance we
             24               asked for her to be released.                Only as an
             25               alternative to that would we propose that she be

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              1               brought back to Vermont.
              2                         But with regards to the question of
              3               habeas jurisdiction, I think the conduct of the
              4               government with regards to the order as well as
              5               the very peculiar manner, to put it mildly, in
              6               which the government handled her movements that
              7               evening certainly warrant exercise of this
              8               Court's habeas jurisdiction.               It's within the
              9               equitable powers of the Court, the flexible
             10               nature of the habeas remedy.
             11                         THE COURT:       So are you relying upon the
             12               Kennedy concurring opinion or --
             13                         MS. LAFAILLE:         I'm not relying on -- I
             14               think those -- we could allow them, but that's
             15               not my primary basis, your Honor.
             16                         THE COURT:       You don't need to rely on the
             17               Kennedy --
             18                         MS. LAFAILLE:         We don't.       We don't, your
             19               Honor.
             20                         THE COURT:       Kennedy requires -- and
             21               Justice O'Connor was concurring as well, and
             22               that requires essentially an onus on you that
             23               the government did this as a, sort of an
             24               intentional way of trying to subvert your
             25               ability to file habeas petition, right?

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              1                         That's essentially what Justice Kennedy
              2               said, and that has not been adopted by other
              3               courts.      It hasn't been rejected either, but
              4               you're not relying upon that.                You're just
              5               relying upon the exceptional circumstances of
              6               this situation, right?
              7                         Is that right?
              8                         MS. LAFAILLE:         Yes, your Honor.
              9               Primarily we're relying on 1631 to say that this
             10               is a case that could have been brought in New
             11               Hampshire -- excuse me, in Vermont at the time
             12               it was filed.
             13                         THE COURT:       You're in Vermont now.              I
             14               appreciate -- yeah, you're in Vermont.
             15                         MS. LAFAILLE:         Thank you, your Honor.
             16                         Obviously our client undertook a
             17               multistate journey that night, but this was a
             18               case that could have been brought in Vermont
             19               and, therefore, straight under the letter of
             20               1631 this case has been properly transferred
             21               here and now should be treated as if filed in
             22               Vermont on that night.             So that's our primary
             23               basis.
             24                         And then Endo, the Supreme Court's
             25               decision in Endo talks about the government not

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              1               being able to defeat habeas jurisdiction from
              2               subsequent movements after the filing of a
              3               habeas petition.
              4                         THE COURT:       Okay, so once habeas is
              5               established in Vermont, according to your
              6               argument, then the transfer to the south would
              7               be irrelevant because you can't transfer
              8               jurisdiction.
              9                         So the fact that she's in Louisiana now
             10               does not defeat the jurisdiction, which is
             11               already established in Vermont under the Endo
             12               rule; is that right?
             13                         MS. LAFAILLE:         Correct, your Honor.
             14               Correct, your Honor.            And that rule is one --
             15                         THE COURT:       That was 1934, and you know
             16               that's still in -- still being credited?
             17                         MS. LAFAILLE:         It is, and it was
             18               referenced in Padilla, of course, as one of the
             19               bedrock exceptions to the ordinary rule that you
             20               sue where the immediate custodian, the
             21               jurisdiction of confinement.
             22                         Of course, if the person has been moved
             23               during the pendency of the habeas then you're no
             24               longer in the jurisdiction of confinement, but
             25               that doesn't matter as long as the habeas was

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              1               filed, or in this case was treated as if filed,
              2               in the jurisdiction of confinement at the time
              3               of the filing.
              4                         So that -- that's our, the primary thing
              5               we're relying on.           And, you know, the only
              6               defect that the government can attach here is
              7               that the custodian theoretically wasn't named.
              8               And that's where I'd point to the flexible
              9               nature of these remedies and the fact that, you
             10               know, to this day the government has not even
             11               said who the appropriate custodian is that could
             12               be named.
             13                         It's difficult to fault -- to fault
             14               Ms. Ozturk for not naming someone that the
             15               government themselves has not been able to name.
             16               And to suggest that because of that this
             17               petition should be dismissed and have to be
             18               re-filed really runs counter to the weight of
             19               all of this law that says the habeas remedy must
             20               be preserved.
             21                         And even though we have these basic rules
             22               for the general case, we have to bend them when
             23               her unknown custodians -- when the government is
             24               doing things that make it difficult for the
             25               ordinary rules to be followed.

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              1                         THE COURT:       Okay.
              2                         MS. LAFAILLE:         Thank you, your Honor.
              3                         THE COURT:       All right.        And you have a
              4               third presenter?
              5                         (Ms. Rossman approached the podium.)
              6                         THE COURT:       Is it Ms. Rossman?
              7                         MS. ROSSMAN:        Yes.
              8                         THE COURT:       And you're going to be
              9               addressing the release or transfer?
             10                         MS. ROSSMAN:        Yes, your Honor, both
             11               release and transfer.
             12                         THE COURT:       Okay, so the argument in
             13               regard to the motion to dismiss is then --
             14                         MS. ROSSMAN:        That is correct, your
             15               Honor, so I didn't know --
             16                         THE COURT:       So now we're going to go into
             17               the request that you are making for her release
             18               or, alternatively, for transfer to this
             19               jurisdiction?
             20                         MS. ROSSMAN:        That's right, your Honor,
             21               and I wasn't sure if you wanted Attorney
             22               Drescher to address any response to them, or I
             23               can move directly into release and return.
             24                         THE COURT:       I think you can move directly
             25               into it, and then we can give Attorney Drescher

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              1               a response to the motion to dismiss and also a
              2               response to your argument.
              3                         MS. ROSSMAN:        Thank you, your Honor.
              4                         As numerous declarations in this record
              5               make clear, this is not a case of ordinary
              6               immigration enforcement.              And I know there's
              7               been a lot of discussion today about the
              8               discretion that the government has, in
              9               particular components of immigration
             10               re-enforcement, but there is not discretion,
             11               even within immigration law, for the government
             12               to violate the Constitution.
             13                         And it's not unusual even outside of the
             14               immigration context to have situations where an
             15               individual has discretion; for example, at-will
             16               employment, but that discretion is confined by
             17               constitutional limitations.               You can't fire
             18               someone for an unconstitutional reason.
             19                         And the 2nd Circuit has similarly said in
             20               the Velasco Lopez decision, recognizing the
             21               government power, that there are important
             22               constitutional limitations on that discretion.
             23                         So in this instance -- and Velasco Lopez,
             24               I should say, excuse me, your Honor, goes on to
             25               say that the discretion to detain is confined by

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              1               the legitimate purposes which can be for flight
              2               or for a finding of dangerousness.
              3                         And the 2nd Circuit has also said, even
              4               outside of the context of the immigration, again
              5               that it's almost a tautology to say that federal
              6               agencies can't have the discretion to violate
              7               the Constitution.           And that's both at the
              8               Bates vs. Town of Cavendish case that we have
              9               cited in our brief, your Honor, as well as the
             10               Myers & Myers decision.
             11                         So here at every step along the way what
             12               has been made clear is the government's actions
             13               was not an appropriate exercise of discretion
             14               but actually is an unlawful use of the
             15               immigration law as a cudgel to punish the
             16               petitioner, Ms. Ozturk, and to also send a clear
             17               message to all other noncitizens in this country
             18               that if you express opinions that the government
             19               disagrees with, you will be punished.
             20                         THE COURT:       But see the problem with your
             21               argument is that you fuse the -- you fuse
             22               addressing the constitutional issue at the
             23               beginning, that is the First and Fifth Amendment
             24               claims that you have suggesting that the
             25               detention is inappropriate, to then how the

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              1               removal proceeding is going along, is
              2               proceeding.
              3                         I thought that your argument was you're
              4               not dealing with that; that the question as to
              5               whether the proceeding should involve various
              6               aspects is within the discretion of ICE.
              7                         Technically there is an ability to
              8               address detention or non-detention in the
              9               removal proceedings.            But those are separate and
             10               apart so that when you get into the arguments
             11               about how she's being treated at this particular
             12               point during the removal proceedings, that's not
             13               relevant to your argument about the
             14               constitutional violation in your habeas
             15               proceeding, is it?
             16                         MS. ROSSMAN:        The continued detention of
             17               Ms. Ozturk right now is relevant to our
             18               constitutional argument that we're making within
             19               habeas.
             20                         Your Honor is correct that that's
             21               separate and apart from the removal proceedings,
             22               and you had asked earlier about an indication
             23               when there -- is there case law to look to where
             24               there's a habeas that's been considered at the
             25               same time that removal proceedings have been

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              1               ongoing.       Because I understand we've
              2               already spoken about Ragbir, but that was a
              3               slightly different procedural posture.
              4                         I would point your Honor's attention to
              5               the Bello-Reyes case, your Honor.                  That was out
              6               of the 9th Circuit, and in that instance there
              7               were ongoing removal proceedings and at the same
              8               time the Court went through and addressed the
              9               arguments that the continued detention during
             10               those removal proceedings violated the First
             11               Amendment and found that habeas could be granted
             12               under those circumstances.
             13                         Now, in that instance the Court remanded
             14               to the District Court to apply the appropriate
             15               determination of retaliation, but explicitly at
             16               Footnote 4 the 9th Circuit said this is not
             17               about other instances where people have brought
             18               cases that are getting into the removal
             19               proceedings.
             20                         Quite to the contrary, Mr. Bello-Reyes is
             21               continuing on his removal proceedings right now,
             22               and his seeking of a habeas petition on the
             23               constitutional matter of his continued detention
             24               is separate and apart.
             25                         So that was an instance where the Court

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              1               has recognized when there are constitutional
              2               matters at issue and specifically with respect
              3               to the First Amendment like we have at issue
              4               here, we can have a separate removal
              5               consideration and that does not constrain the
              6               Article III judge's ability to issue a habeas,
              7               which is what really necessary here.
              8                         THE COURT:       Okay, so let's talk about the
              9               process of release ever making -- for the Court
             10               making a determination of release into the
             11               community.
             12                         The standard way judges address issues of
             13               release is to have a hearing, have a full bail
             14               hearing, and at that full bail hearing have a
             15               number of things addressed.               Where is she going
             16               to live?       What's she going to do for work?                 As
             17               well as issues of dangerousness and risk of
             18               flight.
             19                         And ordinarily in this bail hearing you
             20               provide the ability for both sides to introduce
             21               evidence about those conditions which would
             22               assure her non-flight and ensure against
             23               dangerousness to the community.
             24                         And the government would have the ability
             25               to introduce evidence to reflect the fact that

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              1               she would be a danger to leave or a danger to
              2               the community.
              3                         Ordinarily a bail -- in a bail hearing
              4               probation officers have checked out where a
              5               person lives, have checked out their resources,
              6               have made a recommendation as to whether or not
              7               this person with these conditions would create a
              8               risk.     You know, I appreciate we aren't at that
              9               stage yet, but ordinarily that's the way bail
             10               hearings are done.
             11                         And, in fact, there is case law to
             12               suggest that when we are addressing a habeas
             13               situation and addressing the question of whether
             14               she should be released, there are these -- all
             15               of these factors about the person's life, and
             16               the nature of the allegations from the
             17               government that need to be addressed.
             18                         And my fear is that in argument of
             19               counsel here I've not had an opportunity to
             20               address those, or the government hasn't had an
             21               opportunity to really address the dangerousness
             22               question.       All they're saying is they're relying
             23               upon, you know, this one article, at least at
             24               this point.
             25                         There may be, at least according to your

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              1               submission just a couple of days ago that was --
              2               it was among other, is among the possibility of
              3               other allegations that they may have.
              4                         So I guess my question is, before we
              5               address the question of release don't you think
              6               there should be a bail hearing?
              7                         MS. ROSSMAN:        Your Honor, I think one
              8               place to look is at the Mapp decision here in
              9               the 2nd Circuit and how they proceeded to
             10               analyze a bail consideration within the
             11               immigration context.            And that remains good law,
             12               your Honor, both the Real ID Act passage -- the
             13               Real ID Act was passed after Mapp.
             14                         I know there was some suggestion in the
             15               government's papers that perhaps that raised a
             16               question about Mapp's continued viability, but
             17               the 2nd Circuit already directly addressed that
             18               in the Elkimya decision in 2007 and said
             19               explicitly that the Real ID Act's silence
             20               regarding our holding in Mapp constitutes an
             21               implicit adoption of our interpretation.
             22                         So the Mapp framework is still good law
             23               in the 2nd Circuit, and we've seen it applied
             24               time and again in the District Courts as well,
             25               and what that court says is within this context

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              1               you look at whether or not there are substantial
              2               claims and whether or not bail is necessary in
              3               order to ensure that habeas is effective relief.
              4                         And as a part of the extraordinary
              5               circumstances one of the things the Court can
              6               analyze is whether there has been any showing of
              7               the government in terms of danger or risk of
              8               flight.
              9                         And I would say here, your Honor, in
             10               fact, we've had numerous submissions before both
             11               this Court and also the Court in the District of
             12               Massachusetts where the petitioner has raised
             13               her bail request and has submitted record
             14               evidence that she's not a danger and that she's
             15               not a flight risk.
             16                         Quite to the contrary, she is desperate
             17               to return to Tufts so that she can continue with
             18               her education.         She has nine months left of her
             19               doctoral program that she's been working towards
             20               for five years.          She has several critical dates
             21               that are coming up in the spring and summer.
             22               She desperately wants to return, and there are
             23               nearly two dozen declarations, sworn
             24               declarations that attest to that fact.
             25                         On the other side of the aisle, the

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              1               government had opportunity to submit sworn
              2               declarations if there was any evidence that they
              3               wanted to put forward.             They were certainly on
              4               notice that the petitioner has been requesting
              5               bail now for over two weeks, and there's been no
              6               such submission from the government.                      And we
              7               have no reason to believe at this point, your
              8               Honor, that there would be able to do so.
              9                         There's been the single declaration from
             10               Wessling, Officer Wessling, which made no
             11               allegation that Ms. Ozturk was a danger or that
             12               she was a flight risk.
             13                         And I would point, your Honor -- I know
             14               you had mentioned sort of one of the reasons
             15               that we've heard so far from the government
             16               about the reasons for her detention, you
             17               referenced, I believe, the filing from Friday
             18               night, which was the March 21st memo from the
             19               Department of State, which again states and only
             20               identifies the op-ed as the basis for the visa
             21               revocation.
             22                         THE COURT:       Well, if you look at the
             23               language of that submission, I thought it listed
             24               the op-ed obviously, and I think right before
             25               that is a comment with dangerousness as

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              1               reflected in -- I thought you could read that
              2               sentence as suggesting there may very well be
              3               other things that they want to submit, although
              4               they were not identifying them.
              5                         MS. ROSSMAN:        So I would submit, your
              6               Honor, it's really helpful to look at this memo
              7               alongside the Washington Post article that was
              8               placed yesterday that we filed in court.                      It
              9               references two memos that the government hasn't
             10               produced, so we don't have those documents to
             11               give to the Court, but --
             12                         THE COURT:       Okay.
             13                         MS. ROSSMAN:        But what it references is
             14               an initial memo where there was a recommendation
             15               from DHS for the revocation of Ms. Ozturk's
             16               visa.     And it specifically cited the provision
             17               of a deportation of a foreigner if the Secretary
             18               of State has reasonable grounds to believe that
             19               the person's presence or activities has adverse
             20               policy consequences for the United States.
             21                         In response to that, and that is what's
             22               referenced in the Washington Post article, after
             23               the State Department received that from the
             24               Department of Homeland Security, the State
             25               Department found that while Ozturk had protested

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              1               Tufts's relationship with Israel, neither DHS
              2               nor ICE nor Homeland Security investigations
              3               produced any evidence showing that Ms. Ozturk
              4               had engaged in anti-Semitic activity or made
              5               public statements indicating support for a
              6               terrorist organization.
              7                         And it goes on to say that the memo said
              8               that a search of U. S. government database on
              9               Ms. Ozturk did not produce any terrorism-related
             10               information about her.
             11                         And it was on the heels of both of those
             12               statements, your Honor, that then this final
             13               memo was produced that again only references the
             14               op-ed.
             15                         THE COURT:       Okay, so this is an internal
             16               memo, as I understand it, suggesting that as a
             17               result of a full investigation there was no
             18               evidence of anti-Semitic behavior, no evidence
             19               of -- focusing on terrorists organizations, is
             20               that what that article says?
             21                         MS. ROSSMAN:        According to the reporting,
             22               your Honor, from Washington Post.
             23                         THE COURT:       So there is a memorandum
             24               within the Department's possession that has not
             25               been turned over to you?

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              1                         MS. ROSSMAN:        There is a memorandum that
              2               the government has not produced, your Honor,
              3               that's correct.          And I believe, your Honor, it's
              4               actually two different memorandums that have not
              5               been yet produced.
              6                         The third memorandum, which is the
              7               March 21st memo that we filed on Friday, had
              8               been resubmitted in the removal proceeding so
              9               that was the one of three, but there are two
             10               that have not been produced by the government.
             11                         THE COURT:       So I asked you -- you haven't
             12               been talking about the removal proceedings, but
             13               apparently there is at least a hearing or
             14               submission on Wednesday?
             15                         MS. ROSSMAN:        Yes, your Honor.
             16                         THE COURT:       And what does that involve?
             17                         MS. ROSSMAN:        Unfortunately you're going
             18               to hear partially --
             19                         THE COURT:       Probably going to the wrong
             20               person.      I'm sorry.
             21                         MS. ROSSMAN:        No, but the one thing I
             22               will say, your Honor, is that the master
             23               calendar has been reset for Wednesday.
             24                         I will reiterate what one of my
             25               colleagues said, which is that with respect to a

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              1               bond termination, your Honor, there are several
              2               reasons why that is not a barrier to this Court
              3               granting bail and, in fact, it is certainly
              4               important that the Court exercise its discretion
              5               here to grant bail if you look at what has been
              6               happening in other cases around the country.
              7                         THE COURT:       Right, so I'm not -- I wasn't
              8               thinking about the bail situation at this point.
              9                         What I was thinking about is whether or
             10               not those reports within the government's
             11               possession are going to be disclosed to you as a
             12               part of the removal proceedings?
             13                         MS. ROSSMAN:        That's something I wouldn't
             14               be able to answer here today, your Honor.
             15                         THE COURT:       All right, that's fine.              Yes.
             16                         MS. ROSSMAN:        Of course, the government
             17               could also produce them within this proceeding
             18               as well and has had opportunities in the past to
             19               do so with its submissions and could do so again
             20               in the future.
             21                         THE COURT:       Okay.
             22                         MS. ROSSMAN:        It might -- would it help
             23               your Honor for me to speak a little bit about
             24               within the context of the Mapp structure for
             25               that bail determination?

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              1                         THE COURT:       Yes.
              2                         MS. ROSSMAN:        We both need to address the
              3               substantial claims as well as exceptional
              4               circumstances.
              5                         Petitioner believes that all of the
              6               claims that she's raising in her petition are
              7               substantial, but for the purposes of this
              8               Court's analysis only one is necessary.                      And
              9               given the context of what we've been talking
             10               about here today, I think it might be the most
             11               hopeful to focus, as your Honor has done, on
             12               both the First Amendment and the Fifth Amendment
             13               claims in particular to the respect to the
             14               arrest, transfer, and detention of Ms. Ozturk.
             15                         So I can start with the First Amendment,
             16               your Honor.        The First Amendment really acts as
             17               an element on the government's ability to
             18               suppress particular viewpoints, and that's
             19               exactly what is happening here.
             20                         About a year ago, as your Honor
             21               referenced, Ms. Ozturk coauthored an op-ed in
             22               her student newspaper, and it was really speech
             23               that is of the highest form of protected speech.
             24               It was about a matter of public concern about
             25               ongoing human rights violations in Gaza, and it

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              1               was also something that was in the press.                      It
              2               was in the newspapers and part of the media.
              3                         And this is the sole basis for her
              4               arrest, transportation and transfer, as we've
              5               just been discussing.            The government over more
              6               than 20 days of her detention has not put
              7               forward any other basis for why this has
              8               occurred.
              9                         And if you look -- we were speaking about
             10               the 3/21/25 memo.           Your Honor had referenced
             11               this language as well; that it included
             12               coauthoring an op-ed that found common cause
             13               with an organization that was later temporarily
             14               banned from campus.
             15                         The only language --
             16                         THE COURT:       Is there any evidence to
             17               suggest that she was a member of that eventually
             18               temporarily banned organization?
             19                         MS. ROSSMAN:        No, your Honor, there is
             20               not.
             21                         And the only sentence that this can be
             22               referencing is within her op-ed, the sentence --
             23               and this is a co-authored op-ed; Graduate
             24               Students for Palestine join Tufts Students for
             25               Justice in Palestine, the Tufts faculty, and

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              1               staff coalition for ceasefire and pledges
              2               Students for Palestine to reject the
              3               University's response.
              4                         That sentence is the only sentence of the
              5               memo that could possibly be referencing.
              6                         And this guilt by association, and not
              7               just guilt by association but guilt by
              8               association that would have had to be prescient
              9               that a group was going to be banned in the
             10               future by the administration is a really
             11               chilling example of a First Amendment violation,
             12               and it's an eerie comparison to some of what the
             13               government was attempting to do during in the
             14               Red Scare in the 1950s.
             15                         We have cited in our papers, your Honor,
             16               the Bridges case from the Supreme Court, and
             17               there Congress had passed an act to enable the
             18               deportations of noncitizens who were affiliating
             19               with communist enterprises.
             20                         And under that statute the government had
             21               tried to deport Mr. Bridges based on his running
             22               a newspaper that sometimes was just called
             23               The Waterfront Worker that worked with the union
             24               that was found to both be a legitimate union but
             25               also have -- also be a communist organization.

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              1                         And the Court rejected the government's
              2               attempt to do this.           It read the statute in a
              3               way that could not be applied to Mr. Bridges's
              4               behavior.       And the reason why was to do so, the
              5               Court found, would have violated the First
              6               Amendment.
              7                         They used language to say, and this is a
              8               direct quote, The link by which it sought to tie
              9               him to subversive activities is an exceedingly
             10               tenuous one.        It relies upon inferences upon
             11               inferences.
             12                         And he published a newspaper that engaged
             13               in protected speech, and cooperation with the
             14               communist group for the attainment of lawful
             15               ends cannot be something for which someone is
             16               punished without violating the First Amendment.
             17                         And, as a result, they did not allow the
             18               government to use their immigration laws to
             19               violation the free expression of Mr. Bridges.
             20                         And this Court should similarly ensure
             21               that the government does not use immigration
             22               laws to violate the First Amendment as part of
             23               its policy to target speech.
             24                         There are more recent examples than the
             25               1950s.      We've spoken already about Ragbir, your

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              1               Honor, as well as the Bello-Reyes case.
              2                         I also wanted to point your Honor to the
              3               Guitierrez case, which is cited in our papers as
              4               well.     All of these recognize that the Court has
              5               habeas authority when there is a violation of
              6               the First Amendment.
              7                         THE COURT:       So the Court has habeas
              8               authority to address the question as to whether
              9               it was a First or Fifth Amendment violation, but
             10               when you start arguing about ICE using this in
             11               the removal proceedings, that really creates a
             12               concern.
             13                         You have the INA, which basically says
             14               that the courts should not get involved in the
             15               bringing of charges before the immigration
             16               court, the prosecution, as well as the
             17               enforcement.        And I think those are the three
             18               things.
             19                         And so when you suggest that they are
             20               violating the Constitution in the prosecution,
             21               in the court, you raise concerns because there
             22               is, in fact, the engagement of a third -- of a
             23               judicial branch in that prosecution itself.
             24                         That is, ultimately if I -- if the IJ
             25               decides for removal, the appeal goes to the

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              1               U. S. Court of Appeals or Circuit.                  So there is
              2               some engagement of the third -- of the third
              3               branch; the judiciary.
              4                         And so when you make the argument about
              5               you can't bring the charges or you are entitled
              6               to withdraw from prison based upon a
              7               constitutional violation, that clearly is
              8               covered by constitutional law.
              9                         But when you start talking about the
             10               removal proceedings and those processes, I think
             11               that the INA gives you difficulty.
             12                         Do you understand the distinction that
             13               I'm trying to make?
             14                         MS. ROSSMAN:        I believe so, your Honor,
             15               but please tell me if I'm going off track.
             16                         THE COURT:       Yeah, right.         Right, so I
             17               mean I think this is a really confusing area of
             18               the law because you're sort of overlapping
             19               issues, both from the Constitution dimension in
             20               habeas, together with what's happening in a
             21               removal proceedings.
             22                         A removal proceeding does have judges
             23               involved, and they are on the appellate level.
             24                         MS. ROSSMAN:        That's right, your Honor.
             25               I think part of the distinction, however, is, as

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              1               you had referenced earlier on -- or almost this
              2               afternoon but right now it's still this morning,
              3               earlier on this morning our petition, and in
              4               particular what we're speaking about with
              5               respect to the bail request is focusing on
              6               challenging the arrest and detention.
              7                         Neither the arrest, nor the detention,
              8               was required by the revocation of the student
              9               status or the revocation of the visa.                     And the
             10               continued removal proceedings against Ms. Ozturk
             11               does not require her continued detention.
             12                         And, again, the Bello-Reyes case is a
             13               perfect example of this where the Court was
             14               recognizing the ability of the petitioner there
             15               to be out of custody under the Article III
             16               jurisdiction of the habeas court while
             17               continuing to participate in the removal
             18               proceedings within the context of the
             19               immigration court.
             20                         THE COURT:       There is no difficulty in
             21               doing that?
             22                         There's no difficulty in having her
             23               removed from custody of the immigration court
             24               but then continuing on with the process?
             25                         MS. ROSSMAN:        That is correct, your

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              1               Honor.      There are -- it is not required to be in
              2               detention in order to continue on removal
              3               proceedings and, in fact, one of the
              4               declarations by Attorney Young speaks to the
              5               fact that with respect to F-1 visa revocations,
              6               which is the visa revocation at issue for
              7               Ms. Ozturk, in her experience in over 17 years
              8               of immigration practice it is not typical for
              9               someone with an F-1 visa revocation to be
             10               arrested.
             11                         And that's what we're focusing on here;
             12               is that the -- setting aside for a moment the
             13               visa revocation and the student status
             14               revocation, the response of the government in
             15               every step along the way to that, which included
             16               both not notifying Ms. Ozturk of the fact that
             17               she had a visa revocation, which is not typical,
             18               and led to an understandably terrified response
             19               when six plainclothes officers approached her.
             20               She had no reason to believe that anything had
             21               been revoked and then placed her into an
             22               unmarked van.
             23                         She said in her declaration at the time
             24               she thought they were going to kill her because
             25               she had no idea who these people were and having

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              1               given no reason to understand why the police
              2               would be arresting her.
              3                         THE COURT:       Well, if -- she did say that
              4               she saw a badge, although she did not know what
              5               the badge was.         But she saw a badge but then
              6               thought, of course, she was being killed.
              7                         MS. ROSSMAN:        And placed in an unmarked
              8               van.     And then so that's the arrest, your Honor.
              9                         The second piece is everything that
             10               happened over the course of the next 20 hours,
             11               which I know you've already spoken with, with
             12               other counsel here today, but that unusual
             13               circumstance of hop-scotching across multiple
             14               state lines and then getting taken to Louisiana
             15               really early the next morning.
             16                         The declarations that we have in the
             17               record, your Honor, combined more than 40 years
             18               of immigration experience in the New England
             19               area, and all of those practitioners say that
             20               they have never seen, nor heard, of someone get
             21               taken in three different states over the course
             22               of just a few hours.
             23                         And practitioners here in Vermont, too,
             24               have said both -- excuse me, Attorney Stokes and
             25               Attorney Diaz, that neither of them had seen

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              1               someone taken out of state and placed in
              2               St. Albans.        And that was particularly important
              3               because St. Albans is the only location where
              4               someone can be held in immigration detention and
              5               not be on the Vermont Department of Corrections
              6               public website within an hour.                So, again,
              7               that's another set of circumstances which was
              8               highly unusual.
              9                         Even taking the government at its word,
             10               which there is directly contradictory evidence
             11               in the record that there were bed space
             12               available in New England, so that's something
             13               that petitioner heavily contests.
             14                         But even, for the sake of argument,
             15               taking of the government at its word, why did
             16               Ms. Ozturk need to be taken three different
             17               states away to get a plane from the Burlington
             18               airport rather that being held in Burlington,
             19               Massachusetts, which is the typical course of
             20               practice and then get taken from Logan Airport
             21               to Louisiana?
             22                         All across the board, your Honor, these
             23               were unusual steps that were designed to punish
             24               Ms. Ozturk for her protected speech, chill her
             25               speech, and send a very chilling message to

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              1               everyone who was watching -- and the government
              2               does know that people are watching -- that if
              3               you engage in speech that the Administration
              4               disagrees with, you are going to be punished.
              5                         And that chilling aspect was something
              6               that was recognized both by the Ragbir court and
              7               by the Guitierrez court as something that sends
              8               a message not just to the petitioner themselves
              9               but to other noncitizens.              That's an additional
             10               First Amendment injury that's appropriate for
             11               the Court to address in a habeas proceeding.
             12                         THE COURT:       Okay.     So let me just ask you
             13               about your alternative proposal.
             14                         MS. ROSSMAN:        Yes, your Honor.
             15                         THE COURT:       You know, you've heard what
             16               the standard procedures are here for
             17               establishing bail.           I mean, to get a full
             18               hearing, to have a full hearing in regard to all
             19               of the conditions that have to be imposed to
             20               make sure that a person does not provide a risk
             21               to the community and a risk of flight ordinarily
             22               requires a lot.
             23                         And it also gives the parties an
             24               opportunity to introduce the evidence that they
             25               want to introduce, including the evidence that

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              1               you want to introduce in regard to how this was
              2               unusual.       That may be relevant to the issue of
              3               whether she should be released.                 That is, the
              4               viability of her due process claim.
              5                         All right?
              6                         MS. ROSSMAN:        Uh-huh (affirmative).
              7                         THE COURT:       So that could happen.
              8                         The second proposal that you have is to
              9               have her transferred back here, both for
             10               assisting your representation for the hearing,
             11               the ultimate hearing but, also, for a bail
             12               hearing.       And that is, to have her present so
             13               that you could address all these various issues
             14               that the Court addresses whenever it releases a
             15               person into the community.
             16                         So what is your -- I mean, I know that
             17               this is an alternative, but what is your
             18               objection to essentially an order that she be
             19               transferred back here and that we have a bail
             20               hearing in regard to her release on the habeas
             21               case and then ultimately have her here for the
             22               hearing?
             23                         MS. ROSSMAN:        So if I'm understanding
             24               your Honor correctly, what you're suggesting as
             25               an alternative is sort of what is our response

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              1               to you, rather than automatically
              2               getting bail --
              3                         THE COURT:       And I'm going to ask the
              4               other side the same.
              5                         What's the problem with that?
              6                         MS. ROSSMAN:        And as a part of that
              7               suggestion, your Honor, are you suggesting that
              8               Ms. Ozturk would be immediately returned to the
              9               District of Vermont during the pendency of those
             10               proceedings?
             11                         Is that what --
             12                         THE COURT:       Well, that's what you're
             13               seeking.
             14                         MS. ROSSMAN:        That is our alternative,
             15               that is correct, your Honor.
             16                         Well, of course, petitioners do believe
             17               that there's already a record right now that
             18               would enable a determination of bail,
             19               particularly given the multiple opportunities
             20               the government has had to put record evidence in
             21               to oppose any seeking of bail, and they have
             22               never done so.
             23                         We have no reason to believe, nor does
             24               this Court have any basis to believe that they
             25               would put forward something to counteract the

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              1               showing that Ms. Ozturk has made that she has
              2               satisfied the bail requirements.                 So we do think
              3               that has been satisfied on the papers.
              4                         That being said, under our alternative of
              5               having Ms. Ozturk returned here, we think it's
              6               well within this Court's authority, both as an
              7               equitable habeas court, which your Honor has
              8               already recognized has flexibility in terms of
              9               orders, and under the All Writs Act to order
             10               Ms. Ozturk to be immediately returned to Vermont
             11               so that she could have access to counsel.
             12                         And, of course, I think one additional
             13               component we would say, your Honor, is if the
             14               Court is inclined to set an additional
             15               evidentiary hearing for a bail proceeding, which
             16               our suggestion would be that our papers submit,
             17               but if your Honor would want to have additional
             18               hearings, that that occur, as everything already
             19               has with this Court, as expeditiously as
             20               possible, particularly in light of some of the
             21               educational deadlines that Ms. Ozturk has.
             22                         There are proceedings within her -- she
             23               has a conference that she's meant to be
             24               attending at the end of this month, and she also
             25               has specific dates with respect to her doctoral

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              1               review that is also in the upcoming month.
              2                         Every day that she remains in detention,
              3               your Honor, is both harming her in terms of her
              4               ability to continue with her education.                      It's
              5               also a continued First Amendment violation of
              6               both her rights and sends a very dangerous
              7               message to everyone else that if you do
              8               something against the government in terms of
              9               your speech, you're going to be punished.
             10                         THE COURT:       All right.        Thank you.
             11                         Okay, Mr. Drescher?
             12                         MS. LAFAILLE:         Your Honor, with
             13               Mr. Drescher's indulgence, I just wanted to
             14               respond to a couple of points.
             15                         Your Honor asked me about Attorney
             16               Khanbabai's efforts to locate Ms. Ozturk prior
             17               to 10:02.       The declaration at Paragraph 6 and 7
             18               talks about efforts that evening, but just to
             19               confirm, that prior to 10:02 Attorney Khanbabai
             20               had also done those things; calling ICE
             21               Enforcement and Removal Operations and calling
             22               ICE Homeland Security Investigations, ICE HSI
             23               and ERO to look for Ms. Ozturk and checking the
             24               detaining locator.
             25                         And then in response to your Honor's

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              1               colloquy to Mr. Drescher about the spirit of the
              2               order and the letter of the order, the case I
              3               had cited to your Honor is Stetson, which is
              4               cited on Page 23 of our bail and return motion.
              5                         THE COURT:       Okay.
              6                         MS. LAFAILLE:         Thank you.
              7                         THE COURT:       All right.        Okay.
              8                         MR. DRESCHER:         Before I get into the
              9               question of bail, on the question of what to
             10               make of the Court's order in Massachusetts, it
             11               occurred to me after I sat down that the
             12               District of Massachusetts has had a chance to
             13               deal with its perception of what happened there
             14               and could have investigated it further, could
             15               have done -- could have made a finding about
             16               that, and what they did was they transferred the
             17               case up here.         I just wanted to sort of note
             18               that as another consideration.
             19                         THE COURT:       Interesting.         They
             20               transferred the case up here and then basically
             21               made a conclusion that filing in Massachusetts
             22               was really just like filing in Vermont because
             23               obviously this is the district of confinement
             24               and that essentially the whole record would be
             25               as of the 10:02 filing date.

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              1                         And essentially what they would be
              2               suggesting is, I think they are suggesting that
              3               it's filed in Vermont as of 10:02.                  I thought
              4               that was the thrust of Judge Casper's opinion.
              5                         MR. DRESCHER:         I agree that that was the
              6               thrust of her opinion, but she also noted that
              7               it was going to be for this Court to figure out
              8               whether it had jurisdiction.
              9                         THE COURT:       Yes, absolutely, and I think
             10               that that's true of 1631 always; that when you
             11               transfer it, it's your assessment that that
             12               jurisdiction or that court would have
             13               jurisdiction, but that's up for that court to
             14               make a determination and that's why we're here.
             15                         MR. DRESCHER:         On the question of bail,
             16               our threshold position is that especially in
             17               light of subsequent statements in Jennings and
             18               Velasco Lopez that are more recent than both
             19               Mapp and Elkimya, I think there is a legitimate
             20               question as to whether the INA would permit the
             21               Court to release petitioner on bail.                      A lot of
             22               that dovetails with the same jurisdictional
             23               arguments we've made.
             24                         THE COURT:       Right.
             25                         MR. DRESCHER:         And which is our appeal,

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              1               our threshold position that the Court does not
              2               have habeas jurisdiction and, therefore, does
              3               not have inherent authority to release
              4               petitioner on bail.
              5                         With regard to the questions of the Mapp
              6               factors, I just have a couple of responses.
              7                         One of the arguments that has been made,
              8               I believe, in the papers and today, is that
              9               being detained stifles a person's ability to
             10               speak and is inherently a violation of the First
             11               Amendment.       I don't think that -- I don't think
             12               that's a tenable argument.
             13                         If that were a tenable argument, being
             14               detained, anybody who's detained is having their
             15               First Amendment violated and so -- and it's
             16               certainly not an extraordinary circumstance
             17               among people who are detained.                They -- it's
             18               part and parcel of being detained.                  You know,
             19               you have -- you have less of a voice.
             20                         THE COURT:       Well, there are a couple of
             21               concerns in regard to the First Amendment, so --
             22               and they're different.
             23                         It seems to me that what the petitioners
             24               are raising here is an argument that her
             25               violation -- her First Amendment rights were

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              1               violated.       It's not based upon the fact that
              2               other people would be discouraged in regard to
              3               whether they would make statements in the
              4               community.       It is her particular rights that
              5               are -- that are at risk.
              6                         And, you know, frankly, I would focus
              7               mostly on the time of detention.                 At that
              8               particular time their argument is, first, that
              9               her First Amendment rights are being
             10               prosecuted -- are being violated, and that's
             11               obviously the basis of their claim for release.
             12                         And then, second, is how it happened, how
             13               the arrest took place, whether she was
             14               permitted knowing where she was going or her
             15               lawyers knowing where she was going, or the fact
             16               is that she was really sort of denied the
             17               ability to get to a court.              That's her second
             18               Fifth Amendment claim.
             19                         I'm not so sure the impact in the
             20               community about other people's First Amendment
             21               rights being impacted is the core of their
             22               argument.
             23                         MR. DRESCHER:         Okay.
             24                         So, yeah, going through the Mapp factors,
             25               I appreciate that she's making an argument.                      Her

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              1               habeas theory is that her detention is a
              2               violation of her First and Fifth Amendment
              3               rights.      I appreciate that the circuit in Ragbir
              4               articulates that that can be a basis for habeas
              5               jurisdiction but only in the absence of the
              6               availability of a petition for review, which
              7               we've already gone over.
              8                         THE COURT:       Can I ask you, throwing out
              9               this possibility of having her coming back here
             10               to address her constitutional claims, her habeas
             11               with an order, of course, that it would have no
             12               impact on the removal proceedings.                  It would be
             13               necessary to have her here because we would be
             14               addressing issues about release, and this would
             15               be for the hearing on her claims and she would
             16               be able to assist counsel.
             17                         My question is, how are you prejudiced by
             18               that proceeding?
             19                         MR. DRESCHER:         I believe the papers
             20               make -- state our position that -- well, I'm
             21               going to take a half a step back.
             22                         Generally speaking our papers argue that
             23               the law is clear that the Court doesn't have
             24               jurisdiction to like dictate place of
             25               confinement.

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              1                         THE COURT:       Correct.
              2                         MR. DRESCHER:         But I appreciate your
              3               point.
              4                         THE COURT:       This is the hypothetical to
              5               say that the Court has jurisdiction.                      The Court
              6               would take Velasco Lopez and Ragbir and say,
              7               okay, we have jurisdiction to address the habeas
              8               issue.      Why not do that at the same time that
              9               the removal proceedings continue on?
             10                         And why are you prejudiced by that?
             11                         MR. DRESCHER:         I don't know -- I mean, if
             12               your Honor wants to writ petitioner to Vermont
             13               for purposes of being present in court for a
             14               hearing, other than the extent to which that
             15               interferes with ICE's ability to dictate where
             16               she would be held, you know, as an advocate, I
             17               don't think that would be prejudicial.
             18                         You know, we have defendants or
             19               plaintiffs personally in court all the time.                      If
             20               there is a prejudice, then I'm really not
             21               prepared to get into the nooks and crannies of
             22               this because I didn't anticipate your Honor's
             23               question.
             24                         It would be in the operations of, you
             25               know, immigration detention whose custody would

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              1               she be in.       Where are there beds?             Those types
              2               of -- those types of issues that, you know, in
              3               the criminal context, as your Honor knows, she
              4               could be housed in Rhode Island or upstate New
              5               York or any number of other facilities.                      Or down
              6               the street as well, for sure, in the criminal
              7               context.
              8                         What is available if she's in ICE custody
              9               is not clear, and there could very well be
             10               prejudice to ICE's operations in that regard.
             11                         But I also don't want to get ahead of
             12               myself.      You know, the -- I don't know the
             13               extent of potential prejudice is sort of the
             14               threshold answer to your Honor's question.
             15                         THE COURT:       No, I appreciate that honest
             16               response.
             17                         MR. DRESCHER:         And so, yeah, we don't
             18               think that she's -- I appreciate, you know, in
             19               the verbiage of Ragbir she makes a
             20               constitutional claim and that's, of course,
             21               something that -- something that the 2nd Circuit
             22               has acknowledged can be concerning and can be
             23               the basis of habeas in the absence of petition
             24               for review.
             25                         The viability of success on that claim

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              1               given the jurisdictional challenges, given the
              2               presence of the INA, given the actual rational
              3               in Ragbir, relying on the absence of a petition
              4               for review as a basis for asserting habeas
              5               jurisdiction I think calls into question,
              6               there's sufficient jurisdictional concerns about
              7               what this -- if this Court were to assert habeas
              8               jurisdiction, it certainly calls into question
              9               the prospect of success were the Court to issue
             10               habeas relief.
             11                         Even the 1631 transfer, albeit it's
             12               happened before, it happened from New York to
             13               New Jersey recently, you know, as the Court in
             14               New Jersey certainly suggested by certifying the
             15               question, it's some potentially shaky
             16               jurisdictional footing, and that also undermines
             17               the prospect of success in court on a habeas
             18               theory.
             19                         And, your Honor, if your Honor has
             20               additional questions --
             21                         THE COURT:       Okay, so I'd like to
             22               change -- I appreciate that and, you know, I
             23               think the argument is over.
             24                         I'd like to ask both counsel how long you
             25               would anticipate a habeas hearing to last if I

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              1               was to assume jurisdiction?
              2                         And, in particular, you've noticed that
              3               this Court has made a real effort to move this
              4               along quickly.         And whether or not the
              5               petitioner is here or not, if I assume
              6               jurisdiction, the case is going for a habeas
              7               hearing, and my question is how long would the
              8               hearing last?
              9                         And I would anticipate scheduling this
             10               hearing in May, and my question is whether that
             11               is realistic.
             12                         So first from the government.
             13                         MR. DRESCHER:         This is another "I don't
             14               know", and I would have to consult with lawyers
             15               more experienced in habeas than I am.
             16                         You know, it may be -- I don't know what
             17               the evidence would look like.                I mean, I
             18               appreciate what's in the record.                 It may be that
             19               you don't have to take testimony if the record
             20               can be made on the papers, but I don't know that
             21               and I would ask for a chance to get back to the
             22               Court on that.
             23                         THE COURT:       Okay.     Yeah, if you can
             24               notify the Court.
             25                         So how about from the petitioner?

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              1                         MS. ROSSMAN:        Thank you, your Honor.             I
              2               think we, similarly, would want to, with your
              3               indulgence, make sure we speak with immigration
              4               counsel as well and perhaps submit a short
              5               supplement to answer your question.
              6                         THE COURT:       Yeah, so let me ask both
              7               sides just to have a short supplement.                     If the
              8               Court were to accept habeas jurisdiction,
              9               schedule a habeas hearing, I would hope to do
             10               that in May.
             11                         Tell me if that is viable, a viable
             12               schedule in light of the complexities of this
             13               case, in light of the evidence that you would
             14               hope to introduce.
             15                         MS. ROSSMAN:        Thank you, your Honor.             I
             16               will say the two things that I can say for
             17               certain right now is from petitioner's side we
             18               both appreciate how quickly the Court has been
             19               moving on this and that we, as well, would move
             20               at as quick a speed as this Court could do to
             21               make it happen.
             22                         So in terms of timing, we would be ready
             23               at the Court's earlier convenience to have a
             24               hearing and would make ourselves available to do
             25               so.

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                                                                                                    114

              1                         With respect to the amount of time that
              2               the hearing itself could take, we can submit a
              3               supplement.
              4                         THE COURT:       Okay.     Well, I really
              5               appreciate the professionalism of the argument.
              6               This was very well argued, and I'll take the
              7               matter under advisement.
              8                         Are there any other issues that you want
              9               to address at this point?
             10                         MR. DRESCHER:         Not from respondents, your
             11               Honor.
             12                         MS. ROSSMAN:        Not at this time, your
             13               Honor.      Thank you.
             14                         THE COURT:       Okay.     Thank you very much.
             15                         (End of hearing at 12:15 p.m. and end of
             16               transcript of same.)
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                                              BENTLEY COURT REPORTING                   JA-000407
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              1                               C E R T I F I C A T E
              2

              3                         I, SARAH M. BENTLEY, Certified Court
              4       Reporter, Registered Professional Reporter and Notary
              5       Public, do hereby certify that the said proceedings
              6       were taken in machine shorthand by me at the time and
              7       place aforesaid and were thereafter reduced to
              8       typewritten form under my direction, Pages 1 - 115;
              9       that the foregoing is a true, complete, and correct
             10       transcript of said proceedings.
             11                         I further certify that I am not employed
             12       by, related to, nor counsel for any of the parties
             13       herein, nor otherwise interested in the outcome of
             14       this litigation.
             15                         IN WITNESS WHEREOF, I have affixed my
             16       signature and seal this 15th day of April, 2025.
             17

             18

             19                                     /s/ Sarah M. Bentley, RPR
                                                    ____________________________
             20                                     SARAH M. BENTLEY, CCR-B-1745
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                                              BENTLEY COURT REPORTING                   JA-000408
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                                   UNITED STATES DISTRICT COURT
                                              FOR THE
                                        DISTRICT OF VERMONT

            RUMEYSA OZTURK,               )
                                          )
                      Petitioner,         )
                                          )
                 v.                       )            Case No. 2:25-cv-374
                                          )
            DONALD J. TRUMP, in his       )
            official capacity as          )
            President of the United       )
            States; PATRICIA HYDE, in her )
            official capacity as the New )
            England Field Director for    )
            U.S. Immigration and Customs )
            Enforcement; MICHAEL KROL, in )
            his official capacity as HSI )
            New England Special Agent in )
            Charge, U.S. Immigration and )
            Customs Enforcement; TODD     )
            LYONS, in his official        )
            capacity as Acting Director, )
            U.S. Immigration and Customs )
            Enforcement; KRISTI NOEM, in )
            her official capacity as      )
            Secretary of the United       )
            States Department of          )
            Homeland Security; and MARCO )
            RUBIO, in his official        )
            capacity as Secretary of      )
            State,                        )
                                          )
                      Respondents.        )

                                          OPINION AND ORDER

                  Petitioner Rumeysa Ozturk was arrested by United States

            Immigration and Customs Enforcement (“ICE”) agents in

            Massachusetts on March 25, 2025 and is currently in immigration

            detention at a correctional facility in Louisiana. Ms. Ozturk

            filed this habeas petition under 28 U.S.C. § 2241 against




                                                                                 JA-000409
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            Respondents Donald J. Trump, Patricia Hyde, Michael Krol, Todd

            Lyons, Kristi Noem, and Marco Rubio (collectively “the

            government”), alleging she was arrested and detained in

            violation of her First Amendment and Fifth Amendment rights and

            the Administrative Procedure Act (“APA”).

                  Ms. Ozturk’s original petition (the “Petition”) was filed

            in the District of Massachusetts. Because Ms. Ozturk was, at the

            time of the filing, detained in Vermont, the Massachusetts

            district court transferred this action to the District of

            Vermont pursuant to 28 U.S.C. § 1631. ECF No. 42.

                  The instant matter concerns the government’s motion to

            dismiss this case. The parties dispute whether this Court has

            jurisdiction to grant Ms. Ozturk the relief she requests. The

            matter also concerns Ms. Ozturk’s motion for an order of

            immediate release pending the adjudication of her habeas claims

            or, in the alternative, an order transferring Ms. Ozturk back to

            the District of Vermont.

                  For the reasons set forth below, the Court finds that it

            has jurisdiction to consider Ms. Ozturk’s habeas petition. The

            Court further finds that Ms. Ozturk has raised significant

            constitutional concerns with her arrest and detention which

            merit full and fair consideration in this forum. Accordingly,

            the Court denies the government’s request to dismiss the

            Petition and orders that Ms. Ozturk be transferred to ICE

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                                                                                 JA-000410
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            custody within the District of Vermont pending further hearings

            on this matter.

                                         Factual Background

            I.    Ms. Ozturk’s Op-ed in a School Newspaper

                  Ms. Ozturk and three other students coauthored a March 26,

            2024 editorial in the Tufts University school newspaper, The

            Tufts Daily. The editorial, which to date still appears on the

            Tufts Daily website, criticized the university administration’s

            dismissal of several resolutions passed by the student senate

            that demanded the university acknowledge the existence of an

            ongoing genocide in Palestine, apologize for statements made by

            the university president, and disclose its investments in and

            divest from companies with ties to Israel.

                  The editorial criticized the university for

            “mischaracteriz[ing]” the student senate’s stances as divisive

            and stated, “[w]e, as graduate students, affirm the equal

            dignity and humanity of all people[.]” Rumeysa Ozturk et al.,

            Op-ed: Try again, President Kumar: Renewing calls for Tufts to

            adopt March 4 TCU Senate resolutions, The Tufts Daily (Mar. 26,

            2024), https://www.tuftsdaily.com/article/2024/03/4ftk27sm6jkj.

            It urged the university administration “to meaningfully engage

            with and actualize the resolutions passed by the Senate.” Id.

            The op-ed expresses agreement between Graduate Students for

            Palestine and three other campus groups, including Tufts

                                                    3

                                                                                 JA-000411
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            Students for Justice in Palestine, about the university’s

            response to the Senate resolutions. In the fall of 2024, Tufts

            University temporarily suspended Tufts Students for Justice in

            Palestine. Estelle Anderson, Tufts SJP disaffiliates from Tufts

            after university suspends group until Jan. 2027, The Tufts Daily

            (Nov. 21, 2024), https://www.tuftsdaily.com/article/

            2024/11/tufts-sjp-disaffiliates-from-tufts-after-university-

            suspends-group-until-jan-2027. Ms. Ozturk has not been alleged

            to be a member of that group, and the suspension occurred

            several months after the op-ed was published.

                  In an April 1, 2025, declaration, Sunil Kumar, the Tufts

            University president, attested that the opinion piece co-

            authored by Ms. Ozturk “was not in violation of any Tufts

            policies” and that “no complaints were filed with the University

            or, to our knowledge, outside of the University about this op-

            ed.” ECF No. 26-1 at 67. The declaration noted that the

            newspaper also published other “op-eds on multiple sides of the

            issue with opinions that were shared just as strongly as the op-

            ed Ms. Ozturk co-authored.” Id.

            II.   Ms. Ozturk’s Arrest and Detention

                  Ms. Ozturk is a Turkish national and doctoral candidate in

            Child Study and Human Development at Tufts University. ECF No.

            42 at 1-3. On June 28, 2024, she entered the United States

            pursuant to a validly issued F-1 student visa. Id. at 3. On

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                                                                                 JA-000412
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            March 21, 2025, the government revoked Ms. Ozturk’s visa,

            potentially subjecting her to removal from the United States.

            ECF No. 91-1 at 6. Pursuant to 8 U.S.C. § 1227(a)(1)(B), “[a]ny

            alien who is present in the United States . . . whose

            nonimmigrant visa (or other documentation authorizing admission

            into the United States as a nonimmigrant) has been revoked under

            section 1201(i) of this title, is deportable.”

                  Prior to her arrest, ICE determined that it would take Ms.

            Ozturk to a detention facility in Louisiana. According to ICE,

            “there was no available bedspace for [her] at a facility where

            she could appear for a hearing” in New England and “[t]ransfers

            out of state . . . are routinely conducted after arrest, due to

            operational necessity and considerations.” ECF No. 19-1. Ms.

            Ozturk has submitted affidavits from several experienced New

            England immigration attorneys stating that immigration detainees

            are typically booked and processed at the ICE Boston Field

            Office in Burlington, Massachusetts before being sent to a

            detention facility. ECF Nos. 26-3, 26-4, 26-6. She also

            submitted an affidavit from an experienced Maine immigration

            attorney stating that based on the attorney’s review of records

            from the Cumberland County Jail, the facility had at least

            sixteen open beds to house female detainees on March 25 and 26,

            2025. ECF No. 26-5 at 3



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                  Ms. Ozturk was not notified promptly of her student visa’s

            revocation. On March 25, 2025, at approximately 5:25 p.m., Ms.

            Ozturk was near her residence in Somerville, Massachusetts when

            a hooded and masked officer in plainclothes approached her and

            grabbed her wrists. ECF No. 42 at 3. Five additional officers

            then surrounded her, took her cell phone, and handcuffed her.

            Ms. Ozturk was driven away in an unmarked vehicle. Id.

                  ICE agents took Ms. Ozturk to Methuen, Massachusetts,

            arriving at 6:22 p.m. that day. ECF No. 19-1 at 2. Shortly

            thereafter, the agents and Ms. Ozturk departed for Lebanon, New

            Hampshire. Id. At approximately 9:03 p.m., ICE agents began

            transporting Ms. Ozturk to the ICE Field Office in St. Albans,

            Vermont. Id. At approximately 10:02 p.m. on March 25, 2025,

            having been unable to speak to Ms. Ozturk or otherwise ascertain

            her location after attempting to do so, Ms. Ozturk’s counsel

            filed a habeas petition in the District of Massachusetts. ECF

            No. 42 at 4. At that time, Ms. Ozturk was in Vermont en route to

            the St. Albans Field Office.

                  At approximately 10:55 p.m. that night, the District of

            Massachusetts court ordered that Ms. Ozturk “shall not be moved

            outside the District of Massachusetts without first providing

            advance notice of the intended move.” ECF No. 3 at 2; ECF No. 42

            at 5. The order stated that “[s]uch notice shall be filed in

            writing on the docket in this proceeding, and shall state the

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            reason why the government believes that such a movement is

            necessary and should not be stayed pending further court

            proceedings.” ECF No. 3 at 2. The order noted that “[i]n order

            to give the court an opportunity to consider whether it has

            subject-matter jurisdiction, and if so to determine the validity

            of the habeas petition, the court may order [the] respondent to

            preserve the status quo.” Id.

                  Both the Petition and the order were transmitted to the

            United States Attorney’s Office on the night of March 25, 2025.

            ECF No. 26-2 at 2-3. When asked at oral argument about the

            government’s knowledge of the order when it was issued, its

            counsel stated, “I don’t know who learned about that order and

            when. . . . I’m not able to speak to the factual flow of

            information.” ECF No. 98 at 37.

                  Ms. Ozturk arrived at the St. Albans Field Office at 10:28

            p.m. on March 25, 2025 and was kept in custody there overnight.

            ECF No. 19-1 at 2. On the morning of March 26, 2025, at

            approximately 4:00 a.m., ICE agents transported Ms. Ozturk to

            the Burlington, Vermont airport and placed her on a plane to

            Louisiana. Id. at 3. Ms. Ozturk arrived in Alexandria, Louisiana

            at 2:35 p.m. and was taken to the South Louisiana Correctional

            Facility, where she is presently detained. Id.

                  Between the evening of March 25, 2025 and the afternoon of

            March 26, 2025, Ms. Ozturk’s counsel repeatedly attempted to

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            ascertain her location, to no avail. ECF No. 26-2 at 3. Although

            Ms. Ozturk’s attorney checked ICE’s Detainee Locator System

            online several times, the “current detention facility” section

            was blank. Id. Counsel’s inquiries about Ms. Ozturk’s location

            to ICE’s Enforcement and Removal Operations (“ERO”) division in

            Burlington, Massachusetts and Homeland Security Investigations

            (“HSI”) in Boston, Massachusetts went unanswered. Id.

                  When a representative of the Turkish consulate went in

            person to ICE offices in Burlington, Massachusetts on March 26

            to inquire about Ms. Ozturk’s whereabouts, the representative

            was told that ICE did not have information about where she was.

            Id. Ms. Ozturk’s counsel also called Rayford Farquhar, the Chief

            of Defensive Litigation in the Civil Division at the United

            States Attorney’s Office in the District of Massachusetts and

            emailed Assistant United States Attorney Mark Sauter on the

            morning of March 26 to ask about Ms. Ozturk’s location and

            notify them that her asthma medication was not with her when she

            was detained. Mr. Farquahar and Mr. Sauter both responded that

            they did not know Ms. Ozturk’s location. Id. Ms. Ozturk’s

            counsel emailed them again in the early afternoon of May 26, and

            Mr. Sauter responded that he was still attempting to obtain

            information about Ms. Ozturk’s whereabouts. Id. at 3-4.

                  That afternoon, Ms. Ozturk’s counsel filed an emergency

            motion asking the District of Massachusetts court to order the

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            government to disclose Ms. Ozturk’s location and permit her to

            speak to her attorney. ECF No. 42 at 6. The motion noted that

            counsel had just been informed by a U.S. Senator’s office that

            Ms. Ozturk was in Louisiana but had not received confirmation of

            her location from ICE or the government’s counsel. Id. At

            approximately 3:27 p.m., Mr. Sauter told Ms. Ozturk’s counsel

            that ICE had informed him that she was transferred to Louisiana

            that morning and was en route to a detention facility. ECF No.

            26-2 at 4. Mr. Sauter’s email stated, “I continue to ask ICE for

            the detention facility that she will be placed and that she be

            permitted to contact you.” Id. (internal quotation marks

            omitted). After Mr. Sauter and Ms. Ozturk’s counsel exchanged

            several more emails, Ms. Ozturk spoke to her attorney at 9:45

            p.m. on March 26, more than 24 hours after her arrest. Id. at 5.

            III. Ms. Ozturk’s Revocation and Removal Proceedings

                  According to a memorandum by John L. Armstrong (hereinafter

            “Armstrong Memorandum”), a senior bureau official of the Bureau

            of Consular Affairs, the Bureau of Consular Affairs had approved

            revocation of Ms. Ozturk’s F-1 visa pursuant to a request from

            ICE and the Department of Homeland Security (“DHS”) on March 21,

            2025. ECF No. 91-1 at 6. According to the memo, ICE and DHS had

            made an assessment that Ms. Ozturk “had been involved in

            associations that ‘may undermine U.S. foreign policy by creating

            a hostile environment for Jewish students and indicating support

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            for a designated terrorist organization’ including co-

            authorizing an op-ed that found common cause with an

            organization that was later temporarily banned from campus. . .

            .” Id. The memo also noted, “[d]ue to ongoing ICE operational

            security, this revocation will be silent; the Department of

            State will not notify the subject of the revocation.” Id.

                  Ms. Ozturk was served with a Notice to Appear (“NTA”) on

            March 25, 2025, while in custody. ECF No. 19-1 at 3. The NTA

            cites Section 237(a)(1)(B) of the Immigration and Nationality

            Act (“INA”), which applies to individuals whose nonimmigrant

            visas have been revoked, as the basis for her removal. ECF No.

            12-2; 8 U.S.C. § 1227(a)(1)(B). A March 25, 2025 letter, which

            was addressed to Ms. Ozturk but not provided to her prior to her

            arrest, also cites the INA provision codified at 8 U.S.C. §

            1227(a)(4)(C)(i) as a possible basis for termination of her

            Student Exchange Visitor Information System (“SEVIS”)

            designation. ECF No. 42 at 7. This provision states that “[a]n

            alien whose presence or activities in the United States the

            Secretary of State has reasonable ground to believe would have

            potentially serious adverse foreign policy consequences for the

            United States is deportable.” 8 U.S.C. § 1227(a)(4)(C)(i).

                  The government has not represented that revocation of Ms.

            Ozturk’s visa was based on 8 U.S.C. § 1227(a)(4)(C)(i). In its

            briefing, the government acknowledges that the “statute is

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            mentioned [in the March 25, 2025 letter] as one of two possible

            reasons why Petitioner’s SEVIS record was terminated” but states

            “that data entry into a DHS information system is not a State

            Department record, and does not speak for the State Department.”

            ECF No. 83 at 21 n.5.

                  The NTA ordered Ms. Ozturk to appear before an immigration

            judge in Louisiana on April 7, 2025, although that hearing was

            later canceled. ECF No. 66 at 22. On April 14, 2025, Ms. Ozturk

            submitted a request for a bond hearing in immigration court. On

            April 16, 2025, an immigration judge denied her request for a

            change in custody status and provided “Danger and Flight Risk”

            as the rationale. ECF No. 101-1 at 4.

            IV.   The Pending Proceedings

                  Ms. Ozturk filed an amended petition and complaint on March

            28, 2025. ECF No. 12. The same day, the Massachusetts district

            court ordered Ms. Ozturk not to be removed from the United

            States until further order of the court and ordered the

            government to file a response by April 1, 2025. ECF No. 16. The

            government timely filed a response, and Ms. Ozturk filed her

            reply on April 2, 2025. ECF Nos. 19, 26. On April 3, 2025, the

            District of Massachusetts held a hearing on the amended

            petition. ECF No. 41.

                  On April 4, 2025, the Massachusetts district court denied

            the government’s motion to dismiss the petition and its

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            alternative request to transfer the matter to the Western

            District of Louisiana. The court instead transferred the case to

            the District of Vermont “in the interest of justice” pursuant to

            28 U.S.C. § 1631.

                  At a status conference on April 7, 2025, this Court ordered

            the parties to submit supplemental briefing citing Second

            Circuit law on their jurisdictional arguments. ECF No. 60. On

            April 10, 2025, Ms. Ozturk filed a supplemental memorandum on

            the jurisdictional issues as well as a motion for her release,

            or in the alternative, a motion to return her to the District of

            Vermont. ECF Nos. 81, 82. The government filed its supplemental

            briefing in opposition on these issues. ECF Nos. 83, 84. The

            Court heard oral argument from the parties on April 14, 2025 and

            took the matter under advisement.

                                              Discussion

                  Pending before the Court is Ms. Ozturk’s habeas corpus

            petition and the government’s request for the petition to be

            dismissed. As a threshold matter, Ms. Ozturk argues that the

            District of Vermont has jurisdiction and is the proper court

            after the District of Massachusetts’ transfer pursuant to 28

            U.S.C. § 1631. The government argues that § 1631 cannot supply

            this Court with jurisdiction and that the petition should be

            dismissed because the proper forum is the Western District of

            Louisiana, where Ms. Ozturk is currently confined. The parties

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            also dispute whether certain provisions of the INA bar review of

            Ms. Ozturk’s habeas claims.

                  Ms. Ozturk’s substantive constitutional claims center on

            alleged violations of her First and Fifth Amendment rights. In

            support of her First Amendment claim, she has submitted evidence

            to show that the actions against her were retaliatory, as the

            only identifiable conduct supporting her detention is her co-

            authoring of a Tufts University op-ed. The government has

            submitted no evidence to counter her First Amendment claim. Ms.

            Ozturk’s Fifth Amendment claim asserts due process violations.

            Finally, Ms. Ozturk requests immediate release on bail pending

            the outcome of the habeas review, while the government argues

            that bail or bond can only be sought from an immigration judge.

            In the alternative, Ms. Ozturk requests she be returned to

            custody in Vermont where she can work with counsel to prepare

            her legal claims. The Court will first address the

            jurisdictional questions.

            I.    Habeas Corpus Jurisdiction

                  A. Legal Standards

                  Ms. Ozturk filed her habeas petition pursuant to 28 U.S.C.

            § 2241. Generally, “[w]henever a § 2241 habeas petitioner seeks

            to challenge his present physical custody within the United

            States, he should name his warden as respondent and file the

            petition in the district of confinement.” Rumsfeld v. Padilla,

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            542 U.S. 426, 447 (2004). This rule is “derived from the terms

            of the habeas statute,” id., which only permits district courts

            to grant habeas relief “within their respective jurisdictions,”

            28 U.S.C. § 2241(a).

                  The federal habeas statute further states that a petition

            must allege “the name of the person who has custody over him.”

            28 U.S.C. § 2242; see 28 U.S.C. § 2243 (“The writ, or order to

            show cause shall be directed to the person having custody of the

            person detained.”). The Supreme Court has interpreted this

            statutory language as requiring the petitioner to name as the

            respondent her “immediate custodian[,]” who, “[b]y

            definition . . . reside[s] in the same district” as the

            petitioner. Padilla, 542 U.S. at 444. “[T]he default rule is

            that the proper respondent is the warden of the facility where

            the prisoner is being held, not the Attorney General or some

            other remote supervisory official.” Id. at 435. These

            jurisdictional rules for habeas petitions do not implicate the

            Court’s subject-matter jurisdiction and are treated functionally

            as matters of personal jurisdiction or venue. See id. at 434 n.7

            (explaining that the Court uses the word “‘jurisdiction . . . in

            the sense that it is used in the habeas statute, 28 U.S.C. §

            2241(a), and not in the sense of subject-matter jurisdiction of

            the District Court”); id. at 451 (Kennedy, J., concurring) (“In

            my view, the question of the proper location for a habeas

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            petition is best understood as a question of personal

            jurisdiction or venue.”).

                  Because Ms. Ozturk was in Vermont when her counsel filed

            the pending habeas petition in the District of Massachusetts,

            the petition was not filed in her district of confinement. Nor

            did it name her immediate custodian (who presumptively would

            have been in the District of Vermont). The government argues

            that the § 1631 transfer by the District of Massachusetts is

            insufficient to cure these jurisdictional defects, and that the

            only forum where Ms. Ozturk’s petition may properly be brought

            is the Western District of Louisiana. The Court therefore

            addresses, in turn, (1) whether the District of Massachusetts §

            1631 transfer was proper, (2) whether the § 1631 transfer cures

            the original petition’s failure to comply with the district of

            confinement rule, and (3) whether this Court has jurisdiction

            despite the petition’s alleged failure to identify any immediate

            custodian.

                  B. The Section 1631 Transfer

                  Under 28 U.S.C. § 1631:

                  [w]henever a civil action is filed in a court as
                  defined in section 610 of this title or an appeal,
                  including a petition for review of administrative
                  action, is noticed for or filed with such a court and
                  that court finds that there is a want of jurisdiction,
                  the court shall, if it is in the interest of justice,
                  transfer such action or appeal to any other such court
                  (or, for cases within the jurisdiction of the United
                  States Tax Court, to that court) in which the action

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                  or appeal could have been brought at the time it was
                  filed or noticed, and the action or appeal shall
                  proceed as if it had been filed in or noticed for the
                  court to which it is transferred on the date upon
                  which it was actually filed in or noticed for the
                  court from which it is transferred.
                  It is well-established in the Second Circuit that habeas

            petitions may be transferred under § 1631. See, e.g., Liriano v.

            United States, 95 F.3d 119, 123 (2d Cir. 1996) (holding that

            when a second or successive petition for habeas corpus is filed

            in district court without the requisite authorization of the

            Second Circuit, “the district court should transfer the petition

            or motion to this Court in the interest of justice pursuant to §

            1631”); Zhen Yi Guo v. Napolitano, 2009 WL 2840400, at *6

            (S.D.N.Y. Sept. 2, 2009) (“Courts have consistently found it in

            the interest of justice to transfer habeas petitions when

            jurisdiction is lacking.” (quoting Shehnaz v. Ashcroft, 2004 WL

            2378371, at *4 (S.D.N.Y. Oct. 25, 2004))). “When considering

            whether a transfer would serve the interest of justice, [the

            Court] must weigh ‘the equities of dismissing a claim when it

            could be transferred.’” Ruiz v. Mukasey, 552 F.3d 269, 276 (2d

            Cir. 2009) (quoting Liriano, 95 F.3d at 122). Relevant equities

            include whether the petitioner acted in good faith and whether a

            transfer would “expedite [] review, thereby furthering the

            interest of justice.” Id.

                  In this case, the government does not dispute that this

            petition “could have been brought” in the District of Vermont

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            “at the time it was filed[.]” 28 U.S.C. § 1631; see ECF No. 19

            at 27 (“It is true that at the time Petitioner’s original

            petition was filed, it could have been properly filed in Vermont

            as that is where she was then in custody.”). Ms. Ozturk acted in

            good faith when she originally filed the petition in

            Massachusetts, and transfer expedited review because Ms. Ozturk

            would otherwise have needed to spend time refiling the petition.

            Because Ms. Ozturk’s petition could have been brought in this

            Court at the time it was filed and the record supports that the

            equities weighed in favor of transfer, the Massachusetts

            district court’s decision to transfer the petition to this Court

            complied with the requirements for transfer under § 1631. Cf.

            U.S. Bank Nat’l Ass’n v. Bank of Am. N.A., 916 F.3d 143, 152 (2d

            Cir. 2019) (noting the Supreme Court’s “sagacious warning” that

            “‘[t]ransferee courts that feel entirely free to revisit

            transfer decisions of a coordinate court threaten to send

            litigants into a vicious circle of litigation,’ culminating in a

            ‘perpetual game of jurisdictional ping-pong.’” (quoting

            Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 816,

            818 (1988))).

                  C. The District of Confinement Rule

                  Ms. Ozturk argues that because a case transferred under §

            1631 “shall proceed as if it had been filed in or noticed for

            the court to which it is transferred on the date upon which it

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            was actually filed in[,]” the Court should treat her petition as

            if it had been filed in the District of Vermont at approximately

            10:02 p.m. on March 25, 2025, in which case it would have been

            filed in her district of confinement. 28 U.S.C. § 1631. The

            government contends that Ms. Ozturk cannot “use § 1631 to vest

            this Court with authority that it otherwise would lack by way of

            statute” and that “[n]othing in § 1631 allows a district court

            to somehow blow past” § 2241’s statutory requirements “based on

            the fiction that the suit was properly before it.” ECF No. 83 at

            14-15.

                  The government does not cite any authority holding that §

            1631 cannot cure a habeas petitioner’s failure to file a

            petition in the correct district. Other courts have found

            transfer under § 1631 to be proper where a habeas petition was

            not originally filed in the district of confinement. See, e.g.,

            Abraham v. Decker, 2018 WL 3387695, at *3 (E.D.N.Y. July 12,

            2018) (transferring habeas petition under § 1631 because

            petitioner’s immediate custodian was in New Jersey, not New

            York); Golding v. Sessions, 2018 WL 6444400, at *3 (S.D.N.Y.

            Dec. 6, 2018) (same). Additionally, “[t]he legislative history

            of § 1631 indicates that ‘Congress contemplated that the

            provision would aid litigants who were confused about the proper

            forum for review.’” Liriano, 95 F.3d at 122. Ms. Ozturk’s filing

            of her habeas petition in the District of Massachusetts because

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            her counsel did not know her location — in other words, her

            confusion about the proper forum for review — is thus exactly

            the kind of jurisdictional defect § 1631 was designed to cure.

                  The government cites De Ping Wang v. Department of Homeland

            Security, 484 F.3d 615 (2d Cir. 2007) for the proposition that

            “[t]he Second Circuit has held that, while § 1631 allows a

            transferee court to proceed as if the case had been filed on a

            certain date, § 1631 does not allow courts to ignore other facts

            and substantive limits on jurisdiction.” ECF No. 83 at 15. That

            case, however, is readily distinguishable. In De Ping Wang, the

            Second Circuit found that transfer under 28 U.S.C. § 1631 was

            improper because, even if the action in that case were correctly

            filed in the transferee court on the same date it was mistakenly

            filed in transferor, it would still have been untimely. 484 F.3d

            at 617-18. In contrast, filing Ms. Ozturk’s petition in the

            District of Vermont on the same date it was filed in the

            District of Massachusetts would have satisfied the

            jurisdictional requirement that she file in her district of

            confinement.

                  A New Jersey federal court recently found transfer under §

            1631 to support habeas jurisdiction under similar circumstances.

            Khalil v. Joyce, 2025 WL 972959, at *15 (D.N.J. Apr. 1, 2025).

            In Khalil, the habeas petitioner was arrested by federal

            officials in Manhattan but was being held in a New Jersey

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            facility when he filed his petition. Id. at *1. Finding that it

            lacked jurisdiction, the Manhattan district court transferred

            the petition to the District of New Jersey. In finding that it

            had habeas jurisdiction to proceed upon the case’s transfer, the

            District of New Jersey court reasoned that according to the

            clear language of § 1631, it must treat the case as if it had

            been filed in New Jersey on the same date it was filed in New

            York. The court concluded that because “[a]t that moment, the

            Petitioner was in New Jersey . . . there is no missing piece of

            the jurisdictional puzzle[,]” and thus “the Petition counts as

            having been in New Jersey at the same moment the Petitioner was

            here.” Id. at *15.

                  This Court comes to the same conclusion here. At

            approximately 10:02 p.m. on March 25, 2025, the moment Ms.

            Ozturk filed her habeas petition, she was detained in Vermont.

            Accordingly, for this action to “proceed as if it had been filed

            in or noticed for the court to which it [was] transferred on the

            date upon which it was actually filed[,]” the case must proceed

            as if it were filed in the District of Vermont while Ms. Ozturk

            was detained here, in which case the district of confinement

            rule would have been satisfied. 28 U.S.C. § 1631.

                  The government further argues that Ms. Ozturk’s present

            detention in Louisiana prevents the District of Vermont from

            exercising habeas jurisdiction. Section § 2241(a) provides that

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            district courts may only grant a writ of habeas corpus “within

            their respective jurisdictions[,]” and although Ms. Ozturk was

            in this jurisdiction at the time her petition was filed, she is

            no longer in the District of Vermont. Ms. Ozturk asserts that

            the District of Vermont has jurisdiction notwithstanding her

            transfer to Louisiana based on Ex parte Endo, 323 U.S. 283

            (1944).

                  In Ex parte Endo, the Supreme Court recognized an exception

            to the general rule that a district court only has power to

            grant habeas relief when the petitioner is being held within its

            jurisdiction. The Endo petitioner was a Japanese-American

            citizen who was interned by the government during World War II.

            323 U.S. at 284-85. The petitioner filed a habeas petition in a

            California district court while detained in that district and,

            while appealing the petition’s denial, was transferred to a

            detention center in Utah. Id. The Supreme Court held that the

            petitioner’s transfer to Utah after the California district

            court “acquired jurisdiction in this case” did not “cause it to

            lose jurisdiction where a person in whose custody [the

            petitioner] is remains within the district.” Id. at 306. In

            Padilla, the Supreme Court recognized that,

                  Endo stands for the important but limited proposition
                  that when the Government moves a habeas petitioner
                  after she properly files a petition naming her
                  immediate custodian, the District Court retains
                  jurisdiction and may direct the writ to any respondent

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                  within its jurisdiction who has legal authority to
                  effectuate the prisoner's release.
            542 U.S. at 441.

                  The government argues that Ex parte Endo does not apply

            because, in this case, Ms. Ozturk “never properly filed her

            habeas petition” in the District of Vermont and thus this Court

            had not acquired jurisdiction prior to her transfer to a

            different district. ECF No. 83 at 9 n.2. The plain language of

            the transfer statute, however, states that the transferred

            action “shall proceed as if it had been filed” in the transferee

            court on the same date it was filed in the transferor court. 28

            U.S.C. § 1631 (emphasis added); see Jimenez v. Quarterman, 555

            U.S. 113, 118 (2009) (“[W]hen the statutory language is plain,

            we must enforce it according to its terms.”).

                  Had Ms. Ozturk filed her habeas petition in the District of

            Vermont on March 25, 2025, the holding of Ex parte Endo would

            squarely apply. The District of Vermont would have acquired

            jurisdiction on that date, and Ms. Ozturk’s transfer to

            Louisiana would not have stripped the Court of its jurisdiction

            because a respondent with the power to effectuate Ms. Ozturk’s

            release remains within the reach of the District of Vermont. See

            Henderson v. I.N.S., 157 F.3d 106, 125 (2d Cir. 1998) (noting

            that there is “no question that the Attorney General has the

            power to produce the petitioners” in case brought by legal

            permanent residents who were ordered deported).

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                  D. The Immediate Custodian Rule

                  Even if this Court allows Ms. Ozturk’s petition to proceed

            as if it had been filed on March 25, 2025, in the District of

            Vermont, the question remains of whether the Court could not

            have properly acquired jurisdiction on that date because the

            petition may have failed to name Ms. Ozturk’s immediate

            custodian as a respondent.

                  The government contends that “Petitioner named improper

            respondents in her original petition because she named

            supervisory officials, rather than her immediate custodian in

            Vermont when the petition was filed.” ECF No. 83 at 10. Of the

            supervisory officials named in the Petition, the one closest to

            Vermont was Ms. Hyde, the acting ICE Field Office director for

            New England. When presented with the question of whether an ICE

            Field Office director was the correct respondent in a habeas

            petition, other district courts in the Second Circuit have held

            that the correct custodian was instead the warden of the local

            facility where the petitioner was being held. See Sanchez v.

            Decker, 2019 WL 6311955, at *4 (S.D.N.Y. Nov. 25, 2019) (finding

            that the warden of the county correctional facility where

            petitioner was held, rather than the director of ICE’s New York

            City Field Office, was the immediate custodian); see also Lemus-

            Pineda v. Whittaker, 354 F. Supp. 3d 473, 475 (S.D.N.Y. 2018)



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            (holding that county jail warden, rather than ICE field office

            director, was proper respondent).

                  In this case, however, Ms. Ozturk was not at a prison or

            jail when the Petition was filed – she was in a vehicle being

            transported to an ICE Field Office. There is no “warden” that

            Ms. Ozturk could have named. It is also not apparent to the

            Court that Ms. Hyde was not functionally the immediate custodian

            in that moment. Presumably a call from Ms. Hyde to a subordinate

            may have actually freed Ms. Ozturk, just as a call from a warden

            to a correctional officer may actually free a prisoner. At oral

            argument, government’s counsel could not identify who that

            immediate custodian would have been if not Ms. Hyde. ECF No. 98

            at 30. Because the government has provided insufficient facts to

            determine that Ms. Hyde was not Ms. Ozturk’s immediate

            custodian, the Court will not dismiss her petition on that

            basis.

                  Regardless of whether Ms. Hyde was the immediate custodian,

            Ms. Ozturk argues that this case falls within an exception to

            the immediate custodian rule because her custodian was unknown

            at the time of the Petition’s filing. The unknown custodian

            exception arises from Demjanjuk v. Meese, 784 F.2d 1114 (D.C.

            Cir. 1986), in which a habeas petitioner was held by the United

            States in a confidential location at the time he filed his

            petition. The D.C. Circuit thus ruled that “in these very

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            limited and special circumstances,” it would consider the

            Attorney General of the United States the appropriate custodian.

            784 F.2d at 1116. In Padilla, the Supreme Court recognized this

            exception by noting that although “[w]hen, as in [Demjanjuk], a

            prisoner is held in an undisclosed location by an unknown

            custodian, it is impossible to apply the immediate custodian and

            district of confinement rules[,]” that was not the case in

            Padilla. 542 U.S. at 450 n.18.

                  In Khalil, the New Jersey district court found that this

            exception applied where, at the time of filing the petition,

            nothing in the record showed that the petitioner’s counsel could

            “have determined in real time that the Petitioner had been moved

            to New Jersey[.]” 2025 WL 972959, at *27. Although Mr. Khalil’s

            counsel attempted to locate the petitioner, the ICE Online

            Detainee Locator System incorrectly indicated that he was still

            being held in New York, and Mr. Khalil was not allowed to call

            his attorney. Accordingly, the District of New Jersey court

            concluded the unknown custodian exception applied because “the

            identity of the immediate custodian [was] virtually unknowable”

            when Mr. Khalil filed his habeas petition. Id. at *30.

                  The District of New Jersey court acknowledged that Mr.

            Khalil’s custodian subsequently became known such that the case

            could “simply be dismissed and refiled in Louisiana[,]” where he

            was currently being held. Id. at 36. It nonetheless concluded

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            that equitable concerns weighed in favor of applying the unknown

            custodian exception, explaining that:

                  if the exception does not apply, and the case is
                  dismissed on that basis, then the implication would be
                  that there can be a period of time during which a
                  person can be arrested in the United States and then
                  moved by federal officials, during which period no
                  habeas court would have the power to hear him out ---
                  even though, as here, his lawyers and family cannot
                  determine where he is only because they have been
                  given inaccurate information about his whereabouts,
                  and because he has not been allowed to correct that
                  information by making a phone call.
            Id.
                  For similar reasons, this Court agrees with Ms. Ozturk that

            the unknown custodian exception applies in this case. As in

            Demjanjuk, Ms. Ozturk was being held in “an undisclosed location

            by an unknown custodian” on the date her habeas petition was

            filed. 542 U.S. at 450 n.18. The government does not dispute

            that her counsel could not have known her location; in fact, the

            government states in its briefing that it does not permit

            immigration detainees “to communicate about their location while

            enroute between detention facilities” because doing so “would

            raise serious security concerns.” ECF No. 83 at 13. The

            government thus admits that from the time ICE agents arrested

            Ms. Ozturk to the time she arrived at the Louisiana detention

            facility, it was keeping her location a secret. And the identity

            of Ms. Ozturk’s actual custodian at the time of filing, if it is

            not one of the Respondents, appears to still be unknown to the

            government.

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                  Ms. Ozturk was arrested at 5:25 pm on March 25, 2025, and

            ICE did not provide her location to her counsel until the

            afternoon of March 26, 2025. This made it “impossible to apply

            the immediate custodian” rule for a period of nearly 24 hours

            after Ms. Ozturk’s initial detention. Padilla, 542 U.S. at 450

            n.18; see United States v. Paracha, 2006 WL 12768, at *6

            (S.D.N.Y. Jan. 3, 2006) (“Ordinarily, a habeas writ must be

            served on a prisoner’s immediate custodian. However, where, as

            here, the immediate custodian is unknown, a writ may properly be

            served on the prisoner’s ultimate custodian.”).

                  The government asserted at oral argument that under

            Padilla, it is irrelevant whether Ms. Ozturk’s counsel made

            diligent efforts to ascertain her location — that does not

            excuse a petitioner from the immediate custodian requirement.

            The Padilla majority, however, had no occasion to apply the

            unknown custodian exception because the facts there indicated

            that the petitioner’s counsel may have been “well aware” of Mr.

            Padilla’s presence in South Carolina before filing a habeas

            petition in New York. 542 U.S. at 449 n.17. The majority

            rejected the dissent’s characterization of the petitioner’s

            location as secret, finding that “neither Padilla nor the

            District court” had “ever suggested that the Government

            concealed Padilla’s whereabouts from counsel[.]” Id. In this

            case, Ms. Ozturk argues, and the government does not dispute,

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            that ICE officials were intentionally concealing Ms. Ozturk’s

            whereabouts on the day her petition was filed.

                  Additionally, application of the unknown custodian

            exception in this case would not implicate the forum-shopping

            concerns that underlie the immediate custodian rule. As the

            Supreme Court explained in Padilla, this rule “serves the

            important purpose of preventing forum shopping by habeas

            petitioners” because “[w]ithout it, a prisoner could name a

            high-level supervisory official as respondent and then sue that

            person wherever he is amenable to long-arm jurisdiction.” 542

            U.S. at 447. Here, the Court finds that Ms. Ozturk could only

            have filed her petition in one location: the District of

            Vermont.

                  Even if the unknown custodian rule exception did not apply

            here, had Ms. Ozturk correctly filed the Petition in the

            District of Vermont but named the incorrect custodian, this

            Court could have simply allowed her to amend the Petition to

            include the proper respondent. See Fed. R. Civ. P. 15(a)(1)(A)

            (“A party may amend its pleading once as a matter of course no

            later than . . . 21 days after serving it); see also Destyl v.

            Garland, 2023 WL 3603666, at *4 (W.D.N.Y. May 23, 2023) (finding

            “purely as a procedural matter” that the proper respondent was

            the officer-in-charge of the Buffalo Federal Detention Facility



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            rather than the United States Attorney General and substituting

            in the correct respondent).

                  Accordingly, the Court finds it has habeas corpus

            jurisdiction to consider Ms. Ozturk’s petition.

            II.   Habeas Review Limitations in the Immigration and
                  Nationality Act

                  Having found that habeas corpus jurisdiction is proper, the

            Court turns to the government’s argument that the INA

            nonetheless bars district court review of Ms. Ozturk’s habeas

            claims related to her detention. The government cites five

            provisions of the INA which they argue constrain or prohibit the

            Court’s review: 8 U.S.C. § 1201(i); 8 U.S.C. § 1226(e); 8 U.S.C.

            § 1252(g); 8 U.S.C. § 1252(a)(5); and 8 U.S.C. 1252 (b)(9). For

            reasons set forth below, the Court finds that none of these

            provisions limit the Court’s review where Ms. Ozturk has raised

            constitutional and legal challenges to her detention that are

            separate from removal proceedings.

               A. The Court’s Review is Not Barred by § 1226(e)

                  Ms. Ozturk has been detained under the discretionary

            detention provision of the INA, codified at 8 U.S.C. § 1226(a).

            Section 1226 created two mutually exclusive avenues for

            government detention of individuals who may be subject to

            removal. One avenue, under the subsection titled “Detention of

            Criminal Aliens,” requires (“shall”) the government to “take


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            into custody” individuals who fit certain heightened criteria.

            §1226(c). The other avenue – at issue in this case – entitled

            “Arrest, Detention, and Release,” grants the government

            discretion to arrest and detain individuals: “an alien may be

            arrested and detained pending a decision on whether the alien is

            to be removed from the United States.” 8 U.S.C. § 1226(a). The

            statute also includes a subsection on judicial review. This

            subsection reads in its entirety, “The Attorney General’s

            discretionary judgment regarding the application of this section

            shall not be subject to review. No court may set aside any

            action or decision by the Attorney General under this section

            regarding the detention of any alien or the revocation or denial

            of bond or parole.” § 1226(e). 1

                  The government argues that § 1226(e) precludes the Court’s

            review of Ms. Ozturk’s detention, notwithstanding the United

            States Constitution’s Suspension Clause. The Suspension Clause

            provides that “[t]he Privilege of the Writ of Habeas Corpus

            shall not be suspended, unless when in Cases of Rebellion or

            Invasion the public Safety may require it.” Because of the

            history and importance of the habeas corpus writ, along with a

            desire to read statutes to comport with the Constitution, the




            1
              Note that since the enactment of the INA, Congress created the
            Department of Homeland Security and charged the Secretary with
            enforcing the INA, 8 U.S.C. § 1103.

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            Supreme Court has held that “where a provision precluding review

            is claimed to bar habeas review, the Court requires a

            particularly clear statement that such is Congress’ intent.”

            Demore v. Kim, 538 U.S. 510, 511 (2003); id. at 517 (finding

            that the “clear text” of § 1226(e) does not bar a habeas

            challenge to detention). This mandate for statutory construction

            is so strict that it has been criticized for establishing a

            “magic words” requirement for Congress to preclude habeas

            review. INS v. St. Cyr, 533 U.S. 289, 327 (2001) (Scalia, J.,

            dissenting). Here, the Court does not find such a clear

            statement of Congressional intent, let alone any magic words,

            that would support a categorical bar to habeas review of

            detention under § 1226.

                  Binding precedent in this Circuit also counters the

            government’s argument. In Velasco Lopez v. Decker, the Second

            Circuit squarely considered the availability of habeas review

            for the petitioner who was detained under § 1226(a). 978 F.3d

            842 (2d Cir. 2020). The Circuit court reviewed a grant of habeas

            relief under 28 U.S.C. § 2241 and held that § 1226(e) does not

            limit habeas jurisdiction over constitutional claims or

            questions of law. Id. at 850. Further, habeas review in federal

            court can consider claims that the discretionary process itself

            was constitutionally flawed. Id. In sum, whether a habeas



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            petitioner received due process is not a matter of discretion

            and is subject to judicial review. Id.

                  As discussed below, Ms. Ozturk has raised questions that

            are fairly characterized as “constitutional claims or questions

            of law.” Id. Ms. Ozturk has also argued that while the

            government does have discretion in § 1226(a) detention, that

            discretionary process may be unconstitutional if it allows for

            the deprivation of constitutional rights. For jurisdictional

            purposes, the Court need not analyze the merits of these claims

            at this point. It is enough to acknowledge that because Ms.

            Ozturk has appropriately raised constitutional claims for this

            Court to consider in habeas, the nature of those claims defeats

            any jurisdictional bar set forth in § 1226(e). 2

                  The legislative history of the REAL ID Act of 2005 confirms

            that Congress understood § 1226(e) does not operate as a

            categorical bar to habeas review of detention. Regarding

            provisions of the REAL ID Act which purport to deprive the

            districts courts of habeas jurisdiction of removal proceedings,

            Congress noted that those provisions “will not preclude habeas

            review over challenges to detention that are independent of



            2
              The Court acknowledges case law limiting, but not eliminating, habeas
            review for “Criminal Aliens” mandatorily detained under § 1226(c). See
            e.g., Jennings v. Rodriguez, 583 U.S. 281 (2018). However, Ms. Ozturk
            is held in discretionary detention under § 1226(a), not mandatory
            detention under § 1226(c).


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            challenges to removal orders.” H.R. Cong. Rep. No. 109-72, at

            2873 (May 3, 2005). Almost immediately after the Real ID Act was

            enacted, the First Circuit confronted the question of continued

            district court jurisdiction for habeas challenges to detention

            and determined that the REAL ID Act provided no bar in such

            cases. Hernandez v. Gonzales, 424 F.3d 42, 42 (1st Cir. 2005).

            And courts in this Circuit have continued to consider habeas

            challenges to detention under § 1226(a) since then. See, e.g.,

            Velasco Lopez, 978 F.3d 842. The Court adheres to that precedent

            in this case.

               B. Sections § 1201(i), § 1252(g), § 1252(a)(5), and §
               1252(b)(9)

                  The government argues that, regardless of this Court’s

            interpretation of 8 U.S.C. § 1226(e), four additional statutory

            provisions prevent it from considering Ms. Ozturk’s claim for

            relief from present detention. Those four provisions – 8 U.S.C.

            § 1201(i), 8 U.S.C. § 1252(g), 8 U.S.C. § 1252(a)(5), and 8

            U.S.C. § 1252(b)(9) – each directly relate to removal

            proceedings.

                  At the outset, the Court acknowledges that the Suspension

            Clause does not establish an absolute right to seek the writ of

            habeas corpus. The Supreme Court has held that Congress may

            modify or eliminate the right to seek the writ if Congress

            provides “a collateral remedy which is neither inadequate nor


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            ineffective to test the legality of a person’s detention.” Swain

            v. Pressley, 430 U.S. 372, 381 (1977). For example, as the Court

            found in INS v. St. Cyr, “Congress could, without raising any

            constitutional questions, provide an adequate substitute through

            the courts of appeals.” 533 U.S. at 314 n.38. If such a

            substitute is crafted by Congress, courts must then determine

            “whether the statute stripping jurisdiction to issue the writ

            avoids the Suspension Clause mandate because Congress has

            provided adequate substitute procedures for habeas corpus.” Luna

            v. Holder, 637 F.3d 85, 93 (2d Cir. 2011) (quoting Boumediene v.

            Bush, 553 U.S. 723, 771 (2008)).

                  Section 1201 governs the issuance of visas. The

            jurisdictional bar in § 1201(i) explicitly prohibits judicial

            review under “section 2241 of title 28 or any other habeas

            corpus provision, and sections 1361 and 1651 of such title . . .

            except in the context of a removal proceeding” for individuals

            challenging the revocation of visas or documents. The government

            urges the Court to follow the guidance of courts in other

            jurisdictions who have found “themselves without jurisdiction to

            consider the merits of a visa revocation upon operation of

            Section 1201(i)’s language.” ECF No. 83 at 24. Here, however,

            the merits of a visa revocation are not before the Court. While

            Ms. Ozturk may plan to challenge the revocation of her visa in

            another forum, she does not do so in the instant Petition.

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                  Section 1252 provides a collateral remedy in the context of

            removal proceedings. The government details its understanding of

            that procedure succinctly: “Petitioner must seek release before

            an immigration judge and must pursue relief from removal in

            Immigration Court, whose decision would be reviewable before the

            Board of Immigration Appeals (“BIA”), and (if necessary) a

            federal circuit court.” ECF No. 83 at 4. Courts across the

            country, including the Second Circuit, have functionally

            endorsed this procedure as a substitute for the writ of habeas

            corpus in instances where would-be habeas petitioners seek

            judicial review of removal proceedings. See, e.g., Ruiz-Martinez

            v. Mukasey, 516 F.3d 102, 114 (2d Cir. 2008). Thus, if Ms.

            Ozturk sought relief from removal proceedings, this Court would

            be obligated to follow Circuit precedent and conclude its review

            of that claim.

                  The government argues that whatever Ms. Ozturk’s claims may

            be about the constitutionality of her detention, any “challenges

            inextricably intertwined with the final order of removal that

            precede issuance of any order of removal . . . and decisions to

            detain for the purposes of removal” should all be considered

            subject to the same jurisdictional bar. ECF No. 83 at 23. The

            Second Circuit has held, however, that “a suit brought against

            immigration authorities is not per se a challenge to a removal

            order; whether the district court has jurisdiction will turn on

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            the substance of the relief that a plaintiff is seeking.”

            Delgado v. Quarantillo, 643 F.3d 52, 55 (2d Cir. 2011) (citing

            Kellici v. Gonzales, 472 F.3d 416, 420 (6th Cir. 2006) (finding

            that a “district court, not court of appeals, had jurisdiction

            where plaintiffs' habeas petitions challenged only the

            constitutionality of the arrest and detention, not the

            underlying administrative order of removal.”)).

                  The claims for relief before this Court do not challenge

            Ms. Ozturk’s removal proceedings. Ms. Ozturk’s attorneys

            acknowledge that claims related to removal are not appropriate

            in this action: “While the government’s Policy also lay behind

            the revocation of her visa and placement in removal proceedings,

            she does not, in this Court, challenge those actions. Instead,

            she seeks relief on her claims challenging her apprehension,

            detention, and the termination of her SEVIS, release from

            detention, reinstatement of her SEVIS, and corresponding

            declaratory and injunctive relief that the Policy that resulted

            in her apprehension, detention, and SEVIS termination are

            illegal.” 3 ECF. No. 81 at 21. None of these claims raise

            challenges to the removal process.

                  The limitations on habeas review set forth in Section 1252

            thus do not apply in this case. Subsection (a)(5) provides for


            3 The government notes that Ms. Ozturk’s SEVIS record is not the basis
            for her detention or removability. ECF No. 83 at 21.

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            the “Exclusive Means of Review” for habeas petitions challenging

            “an order of removal” through the established scheme. Subsection

            (b)(9) limits habeas review, except through the established

            scheme requiring a final order before appeal to the circuit

            court, for “all questions of law and fact, including

            interpretation and application of constitutional and statutory

            provisions, arising from any action taken or proceeding brought

            to remove an alien from the United States under this

            subchapter.” And subsection (g) limits jurisdiction of courts

            outside the established scheme to “hear any cause or claim by or

            on behalf of any alien arising from the decision or action by

            the Attorney General to commence proceedings, adjudicate cases,

            or execute removal orders against any alien under this chapter.”

                  Subsection (a)(5) can be dispensed of quickly, as no

            “removal order” has been issued here and Ms. Ozturk does not

            challenge one. Similarly, she has not raised in this Court any

            constitutional or legal concerns “arising from” “any action” or

            “proceeding” brought to remove her, per subsection (b)(9).

            Moreover, the plain text of subsection (g) does not support a

            reading that Ms. Ozturk’s detention and resulting constitutional

            claims arise from the government’s “decision or action” to

            “commence proceedings, adjudicate cases, or execute removal

            orders.” Whether removal proceedings have proceeded according to



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            law and in comport with the Constitution is not a question

            before this Court.

                  The government’s argument that Ms. Ozturk’s detention

            “arises from” her removal proceedings stretches the bounds of

            the text and the facts of this case. While Ms. Ozturk’s

            detention may be related to her immigration status following the

            revocation of her visa, it does not “arise from” her removal

            proceedings. Indeed, there is no causal relationship between the

            removal proceedings and her detention. As the government has

            confirmed, ICE’s decision to arrest and detain her was

            discretionary under § 1226(e). Her detention did not flow

            naturally as a consequence of her removal proceedings. Indeed,

            Ms. Ozturk was detained before the commencement of her removal

            proceedings. See 8 C.F.R. § 1003.14. Whether her detention

            comports with the law and the Constitution is the subject of

            this Court’s habeas review.

                  The government cites Jennings v. Rodriguez, 138 S. Ct. 830,

            841 (2018) for the proposition that the habeas corpus bar in §

            1252(b)(9) includes challenges to a decision to detain or to

            seek removal. Jennings does not provide guidance on the question

            of reviewability of detention decisions under § 1252(b)(9),

            however, in part because that issue was not briefed or argued

            before the court. 138 S. Ct. at 841 (“The parties in this case

            have not addressed the scope of § 1252(b)(9), and it is not

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            necessary for us to attempt to provide a comprehensive

            interpretation. For present purposes, it is enough to note that

            respondents are not asking for review of an order of removal;

            they are not challenging the decision to detain them in the

            first place or to seek removal; and they are not even

            challenging any part of the process by which their removability

            will be determined. Under these circumstances, § 1252(b)(9) does

            not present a jurisdictional bar.”). In fact, Jennings

            explicitly rejected the formulation, proposed in a concurrence,

            that the government seeks here. “The concurrence contends that

            ‘detention is an “action taken ... to remove” an alien’ and that

            therefore ‘even the narrowest reading of “arising from” must

            cover’ the claims raised by respondents. Post at 855. (Thomas,

            J., concurring in part and concurring in judgment). We do not

            follow this logic.” Id. at 841 n.3. Accordingly, this Court also

            does not read “arising from” to encompass any activity that has

            occurred since the revocation of Ms. Ozturk’s visa. 4


            4
              In Court proceedings on April 14, 2025, the government reasserted the
            argument that the confluence of the opinions of five Justices in
            Jennings should be read to bar review of Ms. Ozturk’s claims in this
            Court and instead channel them eventually to a court of appeals, no
            matter the nature of the challenged action. But Justice Alito’s
            opinion for the Court, while not controlling on the matter of
            §1252(b)(9), rejects the “staggering results” that would follow
            Respondents’ interpretation. “Suppose, for example, that a detained
            alien wishes to assert a claim under Bivens v. Six Unknown Fed.
            Narcotics Agents, 403 U.S. 388 (1971), based on allegedly inhumane
            conditions of confinement. . . . [C]ramming judicial review of those
            questions into the review of final removal orders would be absurd.”
            Jennings 138 S.Ct. at 293.

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                  Similarly, the government’s reliance on Delgado v.

            Quarantillo is misplaced. 643 F.3d 52 (2d Cir. 2011). The

            Delgado case did not concern detention. The plaintiff in that

            case brought a mandamus action to raise an adjustment-of-status

            challenge, which the Second Circuit determined was “inextricably

            linked” to a reinstatement of removal order and thus barred by §

            1252(a)(5) because “the adjustment of status to that of a lawful

            permanent resident would render the reinstatement order

            invalid.” 643 F.3d at 55 (cleaned up). Implicit in the Delgado

            court’s reasoning is a causal relationship between the relief

            sought and the removal process. As noted above, the Delgado

            court made clear that district courts must determine

            jurisdiction by considering the substance of the asked-for

            relief because suits brought against immigration authorities are

            not per se challenges to removal orders. Id. In this case, there

            is no causal relationship between discretionary detention and

            removal proceedings. Relief from alleged improper detention

            would not render any removal proceedings invalid.

                  Finally, Ragbir v. Homan, 923 F.3d 53 (2d Cir. 2019) does

            not address an analogous situation for the purpose of § 1252(g)

            interpretation. The government contends that Ragbir counsels

            that “1252(g) strips the district court of jurisdiction to hear

            a retaliatory First Amendment challenge in a removal case.” ECF

            No. 83 at 26. But, again, the Court is not considering a removal

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            case. The Court is considering a habeas challenge to

            discretionary detention.

                  In summary, the government urges the court to interpret

            challenges to § 1226(a) detention as per se challenges to

            removal proceedings and barred by several provisions in § 1252.

            The Court declines to adopt that approach, as it has no

            precedent in this Circuit or at the Supreme Court. Indeed, cases

            like Velasco Lopez suggest that district courts in this Circuit

            should continue to consider habeas challenges to detention post-

            REAL ID Act, where otherwise appropriate. Article III courts

            have an important role to play in evaluating constitutional and

            legal claims related to detention brought in habeas, and this

            Court has jurisdiction over this case.

                  The Court offers one final observation about the

            government’s argument that constitutional challenges to

            detention must be brought first to an Immigration Judge, then to

            the Board of Immigration Appeals, and finally via a petition for

            review to the court of appeals. There are serious questions

            about whether that process would be an adequate substitute for

            the writ of habeas corpus in district court, given the limited

            scope of administrative review. 5 In a similar case proceeding in



            5
              Respondents’ reliance on Reno v. American-Arab Anti-Discrimination
            Committee (“AADC”), 525 U.S. 471 (1999), to “settle” these questions
            elides the fact that AADC was exclusively about removal, not
            detention.

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            the District of New Jersey, the government has acknowledged

            that, “[i]f the alleged claim is a fundamental constitutional

            claim the BIA (or the immigration judge) is powerless to

            address, the court of appeals can address that issue in the

            first instance.” Khalil, 2:25-cv-01963-MEF-MAH, ECF No. 185 at 2

            (cleaned up). Attorneys for the detainee in that case put it

            more bluntly, “both the IJ and the Board of Immigration Appeals

            (‘BIA’) lack jurisdiction over constitutional challenges.” Id.

            at ECF No. 189 at 1; see also Severino v. Mukasey, 549 F.3d 79,

            83 (2d Cir. 2008).

                  While timelines may vary on the speed with which detainees

            may have their constitutional arguments heard by a court of

            appeals in the first instance after the IJ and the BIA

            processes, it is evident that it will necessarily be slower than

            a petition to a district court, likely by a factor of months,

            leading to a gap in their habeas rights. The District Court of

            New Jersey held in Khalil that to deny jurisdiction would be to

            say that for a single day in March, the detainee in that case

            “would not have been able to call on any habeas court.” 2025 WL

            972959, at *37. The Court found that to be “too far” because

            “[o]ur tradition is that there is no gap in the fabric of habeas

            --- no place, no moment, where a person held in custody in the

            United States cannot call on a court to hear his case and decide

            it.” Id.

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                  Consider that the government’s argument on this issue boils

            down to a bold statement that no matter how egregious the type

            or quantity of First Amendment or due process violations

            committed by the government in detaining an individual, an

            Article III court cannot consider any alleged constitutional

            violations until after Article II employees, with no power to

            consider or address those violations, have moved the case

            through their lengthy process. Put another way, the government

            argues that § 1226(a) grants practically limitless, unreviewable

            power to detain individuals for weeks or months, even if the

            detention is patently unconstitutional. Fortunately, this Court

            need not rule on the merits of that argument today, given the

            Court’s rejection of the jurisdictional bar on other grounds.

            Thus, having found that 8 U.S.C. § 1201(i), § 1226(e), §

            1252(g), § 1252(a)(5), and § 1252(b)(9) do not bar the Court’s

            consideration of Ms. Ozturk’s constitutional and legal claims,

            the Court turns to those claims now.

            III. Petitioner’s Request for Immediate Release

                  Ms. Ozturk seeks habeas corpus relief based on alleged

            violations of her constitutional rights. Her ultimate goal in

            these proceedings is release from detention, but the Court

            presently considers her request for immediate release pending

            the resolution of her habeas petition.



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                  Both parties analyze Ms. Ozturk’s claim for immediate

            release pending the adjudication of her petition in reference to

            Mapp v. Reno, 241 F.3d 221 (2d Cir. 2001). Such release is

            authorized by Mapp provided the Court finds the habeas petition

            raises “substantial claims” and that “extraordinary

            circumstances” exist “that make the grant of bail necessary to

            make the habeas remedy effective.” Id. at 230 (cleaned up).

                  In this section, the Court first considers its power to

            conduct a habeas review and the proper nature of that review at

            this point in the case. The Court turns next to a short summary

            of evidence related to Ms. Ozturk’s constitutional claims. The

            Court then considers Ms. Ozturk’s First Amendment and Due

            Process claims. The Court finds that while Ms. Ozturk has raised

            serious claims and provided evidence that merit further review,

            the Court does not yet have enough evidence to make a

            determination on pre-disposition release under Mapp,

            particularly given the government’s limited representations on

            that question.

                  A. Habeas Corpus Review

                  District Courts have “inherent power” to consider habeas

            petitions and grant relief. Mapp, 241 F.3d at 226 (citing Ostrer

            v. United States, 584 F.2d 594, 596 n.1 (2d Cir. 1978)). The

            power is also statutory, as Section 2241 states that “[w]rits of

            habeas corpus may be granted by the Supreme Court, any justice

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            thereof, the district courts and any circuit judge within their

            respective jurisdictions.” 28 U.S.C. § 2241. “Congress has

            authorized federal district courts to grant a writ of habeas

            corpus whenever a petitioner is in custody in violation of the

            Constitution or laws or treaties of the United States.” Black v.

            Decker, 2020 WL 4260994, at *5 (S.D.N.Y. July 23, 2020), aff’d,

            103 F.4th 133 (2d Cir. 2024) (cleaned up).

                  Historically, “common-law habeas corpus was, above all, an

            adaptable remedy. Its precise application and scope changed upon

            the circumstances.” Boumediene, 553 U.S. at 779. The “equitable

            and flexible nature of habeas relief” continues in our system

            today. Velasco Lopez, 978 F.3d at 855. Where appropriate, courts

            must use their authority to consider not only the present

            circumstances of confinement, but the actions that led to it.

            “The intended duration of the detention and the reasons for it

            bear upon the precise scope of the inquiry. . . . The habeas

            court must have sufficient authority to conduct a meaningful

            review of both the cause for detention and the Executive’s power

            to detain.” Boumediene, 553 U.S. at 783. As the Velasco Lopez

            court stated, “[t]he purpose of habeas corpus is to impose

            limitations on the Government’s ability to do these things.” 978

            F.3d at 855.

                  The nature of the detention, and any other proceedings that

            have occurred, will impact the rigor of review. “Where a person

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            is detained by executive order, rather than, say, after being

            tried and convicted in a court, the need for collateral review

            is most pressing. . . . In this context the need for habeas

            corpus is more urgent.” Boumediene, 553 U.S. at 783.

            Accordingly, this Court must conduct an “urgent” investigation

            of Ms. Ozturk’s detention and consider “both the cause for

            detention and the Executive’s power to detain.” Id.

                  The current questions before this Court are how to evaluate

            Ms. Ozturk’s claims at this stage of the proceedings and what,

            if any, relief is appropriate. Ms. Ozturk argues that her

            detention pursuant to the government’s authority under 8 U.S.C.

            § 1226(a) is unconstitutional because it is motivated by an

            impermissible purpose. She acknowledges that § 1226(a) grants

            the government discretion generally as it relates to decisions

            to detain individuals who may be subject to removal, but, as her

            counsel argued in court, “there’s no discretion to violate the

            Constitution.” ECF No. 98 at 51; see also id. at 77 (citing

            Myers & Myers, Inc. v. U.S. Postal Serv., 527 F.2d 1252, 1261

            (2d Cir. 1975) and Bates v. Town of Cavendish, Vermont, 735 F.

            Supp. 3d 479, 506 (D. Vt. 2024) for the proposition that

            government officials cannot violate the Constitution despite

            grants of discretion). If her detention is unconstitutional, the

            likely remedy is release.



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                  In addition to habeas corpus relief, Ms. Ozturk has asked

            the Court to grant her immediate release pending the

            adjudication of her Petition. Such release is governed by the

            Mapp factors which, as noted above, require the Court to find

            that the habeas petition raises “substantial claims” and that

            “extraordinary circumstances” exist “that make the grant of bail

            necessary to make the habeas remedy effective.” Id. at 230

            (cleaned up).

                  The Court must also consider the government’s request for

            dismissal. In Ashcroft v. Iqbal. 556 U.S. 662 (2009), the

            Supreme Court considered claims of unconstitutional conduct

            relating to immigration detention. Iqbal requires the complaint

            to state “a plausible claim for relief” and “requires the

            reviewing court to draw on its judicial experience and common

            sense.” Id. at 679. However, if “well-pleaded facts do not

            permit the court to infer more than the mere possibility of

            misconduct,” the Court cannot sustain a claim. Id. In short,

            “while legal conclusions can provide the framework of a

            complaint, they must be supported by factual allegations.” Id.

                  For the reasons set forth below, the Court finds that Ms.

            Ozturk has presented significant evidence supporting her

            constitutional claims, and that those claims easily meet the

            Iqbal standard. Ms. Ozturk argues that her detention is in

            retaliation for her political speech, thus violating her rights

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            under the First and Fifth Amendments. Her evidence supports her

            argument that the government’s motivation or purpose for her

            detention is to punish her for co-authoring an op-ed in a campus

            newspaper which criticized the Tufts University administration,

            and to chill the political speech of others. The government has

            so far offered no evidence to support an alternative, lawful

            motivation or purpose for Ms. Ozturk’s detention.

                  B. Summary of Facts Supporting Constitutional Claims

                  Over a year ago, on March 26, 2024, Ms. Ozturk was one of

            four co-authors of an op-ed published in a student newspaper.

            The Tufts Daily “is the entirely student-run newspaper of record

            at Tufts University” which regularly publishes “op-eds submitted

            by readers and members of the Tufts community.” About Us, The

            Tufts Daily, https://www.tuftsdaily.com/page/about. The op-ed

            was titled “Try again, President Kumar: Renewing calls for Tufts

            to adopt March 4 TCU Senate resolutions.” Ms. Ozturk describes

            the op-ed as “criticiz[ing] the University’s dismissal of

            several resolutions that had been adopted by the undergraduate

            student Senate as ‘a sincere effort to hold Israel accountable

            for clear violations of international law.’ The op-ed urged

            Tufts to “trust in the Senate’s rigorous and democratic process’

            and ‘meaningfully engage with and actualize the resolutions

            passed by the Senate.’” ECF No. 12 at 2.



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                  Tufts University “declares that this opinion piece was not

            in violation of any Tufts policies” and “[t]he University

            maintains that the op-ed was consistent with speech permitted by

            the Declaration on Freedom of Expression adopted by [University]

            trustees on November 7, 2009.” ECF No. 26 at 67. This

            declaration from Tufts University was signed by President Kumar,

            the addressee of Ms. Ozturk’s co-authored op-ed. Id. at 69.

                  Ms. Ozturk supports her claim that her adverse treatment

            from the government is improperly motivated by pointing to

            several statements made by high-level government officials. 6 On

            May 14, 2024, then-candidate Donald Trump reportedly said, “any

            student that protests, I throw them out of the country. You

            know, there are a lot of foreign students. As soon as they hear

            that, they’re going to behave.” 7 On March 28, 2025, Secretary of

            State Marco Rubio delivered remarks to the press regarding Ms.

            Ozturk’s detention. U.S. Department of State, Secretary of State



            6
              Though Ms. Ozturk offers these statements to support her argument
            that her detention is related to her speech, these statements do not
            always neatly differentiate between the issues of visa revocation,
            legal status in the country, detention, and removal. See, e.g.,
            Secretary Rubio’s statement on March 27, 2025, “We’ll revoke your
            visa, and once your visa is revoked, you’re illegally in the country
            and you have to leave.” Secretary Rubio Defends Revoking Turkish
            Student’s Visa, C-SPAN (Mar. 27, 2025), https://www.c-
            span.org/clip/news-conference/secretary-rubio-defends-revoking-
            turkish-students-visa/5158479.
            7
              Josh Dawsey, et al., Trump told donors he will crush pro-Palestinian
            protests, deport demonstrators, Washington Post (May 27, 2024),
            https://www.washingtonpost.com/politics/2024/05/27/trump-israel-gaza-
            policy-donors/.

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            Marco Rubio Remarks to the Press (Mar. 28, 2025),

            https://www.state.gov/secretary-of-state-marco-rubio-remarks-to-

            the-press-3/. Secretary Rubio stated in response to a question

            about Ms. Ozturk, “The activities presented to me meet the

            standard of what I’ve just described to you: people that are

            supportive of movements that run counter to the foreign policy

            of the United States.” Secretary Rubio further indicated that

            Ms. Ozturk’s detention was the government “basically asking them

            to leave the country.” He explicitly noted that “that’s why

            they’ve been detained.”

                  Secretary Rubio, however, alluded that the government had

            more evidence than the op-ed to support Ms. Ozturk’s detention,

            stating: “I would caution you against solely going off of what

            the media has been able to identify, and those presentations, if

            necessary, will be made in court.” A March 21, 2025 memo from a

            Senior Bureau Official in the Bureau of Consular Affairs with

            the Department of State states that, “in response to a request

            from DHS/ICE and the assessment from DHS/ICE that Rumeysa OZTURK

            had been involved in associations that ‘may undermine U.S.

            foreign policy by creating a hostile environment for Jewish

            students and indicating support for a designated terrorist

            organization’ including co-authoring an op-ed that found common

            cause with an organization that was later temporarily banned



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            from campus, the Bureau of Consular Affairs” revoked Ms.

            Ozturk’s visa. ECF No. 91 at 6 (emphasis added).

                  Ms. Ozturk has also provided declarations to this Court

            supporting her claim that the manner of her arrest and detention

            are irregular. Declarations from five immigration attorneys in

            New England provide evidence that her movements through at least

            five states and several different government facilities within

            24 hours of arrest may be atypical for an individual in her

            situation. ECF No. 82 at 17-18. In particular, Ms. Ozturk has

            offered evidence to dispute the government’s claims that she has

            been detained in Louisiana because there were no appropriate

            beds available in New England at the time of her detention. Id.

            at 20.

                  The government has presented little evidence to rebut Ms.

            Ozturk’s constitutional violation claims. As noted above, the

            government has offered a declaration from the Acting Deputy

            Field Office Director for ICE in Burlington, Massachusetts

            regarding ICE detention procedures and available bedspace. ECF

            No. 19-1. The government has not offered any evidence

            specifically regarding its motivation or rationale for Ms.

            Ozturk’s detention.

                  C. First Amendment Claim

                  The First Amendment’s protection of the right to free

            speech is often considered the cornerstone of our vibrant

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            American democracy. As Benjamin Franklin famously wrote in 1737,

            “Freedom of speech is a principal pillar of a free government;

            when this support is taken away, the constitution of a free

            society is dissolved.” The Supreme Court has confronted

            restrictions on the right to free speech countless times since

            our founding, and it recently summarized the history, scope, and

            importance of the right to freedom of speech:

                  The framers designed the Free Speech Clause of the
                  First Amendment to protect the freedom to think as you
                  will and to speak as you think. They did so because
                  they saw the freedom of speech both as an end and as a
                  means. An end because the freedom to think and speak
                  is among our inalienable human rights. A means because
                  the freedom of thought and speech is indispensable to
                  the discovery and spread of political truth. By
                  allowing all views to flourish, the framers
                  understood, we may test and improve our own thinking
                  both as individuals and as a Nation. For all these
                  reasons, if there is any fixed star in our
                  constitutional constellation, it is the principle that
                  the government may not interfere with an uninhibited
                  marketplace of ideas. . . . [t]he First Amendment
                  protects an individual’s right to speak his mind
                  regardless of whether the government considers his
                  speech sensible and well intentioned or deeply
                  misguided and likely to cause anguish and incalculable
                  grief. Equally, the First Amendment protects acts of
                  expressive association.

            303 Creative LLC v. Elenis, 600 U.S. 570, 584-86 (2023)

            (internal citations and quotations omitted).

                  It is against this backdrop that Ms. Ozturk alleges that

            her detention is retaliation for political speech which is core

            First Amendment protected conduct. The only specific act cited

            by the government so far as justification for any of their

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            adverse actions towards Ms. Ozturk is her co-authored op-ed. ECF

            No. 91-1. The Supreme Court has repeatedly “reaffirmed that

            speech on public issues occupies the highest rung of the

            hierarchy of First Amendment values, and is entitled to special

            protection,” Connick v. Myers, 461 U.S. 138, 145 (1983)

            (internal quotation omitted), because “political speech [is] at

            the core of what the First Amendment is designed to protect,”

            Virginia v. Black, 538 U.S. 343, 365 (2003). As a general rule,

            “the First Amendment means that government has no power to

            restrict expression because of its message, its ideas, its

            subject matter, or its content.” Ashcroft v. Am. Civil Liberties

            Union, 535 U.S. 564, 573 (2002). Furthermore, First Amendment

            protections have long extended to noncitizens residing within

            the country. Bridges v. Wixon, 326 U.S. 135 (1945).

                  The Court hesitates to characterize the content of Ms.

            Ozturk’s speech, which is obviously about public issues, but it

            is necessary to clarify that Ms. Ozturk’s op-ed does not readily

            fall into one of the established exemptions to the First

            Amendment’s protection from government speech regulation. The

            op-ed focuses largely on the authors’ belief that the Tufts

            University administration erred by not affording sufficient

            deference to resolutions adopted by the Tufts undergraduate

            student senate. The op-ed quotes school documents to argue that

            the school administrators are not upholding their stated values

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            of supporting critical thinking and debate in the community. The

            authors express their belief regarding violations of

            international law that have motivated the student senate’s

            resolutions. And as the Armstrong Memorandum cites, the authors

            note alignment in rejecting the university administration’s

            response to the student senate recommendations with another

            organization later temporarily barred from the Tufts campus for

            actions the organization took well after the publication of this

            op-ed. The op-ed culminates with the co-authors “urg[ing]

            President Kumar and the Tufts administration to meaningfully

            engage with and actualize the resolutions by the Senate.” Taken

            together, the op-ed is self-evidently speech regarding public

            issues, albeit largely focused on the parochial politics of

            university governance.

                  The Supreme Court has recognized only “a few limited areas”

            where the First Amendment permits restrictions based on the

            content of speech. See United States v. Stevens, 559 U.S. 460,

            468 (2010) (citation omitted). The Supreme Court summarized

            these areas in the recent Counterman v. Colorado case:

            “incitement—statements directed at producing imminent lawless

            action, and likely to do so,” “defamation—false statements of

            fact harming another’s reputation,” “obscenity—valueless

            material appealing to the prurient interest,” and “true threats

            of violence.” 600 U.S. 66, 73-74 (2023) (cleaned up). This Court

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            does not believe that a reasonable reader of the op-ed would

            find a true threat or incitement of lawless action, let alone

            obscenity or defamation. Tufts University has confirmed that the

            op-ed did not violate any Tufts policy, that no complaints were

            filed about the op-ed, that the speech in the op-ed was

            consistent with University guidelines, and indeed that it was

            just one of many op-eds discussing the issue published in the

            school newspaper. ECF No. 26-1 at 67.

                  The First Amendment protects individuals from government

            action that is based on improper motives, namely silencing

            disfavored speech. The Second Circuit has long recognized

            retaliation in violation of the First Amendment as a defense

            from government enforcement. In recently affirming this Court,

            the Circuit identified the appropriate standard: “A plaintiff

            must allege (1) that the speech or conduct at issue was

            protected, (2) that the defendant took adverse action against

            the plaintiff, and (3) that there was a causal connection

            between the protected speech and the adverse action.” Demarest

            v. Town of Underhill, 2025 WL 88417, at *2 (2d Cir. Jan. 14,

            2025) (summary order) (quoting Gonzalez v. Hasty, 802 F.3d 212,

            222 (2d Cir. 2015)) (cleaned up). In the criminal context, the

            Supreme Court has expanded on the standard for the third

            element: “With respect to the third requirement, ‘[i]t is not

            enough to show that an official acted with a retaliatory motive

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            and that the plaintiff was injured – the motive must cause the

            injury.’” Id. (quoting Nieves v. Bartlett, 587 U.S. 391, 398

            (2019)). “Specifically, it must be a ‘but-for’ cause, meaning

            that the adverse action against the plaintiff would not have

            been taken absent the retaliatory motive.” Id. (quoting Nieves

            587 U.S. at 399). However, given the different nature of

            criminal detention and immigration detention, as discussed

            above, it is not altogether clear that this interpretation

            controls the habeas inquiry. See Gonzalez v. Trevino 602 U.S.

            653, 658 (2024) (rejecting an “overly cramped” reading of the

            Nieves standard). Regardless of whether it binds the Court here,

            Nieves serves to highlight the importance of identifying the

            motive for detention.

                  The Second Circuit has specifically recognized potential

            retaliation for protected political speech as a cognizable

            ground for habeas relief in the immigration context, noting that

            “to allow this retaliatory conduct to proceed would broadly

            chill protected speech, among not only activists subject to

            final orders of deportation but also those citizens and other

            residents who would fear retaliation against others.” Ragbir,

            923 F.3d at 71.

                  Ms. Ozturk has presented evidence to support her argument

            that she may qualify for a retaliation claim. Administration

            officials have identified her speech as the reason her visa was

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            revoked. If this Court were evaluating the question of

            motivation for Ms. Ozturk’s visa revocation, this inquiry could

            likely conclude now. It may well be that the Ms. Ozturk’s

            detention shares common motivation with her visa revocation. But

            as this Court has found that visa revocation and detention

            proceedings are not inextricably linked, the Court seeks

            additional evidence of the connection between Ms. Ozturk’s

            speech and her detention.

                  The court in Ragbir, decided before Nieves, found that a

            retaliation claim was satisfied by “plausible — indeed, strong —

            evidence that officials responsible for the decision to deport

            him did so based on their disfavor of Ragbir’s speech.” 923 F.3d

            at 73. Regardless of whether the standard for establishing a

            connection is ”plausible,” “strong,” or “causation,” the Court’s

            inquiry would benefit from the ability to consider additional

            evidence. For present purposes it is sufficient to find that Ms.

            Ozturk’s First Amendment claims are serious and worthy of

            further exploration in this Court.

                  Secretary Rubio has argued publicly that there are

            additional justifications for the government’s actions adverse

            to Ms. Ozturk and that these justifications may be filed in

            court if necessary. The Court invites an immediate submission

            any such evidence in this case. In the absence of additional

            information from the government, the Court’s habeas review is

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            likely to conclude that Ms. Ozturk has presented a substantial

            claim.

                  D. Due Process Claim

                  The Due Process Clause of the Fifth Amendment protects the

            right of “any person” from “be[ing] deprived of life, liberty,

            or property, without due process of law.” “Freedom from

            imprisonment — from government custody, detention, or other

            forms of physical restraint — lies at the heart of the liberty

            that Clause protects.” Zadvydas v. Davis, 533 U.S. 678, 690

            (2001).

                  Ms. Ozturk alleges that her detention violates the Due

            Process Clause because it serves no legitimate purpose, or in

            the alternative because it is motivated by improper purposes.

            Her due process claims are grounded in a “line of cases which

            interprets the Fifth and Fourteenth Amendments’ guarantee of

            ‘due process of law’ to include a substantive component, which

            forbids the government to infringe certain ‘fundamental’ liberty

            interests at all, no matter what process is provided, unless the

            infringement is narrowly tailored to serve a compelling state

            interest.” Reno v. Flores, 507 U.S. 292, 301–02 (1993).

            Substantive due process claims are available in the context of

            immigration detention. Zadvydas, 533 U.S. at 694 (citing Wong

            Wing v. U.S., 163 U.S. 228 (1896)). And “the Due Process Clause

            covers noncitizens, whether their presence here is lawful,

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            unlawful, temporary, or permanent.” Velasco Lopez, 978 F.3d at

            850 (citing Zadvydas, 533 U.S. at 693).

                  In the civil immigration context, potential requirements of

            the Due Process Clause frequently conflict with the prerogatives

            of Congress and the Executive to manage immigration and foreign

            affairs. As discussed above, Congress has granted the Executive

            the authority to detain individuals such as Ms. Ozturk pending a

            removal decision under 8 U.S.C. § 1226(a). Though detentions

            under § 1226(a) do not follow any judicial process, let alone a

            criminal conviction, the Supreme Court has found that such

            deprivation of liberty is not per se unconstitutional. The

            Supreme Court “has recognized detention during deportation

            proceedings as a constitutionally valid aspect of the

            deportation process,” Demore, 538 U.S. at 523, and determined

            that “the Due Process Clause does not require [the government]

            to employ the least burdensome means to accomplish its goal,”

            id. at 528.

                  Civil detention may be permissible with lower procedural

            requirements than criminal detention, but it is not permissible

            for the same purposes. Specifically, the Supreme Court has long

            recognized that the key rationale for allowing less process in

            immigration cases than in criminal cases is that the immigration

            system, including detention, is not punitive. See, e.g., Fong

            Yue Ting v. United States, 149 U.S. 698, 730 (1893); AADC, 525

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            U.S. at 491. ICE acknowledges this principle with respect to

            immigration detention, Detention Management, U.S. Immigrations

            and Custom Enforcement, https://www.ice.gov/detain/detention-

            management (updated Apr. 16, 2025)(“Detention is non-

            punitive.”), and for good reason. The Supreme Court has

            reiterated that immigration detention is “civil, not criminal,

            and we assume that they are nonpunitive in purpose and effect.”

            Zadvydas, 533 U.S. at 690. Justice Kennedy confirmed the

            majority’s understanding in that case that “both removable and

            inadmissible aliens are entitled to be free from detention that

            is arbitrary or capricious. Where detention is incident to

            removal, the detention cannot be justified as punishment nor can

            the confinement or its conditions be designed in order to

            punish.” Id. at 721 (Kennedy, J., dissenting). Rather than

            punishment, immigration detention must be motivated by the two

            valid regulatory goals that the government has previously argued

            motivate the statute: “ensuring the appearance of aliens at

            future immigration proceedings and preventing danger to the

            community.” Id. at 690 (cleaned up). So long as detention is

            motivated by those goals, and not a desire for punishment, the

            Court is generally required to defer to the political branches

            on the administration of the immigration system.

                  Ms. Ozturk argues that her detention is punitive, in

            addition to the First Amendment retaliation claims discussed

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            above. The Secretary of State’s recent comments imply that her

            detention is motivated by a desire to compel her to voluntarily

            depart the country. U.S. Department of State, Secretary of State

            Marco Rubio Remarks to the Press (Mar. 28,

            2025),https://www.state.gov/secretary-of-state-marco-rubio-

            remarks-to-the-press-3/. The Secretary also suggests that her

            detention advances a message to others in similar situations

            that they should choose to leave the country rather than face

            detention. “They can do so tomorrow. Buy an airplane ticket and

            leave.” However, courts have not sanctioned the use of the

            immigration detention system to strike fear in or punish

            individuals who may seek to contest their removal through lawful

            administrative and judicial channels designed for that purpose.

            This is an important distinction between civil detention and

            criminal incarceration, which allows for punishment and

            deterrence. Courts’ less exacting due process scrutiny has thus

            far been premised on the assumption that the system is operating

            for permitted purposes.

                  Ordinarily, the government may not need to justify its

            discretionary decision to detain an individual pursuant to 8

            U.S.C. § 1226(e), and it has presented no evidence here as to

            its motivations for Ms. Ozturk’s detention. Ms. Ozturk’s counsel

            has informed the Court that DHS contended in immigration court

            that “Ms. Ozturk poses a flight risk,” though Ms. Ozturk’s

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            attorneys have characterized that claim as “unsupported.” ECF

            No. 99 at 1. An immigration judge found “Danger and Flight

            Risk,” but the Court has not seen the evidence that supported

            that determination, and Ms. Ozturk has submitted evidence to

            support the opposite conclusion. ECF 101-1 at 4. Where a

            detainee presents evidence that her detention, though

            discretionary, is motivated by unconstitutional purposes in

            violation of the Due Process Clause, the Court may reasonably

            conclude the same in the absence of countervailing evidence. As

            the Court continues consideration of Ms. Ozturk’s habeas

            petition, it will allow the government to present evidence to

            rebut claims that her detention is improperly motivated.

                  E. Ms. Ozturk Has Plausibly Alleged Constitutional
                     Violations, But the Record Is Not Sufficiently Developed
                     to Support Immediate Release

                  The record before the Court demonstrates that Ms. Ozturk

            has plausibly pled constitutional violations related to her

            detention. Ms. Ozturk’s Free Speech and Due Process claims are

            serious, and the Court intends to continue to develop the facts

            on these issues. However, the Court does not find at this time

            that such pleadings are sufficient to satisfy the standard for

            immediate release, given the overarching deference towards the

            executive branch’s authority in the area of immigration

            enforcement.



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                  Both Ms. Ozturk and the government suggest that it is

            appropriate for the Court to consider Ms. Ozturk’s claim for

            release pending the resolution of her habeas petition under the

            Second Circuit’s standard in Mapp. As noted previously, the Mapp

            standard requires a court contemplating bail to “inquire into

            whether the habeas petition raises substantial claims and

            whether extraordinary circumstances exist that make the grant of

            bail necessary to make the habeas remedy effective.” 241 F.3d at

            230 (cleaned up).

                  The Court does not find that it has sufficient information

            to support release under Mapp, nor does it determine that Ms.

            Ozturk is unlikely to be able to meet that standard with

            additional evidence. The Court notes at the outset that this

            case has been proceeding rapidly, and new evidence has been

            emerging regularly. For example, on Friday, April 11, 2025, Ms.

            Ozturk’s counsel transmitted to the Court the Armstrong

            Memorandum, which contains probative evidence regarding the

            government’s motivations but was received by Ms. Ozturk’s

            counsel after the April 10 filing deadline on these issues. See

            ECF No. 91. Similarly, on Sunday, April 13, less than twenty-

            four hours before this Court held a hearing on these issues, Ms.

            Ozturk’s counsel submitted as an exhibit an April 13, 2025

            Washington Post article reporting on the existence of an

            additional State Department memorandum, though that memorandum

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            has not yet been provided to this Court. See ECF No. 95. These

            memoranda, along with any other evidence held by either party

            but not yet disclosed to the Court, are important to the

            resolution of both a request for release on bail and a final

            determination. The Court plans to move expeditiously towards the

            resolution of these factual questions.

                  F. Scope of Federal Judicial Power

                  Rather than contest the merits of Ms. Ozturk’s detention,

            the government has primarily argued that decisions regarding

            immigration detention fall squarely under the control of the

            political branches and should not be second guessed by the

            courts. This Court follows clear instruction of the Supreme

            Court on this matter and has “due regard for the deference owed

            to the Executive Branch in the conduct of foreign affairs.” Noem

            v. Abrego Garcia, 2025 WL 1077101, at *1 (U.S. Apr. 10, 2025).

            This Court has not considered questions of foreign policy or

            immigration policy in the course of these proceedings. The Court

            concerns itself only with review of Ms. Ozturk’s discretionary

            domestic detention, within the contours of established

            precedent.

                 To be clear, precedent in this Circuit has confirmed that

            Congress may restrict some judicial review of immigration cases.

            The Mapp decision found that “[t]here can be no doubt that, with

            respect to immigration and deportation, federal judicial power

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            is singularly constrained,” 241 F.3d at 227, and that Congress

            may have “plenary power over immigration matters [that] renders

            this [habeas] authority readily subject to congressional

            limitation,” id. at 231. However, the Mapp Court also held that,

            “[a]bsent a clear direction from Congress, federal judicial

            power is unaltered, and the authority of the federal courts to

            admit to bail parties properly within their jurisdiction remains

            unqualified.” Id. at 227. As discussed above, no such clear

            direction applies here. 8

                  Nonetheless, this backdrop will inform the scope and depth

            of the Court’s review into the merits of Ms. Ozturk’s habeas

            claims to ensure that the Court does not improperly intrude upon

            the prerogatives of the other co-equal branches. See AADC, 525

            U.S. at 491 (holding that in general courts should not assess

            the legitimacy of the Executive’s foreign policy objectives or

            law enforcement priorities when considering deportation cases

            though there may be “a rare case in which the alleged basis of

            discrimination is so outrageous” as to warrant judicial review).

            Where the executive branch has exercised powers assigned to it

            by the legislative branch in compliance with the laws and


            8
              Further it is not evident that the power of the political branches to
            “constrain” or “limit” habeas review is the same as the power to
            eliminate it in the district courts, particularly in the context of
            detention. Consider the Jennings Court’s hypothetical regarding
            judicial review of inhumane conditions of confinement, which the
            Supreme Court found “absurd” to channel to the circuit courts via a
            petition for review. Supra note 4.

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            Constitution, this Court will not second guess the government’s

            choices.

            IV.   Petitioner’s Request for Return to Vermont

                  Ms. Ozturk has proposed that, if her request for immediate

            release is not granted, the Court order her returned to the

            District of Vermont. The Court finds that Ms. Ozturk’s physical

            return to ICE custody within the District of Vermont is in the

            interest of justice because transfer would assist the Court’s

            exploration of the important constitutional questions in this

            case, would allow the Court to conduct appropriate fact-finding

            including to support a potential bail hearing, and would

            otherwise have no impact on removal proceedings. Her physical

            return to Vermont would also give closely proximate effect to

            the order issued by the District of Massachusetts court at 10:55

            p.m. on Tuesday, March 25, 2025, which was not heeded by the

            government.

                  A. Ms. Ozturk’s Presence in Vermont Will Facilitate the Fair
                     and Expeditious Resolution of this Matter

                  The Court finds that Ms. Ozturk’s presence in Vermont will

            facilitate her ability to work with her attorneys, coordinate

            the appearance of witnesses, and generally present her habeas

            claims, many of which are based on events that occurred in New

            England. A transfer to Vermont will also facilitate Ms. Ozturk’s

            ability to receive a neutral medical evaluation, as her medical


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            condition will be a factor for the Court to consider when

            addressing the question of release. More generally, her presence

            in the courtroom will assist the Court in determining potential

            bail conditions and whether release is appropriate.

                  Ms. Ozturk has informed the Court that her treatment in the

            Louisiana facility is inadequate. She is suffering from severe

            asthma attacks and is not provided appropriate medication. Her

            place of detention is reportedly overcrowded and unsanitary. Her

            religious needs are not being addressed. The Court takes these

            issues into consideration when determining the necessity and

            equities of a transfer.

                  As discussed previously, the Second Circuit has recognized

            the “equitable and flexible nature of habeas relief.” Velasco

            Lopez, 978 F.3d at 855. The Supreme Court has held that the

            “exercise of a court’s equity powers . . . must be made on a

            case-by-case basis.” Baggett v. Bullitt, 377 U.S. 360, 375

            (1964). The “flexibility” inherent in “equitable procedure”

            enables courts “to meet new situations [that] demand equitable

            intervention, and to accord all the relief necessary to correct

            . . . particular injustices.” Hazel–Atlas Glass Co. v. Hartford–

            Empire Co., 322 U.S. 238, 248 (1944). The Court also has the

            inherent authority and responsibility to protect the integrity

            of its proceedings which were undoubtedly impacted when Ms.

            Ozturk was transferred to Louisiana. See Degen v. United States,

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            517 U.S. 820, 823 (1996) (“Courts invested with the judicial

            power of the United States have certain inherent authority to

            protect their proceedings and judgments in the course of

            discharging their traditional responsibilities.”).

                  Here, the Court finds that the equities strongly favor Ms.

            Ozturk’s transfer to Vermont. Such transfer will expedite

            resolution of this matter, provide Ms. Ozturk ready access to

            legal and medical services, and address concerns about the

            conditions of her confinement. The Court further finds that a

            transfer to Vermont will not prejudice the government’s removal

            proceedings, as she may participate in those remotely. The Court

            plans to proceed to resolution of the habeas petition quickly,

            and it is essential that Ms. Ozturk be a full participant in the

            process. Should her petition be denied, the government will have

            discretion over her place of confinement. Accordingly, pursuant

            to its inherent equitable power, as well its power under the All

            Writs Act, the Court orders Ms. Ozturk’s transfer as set forth

            below. See 28 U.S.C. § 1651(a) (empowering courts to “issue all

            writs necessary or appropriate in aid of their respective

            jurisdictions and agreeable to the usages and principles of

            law”).

                  B. Ms. Ozturk’s Return to Vermont Will Give Effect to the
                     District of Massachusetts Court’s Order Preserving the
                     Status Quo



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                  The United States District Court for the District of

            Massachusetts issued a valid order in this case at approximately

            10:55 p.m. on March 25, 2025. The order was transmitted to the

            government immediately, both formally by the court and by Ms.

            Ozturk’s attorney. ECF No. 26-2 at 3. The order had been issued

            by the court within an hour of Ms. Ozturk’s attorney filing the

            initial habeas petition.

                  The purpose of the District of Massachusetts’ order was to

            “order respondent to preserve the status quo.” ECF No. 3 at 2.

            The order had immediate effect and required that “petitioner

            shall not be moved outside the District of Massachusetts without

            first providing advance notice of the intended move.” Moreover,

            the court clearly understood that Ms. Ozturk’s physical location

            was critical to the court’s jurisdiction. The court noted that

            the order was intended to preserve its ability “to consider

            whether it has subject-matter jurisdiction,” and would be “valid

            unless and until it is overturned.” Id. The court further

            clarified that the motivation for the order was the court’s

            recognition that “the action the court enjoins,” i.e., Ms.

            Ozturk’s movement out of the state by the government, “would

            otherwise destroy its jurisdiction or moot the case.” Id.

                  The government apparently did not take any immediate steps

            to comply with the order or to communicate with the court to

            ascertain the court’s intent. At oral argument, the government

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            was not able to say who learned about the order or when. The

            government’s only argument to date has been that the order may

            have been impossible to comply with if construed literally,

            because by 10:55 p.m., the government had already moved Ms.

            Ozturk to Vermont. There is no evidence that officials in the

            U.S. Attorney’s Office in Massachusetts who were in contact with

            Ms. Ozturk’s attorney at the time and received the order, or

            indeed any other government representatives, made contact with

            the court to convey this perceived predicament.

                  Ms. Ozturk cites Second Circuit precedent stating that it

            is the obligation of parties receiving orders from Article III

            courts “to observe the objects for which the relief was granted

            and to find a breach of the decree in a violation of the spirit

            of the injunction, even though its strict letter may not have

            been disregarded.” John B. Stetson Co. v. Stephen L. Stetson

            Co., 128 F.2d 981, 983 (2d Cir. 1942). Stetson remains good law

            in this Circuit, standing for the proposition that “‘it is the

            spirit of the order, not the letter, that must be obeyed.’”

            Aquavit Pharms., Inc. v. U-Bio Med, Inc., 2020 WL 1900502, at *6

            (S.D.N.Y. Apr. 17, 2020) (quoting Titra California, Inc. v.

            Titra Film, 2001 WL 1382587, at *5 (S.D.N.Y. Nov. 6, 2001)); see

            also Salazar v. Buono, 559 U.S. 700, 762 (2010) (Breyer, J.

            dissenting) (citing Stetson for proposition that courts have

            long looked to the intent of granted injunctive relief when

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            assessing compliance). The Court agrees that it is appropriate

            to consider whether parties have complied with the spirit of an

            injunction, where that spirit is readily discernible from an

            order.

                  There is no question here that the District of

            Massachusetts intended to preserve the status quo of Ms.

            Ozturk’s whereabouts while it assessed its jurisdiction to

            consider the case. The government of course had already moved

            Ms. Ozturk out of state, so that jurisdictional analysis may

            have still resulted in the case being heard before this Court.

            Nevertheless, the Court holds that after receipt of the order,

            the government had an obligation to consider the intent of the

            order, even if literal compliance with the order was impossible.

            Ms. Ozturk has offered alternative potential actions that the

            government could have taken upon receipt of the order, in lieu

            of ignoring it entirely. ECF No. 82-1 at 22-23. At minimum, the

            government should have informed the issuing court in a timely

            fashion that compliance with the order was not literally

            possible and sought out clarification. Informing the District of

            Massachusetts would have allowed for that court to make any

            necessary modifications to either its order or its determination

            of its jurisdiction. Ignoring an order, particularly one issued

            on an emergency basis in response to events that are currently



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            unfolding, is not the approach the Court expects from the

            government.

                  The remedy for the government ignoring the March 25, 2025,

            order is simple. Ms. Ozturk should be returned to the status quo

            at the time of issuance when she was in custody in the District

            of Vermont. This equitable relief, ordered under this Court’s

            inherent habeas power, will give proximate effect to the

            District of Massachusetts’s order without disadvantaging the

            government. Giving effect to the spirit of the District of

            Massachusetts’ order is also necessary to ensure continued

            respect for orders issued by Article III courts. “If a party can

            make himself a judge of the validity of orders which have been

            issued, and by his own act of disobedience set them aside, then

            are the courts impotent, and what the Constitution now fittingly

            calls the ‘judicial power of the United States' would be a mere

            mockery.” Gompers v. Buck's Stove & Range Co., 221 U.S. 418, 450

            (1911). The Court declines to abet a slide into mockery in this

            case.

                                              Conclusion

                  For the foregoing reasons, the Court concludes that this

            case will continue in this Court with Ms. Ozturk physically

            present for the remainder of the proceedings.

                  The Court has determined that it retains jurisdiction over

            Ms. Ozturk’s habeas petition which shall proceed in the District

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            of Vermont. The petition, filed in federal district court in

            Massachusetts, was properly transferred to this Court. There are

            no technical deficiencies that prevent this Court’s

            consideration of this petition as if it were originally filed

            here. Furthermore, there is nothing in the INA that

            categorically prevents a federal district court from reviewing a

            habeas petition challenging discretionary detention. Therefore,

            there are no jurisdictional limitations on this Court’s

            consideration of Ms. Ozturk’s habeas claims related to her

            detention.

                  Upon review of the First Amendment and Due Process claims

            and the evidence presented by both parties, the Court concludes

            that Ms. Ozturk has presented viable and serious habeas claims

            which warrant urgent review on the merits. The Court plans to

            move expeditiously to a bail hearing and final disposition of

            the habeas petition, as Ms. Ozturk’s claims require no less.

                  To support the Court’s resolution of these issues, the

            Court orders that Ms. Ozturk be physically transferred to ICE

            custody within the District of Vermont no later than May 1,

            2025. The Court orders that a bail hearing be scheduled in this

            Court for May 9, 2025, with Ms. Ozturk appearing in person.

            Parties are ordered to brief the Court and present all evidence

            related to the issue of bail by May 2, 2025. A hearing on the

            merits of the habeas petition will be held on May 22, 2025. The

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            Court stays the effect of this order for four days to allow

            either party to appeal this order.



                  DATED at Burlington, in the District of Vermont, this 18th

            day of April 2025.

                                                       /s/ William K. Sessions III
                                                       Hon. William K. Sessions III
                                                       U.S. District Court Judge




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                                       UNITED STATES DISTRICT COURT
                                           DISTRICT OF VERMONT


             RUMEYSA OZTURK,

                                         Petitioner,

                            v.                                                     No. 2:25-cv-374

             DONALD J. TRUMP, in his official capacity as
             President of the United States, PATRICIA
             HYDE, Field Office Director,
             MICHAEL KROL, HSI New England Special
             Agent in Charge, TODD LYONS, Acting
             Director, U.S. Immigration and Customs
             Enforcement, and KRISTI NOEM, Secretary of
             Homeland Security; and MARCO RUBIO, in his
             official capacity as Secretary of State

                                        Respondents.


                                      RESPONDENTS’ NOTICE OF APPEAL

                   PLEASE TAKE NOTICE that all named Respondents hereby appeal to the United

            States Court of Appeals for the Second Circuit from the Court’s April 18, 2025 Order (ECF No.

            104) accepting jurisdiction and ordering Petitioner be physically transferred to ICE custody

            within the District of Vermont no later than May 1, 2025.

                                                                Respectfully submitted,



            Dated: April 22, 2025                       By:     /s/ Michael P. Drescher
                                                                Michael P. Drescher
                                                                Assistant United States Attorney
                                                                District of Vermont




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                                        UNITED STATES DISTRICT COURT
                                            DISTRICT OF VERMONT


             RUMEYSA OZTURK,

                                          Petitioner,

                            v.                                                        No. 2:25-cv-374

             DONALD J. TRUMP, in his official capacity as
             President of the United States, PATRICIA
             HYDE, Field Office Director,
             MICHAEL KROL, HSI New England Special
             Agent in Charge, TODD LYONS, Acting
             Director, U.S. Immigration and Customs
             Enforcement, and KRISTI NOEM, Secretary of
             Homeland Security; and MARCO RUBIO, in his
             official capacity as Secretary of State

                                         Respondents.


                                 RESPONDENTS’ MOTION FOR CONTINUED STAY
                                            PENDING APPEAL

                                                    INTRODUCTION

                   The Court stayed its April 18, 2025 Order “for four days to allow either party to

            appeal . . . .” ECF No. 104, at 74. Respondents have filed a Notice of Appeal (ECF No. 105),

            which “confers jurisdiction on the court of appeals and divests [this Court] of its control over

            those aspects of the case involved in the appeal.” Griggs v. Provident Consumer Discount Co.,

            459 U.S. 56, 58 (1982). But to the extent it is necessary, Respondents move this Court, under

            Federal Rule of Civil Procedure 62, to continue its stay pending disposition of the appeal by the

            United States Court of Appeals for the Second Circuit. Respondents respectfully request that this

            Court rule on this motion no later than 3:00 p.m. EDT on April 24, 2025; after that time,




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            Respondents intend to seek emergency relief from the Second Circuit. Fed. R. App. P. 8(a)(2);

            Fed. R. Civ. P. 62(g)(1).

                                                  LEGAL STANDARD

                    To evaluate whether to issue a stay pending appeal, courts consider four factors: “(1)

            whether the stay applicant has made a strong showing that he is likely to succeed on the merits;

            (2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the

            stay will substantially injure the other parties interested in the proceeding; and (4) where the

            public interest lies.” Nken v. Holder, 556 U.S. 418, 434 (2009) (quotation omitted). The first two

            factors “are the most critical[,]” and the final factors merge where, as here, the government is a

            party. Id. at 434-35.

                                                       ARGUMENT

                    The Court has already stayed its Order to allow either party to appeal. ECF No. 104, at

            74. Respondents are taking advantage of the opportunity afforded by the Court and pursuing

            expeditious review by the Court of Appeals of the complex, important legal issues presented in

            this case. To effectuate that review, Respondents ask the Court to continue the stay currently in

            place pending final disposition of the appeal.

               I.      Respondents are likely to succeed on the merits.

                    A continued stay pending appeal is warranted because Respondents raise important

            potentially dispositive challenges to the Court’s authority to exercise habeas jurisdiction under

            Rumsfeld v. Padilla, 542 U.S. 426 (2004) and the Immigration and Nationality Act. Further,

            Respondents are likely to succeed on the merits that the Court lacks authority to order

            Petitioner’s transfer to the District of Vermont.




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                A. The Court lacks jurisdiction.

                        a. The Court lacks jurisdiction under Padilla.

                    As previously argued, “[w]henever a § 2241 habeas petitioner seeks to challenge his

            present physical custody within the United States, he should name his warden as respondent and

            file the petition in the district of confinement.” Padilla, 542 U.S. at 447. That rule derives from

            the habeas statutes themselves, which require a petition to allege “the name of the person who

            has custody over” a petitioner. 28 U.S.C. § 2242; see also 28 U.S.C. § 2243 (“The writ, or order

            to show cause shall be directed to the person having custody of the person detained.”). Indeed,

            “jurisdiction lies in only one district: the district of confinement.” Trump v. J.G.G., 2025 WL

            1024097, at *1 (U.S. Apr. 7, 2025). Here, Petitioner’s district of confinement is the Western

            District of Louisiana, and that is where jurisdiction lies. See id.

                    Padilla stands as a reproach of the Second Circuit’s historically relaxed approach to the

            “immediate custodian rule.” Padilla, 542 U.S. at 437-38. Because the petition did not name

            Petitioner’s immediate custodian when it was originally filed in the District of Massachusetts

            (and because Petitioner’s current immediate custodian is not located in the District of Vermont),

            this Court lacks jurisdiction. For the reasons articulated in Respondents’ Supplemental

            Opposition, neither the transfer statute nor the Supreme Court’s decision in Ex parte Endo, 323

            U.S. 283 (1944), cure that defect. See ECF No. 83, at 7-14.

                    Also as previously argued, 28 U.S.C. § 1631 should not retroactively cure the original

            Petition’s non-compliance with Padilla. Indeed if § 1631 can so cure, the Supreme Court’s

            analysis in Padilla is potentially nullified.




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                       b. The Court lacks jurisdiction under the INA.

                   Aside from Padilla, this Court also lacks jurisdiction under the Immigration and

            Nationality Act. Under section 1252(g), “no court shall have jurisdiction to hear any cause or

            claim by or on behalf of any alien arising from the decision or action by the Attorney General to

            commence proceedings . . . against any alien under this chapter.” 8 U.S.C. § 1252(g). The

            “decision to commence proceedings,” which is the genesis of Petitioner’s detention, “falls

            squarely within § 1252(g).” Reno v. American-Arab Anti-Discrimination Committee (“AADC”),

            525 U.S. 471, 487 (1999) (cleaned up).

                   Petitioner’s claims regarding detention stem from the method by which the removal

            proceedings against her were commenced; they are not “unrelated to any removal action or

            proceeding.” Cf. Ruiz v. Mukasey, 552 F.3d 269, 274 n.3 (2d Cir. 2009). And the decision as to

            the method by which removal proceedings are commenced is a discretionary one that is not

            reviewable by a district court under section 1252(g). See ECF No. 83, at 19-20.

                   Instead, the INA makes “the court of appeals for the judicial circuit in which the

            immigration judge completed the proceedings” “the sole and exclusive means for judicial review

            of an order of removal.” 8 U.S.C. §§ 1252(a)(5), (b)(2). Thus, this Court lacks jurisdiction to

            review “all questions of law and fact, including interpretation and application of constitutional

            and statutory provisions, arising from any action taken or proceeding brought to remove an alien

            from the United States under this subchapter . . . .” 8 U.S.C. § 1252(b)(9). In short, Petitioner’s

            claims regarding her arrest and detention, including her constitutional claims, must be heard by

            the court of appeals sitting “in judicial review of a final order under this section.” Id.

                   The merits of these arguments weigh in favor of granting the requested stay.




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               B. The Court lacks authority to order Petitioner’s transfer.

                     “A principal feature of the removal system is the broad discretion exercised by

            immigration officials.” Arizona v. United States, 567 U.S. 387, 396 (2012). That broad discretion

            extends to the “authority to determine the location of detention of an alien in deportation

            proceedings,” including whether to change that location during the pendency of proceedings.

            Gandarillas-Zambrana v. Bd. of Immigration Appeals, 44 F.3d 1251, 1256 (4th Cir. 1995).

            Congress vested the Executive Branch with that substantial discretion in the INA itself. See 8

            U.S.C. § 1231(g)(1) (“The Attorney General shall arrange for appropriate places of detention for

            aliens detained pending removal or a decision on removal.”). And Congress stripped the courts

            of jurisdiction to review such exercises of discretion. See 8 U.S.C. § 1251(a)(2)(B)(ii) (barring

            district courts form exercising subject matter jurisdiction of “any . . . decision or action of the

            Attorney General . . . the authority for which is specified under this subchapter [8 U.S.C. § 1151-

            1381] to be in the discretion of the Attorney General . . . .”).

                     Courts across the country, including the Second Circuit, have recognized as much. See,

            e.g., Wood v. United States, 175 F. App’x 419, 420 (2d Cir. 2006) (holding that the Secretary

            “was not required to detain [Plaintiff] in a particular state” given the Secretary’s “statutory

            discretion” under § 1231(g)); ECF No. 83, at 17-18 (collecting cases). Respondents are thus

            likely to succeed on the merits of an appeal challenging this Court’s transfer order.

               II.      The balance of harm favors a stay.

                     The Government “suffers a form of irreparable injury” “[a]ny time [it] is enjoined by a

            court form effectuating statutes enacted by representatives of its people.” Maryland v. King, 567

            U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers) (citation omitted). That is particularly true

            here because rules governing immigration “implement[ ] an inherent executive power.” United



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            States ex rel. Knauff v. Shaughnessy, 338 U.S. 537, 542 (1950) (“it is not within the province of

            any court, unless expressly authorized by law, to review the determination of the political branch

            of the Government to exclude a given alien”).

                   Moreover, Petitioner does not challenge the revocation of her visa. See ECF No. 26, at 25

            (“Ms. Ozturk does not challenge the revocation of her visa.”). And with her visa revoked,

            Petitioner lacks status and is subject to detention under 8 U.S.C. § 1226 for the duration of

            removal proceedings. Even under the terms of the Court’s April 18 Order, Petitioner would

            remain in custody, see ECF No. 104, at 66, so she would not be substantially harmed by

            continuing the stay pending resolution of Respondents’ appeal.



                                                                 Respectfully submitted,



            Dated: April 22, 2025                         By:    /s/ Michael P. Drescher
                                                                 Michael P. Drescher
                                                                 Assistant United States Attorney
                                                                 District of Vermont




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                                   UNITED STATES DISTRICT COURT
                                              FOR THE
                                        DISTRICT OF VERMONT

            RUMEYSA OZTURK,               )
                                          )
                      Petitioner,         )
                                          )
                 v.                       )             Case No. 2:25-cv-374
                                          )
            DONALD J. TRUMP, in his       )
            official capacity as          )
            President of the United       )
            States; PATRICIA HYDE, in her )
            official capacity as the New )
            England Field Director for    )
            U.S. Immigration and Customs )
            Enforcement; MICHAEL KROL, in )
            his official capacity as HSI )
            New England Special Agent in )
            Charge, U.S. Immigration and )
            Customs Enforcement; TODD     )
            LYONS, in his official        )
            capacity as Acting Director, )
            U.S. Immigration and Customs )
            Enforcement; KRISTI NOEM, in )
            her official capacity as      )
            Secretary of the United       )
            States Department of          )
            Homeland Security; and MARCO )
            RUBIO, in his official        )
            capacity as Secretary of      )
            State,                        )
                                          )
                      Respondents.        )

                                          OPINION AND ORDER

                  Respondents (hereinafter “government”) have submitted a

            Motion for Continued Stay Pending Appeal. ECF No. 106. The Court

            previously issued a stay of its April 18, 2025, Opinion and

            Order (hereinafter “Opinion”) for four days “to allow either

            party to appeal this order.” ECF No. 104 at 74. On April 22, the




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            government availed itself of the opportunity to appeal to the

            U.S. Court of Appeals for the Second Circuit. ECF No. 105. This

            Court’s stay expired on April 22. The government is now

            obligated to ensure that Ms. Ozturk is transferred to ICE

            custody within the District of Vermont no later than May 1,

            2025. ECF No. 104 at 73.

                  At the outset, the Court notes that the government’s motion

            largely recycles the same arguments that the Court has

            previously considered and rejected. The Court briefly summarizes

            its rationale for rejecting some of these arguments here again,

            but the Court refers the government to its Opinion for a fuller

            explanation if necessary. The Court considers the four factors

            from Nken v. Holder that the government has identified for

            evaluating a motion to stay and finds that they weigh against

            the government. 556 U.S. 418, 434 (2009). For the following

            reasons, the government’s motion to stay Ms. Ozturk’s return to

            Vermont is denied.

            I.    Respondents Raise Jurisdictional Arguments that This Court

                  has Duly Considered and Rejected.

                  The government’s motion devotes two pages to its argument

            that this Court lacks jurisdiction to consider Ms. Ozturk’s

            habeas petition. The Court has previously considered these same

            arguments in these proceedings. Both the government and Ms.

            Ozturk filed lengthy briefs on these jurisdictional questions,

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            and the Court devoted significant attention to the parties’

            filings and oral arguments. The April 18 Opinion discussed these

            very questions, and the Court found that its jurisdiction is

            proper under 28 U.S.C. § 2241, that this Court is the

            appropriate place for the habeas petition to be heard following

            the petition’s transfer to this Court under 28 U.S.C. § 1631,

            and that the INA does not bar this Court’s review of claims

            regarding the legality of Ms. Ozturk’s detention. ECF No. 104 at

            12-66. The government’s request that this Court now find that

            the government “has made a strong showing that [it] is likely to

            succeed on the merits,” ECF. No. 106 (quoting Nken v. Holder,

            556 U.S. at 434), is patently at odds with this Court’s Opinion.

            The Court will not relitigate those issues here, and it finds

            that the government has not made a strong showing that it is

            likely to succeed on the merits of its jurisdictional arguments.

            II.   The Balance of Harms and Potential Disruption of the

                  Court’s Proceedings Favors Rejecting a Stay

                  As the Court explained in its Opinion, habeas proceedings

            are by their nature equitable and flexible, and the Court has

            the authority and the mandate to ensure the integrity of its

            proceedings. ECF No. 104 at 67. The Court considered the

            government’s clear opposition to transfer before issuing the

            Opinion, but the Court found “that the equities strongly favor

            Ms. Ozturk’s transfer to Vermont.” Id. at 67.

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                  To briefly reiterate, Ms. Ozturk’s physical transfer to ICE

            custody in Vermont will have no impact on the government’s

            separate removal proceedings against her in immigration court.

            However, her return to Vermont will facilitate speedy resolution

            of her petition in this Court. At oral argument, the Court

            directly asked the government’s counsel how the government would

            be prejudiced if Ms. Ozturk were returned to Vermont. ECF No. 98

            at 109. Government’s counsel did not then, and the government

            does not now, offer any concrete injury that the government

            would suffer. Id. at 109-110.

                  The government now argues that it, and by extension the

            public, would suffer an injury if Ms. Ozturk’s detention were

            subject to judicial review. ECF No. 106 at 5-6. While the

            executive branch assuredly has an interest in effectuating

            statutes enacted by the legislative branch, the judicial branch

            is charged with ensuring that the other branches do so in

            comport with the laws and the Constitution. Powell v. McCormack,

            395 U.S. 486, 506 (1969) (“‘[I]t is the province and duty of the

            judicial department to determine in cases regularly brought

            before them, whether the powers of any branch of the government,

            and even those of the legislature in the enactment of laws, have

            been exercised in conformity to the Constitution; and if they

            have not, to treat their acts as null and void.’”) (quoting

            Kilbourn v. Thompson, 103 U.S. 168, 199 (1880)); see also W.

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            Virginia v. Env't Prot. Agency, 597 U.S. 697, 736 (2022) (“One

            of the Judiciary’s most solemn duties is to ensure that acts of

            Congress are applied in accordance with the Constitution in the

            cases that come before us.”) (Gorsuch, J., concurring); City of

            Arlington, Tex. v. F.C.C., 569 U.S. 290, 327 (2013) (“But there

            is another concern at play, no less firmly rooted in our

            constitutional structure. That is the obligation of the

            Judiciary not only to confine itself to its proper role, but to

            ensure that the other branches do so as well.”) (Roberts, C.J.,

            dissenting); Dep't of Transp. v. Ass'n of Am. Railroads, 575

            U.S. 43, 76 (2015) (“The ‘check’ the judiciary provides to

            maintain our separation of powers is enforcement of the rule of

            law through judicial review.”) (Thomas, J., concurring).

            Furthermore, the public interest does not lie only on the

            government’s side in this case. See N.Y. Progress & Prot. PAC v.

            Walsh, 733 F.3d 483, 488 (2d Cir. 2013) (“[S]ecuring First

            Amendment rights is in the public interest.”).

                  As the Court noted in the Opinion, the Court intends to

            resolve Ms. Ozturk’s habeas petition expeditiously, and Ms.

            Ozturk’s presence in Vermont is necessary to assist the Court

            with its consideration of her request for release on bail as

            well as the underlying merits of her petition. ECF No. 104 at

            66-68. The Court notes that Ms. Ozturk’s return to Vermont might

            not even be an issue in this case had the government not ignored

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            the order issued from the District Court in Massachusetts on

            March 25, 2025. ECF No. 104 at 68-72. As the Court held in its

            Opinion, the remedy here is simple, a return to the status quo.

            Id. at 72. Instead, Ms. Ozturk is in detention in Louisiana,

            where she reports that she is enduring overcrowding, unsanitary

            conditions, a worsening medical condition, insufficient medical

            care, and difficulties practicing her religion. Id. at 67.

            Furthermore, should the Court’s schedule for resolution of Ms.

            Ozturk’s habeas petition, id. at 73, be delayed in any way, the

            government will not have suffered any concrete injury through

            Ms. Ozturk’s return to Vermont, while Ms. Ozturk will be well-

            positioned to present her case as soon as possible. Accordingly,

            the Court finds that the balance of harms of a stay of transfer

            would fall most heavily on Ms. Ozturk and would not be in the

            public interest.

                                              Conclusion

                  For the foregoing reasons, the government’s motion for a

            stay of Ms. Ozturk’s transfer to ICE custody within the District

            of Vermont is denied. As the Court established in its April 18

            Opinion, “Ms. Ozturk has presented viable and serious habeas

            claims which warrant urgent review on the merits.” Id. at 73.

            Any unnecessary delay of Ms. Ozturk’s transfer to this District

            would likely disrupt or delay the Court’s proceedings,

            potentially prolonging the very detention that is at the heart

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            of this case. Meanwhile, Ms. Ozturk’s return to Vermont would

            not unduly burden the government and would restore the status

            quo at the time of the order from the District Court in

            Massachusetts. The Court ordered that Ms. Ozturk be returned to

            Vermont precisely so that the Court could resolve the habeas

            petition as expeditiously as possible, and the Court intends to

            do so.

                  DATED at Burlington, in the District of Vermont, this 24th

            day of April 2025.

                                                        /s/ William K. Sessions III
                                                        Hon. William K. Sessions III
                                                        U.S. District Court Judge




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                                   UNITED STATES DISTRICT COURT
                                              FOR THE
                                        DISTRICT OF VERMONT

            RUMEYSA OZTURK,               )
                                          )
                      Petitioner,         )
                                          )
                 v.                       )             Case No. 2:25-cv-374
                                          )
            DONALD J. TRUMP, in his       )
            official capacity as          )
            President of the United       )
            States; PATRICIA HYDE, in her )
            official capacity as the New )
            England Field Director for    )
            U.S. Immigration and Customs )
            Enforcement; MICHAEL KROL, in )
            his official capacity as HSI )
            New England Special Agent in )
            Charge, U.S. Immigration and )
            Customs Enforcement; TODD     )
            LYONS, in his official        )
            capacity as Acting Director, )
            U.S. Immigration and Customs )
            Enforcement; KRISTI NOEM, in )
            her official capacity as      )
            Secretary of the United       )
            States Department of          )
            Homeland Security; and MARCO )
            RUBIO, in his official        )
            capacity as Secretary of      )
            State,                        )
                                          )
                      Respondents.        )

                                                  ORDER

                  The Court held a telephonic conference with counsel for

            Petitioner and counsel for Respondent at 4:50pm. The Court

            reaffirmed its ruling made at the bail hearing earlier on

            5/9/25. In light of the Court’s finding of no risk of flight and

            no danger to the community, Petitioner is to be released from




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            ICE custody immediately on her own recognizance, without any

            form of Body-Worn GPS or other ICE monitoring at this time.

            Petitioner is not subject to any travel restrictions.

            Respondent’s counsel shall submit proposed conditions of release

            after conferring with ICE no later than 5/12/2025.

                  DATED at Burlington, in the District of Vermont, this 9th

            day of May 2025.

                                                        /s/ William K. Sessions III
                                                        Hon. William K. Sessions III
                                                        U.S. District Court Judge




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                                   UNITED STATES DISTRICT COURT
                                              FOR THE
                                        DISTRICT OF VERMONT

            RUMEYSA OZTURK,               )
                                          )
                      Petitioner,         )
                                          )
                 v.                       )            Case No. 2:25-cv-374
                                          )
            DONALD J. TRUMP, in his       )
            official capacity as          )
            President of the United       )
            States; PATRICIA HYDE, in her )
            official capacity as the New )
            England Field Director for    )
            U.S. Immigration and Customs )
            Enforcement; MICHAEL KROL, in )
            his official capacity as HSI )
            New England Special Agent in )
            Charge, U.S. Immigration and )
            Customs Enforcement; TODD     )
            LYONS, in his official        )
            capacity as Acting Director, )
            U.S. Immigration and Customs )
            Enforcement; KRISTI NOEM, in )
            her official capacity as      )
            Secretary of the United       )
            States Department of          )
            Homeland Security; and MARCO )
            RUBIO, in his official        )
            capacity as Secretary of      )
            State,                        )
                                          )
                      Respondents.        )

                                          OPINION AND ORDER

                  On April 10, 2025, Petitioner Rumeysa Ozturk filed a Motion

            for Release pending the adjudication of her habeas corpus

            petition, as governed by Mapp v. Reno, 241 F.3d 221 (2d Cir.

            2001). ECF No. 82. Respondents opposed the motion, raising

            arguments about this Court’s jurisdiction to consider the




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            underlying habeas petition and about Ms. Ozturk’s ability to

            meet the Mapp standard for release on bail. ECF Nos. 83, 84, and

            103. On April 18, 2025, the Court issued an Opinion and Order

            holding, inter alia, that this Court had jurisdiction to

            consider Ms. Ozturk’s habeas petition and planned to move

            expeditiously to consideration of both Ms. Ozturk’s motion for

            release and the petition itself. ECF No. 104.

                  On May 9, 2025, following a full bail hearing on

            Petitioner’s motion for release under Mapp, the Court ruled from

            the bench, granting Ms. Ozturk’s motion and ordering that she be

            released immediately from U.S. Immigration and Customs

            Enforcement (“ICE”) custody. ECF No. 130. That Order was

            reiterated in part later the same day in a text Order. ECF No.

            131. This Opinion supplements the May 9 Order from the bench and

            subsequent text Order.

                                       Procedural Background

                  On April 18, 2025, this Court issued an Opinion and Order

            in this case. ECF No. 104. The Court “determined that it retains

            jurisdiction over Ms. Ozturk’s habeas petition” and found that

            “there are no jurisdictional limitations on this Court’s habeas

            claims related to her detention.” Id. at 72-73. The Court

            further concluded that “Ms. Ozturk has presented viable and

            serious habeas claims which warrant urgent review on the

            merits.” Id. at 73. On April 22, 2025, the government appealed

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            the Court’s Order to the United States Court of Appeals for the

            Second Circuit. ECF No. 105. That appeal on the merits remains

            pending.

                  The Court’s April 18 Order also required the government to

            transfer Ms. Ozturk to ICE custody within the District of

            Vermont no later than May 1, 2025. On April 22, the government

            filed a motion to stay Ms. Ozturk’s transfer to ICE custody in

            Vermont. ECF No. 106. On April 24, the Court denied that motion,

            rejecting the government’s jurisdictional arguments again and

            finding that “the four factors from Nken v. Holder that the

            government has identified for evaluating a motion to stay . . .

            weigh against the government.” ECF No. 109 at 2.

                  Later that day, the government filed an Emergency Motion

            with the circuit court, seeking a stay of this Court’s order to

            return Ms. Ozturk to Vermont. Emergency Motion Pursuant to

            Circuit Rule 27.1(d) for Stay Pending Appeal with Relief Request

            by April 29, 2025, Docket No. 25-1019, ECF. No. 19. The

            government’s argument predominately focused on the question of

            this Court’s jurisdiction to consider Ms. Ozturk’s habeas

            petition. Given the procedural posture of the case, the circuit

            court evaluated the government’s jurisdictional arguments to

            determine whether the government was likely to succeed on the

            merits. On May 7, 2025, the circuit court issued an Order

            denying the government’s motion for a stay “because the

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            government has not met its burden on any of the factors.” Ozturk

            v. Hyde, 2025 WL 1318154, at *3 (2d Cir. May 7, 2025).

            Significantly, the circuit court found that the government was

            not likely to prevail on its arguments that this Court lacks

            jurisdiction over Ms. Ozturk’s habeas petition. Id. at *4-13.

                   The Court has reviewed the circuit court’s ruling and

            notes that nothing therein can be construed as denying this

            Court’s continued jurisdiction over Ms. Ozturk’s habeas

            petition, including the instant motion for immediate release.

            Indeed the circuit court acknowledged this Court’s ongoing

            hearing schedule which included a planned bail hearing and

            instructed that the Court may amend its hearing schedule if

            necessary. Id. at *14. Therefore, the Court will not again

            consider the government’s jurisdictional objections which have

            already been rejected by this Court and the circuit court.

                  On May 8, the Court held a status conference with counsel.

            Petitioner’s counsel requested that the Court proceed with the

            scheduled May 9 bail hearing, with Ms. Ozturk appearing remotely

            if she has not yet been returned to Vermont. Government’s

            counsel indicated that the only prejudice they may experience as

            a result of such hearing was “tension” between the Court’s April

            18 Order requiring Ms. Ozturk’s return to Vermont and the

            circuit court’s May 7 Order requiring the same by a later date.

            The circuit court, after requiring Ms. Ozturk’s physical

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            transfer to Vermont “no later than May 14, 2025” stated that

            “the district court may amend its hearing schedule as it deems

            necessary in light of this order.” Ozturk, 2025 WL 1318154, at

            *14.

                   In granting Ms. Ozturk’s motion for return to Vermont, the

            Court’s April 18 Order stated that “[Ms. Ozturk’s] presence in

            the courtroom will assist the Court in determining potential

            bail conditions and whether release is appropriate.” ECF No. 104

            at 67. The circuit court similarly noted on May 7 that this

            Court’s order was intended in part to allow Ms. Ozturk “to

            prepare for and attend her bail and habeas petition.” Ozturk,

            2025 WL 1318154, at *13. However, on May 8, Ms. Ozturk waived

            her request for in-person appearance at her bail hearing to

            avoid further delay, particularly in light of her ongoing and

            worsening medical conditions, discussed below. The government

            meanwhile did not argue any other prejudice from a remote

            appearance by Ms. Ozturk. The circuit court required the

            government to return Ms. Ozturk “by” May 14, but the government

            was of course free to transport Ms. Ozturk back to Vermont

            sooner. In light of Ms. Ozturk’s waiver of her in-person

            appearance at her bail hearing, and no concrete prejudice to the

            government from Ms. Ozturk’s remote appearance, the Court

            determined it was appropriate to proceed with a bail hearing on

            May 9, 2025.

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                  Before this Court was consideration of the merits of Ms.

            Ozturk’s petition for release under Mapp.

                                         Factual Background

                  The facts of this case were largely set forth in the

            Court’s prior Opinion and Order issued April 18, 2025 and again

            by the circuit court in its ruling issued May 7, 2025. This

            Court assumes familiarity with those facts.

                  Briefly stated, the case arises from the arrest and

            detention of Ms. Ozturk, a Turkish student who entered the

            United States lawfully pursuant to a valid F-1 student visa and

            has been engaged in doctoral studies in Child Study and Human

            Development at Tufts University. At approximately 5:25 p.m. on

            March 25, 2025, while walking near her residence in Somerville,

            Massachusetts, Ms. Ozturk was arrested without warning by a

            group of armed, plainclothes law enforcement officers, some of

            whom were masked. The officers immediately handcuffed her and

            led to her to an unmarked vehicle. Ms. Ozturk had not been

            notified of her visa revocation or imminent arrest.

                  Over the course of the next few hours, she was transported

            to an office in Methuen, Massachusetts, then to Lebanon, New

            Hampshire, and ultimately to an ICE Field Office in St. Albans,

            Vermont. Early the following morning, ICE transported Ms. Ozturk

            from Vermont to a detention facility in Basile, Louisiana, where

            she remained in ICE custody for over six weeks.

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                  To date, the only basis offered by the government to

            justify Ms. Ozturk’s arrest is an assessment by the Department

            of Homeland Security (“DHS”) and ICE that she “had been involved

            in associations that ‘may undermine U.S. foreign policy by

            creating a hostile environment for Jewish students and

            indicating support for a designated terrorist organization’

            including co-authoring an op-ed that found common cause with an

            organization that was later temporarily banned from campus.” ECF

            No. 91 at 6. The “op-ed” in question, co-authored by Ms. Ozturk

            and three other Tufts students, criticized the University’s

            response to three resolutions passed by the Tufts Community

            Union Senate and asked the University to “acknowledge the

            Palestinian genocide, apologize for University President Sunil

            Kumar’s statements, disclose its investments and divest from

            companies with direct or indirect ties to Israel.” ECF No. 123

            at 6. In an April 1, 2025, declaration, Tufts University

            President Kumar attested that Ms. Ozturk’s co-authored op-ed

            “was not in violation of any Tufts policies” and that “no

            complaints were filed with the University or, to our knowledge,

            outside of the University about this op-ed.” ECF No. 26-1 at 67.

            President Kumar further noted that the same newspaper also

            published other “op-eds on multiple sides of the issue with

            opinions that were shared just as strongly as the op-ed Ms.

            Ozturk co-authored.” Id.

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                  Ms. Ozturk was not informed, prior to her arrest, that DHS

            and ICE were pursuing visa revocation or that the revocation had

            occurred. In fact, a memo from the Bureau of Consular Affairs

            required that the revocation “be silent; the Department of State

            will not notify the subject of the revocation.” ECF No. 91-1 at

            6. With respect to Ms. Ozturk’s movements immediately post-

            arrest, her counsel has submitted affidavits from experienced

            immigration attorneys stating that such successive transfers,

            particularly to those locations, were highly unusual. See, e.g.,

            ECF No. 82-3 at 4 (“In my 16 years of practice, I have not seen

            or even heard of an ICE detainee arrested in Massachusetts being

            booked and repeatedly moved in the manner described in that

            declaration.”). And as to her detention generally, other

            immigration practitioners have opined that detention in a case

            such as this – involving revocation of an F-1 visa and

            termination of a SEVIS record – is equally unusual. See, e.g.,

            ECF Nos. 122-4 at 5; 122-5 at 4.

                  Ms. Ozturk reported poor treatment and unsanitary

            conditions during her detention in Louisiana. Several of her

            concerns pertained to her health. Ms. Ozturk suffers from

            asthma, which requires daily medication. ECF No. 82-10 at 4.

            Prior to her arrest, she had suffered approximately 13 asthma

            attacks in her life, commonly lasting between 5 and 15 minutes.

            Id. She informed the Court on May 2 that since her arrest, she

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            had suffered at least 8 additional attacks lasting anywhere from

            5-45 minutes. ECF No. 122-9 at 3. She is concerned about the

            severity of the attacks and her ability to manage them. Id. When

            not incarcerated, Ms. Ozturk is more able to control her

            environment and avoid exposure to triggers. Id. at 4.

                  Ms. Ozturk also reported poor medical care at the facility.

            For example, she was allegedly told that an asthma attack was

            “all in her head,” and her questions to a doctor were belittled.

            Id. at 7. She witnessed other women experience significant

            delays in receiving care. A physician who reviewed Ms. Ozturk’s

            medical history and spoke to her recently believes, in her

            professional opinion, that if not released Ms. Ozturk would be

            at risk for progressive symptoms, worsening disease control, and

            perhaps even “potentially fatal asthma exacerbation.” ECF No.

            122-10 at 8.

                  Stress is one of Ms. Ozturk’s asthma triggers, and she

            attested that her time in detention has been stressful. Officers

            at the facility were allegedly not responsive to detainee

            concerns and were verbally abusive. Id. at 10. Ms. Ozturk had

            difficulty sleeping due to loud noises and constant lighting

            throughout the night. Id. at 10-11. Poor food quality was also

            an issue. Id. at 11. From the outset, Ms. Ozturk reported that

            cells were overcrowded, hygiene supplies were inadequate, and



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            that she was not provided certain religious materials. ECF No.

            82-10 at 6-7.

                  Ms. Ozturk’s counsel has provided the Court with numerous

            letters of support which attest to Ms. Ozturk’s qualities as a

            person. Representative examples describe her as “compassionate,”

            “service-minded,” “conscientious,” “gentle” and “caring.” See

            ECF No. 90 at 6, 9, 14, 52. Nothing in the record suggests

            otherwise.

                  Going forward, the Dean of the Graduate School of Arts and

            Sciences at Tufts informs the Court that Ms. Ozturk will have

            several sources of income this coming summer as a result of her

            teaching and research and that the University will be able to

            provide her with housing. ECF No. 122-7 at 3. The Court also

            received a Declaration from personnel at the Burlington

            Community Justice Center, which was ready and willing to provide

            pre-trial services to Ms. Ozturk upon her release. ECF No. 122-8

            at 3. Ms. Ozturk reported that within the Tufts community she

            has a core group of close friends, as well as a larger group of

            friends and colleagues to which she will be returning.

                  On May 9, 2025, the Court heard testimony from Ms. Ozturk.

            The testimony from Ms. Ozturk confirmed the nature of her

            academic work, her ties to her community in Massachusetts, her

            desire to return to her academic studies, and the continued

            decline of her health. Ms. Ozturk reported that since the

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            submission of her last court filing on May 2, she had

            experienced 4 additional asthma attacks. And as a witness

            testified at the bail hearing, Ms. Ozturk appeared to suffer

            another asthma attack and was temporarily excused from the

            hearing to obtain her inhaler.

                  The Court also heard testimony from three witnesses who had

            previously submitted sworn affidavits. Testimony from the

            physician who had consulted with Ms. Ozturk remotely and

            reviewed her medical records expanded on the serious risk of Ms.

            Ozturk’s worsening asthma without proper management and

            treatment. Testimony from Ms. Ozturk’s primary academic advisor

            reiterated Ms. Ozturk’s strong ties to her community and her

            generous and compassionate character, as well as the potential

            negative academic and professional consequences of continued

            detention. Finally, testimony from an official with the

            Burlington Community Justice Center reiterated that

            organization’s ability to provide supervision and support

            services for Ms. Ozturk if she were released.

                                              Discussion

                  Ms. Ozturk requested release from custody pending

            resolution of her habeas petition. Ms. Ozturk argued that the

            Court has the inherent authority to order such a release,

            subject to the analysis in Mapp v. Reno. 241 F.3d 221 (2d Cir.

            2001). The government countered that the Court lacks authority

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            to consider release because of various jurisdictional bars, ECF

            No. 84 at 1-6, but the government otherwise acknowledged that if

            the Court did have such authority, Mapp is likely the

            controlling standard. Id. at 1-2. As previously discussed,

            following the circuit court’s May 7 Opinion the Court will not

            reconsider its April 18 jurisdictional determinations at this

            time. The Court has the authority to grant release pending the

            adjudication of Ms. Ozturk’s habeas petition. Therefore, the

            only question before the Court was whether Ms. Ozturk’s release

            is appropriate under a Mapp analysis.

                  Mapp v. Reno established the controlling bail standard: “a

            court considering a habeas petitioner’s fitness for bail must

            inquire into whether the habeas petition raises substantial

            claims and whether extraordinary circumstances exist that make

            the grant of bail necessary to make the habeas remedy

            effective.” 241 F.3d at 230 (cleaned up). Sibling courts have

            typically interpreted this standard to require three findings.

            See, e.g., Mahdawi v. Trump, 2025 WL 1243135, at *8-14 (D. Vt.

            Apr. 30, 2025). The Court must find (1) substantial claims, (2)

            extraordinary circumstances, and (3) grant of bail is necessary

            to make the habeas remedy effective. Id. (applying Mapp). The

            Mapp court noted that this standard is “difficult,” and the

            burden falls on the petitioner to make the necessary

            demonstrations. 241 F.3d at 226.

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                  Though not explicitly a part of the Mapp standard, it is

            also appropriate for the Court to consider whether the

            petitioner is a risk of flight or a danger to the community. Id

            at 244 (noting that the district court had ordered release after

            finding that petitioner was not a serious flight risk or threat

            to the community.); see also Black v. Decker, 103 F.4th 133, 157

            (2d Cir. 2024) (“Both sections 1226(a) and (c) aim to prevent

            flight and danger to the community.”); Velasco Lopez v. Decker,

            978 F.3d 842, 857 (2d Cir. 2020) (“The Government . . . has no

            interest in the continued incarceration of an individual who it

            cannot show to be either a flight risk or a danger to his

            community.”)

                  In the April 18 Opinion, the Court instructed the parties

            to submit briefing and evidence related to bail by May 2, 2025.

            On May 2, Ms. Ozturk filed a supplemental memorandum and

            evidence with the Court. ECF No. 122. The government did not

            file additional briefing or evidence. At the May 9 bail hearing,

            the government maintained that its objections to Ms. Ozturk’s

            release were primarily related to the Court’s jurisdiction, and

            the government wished to preserve those arguments for any

            potential appeal. The government did raise arguments related to

            conditions of release, on which the Court subsequently ordered

            further briefing. See ECF Nos. 130, 131. But the government did

            not make substantive arguments in relation to the Mapp factors.

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            The Court therefore considered the government’s substantive

            opposition to Ms. Ozturk’s bail from its April 10, 2025,

            briefing. ECF No. 84.

                     For the reasons below, the Court found that Ms. Ozturk has

            made the necessary demonstrations under Mapp, and the Court

            further found that she does not pose a risk of flight or danger

            to the community. Therefore, release was appropriate.

                I.     Substantial Claims

                     Ms. Ozturk has raised two primary constitutional claims

            related to her arrest and detention.1 Ms. Ozturk argued that the

            government’s actions have violated her First Amendment right to

            free speech and association. She further argued that her arrest

            and detention were intended to be, and actually are, punitive in

            violation of her Fifth Amendment due process rights. A detailed

            summary of these claims and the Court’s analytic framework was

            outlined in the April 18 Opinion. On May 9, the Court found that

            Ms. Ozturk’s habeas petition raised substantial claims of both

            violations.

                       a. First Amendment

                     As a threshold matter, the Court’s April 18 Opinion stated

            that “in the absence of additional information from the


            1 Ms. Ozturk also raised claims based on the Administrative
            Procedure Act and the Accardi doctrine. ECF No. 82-1 at 14. Thus
            far it has not been necessary for the Court to evaluate those
            claims as litigation has proceeded on other grounds.
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            government, the Court’s habeas review is likely to conclude that

            Ms. Ozturk has presented a substantial claim.” ECF No. 104 at

            57-58. Specifically, the Court took note of Secretary Rubio’s

            public statements seemingly offering to make presentations in

            court to justify Ms. Ozturk’s detention, id. at 50, and the

            Court invited an immediate submission of any relevant evidence.

            Id. at 57. No such submission has been received by this Court.

            In its absence, the Court concluded that Ms. Ozturk has

            presented a substantial First Amendment claim.

                  To briefly summarize, Ms. Ozturk has argued that her arrest

            and detention are retaliation for her co-authorship of an op-ed

            in a student newspaper. The government has identified her op-ed,

            and potentially related associations, as the precipitating

            factor for her visa revocation. Id. at 9 (quoting a State

            Department memorandum revoking her visa). As the Court cited in

            its April 18, 2025, Opinion and Order, then-candidate Trump

            reportedly threatened to deport foreign students involved in

            campus protests. Id. at 49. And Secretary of State Marco Rubio,

            in response to press inquiries about Ms. Ozturk’s arrest, opined

            that Ms. Ozturk’s activities “meet the standard of what I’ve

            just described to you: people that are supportive of movements

            that run counter to the foreign policy of the United States” and

            that detention was “basically asking them to leave the country.”

            Id.

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                  Arrest and detention, let alone termination of status, are

            not a natural consequence of visa revocation. Ms. Ozturk has

            presented credible evidence to show that similarly situated

            individuals historically have not been detained following visa

            revocation or termination of status. ECF No. 122 at 8

            (summarizing submitted declarations from attorneys with

            considerable experience with student visas).

                  To date, the government has neither rebutted the argument

            that retaliation for Ms. Ozturk’s op-ed was the motivation for

            her detention nor identified another specific reason for Ms.

            Ozturk’s detention, arguing instead that such decisions are

            committed to the discretion of the executive branch. ECF No. 84

            at 5. While it is uncontested that the government has discretion

            in this area, that discretion is not accompanied by the

            authority to violate the Constitution.

                  The Court need not decide at this stage whether Ms.

            Ozturk’s detention actually constitutes a First Amendment

            violation. As the April 18 opinion established, Ms. Ozturk’s op-

            ed carries all the hallmarks of protected speech on public

            issues, and it does not fall into any recognized exception. ECF

            No. 104 at 52-55. A First Amendment retaliation claim requires

            showing a causal connection between protected speech by Ms.

            Ozturk and adverse action by the government. Id. at 55 (quoting

            Demarest v. Town of Underhill, 2025 WL 88417, at *2 (2d Cir.

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            2025). The record before this Court shows that the only speech

            at issue is Ms. Ozturk’s op-ed, and her arrest and detention

            clearly constitute adverse action. On April 18, the Court

            offered the government the opportunity to rebut Ms. Ozturk’s

            evidence showing that her op-ed is the but-for cause of her

            detention. ECF No. 104 at 56-58. The government has not done so.

            Meanwhile, Ms. Ozturk has introduced significant evidence

            demonstrating the irregular nature of the government’s actions.

            ECF No. 122 at 8. The Court therefore concluded that Ms. Ozturk

            has presented, at the very least, a substantial claim of a First

            Amendment violation.2


            2 The Court previously posited that the test for First Amendment
            retaliation claims may be open to debate after Nieves v.
            Bartlett, 587 U.S. 391 (2019). ECF No. 104 at 55-56. Petitioner
            subsequently argued that Nieves was inapposite in the habeas
            context and Mt. Healthy Sch. Dist. Bd. Of Educ. v. Doyle, 429
            U.S. 274 (1977) should govern the Court’s inquiry, while
            Respondents provided no argument. The Court finds that Ms.
            Ozturk has presented a substantial claim at this stage no matter
            the applicable test. The Court invites further briefing on the
            appropriate standard for First Amendment retaliation claims in
            civil immigration habeas proceedings prior to final disposition.
            In addition, the Court notes that a court in the District of
            Massachusetts recently found that plaintiffs in that case
            “plausibly alleged the existence of both an ideological-
            deportation policy targeting protected political speech and a
            more informal campaign of censorship through threats.” Am. Ass’n
            of Univ. Professors v. Rubio, 2025 WL 1235084, at *20 (D. Mass.
            Apr. 29, 2025). The Court invites briefing on whether the
            potential existence of such a policy would instead implicate the
            First Amendment retaliation test in Lozman v. Riviera Beach, 585
            U.S. 87 (2018). Finally, the Court notes that, in similar
            litigation proceeding in other courts, the government has argued
            that non-citizens may not share the First Amendment protections
            of citizens, Bridges v. Wixon notwithstanding. See, e.g.,
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                     b. Due Process

                  In its April 18 Opinion, the Court stated, “Where a

            detainee presents evidence that her detention, though

            discretionary, is motivated by unconstitutional purposes in

            violation of the Due Process Clause, the Court may reasonably

            conclude the same in the absence of countervailing evidence.”

            ECF No. 104 at 62. The Court invited the government to rebut Ms.

            Ozturk’s claims of an improper, punitive motivation for her

            detention, but the Court has received no such evidence.

            Therefore, on May 9 the Court concluded that Ms. Ozturk has

            presented a substantial claim of a due process violation by the

            government.

                  Civil detention by the government of individuals like Ms.

            Ozturk who are undergoing removal proceedings is authorized by

            Congress in 8 U.S.C. § 1226(a). The government has argued that

            such detention is completely at the discretion of the

            government. ECF No. 84 at 3. However, that discretion may not be

            deployed for any purpose of the government’s choosing. Detention

            is primarily permitted for two purposes: preventing danger to

            the community and ensuring an individual in proceedings does not

            abscond. Zadvydas v. Davis, 533 U.S. 678, 690 (2001). In



            Opposition to Motion for Release Under Mapp v. Reno, Mahdawi v.
            Trump, Docket No. 2:25-cv-00389, ECF No. 42 at 5. The Court
            invites briefing on the nature and extent of this distinction,
            if any, in this case’s context.
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            contrast with criminal incarceration, civil immigration

            detention is not permissible for a punitive purpose. Id.

                  The government could have demonstrated that Ms. Ozturk’s

            detention was motivated by a desire to prevent a danger to the

            community or a flight risk.3 However, Ms. Ozturk has instead

            shown that her detention is likely motivated by improper

            purposes.

                  Ms. Ozturk argued that her detention is punishment for her

            op-ed, and that her punishment is intended to serve as a warning

            to other non-citizens who are contemplating public speech on

            issues of the day. The Court found that Ms. Ozturk has presented

            credible evidence to support her argument, including her own

            testimony describing her terror during her irregular arrest,

            statements by the Secretary of State describing the purpose of

            the government’s actions, sworn declarations from immigration

            attorneys attesting to the unusual nature of Ms. Ozturk’s case,

            and a sworn declaration from the Tufts University president

            describing the resulting climate of fear among the international

            members of the school community. The Court need not conclude at

            this stage that Ms. Ozturk’s arrest and detention are actually

            punitive in violation of her due process rights. However, for




            3 An immigration judge’s finding at a bond hearing are discussed
            below. For this analysis, the Court notes only that the
            immigration judge’s determination did not precede detention.
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            the purpose of Mapp, the Court found that Ms. Ozturk has

            demonstrated a substantial claim of a violation of due process.

               II.   Extraordinary Circumstances

                  Mapp requires that the court find “extraordinary

            circumstances” before granting bail. Extraordinary circumstances

            are evident across multiple dimensions of this case.

                  First, the Court considered the unusual sequence of events

            that led to Ms. Ozturk’s present detention in Louisiana. Not

            only was Ms. Ozturk arrested and transported out of

            Massachusetts in a striking manner, but she was further flown to

            Louisiana despite a court order issued on an emergency basis by

            a federal court in Massachusetts which was intended to preserve

            the status quo. ECF No. 104 at 68-72. This Court previously

            criticized the government’s response to the order issued on the

            evening of Ms. Ozturk’s arrest, id., and ordered Ms. Ozturk’s

            return to Vermont “in part to effectuate the district court in

            Massachusetts’s order, returning Ozturk to the status quo at the

            time of issuance and in part to ensure continued respect for

            orders issued by Article III courts.” Ozturk v. Hyde, 2025 WL

            1318154, at *14 (2d Cir. May 7, 2025) (cleaned up). The

            reviewing circuit court determined that “equity favors such a

            determination.” Id. Needless to say, it is an extraordinary

            circumstance when an individual is transported across the

            country despite a court order.

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                  Second, the facts underlying Ms. Ozturk’s substantial

            claims present an extraordinary circumstance. The government has

            not claimed that Ms. Ozturk violated any civil or criminal laws

            requiring her removal from the country. Instead, a year after

            Ms. Ozturk co-authored an op-ed in a campus newspaper, the

            government seemingly discovered the op-ed and exercised its

            discretion to revoke Ms. Ozturk’s student visa, and then took

            further steps to terminate her status, arrest, and detain her.

            ECF No. 83 at 21, n. 5. In defense of these actions, the

            government has not provided anything beyond Ms. Ozturk’s

            political speech. As Judge Crawford recently explained in a

            similar case, these are not unprecedented actions by the

            government, but they are nonetheless extraordinary. Mahdawi, 2025

            WL 1243135, at *12-13.

                  Finally, Ms. Ozturk’s declining health in custody provides

            another basis for finding extraordinary circumstances. The Court

            received testimony and affidavits expressing concern about Ms.

            Ozturk’s conditions of confinement which appeared to be

            exacerbating her underlying medical conditions. The Court takes

            seriously the testifying physician’s warning that Ms. Ozturk’s

            asthma could be life-threatening if not properly managed.

            Therefore, Ms. Ozturk’s health now constitutes an additional

            extraordinary circumstance which warranted immediate release.



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               III. Necessary to Make the Habeas Remedy Effective

                  Ms. Ozturk has spent over six weeks in detention, and she

            has established substantial claims that her detention is

            unconstitutional. Her release is now necessary as the Court

            continues to consider the merits of her habeas petition.

                   The evidence before the Court showed that Ms. Ozturk’s

            health has declined precipitously over the last six weeks, and

            she is at risk for needing emergency medical care, which may be

            difficult to obtain in detention. Her detention also had a

            negative impact on her academic, professional, and personal

            life, as has been established by voluminous affidavits and

            testimony. “When the Government incarcerates individuals it

            cannot show to be a poor bail risk . . . it separates families

            and removes from the community breadwinners, caregivers,

            parents, siblings and employees. The Government articulates no

            public interest that any of this serves and we see none.”

            Velasco Lopez, 978 F.3d at 855.

                  Ms. Ozturk’s detention necessarily constitutes an

            infringement of her First Amendment rights and her right to

            liberty. While such an infringement may be justified if the

            government presented a legitimate purpose for it, see Jones v.

            N. Carolina Prisoners’ Lab. Union, Inc., 433 U.S. 119, 125

            (1977), the government has not done so in this case. If the

            Court later finds that Ms. Ozturk’s substantial claims are in

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            fact proven claims, her detention will have been an

            unconstitutional deprivation with no public purpose or benefit.

            Meanwhile, Ms. Ozturk’s continued detention restricts her

            ability to speak freely and potentially chills the speech of

            other non-citizens. For all these reasons, the Court found that

            bail was necessary to make the habeas remedy effective.

               IV.   Risk of Flight and Danger to the Community

                  The Court found that Ms. Ozturk has presented substantial

            claims and that extraordinary circumstances make the grant of

            bail necessary for the habeas remedy to be effective. As is

            customary in bail considerations, the Court continued on to

            consider whether the detainee presents a risk of flight or

            danger to the community which may make release inappropriate.

            The Court considered the totality of evidence presented and

            found that Ms. Ozturk does not pose a risk of flight or a danger

            to the community.

                  The Court is aware that on April 16, 2025, an immigration

            judge in Louisiana denied Ms. Ozturk’s request for a change in

            custody status and provided “Danger and Flight Risk” as the

            rationale. ECF No. 101-1 at 4. The Court does not here, as the

            government has argued, conduct “improper judicial review of a

            bail determination” of the immigration judge. ECF No. 84 at 3.

            The Court instead considers the immigration judge’s finding as

            potential evidence in the government’s favor. In the April 18

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            Opinion, the Court took notice of that finding, which was

            supplied to the Court by Ms. Ozturk, as well as DHS’s reported

            contention at immigration judge’s bond hearing that Ms. Ozturk

            posed a flight risk. ECF 104 at 61-62. The Court further invited

            the government to submit evidence supporting that determination

            to the record in this case. Id. The government did not present

            any such evidence.

                  This is an Article III court. It is obligated to conduct an

            independent and rigorous review of the evidence that is a part

            of the record in this case. Immigration judges, by contrast, are

            executive branch employees subject to executive branch orders.

            The Court does not seek to disturb or set aside the immigration

            judge’s finding—indeed if Ms. Ozturk’s habeas petition is

            unsuccessful, she may presumably be again subject to potential

            discretionary detention—but neither is this Court bound by an

            executive branch employee’s finding apparently unsupported by

            evidence. Such deference would obviate the purpose of habeas

            corpus as enshrined in the Constitution:

                  In our own system the Suspension Clause is designed to
                  protect against these cyclical abuses. The Clause
                  protects the rights of the detained by a means
                  consistent with the essential design of the
                  Constitution. It ensures that, except during periods
                  of formal suspension, the Judiciary will have a time-
                  tested device, the writ, to maintain the delicate
                  balance of governance that is itself the surest
                  safeguard of liberty. The Clause protects the rights
                  of the detained by affirming the duty and authority of
                  the Judiciary to call the jailer to account.

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            Boumediene v. Bush, 553 U.S. 723, 745 (2008) (cleaned up).

                  The Court is not bound by the immigration judge’s analysis

            for an additional reason. This Court has inherent authority to

            grant bail in immigration habeas cases after making the

            necessary findings. Mapp, 241 F.3d at 222. In this case, those

            findings include substantial claims of constitutional

            violations, as discussed above. As the circuit court has

            recognized, “neither the IJ nor the BIA has jurisdiction to

            decide constitutional issues.” Ozturk, 2025 WL 1318154, at *12

            (2d Cir. May 7, 2025) (internal quotation omitted). In part for

            that reason, the circuit court was “not persuaded that an IJ or

            the BIA would have developed a sufficient factual record, or any

            record at all, with respect to the challenged detention[.]” Id.

            (emphasis in original). As discussed above, constitutional

            issues permeate this case and necessitate the grant of bail.

                  Both preceding and following the April 18 Opinion, the

            Court received significant credible evidence attesting to Ms.

            Ozturk’s peaceful and compassionate character as well as to her

            ties to her university and her community. This evidence includes

            numerous sworn affidavits as well as testimony from Ms. Ozturk’s

            academic advisor and Ms. Ozturk herself. This demonstration

            contrasts with the complete lack of evidence from the government

            suggesting Ms. Ozturk is a danger or at risk of flight. There is


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            no evidence that Ms. Ozturk has engaged in violence or advocated

            violence, and she has no criminal record. Nor does any of her

            conduct suggest a risk of flight. Instead the evidence before

            the court showed that Ms. Ozturk is committed to her academic

            career and her community. Therefore, the Court found that Ms.

            Ozturk does not pose a danger to the community, nor does she

            present a risk of flight.

                     Ms. Ozturk’s motion for immediate release was granted at

            the May 9 hearing, subject to the following conditions.4

                V.     Conditions of Release

                     Ms. Ozturk was ordered to be immediately released on her

            own recognizance, without Body-Worn GPS. Ms. Ozturk is free to

            travel as she sees fit, as the Court has not found any risk of

            flight and Ms. Ozturk’s academic career necessitates travel. Ms.

            Ozturk was ordered to have at least monthly contact with the

            Burlington Community Justice Center to monitor and support her

            reintegration into her community following these traumatic

            events. The Burlington Community Justice Center was ordered to

            submit a monthly report to the Court detailing Ms. Ozturk’s

            status, activities over the previous month, and future plans.




            4 The government did not move for a stay of release pending
            appeal; however, petitioner’s counsel raised the possibility in
            her argument. The Court found that a stay would not be
            appropriate under Nken v. Holder, 556 U.S. 418 (2009), because
            all four factors weigh in favor of Ms. Ozturk.
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                  Government’s counsel requested additional conditions of

            release that are common for immigration detainees who have been

            granted bail. The Court instructed both parties to confer and

            attempt to find consensus on modest additional conditions and

            submit a proposal to the Court.

                                              Conclusion

                  For the reasons above, Ms. Ozturk was ordered immediately

            released at her bail hearing on May 9, 2025, pending the

            resolution of her habeas petition.

                  The Court found that Ms. Ozturk demonstrated substantial

            claims of First Amendment and Due Process Clause violations

            related to her detention. At this stage in the proceedings,

            there is no evidence to support Ms. Ozturk’s continued detention

            absent consideration of her op-ed. Her substantial claims, which

            have been largely unrebutted by the government, are that her

            detention is retaliation for her op-ed in a school newspaper and

            that her detention is punitive, in part to serve as a message to

            others contemplating similar speech.

                  The Court found that extraordinary conditions exist in this

            case. In particular, the government’s actions in ignoring a

            court order while arresting and transporting her to Louisiana

            constitute extraordinary circumstances. Further, extraordinary

            circumstances exist given the nature and strength of Ms.



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            Ozturk’s constitutional claims and her demonstration that her

            detention exacerbated an underlying medical condition.

                  The Court found that immediate release was necessary to

            make the habeas remedy effective. As demonstrated by testimony

            and affidavits, continued detention may have potentially severe

            consequences for Ms. Ozturk’s health. Immediate release was also

            necessary to ameliorate the chilling effect that Ms. Ozturk’s

            arguably unconstitutional detention may have on non-citizens

            present in the country.

                  Finally, the Court found that Ms. Ozturk does not present a

            danger to the community or a risk of flight. This Article III

            Court was obligated to conduct an independent, rigorous review

            of all evidence presented, and the Court concluded that Ms.

            Ozturk is a cherished member of her community who exhibits a

            caring and compassionate character. On those bases, Ms. Ozturk’s

            immediate release was warranted, and Ms. Ozturk’s motion for

            release, ECF No. 82, was granted.

                  DATED at Burlington, in the District of Vermont, this 16th

            day of May 2025.

                                                        /s/ William K. Sessions III
                                                        Hon. William K. Sessions III
                                                        U.S. District Court Judge




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                                                    2:25cv374, Ozturk V. Hyde Et Al

                                                                 US District Court Docket


                                                           United States District Court, Vermont


                                                                       (Burlington)


                                                        This case was retrieved on 06/27/2025




               Header

             Case Number: 2:25cv374                                                                                         Class Code: Open
             Date Filed: 04/04/2025                                                                                           Statute: 8:1182
             Assigned To: Judge William K. Sessions III                                                                   Jury Demand: None
             Nature of Suit: Prisoner - General (530)                                                                    Demand Amount: $0
             Cause: Defend. Denial of Pla. Appl. for Alien Employment Cer                                  NOS Description: Prisoner - General
             Lead Docket: None
             Other Docket: Massachusetts, 1:25-cv-10695
             Jurisdiction: U.S. Government Defendant




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                      Online            1         03/25/2025   PETITION for Writ of Habeas Corpus (2241) Filing fee: $ 5, receipt number
                                                               BMADC-10912735 Fee status: Filing Fee paid., filed by Rumeysa Ozturk.
                                                               (Khanbabai, Mahsa) [Transferred from Massachusetts on 4/4/2025.]
                                                               (Entered: 03/25/2025)

                                        2         03/25/2025   ELECTRONIC NOTICE of Case Assignment. Judge Denise J. Casper
                                                               assigned to case. If the trial Judge issues an Order of Reference of any
                                                               matter in this case to a Magistrate Judge, the matter will be transmitted to
                                                               Magistrate Judge Donald L. Cabell. (JPM) [Transferred from Massachusetts
                                                               on 4/4/2025.] (Entered: 03/25/2025)

                      Online            3         03/25/2025   Judge Indira Talwani: ORDER entered. Service Order and Order
                                                               Concerning Determination of Jurisdiction. (JPM) [Transferred from
                                                               Massachusetts on 4/4/2025.] (Entered: 03/25/2025)

                      Online            4         03/26/2025   General Order 19-02, dated June 1, 2019 regarding Public Access to
                                                               Immigration Cases Restricted by Federal Rule of Civil Procedure 5.2(c).
                                                               (NMC) [Transferred from Massachusetts on 4/4/2025.] (Entered:
                                                               03/26/2025)

                                        5         03/26/2025   Online access to documents in this case is limited to counsel of record only.
                                                               All documents are available for review in the Office of the Clerk. Counsel of
                                                               record: please note that you will need to log into CM/ECF to access any
                                                               documents in this case. (SEC) [Transferred from Massachusetts on
                                                               4/4/2025.] (Entered: 03/26/2025)

                      Free              6         03/26/2025   NOTICE of Appearance by Mark Sauter on behalf of Patricia Hyde, Michael
                                                               Krol, Todd Lyons, Kristi Noem (Sauter, Mark) [Transferred from
                                                               Massachusetts on 4/4/2025.] (Entered: 03/26/2025)

                      Free              7         03/26/2025   Withdrawn MOTION for Writ EMERGENCY Motion To Produce Petitioner
                                                               by Rumeysa Ozturk.(Khanbabai, Mahsa) Modified on 3/27/2025 in
                                                               accordance with D. 10 (SEC). [Transferred from Massachusetts on
                                                               4/4/2025.] (Entered: 03/26/2025)

                                        8         03/26/2025   Judge Denise J. Casper: ELECTRONIC ORDER entered. The Court orders
                                                               the government to respond to the motion, D. 7 , by 9:00am on 3/27/25.
                                                               (SEC) [Transferred from Massachusetts on 4/4/2025.] (Entered:
                                                               03/26/2025)

                      Free              9         03/27/2025   Opposition re 7 MOTION for Writ EMERGENCY Motion To Produce
                                                               Petitioner filed by Rumeysa Ozturk, Patricia Hyde, Michael Krol, Todd
                                                               Lyons, Kristi Noem. (Sauter, Mark) [Transferred from Massachusetts on
                                                               4/4/2025.] (Entered: 03/27/2025)

                      Online            10        03/27/2025   NOTICE of Withdrawal by Rumeysa Ozturk to W/D Motion at ECF7
                                                               (Khanbabai, Mahsa) [Transferred from Massachusetts on 4/4/2025.]
                                                               (Entered: 03/27/2025)

                      Online            11        03/28/2025   NOTICE of Appearance by Jessie J. Rossman on behalf of Rumeysa
                                                               Ozturk (Rossman, Jessie) [Transferred from Massachusetts on 4/4/2025.]
                                                               (Entered: 03/28/2025)

                      Online            12        03/28/2025   AMENDED COMPLAINT AND PETITION FOR WRIT OF HABEAS
                                                               CORPUS against Patricia Hyde, Michael Krol, Todd Lyons, Kristi Noem,
                                                               Donald J Trump, Marco Rubio, filed by Rumeysa Ozturk. (Attachments: # 1
                                                               Exhibit A, # 2 Exhibit B)(Rossman, Jessie) . (Additional attachment(s)
                                                               added on 3/28/2025: # 3 *SEALED* Exhibit A and B) (SEC). [Transferred
                                                               from Massachusetts on 4/4/2025.] (Entered: 03/28/2025)


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                   Online            13     03/28/2025   NOTICE of Appearance by Rachel Elizabeth Davidson on behalf of
                                                         Rumeysa Ozturk (Davidson, Rachel) [Transferred from Massachusetts on
                                                         4/4/2025.] (Entered: 03/28/2025)

                   Online            14     03/28/2025   NOTICE of Appearance by Julian Bava on behalf of Rumeysa Ozturk
                                                         (Bava, Julian) [Transferred from Massachusetts on 4/4/2025.] (Entered:
                                                         03/28/2025)

                   Online            15     03/28/2025   NOTICE of Appearance by Adriana Lafaille on behalf of Rumeysa Ozturk
                                                         (Lafaille, Adriana) [Transferred from Massachusetts on 4/4/2025.] (Entered:
                                                         03/28/2025)

                   Free              16     03/28/2025   Judge Denise J. Casper: ORDER entered. MEMORANDUM AND ORDER -
                                                         the Court ORDERS as follows: 1. To allow the Court's resolution of its
                                                         jurisdiction to decide the Petition, Ozturk shall not be removed from the
                                                         United States until further Order of this Court. See Mahmoud Khalil v.
                                                         Joyce, No. 25-cv-01935-JMF at ECF No. 9, 2025 WL 750599 (S.D.N.Y.
                                                         Mar. 10, 2025) (ruling that "[t]o preserve the Courts jurisdiction pending a
                                                         ruling on the petition, Petitioner shall not be removed from the United States
                                                         unless and until the Court orders otherwise"); and 2. The Respondents
                                                         have until 5:00 p.m. on Tuesday, April 1, 2025, to respond to the Amended
                                                         Petition and Complaint, D. 12 . (SEC) [Transferred from Massachusetts on
                                                         4/4/2025.] (Entered: 03/28/2025)

                   Online            17     04/01/2025   MOTION for Leave to File Excess Pages by Patricia Hyde, Michael Krol,
                                                         Donald J Trump, Marco Rubio, Todd Lyons, Kristi Noem.(Sauter, Mark)
                                                         [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/01/2025)

                                     18     04/01/2025   Judge Denise J. Casper: ELECTRONIC ORDER entered allowing 17
                                                         Motion for Leave to File Excess Pages; Counsel using the Electronic Case
                                                         Filing System should now file the document for which leave to file has been
                                                         granted in accordance with the CM/ECF Administrative Procedures.
                                                         Counsel must include - Leave to file granted on (date of order)- in the
                                                         caption of the document. (SEC) [Transferred from Massachusetts on
                                                         4/4/2025.] (Entered: 04/01/2025)

                   Free              19     04/01/2025   RESPONSE/ANSWER to 12 Amended Complaint, by Patricia Hyde,
                                                         Michael Krol, Donald J Trump, Marco Rubio, Todd Lyons, Kristi Noem.
                                                         (Attachments: # 1 Exhibit A)(Sauter, Mark) [Transferred from
                                                         Massachusetts on 4/4/2025.] (Entered: 04/01/2025)

                                     20     04/01/2025   Judge Denise J. Casper: ELECTRONIC ORDER entered re 19 Response
                                                         to Petition for Writ of Habeas Corpus - 2241. Petitioner may file a response
                                                         to Respondents' filing, D. 19 , by April 2, 2025 at 5 p.m. Such filing shall not
                                                         exceed thirty (30) pages. (SEC) [Transferred from Massachusetts on
                                                         4/4/2025.] (Entered: 04/01/2025)

                                     21     04/02/2025   ELECTRONIC NOTICE of Hearing. Oral argument on the Amended
                                                         Petition, D. 12. Hearing set for 4/3/2025 02:00 PM in Courtroom 11 (In
                                                         person with remote access provided) before Judge Denise J. Casper.
                                                         Overflow will be available in Jury Assembly Hall. This hearing will be
                                                         available to the public and media by audio only. Please check the Court
                                                         schedule. In order to gain access to the hearing, you must sign up at the
                                                         following address: https://forms.mad.uscourts.gov/courtlist.html.For
                                                         questions regarding access to hearings, you may refer to the general orders
                                                         and public notices of the Court available on www.mad.uscourts.gov or
                                                         contact the session here.(LMH) [Transferred from Massachusetts on
                                                         4/4/2025.] (Entered: 04/02/2025)

                   Online            22     04/02/2025   MOTION to Seal Declaration of Rumeysa Ozturk re: Reply to 1 PETITION
                                                         for Writ of Habeas Corpus (2241) by Rumeysa Ozturk.(Lafaille, Adriana)
                                                         [Transferred from Massachusetts on 4/4/2025.] Link added on 4/6/2025
                                                         (law). (Entered: 04/02/2025)

                                     23     04/02/2025   Judge Denise J. Casper: ELECTRONIC ORDER entered granting 22
                                                         Motion to Seal Declaration of Rumeysa Ozturk by Rumeysa Ozturk.
                                                         Counsel will receive an email within twenty-four (24) hours of this order with
                                                         instructions for submitting sealed documents for which leave has been
                                                         granted in accordance with the Local Rules of the U.S. District Court of
                                                         Massachusetts. Counsel must include - Leave to file granted on (date of
                                                         order)- in the caption of the document. (LMH) [Transferred from
                                                         Massachusetts on 4/4/2025.] (Entered: 04/02/2025)

                   Online            24     04/02/2025   MOTION for Leave to File Excess Pages for Reply re: 1 PETITION for Writ
                                                         of Habeas Corpus (2241) by Rumeysa Ozturk.(Lafaille, Adriana)
                                                         [Transferred from Massachusetts on 4/4/2025.] Link added on 4/6/2025
                                                         (law). (Entered: 04/02/2025)

                                     25     04/02/2025   Judge Denise J. Casper: ELECTRONIC ORDER entered granting 24
                                                         MOTION for Leave to File Excess Pages by Rumeysa Ozturk noting there

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                                                         will be no opposition filed.Counsel using the Electronic Case Filing System
                                                         should now file the document for which leave to file has been granted in
                                                         accordance with the CM/ECF Administrative Procedures. Counsel must
                                                         include - Leave to file granted on (date of order)- in the caption of the
                                                         document. (SEC) [Transferred from Massachusetts on 4/4/2025.] (Entered:
                                                         04/02/2025)

                   Online            26     04/02/2025   REPLY to Response to 1 Petition for Writ of Habeas Corpus - 2241 by
                                                         Rumeysa Ozturk. (Attachments: # 1 Exhibit 1 (unredacted, sealed), # 2
                                                         Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit
                                                         8)(Lafaille, Adriana) (Additional attachment(s) added on 4/3/2025: # 8
                                                         *SEALED* Exhibit 7) (SEC). [Transferred from Massachusetts on 4/4/2025.]
                                                         Text and link clarified on 4/6/2025 (law). (Additional attachment(s) added on
                                                         4/16/2025: # 9 Exhibit 1 (redacted)) (law). (Entered: 04/02/2025)

                   Online            27     04/02/2025   ASSENTED-TO MOTION for Leave to Appear Pro Hac Vice for admission
                                                         of Noor Zafar Filing fee: $ 125, receipt number AMADC-10929762 by
                                                         Rumeysa Ozturk. (Attachments: # 1 Exhibit A)(Rossman, Jessie)
                                                         [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/02/2025)

                   Online            28     04/02/2025   ASSENTED-TO MOTION for Leave to Appear Pro Hac Vice for admission
                                                         of Brian Hauss Filing fee: $ 125, receipt number AMADC-10929769 by
                                                         Rumeysa Ozturk. (Attachments: # 1 Exhibit A)(Rossman, Jessie)
                                                         [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/02/2025)

                   Online            29     04/02/2025   ASSENTED-TO MOTION for Leave to Appear Pro Hac Vice for admission
                                                         of Esha Bhandari Filing fee: $ 125, receipt number AMADC-10929772 by
                                                         Rumeysa Ozturk. (Attachments: # 1 Exhibit A)(Rossman, Jessie)
                                                         [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/02/2025)

                   Online            30     04/02/2025   ASSENTED-TO MOTION for Leave to Appear Pro Hac Vice for admission
                                                         of Katherine Rosenfeld Filing fee: $ 125, receipt number AMADC-10929774
                                                         by Rumeysa Ozturk. (Attachments: # 1 Exhibit A)(Rossman, Jessie)
                                                         [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/02/2025)

                   Online            31     04/02/2025   ASSENTED-TO MOTION for Leave to Appear Pro Hac Vice for admission
                                                         of Sonya Levitova Filing fee: $ 125, receipt number AMADC-10929777 by
                                                         Rumeysa Ozturk. (Attachments: # 1 Exhibit A)(Rossman, Jessie)
                                                         [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/02/2025)

                   Online            32     04/02/2025   ASSENTED-TO MOTION for Leave to Appear Pro Hac Vice for admission
                                                         of Matthew D. Brinckerhoff Filing fee: $ 125, receipt number AMADC-
                                                         10929780 by Rumeysa Ozturk. (Attachments: # 1 Exhibit A)(Rossman,
                                                         Jessie)[Transferred from Massachusetts on 4/4/2025.] (Entered:
                                                         04/02/2025)

                   Online            33     04/02/2025   ASSENTED-TO MOTION for Leave to Appear Pro Hac Vice for admission
                                                         of Vasudha Talla Filing fee: $ 125, receipt number AMADC-10929785 by
                                                         Rumeysa Ozturk. (Attachments: # 1 Exhibit A)(Rossman, Jessie)
                                                         [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/02/2025)

                                     34     04/03/2025   Judge Denise J. Casper: ELECTRONIC ORDER entered granting 27
                                                         Motion for Leave to Appear Pro Hac Vice Added Noor Zafar; 28 Motion for
                                                         Leave to Appear Pro Hac Vice Added Brian Hauss; 29 Motion for Leave to
                                                         Appear Pro Hac Vice Added Esha Bhandari; 30 Motion for Leave to Appear
                                                         Pro Hac Vice Added Katherine Rosenfeld; 31 Motion for Leave to Appear
                                                         Pro Hac Vice Added Sonya Levitova; 32 Motion for Leave to Appear Pro
                                                         Hac Vice Added Matthew D. Brinckerhoff; 33 Motion for Leave to Appear
                                                         Pro Hac Vice Added Vasudha Talla. Attorneys admitted Pro Hac Vice must
                                                         have an individual PACER account, not a shared firm account, to
                                                         electronically file in the District of Massachusetts. To register for a PACER
                                                         account, go the Pacer website at https://pacer.uscourts.gov/register-
                                                         account. You must put the docket number under ADDITIONAL FILER
                                                         INFORMATION on your form when registering or it will be rejected.Pro Hac
                                                         Vice Admission Request Instructions
                                                         https://www.mad.uscourts.gov/caseinfo/nextgen-pro-hac-vice.htm.A Notice
                                                         of Appearance must be entered on the docket by the newly admitted
                                                         attorneys. (SEC) [Transferred from Massachusetts on 4/4/2025.] (Entered:
                                                         04/03/2025)

                   Online            35     04/03/2025   Assented to MOTION Remote Participation by Some of Petitioner's
                                                         Counsel at Argument re 21 Notice of Hearing,,, by Rumeysa Ozturk.(Bava,
                                                         Julian) [Transferred from Massachusetts on 4/4/2025.] (Entered:
                                                         04/03/2025)

                   Online            36     04/03/2025   NOTICE of Appearance by Matthew Brinckerhoff on behalf of Rumeysa
                                                         Ozturk (Brinckerhoff, Matthew) [Transferred from Massachusetts on
                                                         4/4/2025.] (Entered: 04/03/2025)



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                    Availability     #     Date        Proceeding Text                                                                 Source 

                   Online            37     04/03/2025   NOTICE of Appearance by Katherine Rosenfeld on behalf of Rumeysa
                                                         Ozturk (Rosenfeld, Katherine) [Transferred from Massachusetts on
                                                         4/4/2025.] (Entered: 04/03/2025)

                   Online            38     04/03/2025   NOTICE of Appearance by Sonya Levitova on behalf of Rumeysa Ozturk
                                                         (Levitova, Sonya) [Transferred from Massachusetts on 4/4/2025.] (Entered:
                                                         04/03/2025)

                   Online            39     04/03/2025   NOTICE of Appearance by Vasudha Talla on behalf of Rumeysa Ozturk
                                                         (Talla, Vasudha) [Transferred from Massachusetts on 4/4/2025.] (Entered:
                                                         04/03/2025)

                                     40     04/03/2025   Judge Denise J. Casper: ELECTRONIC ORDER entered granting 35
                                                         Motion for Remote Participation by Some of Petitioner's Counsel at
                                                         Argument re 21 Notice of Hearing by Rumeysa Ozturk. (LMH) [Transferred
                                                         from Massachusetts on 4/4/2025.] (Entered: 04/03/2025)

                                     41     04/03/2025   Electronic Clerk's Notes for proceedings held before Judge Denise J.
                                                         Casper: Hearing on Amended Petition held on 4/3/2025. Court hears from
                                                         counsel and takes matter under advisement. (Court Reporter: Kristin Kelley
                                                         at kmob929@gmail.com.)(Attorneys present: Jessie Rossman, Adriana
                                                         Lafaille, Mahsa Khanbabai, Rachel Davidson, Julian Bava, Noor Zafar and
                                                         Brian Hauss for the petitioner. Mark Sauter for respondent.) (LMH)
                                                         [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/03/2025)

                   Free              42     04/04/2025   Judge Denise J. Casper: ORDER entered. MEMORANDUM AND ORDER -
                                                         The Court DENIES the government's motion to dismiss this Petition and its
                                                         alternative request to transfer this matter to the Western District of
                                                         Louisiana. The Court ALLOWS the alternative relief sought by Ozturk and
                                                         transfers this matter "in the interest of justice" pursuant 28 U.S.C. § 1631 to
                                                         the U.S. District Court for the District of Vermont.To ensure that Ozturk has
                                                         an opportunity to have the Petition considered by the District of Vermont,
                                                         and to preserve the status quo, this Court's March 28, 2025 Order enjoining
                                                         the government from removing her from the United States, D. 16, shall
                                                         remain in effect unless and until the transferee court orders otherwise. See
                                                         Khalil, 2025 WL 849803, at *14 (ordering same upon transfer).(LMH)
                                                         [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/04/2025)

                   Free              43     04/04/2025   Judge Denise J. Casper: Order Transferring Case to US District Court,
                                                         District of Vermont.(LMH) [Transferred from Massachusetts on 4/4/2025.]
                                                         (Entered: 04/04/2025)

                                     44     04/04/2025   Case transferred to to District of Vermont. Original file certified copy of
                                                         transfer order and docket sheet sent to Clerk in that district. (SEC)
                                                         [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/04/2025)

                   Online            45     04/04/2025   CASE TRANSFERRED IN electronically from District of Massachusetts;
                                                         Case Number 1:25-cv-10695. (Entered: 04/04/2025)

                   Online            46     04/04/2025   NOTICE OF APPEARANCE by Lia N. Ernst, Esq on behalf of Rumeysa
                                                         Ozturk.(Ernst, Lia) (Entered: 04/04/2025)

                   Online            47     04/04/2025   UNOPPOSED MOTION for Telephonic Status Conference filed by
                                                         Rumeysa Ozturk. (Ernst, Lia) (Entered: 04/04/2025)

                                     48     04/05/2025   ORDER granting 47 Unopposed Motion for Telephonic Status Conference.
                                                         A telephonic status conference is now scheduled on Monday, April 7, 2025
                                                         at 12:00 p.m. EST. Signed by Judge William K. Sessions III on 4/5/2025.
                                                         (This is a text-only Order.) (eae) (Entered: 04/05/2025)

                   Online            49     04/05/2025   NOTICE OF APPEARANCE by Monica H. Allard, Esq on behalf of
                                                         Rumeysa Ozturk.(Allard, Monica) (Entered: 04/05/2025)

                   Online            50     04/06/2025   NOTICE of Hearing: Status Conference set for 4/7/2025 12:00 PM by
                                                         telephone before Judge William K. Sessions III.(law) (Entered: 04/06/2025)

                   Online            51     04/06/2025   UNOPPOSED MOTION for Appearance Pro Hac Vice of Ramzi Kassem
                                                         (Filing fee $ 150 receipt number AVTDC-2055485) filed by Rumeysa Ozturk
                                                         (Attachments: # 1 Affidavit of Ramzi Kassem, # 2 Certificate of Good
                                                         Standing) (Ernst, Lia) Modified on 4/7/2025 to clarify text/attachments and
                                                         Attachment 1 replaced on 4/7/2025) (sjl). (Entered: 04/06/2025)

                   Online            52     04/06/2025   UNOPPOSED MOTION for Appearance Pro Hac Vice of Mudassar Hayat
                                                         Toppa (Filing fee $ 150 receipt number AVTDC-2055486) filed by Rumeysa
                                                         Ozturk (Attachments: # 1 Affidavit of Mudasssar Hayat Toppa, # 2
                                                         Certificate of Good Standing) (Ernst, Lia) Modified on 4/7/2025 to clarify
                                                         text/attachments (sjl). (Entered: 04/06/2025)

                   Online            53     04/06/2025   UNOPPOSED MOTION for Appearance Pro Hac Vice of Mahsa Khanbabai
                                                         (Filing fee $ 150 receipt number AVTDC-2055495) filed by Rumeysa Ozturk
                                                         (Attachments: # 1 Affidavit of Mahsa Khanbabai, # 2 Certificate of Good
                                                         Standing) (Ernst, Lia) Modified on 4/7/2025 to clarify text/attachments and
                                                         Attachment 1 replaced on 4/7/2025) (sjl). (Entered: 04/06/2025)

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                    Availability     #     Date        Proceeding Text                                                               Source 

                                     54     04/07/2025   ORDER granting 52 Unopposed Motion for Admission Pro Hac Vice of
                                                         Mudassar Hayat Toppa. Signed by Judge William K. Sessions III on
                                                         4/7/2025. (This is a text-only Order.) (eae) (Entered: 04/07/2025)

                   Online            55     04/07/2025   NOTICE OF APPEARANCE by Michael P. Drescher, AUSA on behalf of
                                                         Patricia Hyde, Michael Krol, Donald J Trump, Marco A. Rubio, Todd Lyons,
                                                         Kristi Noem.(Drescher, Michael) (Entered: 04/07/2025)

                   Online            56     04/07/2025   NOTICE OF DOCKET ENTRY CORRECTION re: 53 UNOPPOSED
                                                         MOTION for Appearance Pro Hac Vice of Mahsa Khanbabai. The Affidavit
                                                         has been replaced to include the signature which was omitted at the time of
                                                         filing. The corrected document is now attached to 53 and this entry. (sjl)
                                                         (Entered: 04/07/2025)

                                     57     04/07/2025   ORDER granting 53 Unopposed Motion for Admission Pro Hac Vice of
                                                         Mahsa Khanbabai. Signed by Judge William K. Sessions III on 4/7/2025.
                                                         (This is a text-only Order.) (eae) (Entered: 04/07/2025)

                   Online            58     04/07/2025   NOTICE OF DOCKET ENTRY CORRECTION re: 51 UNOPPOSED
                                                         MOTION for Appearance Pro Hac Vice of Ramzi Kassem. The Affidavit has
                                                         been replaced with a corrected version. The corrected document is now
                                                         attached to 51 and this entry. (sjl) (Entered: 04/07/2025)

                                     59     04/07/2025   ORDER granting 51 Unopposed Motion for Admission Pro Hac Vice of
                                                         Ramzi Kassem. Signed by Judge William K. Sessions III on 4/7/2025. (This
                                                         is a text-only Order.) (eae) (Entered: 04/07/2025)

                                     60     04/07/2025   MINUTE ENTRY for proceedings held before Judge William K. Sessions III:
                                                         Status Conference held on 4/7/2025. Present by telephone Ramzi Kassem,
                                                         Esq. for petitioner and Michael Drescher, AUSA for respondent. Court
                                                         inquires. Statements by counsel. ORDERED: supplemental briefs due by
                                                         4/10/2025 at 5pm and summary of testimony, if needed, due by 4/11/2025
                                                         at 5pm; further hearing may be set for Monday and/or Tuesday if
                                                         necessary; page limitations are waived on additional briefing. (Court
                                                         Reporter: Sarah M. Bentley) (law) (Entered: 04/07/2025)

                   Online            61     04/08/2025   MOTION for Appearance Pro Hac Vice of Matthew Brinckerhoff (Filing fee $
                                                         150 receipt number AVTDC-2056634) filed by Rumeysa Ozturk
                                                         (Attachments: # 1 Affidavit of Matthew Brinckerhoff, # 2 Certificate of Good
                                                         Standing) (Ernst, Lia) Modified on 4/9/2025 to clarify attachments (sjl).
                                                         (Entered: 04/08/2025)

                   Online            62     04/08/2025   MOTION for Appearance Pro Hac Vice of Sonya Levitova (Filing fee $ 150
                                                         receipt number AVTDC-2056635) filed by Rumeysa Ozturk (Attachments: #
                                                         1 Affidavit of Sonya Levitova, # 2 Certificate of Good Standing) (Ernst, Lia)
                                                         Modified on 4/9/2025 to clarify attachments (sjl). (Entered: 04/08/2025)

                   Online            63     04/08/2025   MOTION for Appearance Pro Hac Vice of Katherine Rosenfeld (Filing fee $
                                                         150 receipt number AVTDC-2056636) filed by Rumeysa Ozturk
                                                         (Attachments: # 1 Affidavit of Katherine Rosenfeld, # 2 Certificate of Good
                                                         Standing) (Ernst, Lia) Modified on 4/9/2025 to clarify attachments (sjl).
                                                         (Entered: 04/08/2025)

                   Online            64     04/08/2025   MOTION for Appearance Pro Hac Vice of Vasudha Talla (Filing fee $ 150
                                                         receipt number AVTDC-2056637) filed by Rumeysa Ozturk (Attachments: #
                                                         1 Affidavit of Vasudha Talla, # 2 Certificate of Good Standing) (Ernst, Lia)
                                                         Modified on 4/9/2025 to clarify attachments (sjl). (Entered: 04/08/2025)

                   Online            65     04/08/2025   MOTION for Appearance Pro Hac Vice of Brett Kaufman (Filing fee $ 150
                                                         receipt number AVTDC-2056644) filed by Rumeysa Ozturk (Attachments: #
                                                         1 Affidavit of Brett Kaufman, # 2 Certificate of Good Standing) (Ernst, Lia)
                                                         Modified on 4/9/2025 to clarify attachments (sjl). (Entered: 04/08/2025)

                   Online            66     04/09/2025   TRANSCRIPT of Telephonic Status Conference hearing held on April 7,
                                                         2025, before Judge William K. Sessions III. Court Reporter/Transcriber
                                                         Sarah M. Bentley, contact information: sbireland7@gmail.com. Transcript
                                                         may be viewed at the court public terminal or purchased through the Court
                                                         Reporter/Transcriber before the deadline for Release of Transcript
                                                         Restriction. After that date it may be obtained through PACER. Redaction
                                                         Request due 5/5/2025. Redacted Transcript Deadline set for 5/15/2025.
                                                         Release of Transcript Restriction set for 7/11/2025. (law) (Entered:
                                                         04/09/2025)

                                     67     04/09/2025   ORDER granting 61 Motion for Admission Pro Hac Vice of Matthew
                                                         Brinckerhoff; granting 62 Motion for Admission Pro Hac Vice of Sonya
                                                         Levitova ; granting 63 Motion for Admission Pro Hac Vice of Katherine
                                                         Rosenfeld; granting 64 Motion for Admission Pro Hac Vice of Vasudha Talla;
                                                         granting 65 Motion for Admission Pro Hac Vice of Brett Kaufman. Signed by
                                                         Judge William K. Sessions III on 4/9/2025. (This is a text-only Order.) (eae)
                                                         (Entered: 04/09/2025)


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                    Availability     #     Date        Proceeding Text                                                                 Source 

                   Online            68     04/09/2025   NOTICE OF APPEARANCE by Matthew D. Brinckerhoff, Esq on behalf of
                                                         Rumeysa Ozturk.(Brinckerhoff, Matthew) (Entered: 04/09/2025)

                   Online            69     04/09/2025   NOTICE OF APPEARANCE by Katherine Rosenfeld, Esq on behalf of
                                                         Rumeysa Ozturk.(Rosenfeld, Katherine) (Entered: 04/09/2025)

                   Online            70     04/09/2025   NOTICE OF APPEARANCE by Vasudha Talla, Esq on behalf of Rumeysa
                                                         Ozturk.(Talla, Vasudha) (Entered: 04/09/2025)

                   Online            71     04/09/2025   NOTICE OF APPEARANCE by Sonya Levitova, Esq on behalf of Rumeysa
                                                         Ozturk.(Levitova, Sonya) (Entered: 04/09/2025)

                   Online            72     04/09/2025   UNOPPOSED MOTION for Appearance Pro Hac Vice of Julian Bava (Filing
                                                         fee $ 150 receipt number AVTDC-2057391) filed by Rumeysa Ozturk
                                                         (Attachments: # 1 Affidavit of Julian Bava, # 2 Certificate of Good Standing)
                                                         (Ernst, Lia) Modified on 4/10/2025 to clarify text/attachments (sjl). (Entered:
                                                         04/09/2025)

                   Online            73     04/09/2025   UNOPPOSED MOTION for Appearance Pro Hac Vice of Esha Bhandari
                                                         (Filing fee $ 150 receipt number AVTDC-2057394) filed by Rumeysa Ozturk
                                                         (Attachments: # 1 Affidavit of Esha Bhandari, # 2 Certificate of Good
                                                         Standing) (Ernst, Lia) Modified on 4/10/2025 to clarify text/attachments (sjl)
                                                         Modified on 4/10/2025 (sjl). (Entered: 04/09/2025)

                   Online            74     04/09/2025   UNOPPOSED MOTION for Appearance Pro Hac Vice of Brian Hauss
                                                         (Filing fee $ 150 receipt number AVTDC-2057395) filed by Rumeysa Ozturk
                                                         (Attachments: # 1 Affidavit of Brian Hauss, # 2 Certificate of Good Standing)
                                                         (Ernst, Lia) Modified on 4/10/2025 to clarify text/attachments (sjl). (Entered:
                                                         04/09/2025)

                   Online            75     04/09/2025   UNOPPOSED MOTION for Appearance Pro Hac Vice of Noor Zafar (Filing
                                                         fee $ 150 receipt number AVTDC-2057396) filed by Rumeysa Ozturk
                                                         (Attachments: # 1 Affidavit of Noor Zafar, # 2 Certificate of Good Standing)
                                                         (Ernst, Lia) Modified on 4/10/2025 to clarify text/attachments (sjl). (Entered:
                                                         04/09/2025)

                                     76     04/10/2025   ORDER granting 72 Motion for Admission Pro Hac Vice of Julian Bava;
                                                         granting 73 Motion for Admission Pro Hac Vice of Esha Bhandari; granting
                                                         74 Motion for Admission Pro Hac Vice of Brian Hauss; granting 75 Motion
                                                         for Admission Pro Hac Vice of Noor Zafar. Signed by Judge William K.
                                                         Sessions III on 4/10/2025. (This is a text-only Order.) (eae) (Entered:
                                                         04/10/2025)

                   Online            77     04/10/2025   NOTICE OF APPEARANCE by Gary L. Franklin, Esq on behalf of Ansche
                                                         Chesed, Bend the Arc: A Jewish Partnership for Justice, B'nai Jeshurun,
                                                         Congregation Beth Elohim, Congregation Dorshei Tzedek, West Newton,
                                                         Habonim Dror, Harvard Jewish Progressive Alumni, IKAR, J Street, Jewish
                                                         Center for Justice, Jewish Labor Committee, Keshet, Leo Baeck Temple,
                                                         Ma'yan Tikvah, New England Jewish Labor Committee, New Israel Fund,
                                                         New Jewish Narrative, Nexus Project, T'ruah: The Rabbinic Call for Human
                                                         Rights, Massachusetts, The Boston Workers Circle, The Reconstructionist
                                                         Rabbinical Assoc, The Workers Circle, Worcester Havurah, Jewish Alliance
                                                         for Law and Social Action, New York Jewish Agenda, Temple Emanu-El,
                                                         Temple Micah.(Franklin, Gary) Filers added on 4/10/2025 (law). (Entered:
                                                         04/10/2025)

                   Free              78     04/10/2025   NOTICE of Hearing re: Motion to Dismiss: Motion Hearing set for 4/14/2025
                                                         at 09:30 AM in Burlington Courtroom 110 before Judge William K. Sessions
                                                         III. (law) (see page 2 of notice for Zoom information) Please be reminded
                                                         that Judicial Conference policy prohibits the broadcasting of proceedings in
                                                         federal courts. Persons granted remote access to proceedings are
                                                         reminded of the general prohibition against photographing, recording, or
                                                         rebroadcasting of court proceedings pursuant to Judicial Conference policy.
                                                         This prohibition applies to counsel, the parties, the media and any member
                                                         of the public. Violation of these prohibitions may result in sanctions,
                                                         including removal of court issued media credentials, restricted entry to
                                                         future hearings, denial of entry to future hearings, or any other sanctions
                                                         deemed necessary by the court. (Entered: 04/10/2025)

                   Online            79     04/10/2025   MOTION for Appearance Pro Hac Vice of Robert Balin, Jeremy Chase,
                                                         Linda Steinman, Victor Kovner, Abigail Everdell, Rachel Strom, James
                                                         Rosenfeld, Jesse Feitel, Adam Sieff, Rachel Goldberg, Nathan Siegel,
                                                         Alison Schary (Filing fee $ 1,800 receipt number 5670) filed by Ansche
                                                         Chesed, Bend the Arc: A Jewish Partnership for Justice, B'nai Jeshurun,
                                                         Congregation Beth Elohim, Congregation Dorshei Tzedek, Habonim Dror,
                                                         Harvard Jewish Progressive Alumni, IKAR, J Street, Jewish Center for
                                                         Justice, Jewish Labor Committee, Keshet, Leo Baeck Temple, Ma'yan
                                                         Tikvah, New England Jewish Labor Committee, New Israel Fund, New
                                                         Jewish Narrative, Nexus Project, T'ruah: The Rabbinic Call for Human

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                                                         Rights, Massachusetts, The Boston Workers Circle, The Reconstructionist
                                                         Rabbinical Assoc, The Workers Circle, Worcester Havurah, Jewish Alliance
                                                         for Law and Social Action (JALSA), New York Jewish Agenda, Temple
                                                         Emanu-El, Temple Micah (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                                                         Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                                                         Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13
                                                         Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, #
                                                         18 Exhibit R, # 19 Exhibit S, # 20 Exhibit T, # 21 Exhibit U, # 22 Exhibit V, #
                                                         23 Exhibit W, # 24 Exhibit X) (Franklin, Gary) Modified on 4/11/2025 to
                                                         clarify attachments and include receipt number (sjl). (Entered: 04/10/2025)

                   Online            80     04/10/2025   MOTION for Leave to File an Amicus Curiae Brief filed by Brett F Stokes,
                                                         International Law Professors, Experts, Practitioners and Scholars.
                                                         (Attachments: # 1 Proposed Order, # 2 Proposed Brief)(Stokes, Brett)
                                                         (Entered: 04/10/2025)

                   Online            81     04/10/2025   SUPPLEMENTAL MEMORANDUM by Rumeysa Ozturk on Jurisdictional
                                                         Issues. (Allard, Monica) (Entered: 04/10/2025)

                   Online            82     04/10/2025   MOTION for Release Under MAPP v. RENO or in the Alternative MOTION
                                                         for Return to Vermont with Request for Oral Argument/Hearing filed by
                                                         Rumeysa Ozturk (Attachments: # 1 Memorandum in Support, # 2 Exhibit 1,
                                                         # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8
                                                         Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9)(Ernst, Lia) Text clarified and Added
                                                         MOTION for Return to Vermont on 4/10/2025 (law). (Additional
                                                         attachment(s) added on 4/11/2025: # 11 Exhibit 1(redacted), # 12 Index of
                                                         Exhibits) (law). (Entered: 04/10/2025)

                   Online            83     04/10/2025   SUPPLEMENTAL MEMORANDUM in Opposition re: 12 Amended Petition
                                                         for Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2241 by Patricia Hyde,
                                                         Michael Krol, Donald J Trump, Marco A. Rubio, Todd Lyons, Kristi Noem.
                                                         (Drescher, Michael) Text clarified on 4/10/2025 (law). (Entered: 04/10/2025)

                   Online            84     04/10/2025   SUPPLEMENTAL BRIEFING in Opposition to 82 MOTION for Release
                                                         Under MAPP v. RENO or in the Alternative MOTION for Return to Vermont
                                                         filed by Patricia Hyde, Michael Krol, Donald J Trump, Marco A. Rubio, Todd
                                                         Lyons, Kristi Noem. (Drescher, Michael) Text clarified on 4/10/2025 (law).
                                                         (Entered: 04/10/2025)

                   Online            85     04/10/2025   MOTION for Leave to File Amici Curiae Brief filed by Ansche Chesed, Bend
                                                         the Arc: A Jewish Partnership for Justice, B'nai Jeshurun, Congregation
                                                         Beth Elohim, Congregation Dorshei Tzedek, Habonim Dror, Harvard Jewish
                                                         Progressive Alumni, IKAR, J Street, Jewish Center for Justice, Jewish
                                                         Labor Committee, Keshet, Leo Baeck Temple, Ma'yan Tikvah, New England
                                                         Jewish Labor Committee, New Israel Fund, New Jewish Narrative, Nexus
                                                         Project, T'ruah: The Rabbinic Call for Human Rights, Massachusetts, The
                                                         Boston Workers Circle, The Reconstructionist Rabbinical Assoc, The
                                                         Workers Circle, Worcester Havurah, Jewish Alliance for Law and Social
                                                         Action, New York Jewish Agenda, Temple Emanu-El, Temple Micah.
                                                         (Attachments: # 1 Proposed Brief)(Franklin, Gary) Text clarified on
                                                         4/10/2025 (law). (Entered: 04/10/2025)

                   Online            86     04/10/2025   MOTION for Appearance Pro Hac Vice of Sidra Mahfooz (Filing fee $ 150
                                                         receipt number AVTDC-2058449) filed by Rumeysa Ozturk (Attachments: #
                                                         1 Affidavit of Sidra Mahfooz, # 2 Certificate of Good Standing) (Ernst, Lia)
                                                         Modified on 4/11/2025 to clarify attachments and Attachment 1 replaced on
                                                         4/11/2025) (sjl). (Entered: 04/10/2025)

                   Online            87     04/11/2025   NOTICE OF DOCKET ENTRY CORRECTION re: 86 MOTION for
                                                         Appearance Pro Hac Vice of Sidra Mahfooz. Attachment 1 has been
                                                         replaced to correct the PDF size and remove illegible PDF headers. The
                                                         corrected document is now attached to 86 and this entry. (sjl) (Entered:
                                                         04/11/2025)

                                     88     04/11/2025   ORDER granting 86 Motion for Admission Pro Hac Vice of Sidra Mahfooz.
                                                         Signed by Judge William K. Sessions III on 4/11/2025. (This is a text-only
                                                         Order.) (eae) (Entered: 04/11/2025)

                                     89     04/11/2025   ORDER granting 79 Motion for Admission Pro Hac Vice of Robert Balin,
                                                         Jeremy Chase, Linda Steinman, Victor Kovner, Abigail Everdell, Rachel
                                                         Strom, James Rosenfeld, Jesse Feitel, Adam Sieff, Rachel Goldberg,
                                                         Nathan Siegel, and Alison Schary. Signed by Judge William K. Sessions III
                                                         on 4/11/2025. (This is a text-only Order.) (eae) (Entered: 04/11/2025)

                   Online            90     04/11/2025   NOTICE OF DOCKET ENTRY CORRECTION re: 82 MOTION for Release
                                                         Under MAPP v. RENO or in the Alternative MOTION for Return to Vermont
                                                         filed by Rumeysa Ozturk. Exhibit 1 has been sealed in accordance with
                                                         F.R.Civ.P. 5.2. Also, the required Index of Exhibits was not included at the



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                                                         time of filing. The redacted exhibit and index are now attached to 82 and
                                                         this entry. (Attachments: # 1 Index of Exhibits) (law) (Entered: 04/11/2025)

                   Online            91     04/11/2025   SUPPLEMENTAL DOCUMENT(S) re: Jurisdictional Issues and 82 MOTION
                                                         for Release Under MAPP v. RENO or in the Alternative MOTION for Return
                                                         to Vermont by Rumeysa Ozturk. (Attachments: # 1 Exhibit 12)(Ernst, Lia)
                                                         Text clarified on 4/13/2025 (law). (Entered: 04/11/2025)

                   Online            92     04/11/2025   UNOPPOSED MOTION for Appearance Pro Hac Vice of Rachel Davidson
                                                         (Filing fee $ 150 receipt number AVTDC-2059258) filed by Rumeysa Ozturk
                                                         (Attachments: # 1 Affidavit of Rachel Davidson, # 2 Certificate of Good
                                                         Standing) (Ernst, Lia) Modified on 4/14/2025 to clarify text/attachments (sjl).
                                                         (Entered: 04/11/2025)

                   Online            93     04/11/2025   UNOPPOSED MOTION for Appearance Pro Hac Vice of Adriana Lafaille
                                                         (Filing fee $ 150 receipt number AVTDC-2059259) filed by Rumeysa Ozturk
                                                         (Attachments: # 1 Affidavit of Adriana Lafaille, # 2 Certificate of Good
                                                         Standing) (Ernst, Lia) Modified on 4/14/2025 to clarify text/attachments (sjl).
                                                         (Entered: 04/11/2025)

                   Online            94     04/11/2025   UNOPPOSED MOTION for Appearance Pro Hac Vice of Jessie J.
                                                         Rossman (Filing fee $ 150 receipt number AVTDC-2059260) filed by
                                                         Rumeysa Ozturk (Attachments: # 1 Affidavit of Jessie Rossman, # 2
                                                         Certificate of Good Standing) (Ernst, Lia) Modified on 4/14/2025 to clarify
                                                         text/attachments (sjl). (Entered: 04/11/2025)

                   Online            95     04/13/2025   SUPPLEMENTAL DOCUMENT(S) re: 82 MOTION for Release Under
                                                         MAPP v. RENO or in the Alternative MOTION for Return to Vermont by
                                                         Rumeysa Ozturk. (Attachments: # 1 Exhibit 13)(Levitova, Sonya) (Entered:
                                                         04/13/2025)

                                     96     04/14/2025   ORDER granting 92 Motion for Admission Pro Hac Vice of Rachel
                                                         Davidson; granting 93 Motion for Admission Pro Hac Vice of Adriana
                                                         Lafaille; granting 94 Motion for Admission Pro Hac Vice of Jessie J.
                                                         Rossman. Signed by Judge William K. Sessions III on 4/14/2025. (This is a
                                                         text-only Order.) (eae) (Entered: 04/14/2025)

                                     97     04/14/2025   MINUTE ENTRY for proceedings held before Judge William K. Sessions III:
                                                         Motion Hearing held on 4/14/2025 re: Motion to Dismiss and 82 MOTION
                                                         for Release Under MAPP v. RENO or in the Alternative MOTION for Return
                                                         to Vermont. Adriana Lafaille, Jessie Rossman, Lisa Ernst, Monica Allard
                                                         and Noor Zafar, Esqs. present for petitioner. Michael Drescher, AUSA
                                                         present for respondents. Statements by counsel. ORDERED: motions taken
                                                         under advisement. (Court Reporter: Sarah Bentley) (law) (Entered:
                                                         04/14/2025)

                   Online            98     04/16/2025   TRANSCRIPT of Motion hearing held on April 14, 2025, before Judge
                                                         William K. Sessions III. Court Reporter/Transcriber Sarah M. Bentley,
                                                         telephone number sbireland7@gmail.com. Transcript may be viewed at the
                                                         court public terminal or purchased through the Court Reporter/Transcriber
                                                         before the deadline for Release of Transcript Restriction. After that date it
                                                         may be obtained through PACER. Redaction Request due 5/12/2025.
                                                         Redacted Transcript Deadline set for 5/22/2025. Release of Transcript
                                                         Restriction set for 7/18/2025. (law) (Entered: 04/16/2025)

                   Online            99     04/16/2025   SUPPLEMENTAL DOCUMENT(S) re: 82 MOTION for Release Under
                                                         MAPP v. RENO or in the Alternative MOTION for Return to Vermont by
                                                         Rumeysa Ozturk. (Ernst, Lia) Link added on 4/17/2025 (law). (Entered:
                                                         04/16/2025)

                   Online            100    04/17/2025   NOTICE OF DOCKET ENTRY CORRECTION re: 26 REPLY to Response
                                                         to 1 Petition for Writ of Habeas Corpus - 2241 filed by Rumeysa Ozturk.
                                                         Exhibit 1 has been sealed in accordance with F.R.Civ.P. 5.2. A redacted
                                                         version is now attached to 26 and this entry. (law) (Entered: 04/17/2025)

                   Online            101    04/17/2025   SUPPLEMENTAL DOCUMENT(S) re: 82 MOTION for Release Under
                                                         MAPP v. RENO or in the Alternative MOTION for Return to Vermont by
                                                         Rumeysa Ozturk. (Ernst, Lia) (Text and link clarified, Main Document 101
                                                         replaced and Attachment(s) added on 4/17/2025: # 1 Exhibit A) (law).
                                                         (Entered: 04/17/2025)

                   Online            102    04/17/2025   NOTICE OF DOCKET ENTRY CORRECTION re: 101 Supplemental
                                                         Document to 82 MOTION for Release Under MAPP v. RENO or in the
                                                         Alternative MOTION for Return to Vermont filed by Rumeysa Ozturk. The
                                                         document and its exhibit was uploaded as a singular PDF. The documents
                                                         have been broken apart and are now separately attached to 101 and this
                                                         entry. (Attachments: # 1 Exhibit A) (law) (Entered: 04/17/2025)

                   Online            103    04/18/2025   RESPONSE to 99 Supplemental Document re: 82 MOTION for Release
                                                         Under MAPP v. RENO or in the Alternative MOTION for Return to Vermont
                                                         by Patricia Hyde, Michael Krol, Donald J Trump, Marco A. Rubio, Todd

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                                                         Lyons, Kristi Noem. (Drescher, Michael) Text clarified, link added on
                                                         4/20/2025 (law). (Entered: 04/18/2025)

                   Free              104    04/18/2025   OPINION AND ORDER re: court to retain jurisdiction; petitioner is to be
                                                         transferred to ICE custody within the District of Vermont no later than
                                                         5/1/2025; a bail hearing will be scheduled for 5/9/2025; parties are ordered
                                                         to submit briefs and present all evidence related to issue of bail by
                                                         5/2/2025; a hearing on the merits of the habeas petition will be held
                                                         5/22/2025 and the court stays the effect of this order for 4 days to allow
                                                         either party to appeal this order. Signed by Judge William K. Sessions III on
                                                         4/18/2025. (law) (Entered: 04/18/2025)

                   Online            105    04/22/2025   NOTICE OF APPEAL as to 104 Opinion and by Patricia Hyde, Michael Krol,
                                                         Donald J Trump, Marco A. Rubio, Todd Lyons, Kristi Noem. (Drescher,
                                                         Michael) (Entered: 04/22/2025)

                   Online            106    04/22/2025   MOTION to Continue Stay Pending Appeal re 104 Opinion and Order filed
                                                         by Patricia Hyde, Michael Krol, Donald J Trump, Marco A. Rubio, Todd
                                                         Lyons, Kristi Noem. (Drescher, Michael) Text clarified on 4/23/2025 (law).
                                                         (Entered: 04/22/2025)

                   Online            107    04/23/2025   RESPONSE in Opposition re 106 MOTION to Continue Stay Pending
                                                         Appeal re 104 Opinion and Order filed by Rumeysa Ozturk. (Ernst, Lia)
                                                         (Entered: 04/23/2025)

                   Online            108    04/23/2025   REPLY to 99 Supplemental Document re: 82 MOTION for Release Under
                                                         MAPP v. RENO or in the Alternative MOTION for Return to Vermont
                                                         regarding request for production of memoranda by Rumeysa Ozturk. (Ernst,
                                                         Lia) Text clarified and link added on 4/24/2025 (law). (Entered: 04/23/2025)

                   Free              109    04/24/2025   OPINION AND ORDER denying 106 Motion to Continue Stay Pending
                                                         Appeal re 104 Opinion and Order. Signed by Judge William K. Sessions III
                                                         on 4/24/2025. (law) (Entered: 04/24/2025)

                   Online            110    04/24/2025   NOTICE of Hearing: Bail Hearing set for 5/9/2025 09:30 AM in Burlington
                                                         Courtroom 110 before Judge William K. Sessions III.(law) (Entered:
                                                         04/24/2025)

                   Online            111    04/25/2025   NOTICE OF APPEARANCE by Hillary A. Rich, Esq on behalf of Rumeysa
                                                         Ozturk.(Rich, Hillary) (Entered: 04/25/2025)

                   Online            112    04/25/2025   MOTION for Leave to File Amicus Brief and MOTION to Expedite filed by
                                                         E.S. (Attachments: # 1 Proposed Amicus Brief)(law) (Entered: 04/25/2025)

                   Online            113    04/28/2025   TRANSMITTED Index on Appeal, Circuit No. 25-1019, re: 105 Notice of
                                                         Appeal (Attachments: # 1 Docket Sheet (public), # 2 Docket Sheet (sealed),
                                                         # 3 Clerk's Certification)(kac) (Entered: 04/28/2025)

                   Online            114    04/28/2025   NOTICE of Hearing re: 1 Petition for Writ of Habeas Corpus (2241).
                                                         Hearing set for 5/22/2025 at 09:00 AM in Burlington Courtroom 110 before
                                                         Judge William K. Sessions III.(law) (Entered: 04/28/2025)

                   Online            115    04/28/2025   UNOPPOSED MOTION for Leave to File Brief as Amicus Curiae in Support
                                                         of Petitioner filed by Foundation for Individual Rights and Expression,
                                                         National Coalition Against Censorship, The Rutherford Institute, PEN
                                                         America, The Cato Institute, First Amendment Lawyers Association.
                                                         (Attachments: # 1 Proposed Brief)(Diaz, James) Text clarified on 4/29/2025
                                                         (law). (Entered: 04/28/2025)

                   Online            116    04/28/2025   UNOPPOSED MOTION for Appearance Pro Hac Vice of Naz Ahmad (Filing
                                                         fee $ 150 receipt number AVTDC-2066895) filed by Rumeysa Ozturk
                                                         (Attachments: # 1 Affidavit of Naz Ahmad, # 2 Certificate of Good Standing)
                                                         (Ernst, Lia) Modified on 4/29/2025 to clarify text/attachment (sjl). (Entered:
                                                         04/28/2025)

                   Online            118    04/28/2025   ORDER of USCA, Circuit No. 25-1019, as to 104 Order: motion for a stay
                                                         pending appeal is referred to the three-judge motions panel sitting on May
                                                         6, 2025. An administrative stay of the district court's order to transfer is
                                                         granted pending decision by the panel. (kac) (Entered: 04/29/2025)

                                     117    04/29/2025   ORDER granting 116 Unopposed Motion for Admission Pro Hac Vice of
                                                         Naz Ahmad. Signed by Judge William K. Sessions III on 4/29/2025. (This is
                                                         a text-only Order.) (eae) (Entered: 04/29/2025)

                   Online            119    04/29/2025   UNOPPOSED MOTION for Appearance Pro Hac Vice of Conor Fitzpatrick
                                                         (Filing fee $ 150 receipt number AVTDC-2067806) filed by Foundation for
                                                         Individual Rights and Expression (Attachments: # 1 Declaration of Conor
                                                         Fitzpatrick, # 2 Certificate of Good Standing) (Diaz, James) Modified on
                                                         4/30/2025 to clarify text/attachment (sjl). (Entered: 04/29/2025)

                                     120    04/30/2025   ORDER granting 119 Unopposed Motion for Admission Pro Hac Vice of
                                                         Conor Fitzpatrick. Signed by Judge William K. Sessions III on 4/30/2025.
                                                         (This is a text-only Order.) (eae) (Entered: 04/30/2025)



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                    Availability     #     Date        Proceeding Text                                                                  Source 

                   Online            121    05/02/2025   MOTION to Withdraw as Attorney filed by Ansche Chesed, Bend the Arc: A
                                                         Jewish Partnership for Justice, B'nai Jeshurun, Congregation Beth Elohim,
                                                         Congregation Dorshei Tzedek, Habonim Dror, Harvard Jewish Progressive
                                                         Alumni, IKAR, J Street, Jewish Center for Justice, Jewish Labor Committee,
                                                         Keshet, Leo Baeck Temple, Ma'yan Tikvah, New England Jewish Labor
                                                         Committee, New Israel Fund, New Jewish Narrative, Nexus Project, T'ruah:
                                                         The Rabbinic Call for Human Rights, Massachusetts, The Boston Workers
                                                         Circle, The Reconstructionist Rabbinical Assoc, The Workers Circle,
                                                         Worcester Havurah, Jewish Alliance for Law and Social Action, New York
                                                         Jewish Agenda, Temple Emanu-El, Temple Micah. (Feitel, Jesse) (Entered:
                                                         05/02/2025)

                   Online            122    05/02/2025   SUPPLEMENTAL MEMORANDUM re: 82 MOTION for Release Under
                                                         MAPP v. RENO or in the Alternative MOTION for Return to Vermont filed by
                                                         Rumeysa Ozturk. (Attachments: # 1 Index of Exhibits, # 2 Exhibit 1, # 3
                                                         Exhibit 1-A, # 4 Exhibit 1-B, # 5 Exhibit 1-C, # 6 Exhibit 1-D, # 7 Exhibit 1-E,
                                                         # 8 Exhibit 1-F, # 9 Exhibit 1-G, # 10 Exhibit 1-H, # 11 Exhibit 1-I)(Bava,
                                                         Julian) Text clarified on 5/4/2025 (law). (Entered: 05/02/2025)

                   Online            123    05/07/2025   ORDER of USCA, Circuit No. 25-1019, as to 105 Notice of Appeal; govt's
                                                         motion for a stay of transfer is DENIED. Govt's request for a writ of
                                                         mandamus is DENIED. Administrative stay entered by Circuit Court is
                                                         VACATED. Govt is ORDERED to comply with district court's transfer order
                                                         within one week of date of this opinion. Circuit Court orders that Ms. Ozturk
                                                         be physically transferred to ICE custody within the District of Vermont no
                                                         later than May 14, 2025. The district court may amend its hearing schedule
                                                         as it deems necessary in light of this order. (kac) (Entered: 05/07/2025)

                   Online            124    05/08/2025   REVISED NOTICE of Hearing (same date/time): Status Conference set for
                                                         5/9/2025 at 09:30 AM in Burlington Courtroom 110 before Judge William K.
                                                         Sessions III.(law) (Entered: 05/08/2025)

                   Online            125    05/08/2025   NOTICE of Hearing: Telephone Conference set for 5/8/2025 at 10:00 AM
                                                         before Judge Kevin J. Doyle. (law) (see page 2 of the notice for Zoom
                                                         information - audio only)Please be reminded that Judicial Conference policy
                                                         prohibits the broadcasting of proceedings in federal courts. Persons granted
                                                         remote access to proceedings are reminded of the general prohibition
                                                         against photographing, recording, or rebroadcasting of court proceedings
                                                         pursuant to Judicial Conference policy. This prohibition applies to counsel,
                                                         the parties, the media and any member of the public. Violation of these
                                                         prohibitions may result in sanctions, including removal of court issued
                                                         media credentials, restricted entry to future hearings, denial of entry to
                                                         future hearings, or any other sanctions deemed necessary by the court.
                                                         Join ZoomGov Meeting https://vt-uscourts.zoomgov.com/j/1617910049?
                                                         pwd=AEoTnuXeRzTw4fTU7ocLTDL1yEF5YI.1 One tap mobile:
                                                         +16468287666, 1617910049 US (New York) Meeting ID: 161 791 0049
                                                         Passcode: 951302 (Entered: 05/08/2025)

                                     126    05/08/2025   MINUTE ENTRY for proceedings held before Judge Kevin J. Doyle:
                                                         Telephone Conference held on 5/8/2025. Monica Allard, Esq. present for
                                                         petitioner. Michael Drescher, AUSA present for respondent. Statements by
                                                         counsel re: bail hearing. (Court Reporter: Johanna Masse) (law) (Entered:
                                                         05/08/2025)

                                     127    05/08/2025   ORDER granting 121 Motion to Withdraw as Attorney. Signed by Judge
                                                         William K. Sessions III on 5/8/2025. (This is a text-only Order.) (eae)
                                                         (Entered: 05/08/2025)

                   Online            128    05/08/2025   SECOND REVISED NOTICE of Hearing: Bail Hearing reset for 5/9/2025
                                                         10:00 AM in Burlington Courtroom 110 before Judge William K. Sessions III.
                                                         (Note: petitioner to participate remotely) (law) Text clarified and Main
                                                         Document 128 replaced on 5/8/2025 (law). (Entered: 05/08/2025)

                                     129    05/08/2025   ZOOM LINK for 5/9/2025 - ZoomGov Meeting https://vt-
                                                         uscourts.zoomgov.com/j/1616772338?
                                                         pwd=MHR2awlyeIgo0KHqU7VbgUx53LmzJe.1 or One tap mobile:
                                                         +16468287666, 1617910049 US (New York); Meeting ID: 161 677 2338
                                                         Passcode: 238539. (law) Please be reminded that Judicial Conference
                                                         policy prohibits the broadcasting of proceedings in federal courts. Persons
                                                         granted remote access to proceedings are reminded of the general
                                                         prohibition against photographing, recording, or rebroadcasting of court
                                                         proceedings pursuant to Judicial Conference policy. This prohibition applies
                                                         to counsel, the parties, the media and any member of the public. Violation
                                                         of these prohibitions may result in sanctions, including removal of court
                                                         issued media credentials, restricted entry to future hearings, denial of entry
                                                         to future hearings, or any other sanctions deemed necessary by the court.
                                                         (Entered: 05/08/2025)
                                                                                                                                                  JA-000541
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                                     130    05/09/2025   MINUTE ENTRY for proceedings held before Judge William K. Sessions III:
                                                         Bail Hearing held on 5/9/2025. Adriana Lafaille, Jessie Rossman, Julian
                                                         Bava, Lia Ernst, Monica Allard, Mudassar Toppa, Noor Zafar and Richael
                                                         Davidson, Esqs. present for petitioner. Mahsa Khanbabai, Esq. present with
                                                         petitioner remotely. Michael Drescher, AUSA present for respondents. Court
                                                         inquires petitioner's waiver of personal appearance. The following
                                                         witnesses examined for petitioner: Rumeysa Ozturk, Dr. McCannon, S.
                                                         Johnson, and B. Penberthy. Statements by counsel. Court makes findings.
                                                         ORDERED: petitioner to be released immediately on PR w/conditions; gov't
                                                         is to notify the court when she is released; gov't to submit proposed order
                                                         as to conditions of release after conferring with ICE. (Court Reporter:
                                                         Johanna Masse) (law) (Entered: 05/09/2025)

                   Free              131    05/09/2025   ORDER: Petitioner is to be released from ICE custody immediately on her
                                                         own recognizance, without any form of Body-Worn GPS or other ICE
                                                         monitoring at this time. Petitioner is not subject to any travel restrictions.
                                                         Respondents counsel shall submit proposed conditions of release after
                                                         conferring with ICE no later than 5/12/2025. Signed by Judge William K.
                                                         Sessions III on 5/9/2025. (hbc) (Entered: 05/09/2025)

                   Online            132    05/12/2025   TRANSCRIPT of Bail hearing held on May 9, 2025, before Judge William K.
                                                         Sessions III. Court Reporter/Transcriber Johanna Masse, telephone
                                                         number (802) 951-8102. Transcript may be viewed at the court public
                                                         terminal or purchased through the Court Reporter/Transcriber before the
                                                         deadline for Release of Transcript Restriction. After that date it may be
                                                         obtained through PACER. Redaction Request due 6/5/2025. Redacted
                                                         Transcript Deadline set for 6/16/2025. Release of Transcript Restriction set
                                                         for 8/14/2025. (law) (Entered: 05/12/2025)

                   Online            133    05/12/2025   REQUEST for Conditions of Release filed by Patricia Hyde, Michael Krol,
                                                         Donald J Trump, Marco A. Rubio, Todd Lyons, Kristi Noem. (Attachments: #
                                                         1 Exhibit 1, # 2 Proposed Order)(Drescher, Michael) Text clarified on
                                                         5/12/2025 (law). (Entered: 05/12/2025)

                   Online            134    05/12/2025   STIPULATED MOTION for Status Conference filed by Rumeysa Ozturk.
                                                         (Allard, Monica) (Entered: 05/12/2025)

                   Online            135    05/13/2025   UNOPPOSED MOTION to Redesignate Case filed by Rumeysa Ozturk.
                                                         (Allard, Monica) Text clarified on 5/13/2025 (law). (Entered: 05/13/2025)

                   Online            136    05/13/2025   DECLARATION of Becky Penberthy by Becky Penberthy. (Allard, Monica)
                                                         (Entered: 05/13/2025)

                   Online            137    05/14/2025   NOTICE of Hearing: Telephone Conference set for 5/15/2025 01:30 PM
                                                         before Judge William K. Sessions III.(law) (Entered: 05/14/2025)

                                            05/14/2025   **ZOOM LINK for 5/15/2025 (audio only, no video) - ZoomGov Meeting
                                                         https://vt-uscourts.zoomgov.com/j/1602099446?
                                                         pwd=7HX3WOEJE8d9InCqEnj8BYvj2lmpjt.1 or One tap mobile
                                                         +16692545252, 1602099446 US (San Jose) or +16468287666,
                                                         1602099446 US (New York); Meeting ID: 160 209 9446 and Passcode:
                                                         712578. Please be reminded that Judicial Conference policy prohibits the
                                                         broadcasting of proceedings in federal courts. Persons granted remote
                                                         access to proceedings are reminded of the general prohibition against
                                                         photographing, recording, or rebroadcasting of court proceedings pursuant
                                                         to Judicial Conference policy. This prohibition applies to counsel, the
                                                         parties, the media and any member of the public. Violation of these
                                                         prohibitions may result in sanctions, including removal of court issued
                                                         media credentials, restricted entry to future hearings, denial of entry to
                                                         future hearings, or any other sanctions deemed necessary by the court.
                                                         (law) (Entered: 05/14/2025)

                   Online            138    05/14/2025   RESPONSE in Opposition re 133 REQUEST for Conditions of Release filed
                                                         by Rumeysa Ozturk. (Allard, Monica) (Entered: 05/14/2025)

                                     139    05/15/2025   MINUTE ENTRY for proceedings held before Judge William K. Sessions III:
                                                         Telephone Conference held on 5/15/2025. Adriana Lafaille, Esq. present for
                                                         petitioner and Michael Drescher, AUSA present for respondents. Court
                                                         reviews proposed release conditions. Statements by counsel re: briefing
                                                         schedule. ORDERED: petitioner to file briefing on discovery within 30 days
                                                         and gov't to respond within 10 days; hearing on 5/22/2025 is cancelled; and
                                                         granting 135 Unopposed Motion to Redesignate Case. (Court Reporter:
                                                         Johanna Masse) (law) (Entered: 05/15/2025)

                   Free              140    05/16/2025   OPINION AND ORDER granting 82 Motion for Release Under MAPP v.
                                                         RENO. Signed by Judge William K. Sessions III on 5/16/2025. (law)
                                                         (Entered: 05/16/2025)

                   Free              141    05/16/2025   ORDER granting in part and denying in part 133 Request for Conditions of
                                                         Release. Signed by Judge William K. Sessions III on 5/16/2025. (law)

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                                                                           (Entered: 05/16/2025)

                       Online              142      05/22/2025             UNOPPOSED MOTION for Appearance Pro Hac Vice of Michael Tan (Filing
                                                                           fee $ 150 receipt number AVTDC-2079505) filed by Rumeysa Ozturk
                                                                           (Attachments: # 1 Affidavit of Michael Tan, # 2 Certificate of Good Standing)
                                                                           (Ernst, Lia) Modified on 5/22/2025 to clarify text/attachment (sjl). (Entered:
                                                                           05/22/2025)

                                           143      05/23/2025             ORDER granting 142 Motion for Admission Pro Hac Vice of Michael K.T.
                                                                           Tan. Signed by Judge William K. Sessions III on 5/23/2025. (This is a text-
                                                                           only Order.) (eae) (Entered: 05/23/2025)

                       Online              144      05/23/2025             TRANSCRIPT filed for date(s) of 5/15/2025 before Judge William K.
                                                                           Sessions III as to 105 Notice of Appeal. Court Reporter/Transcriber
                                                                           Johanna Masse, telephone number (802) 951-8102. Transcript may be
                                                                           viewed at the court public terminal or purchased through the Court
                                                                           Reporter/Transcriber before the deadline for Release of Transcript
                                                                           Restriction. After that date it may be obtained through PACER Redaction
                                                                           Request due 6/16/2025. Redacted Transcript Deadline set for 6/26/2025.
                                                                           Release of Transcript Restriction set for 8/25/2025. (hbc) (Entered:
                                                                           05/23/2025)

                       Free                145      05/23/2025             MOTION for Preliminary Injunction Requiring Restoring SEVIS Record with
                                                                           Request for Oral Argument/Hearing filed by Rumeysa Ozturk (Attachments:
                                                                           # 1 Declaration of Anna Garson, # 2 Declaration of Dahlia M. French)
                                                                           (Lafaille, Adriana) (Attachment 1 replaced and Additional attachment(s)
                                                                           added on 5/27/2025: # 3 Exhibit 1, # 4 Exhibit 2, # 5 Exhibit 3, # 6 Exhibit 4,
                                                                           # 7 Exhibit 5) (law). (Entered: 05/23/2025)

                       Online              146      05/27/2025             NOTICE OF DOCKET ENTRY CORRECTION re: 145 MOTION for
                                                                           Preliminary Injunction Requiring Restoring SEVIS Record filed by Rumeysa
                                                                           Ozturk. The Declaration of Anna Garson was uploaded with its exhibits as a
                                                                           singular PDF. The documents have been broken apart and reattached on
                                                                           the docket. They are now separately attached to 145 and this entry.
                                                                           (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                                                                           Exhibit 5) (law) (Entered: 05/27/2025)

                       Online              147      05/28/2025             TRANSMITTED Supplemental Index on Appeal, Circuit No. 25-1019, re:
                                                                           105 Notice of Appeal (Attachments: # 1 Partial Docket Sheet, # 2 Partial
                                                                           Docket Sheet (sealed), # 3 Clerk's Certification)(kac) (Entered: 05/28/2025)

                       Free                148      06/02/2025             RESPONSE in Opposition re 145 MOTION for Preliminary Injunction
                                                                           Requiring Restoring SEVIS Record filed by Patricia Hyde, Michael Krol,
                                                                           Donald J Trump, Marco A. Rubio, Todd Lyons, Kristi Noem. (Attachments: #
                                                                           1 Exhibit A) (same document as 149 (Drescher, Michael) Text clarified on
                                                                           6/3/2025 (law). (Entered: 06/02/2025)

                       Free                149      06/02/2025             MOTION to Dismiss Case for Lack of Jurisdiction and Improper Venue filed
                                                                           by Patricia Hyde, Michael Krol, Todd Lyons, Kristi Noem, Marco A. Rubio,
                                                                           Donald J Trump. (Attachments: # 1 Exhibit A) (same document as 148 )
                                                                           (law) (Entered: 06/03/2025)

                       Free                150      06/16/2025             MOTION for Discovery in Advance of Habeas Hearing with Request for Oral
                                                                           Argument/Hearing filed by Rumeysa Ozturk (Attachments: # 1 Proposed
                                                                           Requests for Production, # 2 Proposed Interrogatories, # 3 Proposed
                                                                           Requests for Admission)(Levitova, Sonya) (Entered: 06/16/2025)

                       Free                151      06/16/2025             REPLY to Response to 145 MOTION for Preliminary Injunction Requiring
                                                                           Restoring SEVIS Record filed by Rumeysa Ozturk. (same document as 152
                                                                           ) (Lafaille, Adriana) (Entered: 06/16/2025)

                       Free                152      06/16/2025             RESPONSE in Opposition re 149 MOTION to Dismiss Case for Lack of
                                                                           Jurisdiction and Improper Venue filed by Rumeysa Ozturk. (same document
                                                                           as 151 ) (Lafaille, Adriana) (Entered: 06/16/2025)

                       Free                153      06/24/2025             STIPULATED MOTION for Extension of Time to File Response/Reply as to
                                                                           150 MOTION for Discovery in Advance of Habeas Hearing filed by Patricia
                                                                           Hyde, Michael Krol, Donald J Trump, Marco A. Rubio, Todd Lyons, Kristi
                                                                           Noem(Drescher, Michael) (Entered: 06/24/2025)

                                           154      06/24/2025             ORDER granting 153 STIPULATED MOTION for Extension of Time to File
                                                                           Response/Reply as to 150 MOTION for Discovery in Advance of Habeas
                                                                           Hearing. Signed by Judge William K. Sessions III on 6/24/2025. (This is a
                                                                           text-only Order.) (eae) (Entered: 06/24/2025)



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